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April 2, 2018


VIA CM/ECF

Hon. James E. Boasberg
United States District Judge
United States District Court for the District of Columbia
333 Constitution Ave N.W.
Washington, D.C. 20001

Re:    Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, No. 16-1534,
       Geographic Response Plan

Dear Judge Boasberg:

         The Court’s December 4, 2017 Order directed “[t]he parties [to] coordinate to finalize
an oil-spill response plan affecting Tribal resources and lands at Lake Oahe,” and to submit
that plan “to the Court by April 1, 2018.” D.E. 303. That plan, which has been shared with
all parties in both its current form and earlier iterations, is enclosed.

       Dakota Access and the U.S. Army Corps of Engineers have sought to coordinate with
the Standing Rock Sioux Tribe and the Cheyenne River Sioux Tribe in preparing the attached
plan. Those efforts are set forth in Dakota Access’s Opposition to each Tribe’s motion
regarding the remand process. D.E. 339 at 12-20.

       There have been two additional developments relevant to such efforts since Dakota
Access filed its Opposition.

        First, Standing Rock has sought leave to file a new declaration from Chairman Mike
Faith regarding response planning. Chairman Faith’s declaration states that his Tribe was
able to “compil[e] Tribal information” including the “location of certain cultural sites that
need to be protected,” “Reservation and land status maps,” and “water quality monitoring
sites.” D.E. 344-1 at ¶ 5. Standing Rock has not shared this information with Dakota
Access’s response planning team. Chairman Faith also claims that the Tribe has not seen
appendices to the draft geographic response plan, but multiple versions (including
appendices) have been provided, or otherwise made accessible, to both Tribes in electronic
and paper form. Standing Rock has not notified Dakota Access that it had trouble getting
access to any part of the response plan.
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        Second, after the March 7, 2018 response planning meeting in Bismarck, North
Dakota, that the Tribes declined to attend, Dakota Access offered both Tribes electronic
access to the results of its recent spill modeling and a chance to meet to discuss the results
after the Tribes reviewed them. (These are the spill model results that Dakota Access and the
Corps reviewed at the March 7 meeting.) Standing Rock did not respond to this offer. And
while Cheyenne River downloaded both the spill model results and the latest version of the
response plan on March 21, 2018, the Tribe did not provide any reactions to them or
otherwise offer input at any time.

       If either Tribe chooses to provide input relevant to response planning efforts—or if
additional information becomes available from other sources—Dakota Access will work with
the Corps and potentially impacted communities, including the Tribes, to review and update
the geographic response plan.

Sincerely,
/s/ William S. Scherman
William S. Scherman

Attachment
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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 2d day of April, 2018, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



                                                      /s/ William S. Scherman
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                   GEOGRAPHICAL RESPONSE PLAN
                    MISSOURI RIVER / LAKE OAHE
                  EMMONS COUNTY, NORTH DAKOTA




                        DAKOTA ACCESS, LLC
                         1300 MAIN STREET
                         HOUSTON, TX 77002




                             MARCH 2018
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1.    Information Summary
      1.1      Purpose

      The purpose of this Geographical Response Plan (GRP) is to provide tactical response information
      and mitigation measures to aid in an effective response in the event of an unlikely release of crude
      oil from the Dakota Access Pipeline with the potential to impact the Missouri River near Cannon Ball,
      North Dakota and Lake Oahe. This GRP is not intended to replace any policies, procedures, and/or
      response actions as stated in the respective Facility Response Plan (FRP) prepared in accordance
      with §49 CFR 194 and approved by the U.S. Department of Transportation, Pipeline and Hazardous
      Materials Safety Administration (PHMSA). The content of this plan has been developed in conjunction
      with the U.S. Army Corps of Engineers (USACE). Despite repeated requests, the sole input from
      Standing Rock Sioux Tribe (SRST), and the Cheyenne River Sioux Tribe (CRST) was a letter from
      SRST in March 2018 expressing concerns about sites of cultural significance along the Missouri River
      shore. The letter did not specify locations for the sites, however, and SRST did not respond to a
      request for locations or other relevant information about these sites.




      Figure 1.1 Lake Oahe Watershed

      1.2      Summary

      This GRP identifies resources and response measures for an immediate, safe, and effective response
      to a release of crude oil from the Dakota Access Pipeline with the potential to impact the Missouri
      River near Cannon Ball, North Dakota. Response measures include, but are not limited to, the
      deployment of containment or diversionary boom at predetermined locations and oil
      collection/recovery activities to prevent further migration of crude oil. While this GRP discusses



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      various release scenarios, its primary focus is response and mitigation to a release of crude oil to the
      surface waters of the Missouri River and Lake Oahe. The response efforts devised for this plan were
      informed by the results of spill modeling conducted before the finalization of the July 2016
      Environmental Assessment by USACE, as well as additional spill modeling conducted in 2017.

      The plan includes Control Points (Appendix A), Winter Control Points (Appendix B), Boat Access
      Points (Appendix C), Downstream W ater Intakes (Appendix D), Sensitive Receptors (Appendix E),
      Spill Pre plans (Appendix F), ICS 204 Work Assignments (Appendix G), SOS Information Sheet
      (Appendix H), OSRO Equipment List (Appendix I).

      1.3       Relationship to Other Plans
      This plan is a stand-alone plan that is supported by existing emergency response plans and is
      intended to support existing planning efforts through specific planning for the Lake Oahe area.
      Related plans are outlined in Figure 1.2.




                                                       EPA Region 8
                                                Area Conti ngency Plan (ACP)




                                 DAPL
                       Facility Response Plan
                                 (FRP)               Geographical Response Plan
                                                      Missouri River/ Lake Oahe




      Figure 1.2 Related Plans


2.    Notification Procedures
      2.1       Notification Overview
      The Area Manager/Incident Commander responsible for init iating and coordinating a response shall
      be responsible for ensuring all agency notifications are performed. Local government response



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 agencies should be notified first, followed by federal and state agencies and various other
 stakeholders. In the event of a suspected or confirmed release, the Area Manager/Incident
 Commander, or their designee, will immediately initiate the following notifications:

  Table 2.1         Notification Overview
  Organization                                                     Contact Number
  Dakota Access Personnel
  Chad Arey                                                                           (Mobile)
  Director - Pipeline Operations
  Vernon Ryan                                                                         (Office)
  Senior Manager - Pipeline Operations
  Greg St.Onge                                                                        Mobile)
  Supervisor - Pipeline Operations
  Justin Minter                                                                       (Mobile)
  Senior Manager - Emergency Response
  Stephanie Huntington - Health/Safety Specialist                                     Mobile)
  Todd Nardozzi                                                                       Mobile)
  Senior Manager - DOT Compliance
  Local Government Agencies
  Emmons County Sherriff                                           (701) 254-4411
  Emmons County Fire                                               (701) 422-3377
  LEPC (Emergency Management Coordinator)                          (701) 254-4807
  U.S. Army Corps of Engineers - Lake Oahe Project
  Eric Stasch                                                      (605) 224-5862
  Oil Spill Removal Organizations (OSROs)
  Clean Harbors                                                    (701) 586-3170
  SWAT Consulting                                                  (866) 610-7928
  National Response Corporation                                    (800) 899-4672
  Standing Rock Sioux Tribe
  Elliot Ward, SRST Emergency Services
  Mike Faith, SRST Chairman
  Jon Eagle, SRST THPO
  Cheyenne River Sioux Tribe
  David D. Nelson
  South Central Regional Water District
  Larry Kassian

 Release notifications to federal and state agencies should be conducted in accordance with the
 notification procedures as listed in the FRP and in consultation w ith the Emergency Response and
 DOT Compliance Specialists.

 2.2       Initial Notification Information Summary

 Information to be provided in the initial and each follow-up notification .




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3.    Spill Detection Procedures
      3.1      Methods of Initial Discharge Detection

      The pipeline system is controlled and monitored continuously by a SCADA system located in Sugar
      Land, Texas. This system provides the pipeline controllers oversight through real-time access to
      pertinent information regarding oil movements, pressures, temperature and equipment status and
      control. The SCADA system allows for remote operation of key equipment including pump stations
      and isolation valves.

      Communication Flexibility

      The Company’s SCADA system acquires data via a satellite network. Satellite communications allow
      large volumes of data to be transmitted both to and from all field locations very rapidly. Network
      configuration and transmission protocols provide the flexibility to establish guaranteed delivery
      transmissions as required. Communication system redundancy provides accurate and reliable data
      to pipeline operators.

      Automated Detection

      The pipelines are equipped with pressure and flow monitors, which exercise local control and transmit
      data to the control center. These systems are set to alarm or shut down on preset deviations of
      pressure flow. In case of an alarm, control center personnel will take the appropriate actions in
      accordance with standard operating procedures.

      Trained personnel in the control center monitor the SCADA system for the following parameters:

      •   Flow rates

      •   Pressure

      •   Valve positions


4.    Spill Response Considerations
      Although spill model results informed the response planning efforts, each spill response is unique and
      the individual circumstances must be considered when selecting response tactics. This GRP is
      neither an all-inclusive response plan nor a substitute for qualified technical advice or common sense.

      4.1      Response Priorities

      Response objectives, in general, are in the following order:

      •   Protecting the safety and health of responders and the public

      •   Minimizing the impact to the environment

      •   Protecting property

      * Safety and Health are the HIGHEST Priorities!




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 The following factors will be considered when initiating response and mitigation measures:

 •   Ignition potential of vapors at or near the spill site

 •   Potential adverse effects of the oil
 •   Safe handling of chemicals used in countermeasures

 •   Proper use of safety equipment

 •   Heat stress or stroke

 •   Cold stress or hypothermia

 •   Small boat safety

 •   Heavy equipment safety

 4.2       Incident Classification

 Responders will take a 3-Tiered approach for responding to a pipeline failure. The three tiers are
 described below and are based on incident complexity.

 Tier 1:

 •   The incident can be handled with one or two single resources with minimal personnel.

 •   Command and General Staff positions (other than the Incident Commander) are not activated.

 •   No written Incident Action Plan (IAP) is required.

 •   The incident is contained within the first operational period and often within one hour to a few
     hours after resources arrive on-scene.

 •   Examples include vehicle fire, flange leak, release into containment, etc.

 Tier 2:
 •   When incident needs exceed capabilities, the appropriate Incident Command System (ICS)
     positions should be added to match the complexity of the incident.

 •   Some or all of the Command and General Staff positions may be activated, as well as
     division/group supervisors and/or unit leader positions.

 •   The incident may extend into multiple operational periods.
 •   A written IAP may be required for each operational period.

 •   Local response teams will be activated with support from regional resources as needed.

 Tier 3:
 •   When the incident extends beyond the capabilities for local control and is expected to go into
     multiple operational periods.
 •   Response resources from outside of the area are required, including regional and/or national
     resources, to effectively manage the operation, command, and general staffing.

 •   All of the Command and General Staff positions are filled.

 •   A written IAP is required for each operational period.

 •   Many of the functional units are needed and staffed.



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 •   Operations personnel often exceed 200 per operational period and total incident personnel may
     exceed 500.

 •   Agency representatives may join Unified Command based on incident complexity.
 •   The Incident Management Team (IMT) will be deployed and the corporate Crisis Management
     Team (CMT) may be activated.

 4.3       Initial Response Actions

 Responders will work in unison, following Incident Command protocols, to cooperate with and assist
 Fire, Police and other first responders with:
 •   Halting or redirecting traffic on roads and railroads in the affected area as appropriate;
 •   Assessing the extent and coverage of a potential vapor cloud, using the current DOT Emergency
     Response Guidebook to determine safe approach distances;
 •   Dakota Access Pipeline and emergency response personnel will assist with establishing hot,
     warm and cold zones for emergency response operations following Incident Command protocols;
     and
 •   Gas meter equipment as specified below will be used to establish emergency responders’
     approach distances and hot/warm/cold zones.

 In the event of a suspected or confirmed pipeline failure, responders will employ instrumentation
 (appropriate for the product contained in the pipeline at the time of failure) to access and determine
 the extent and coverage of a potential vapor cloud, if present.

 If you are first responder on site, follow the first-on-site stages below:

 Stage 1: Approach

 •   Approach incident scene from an upwind, uphill location

 •   Note and advise Control Center of arrival time and confirm location

 Stage 2: Metering

 •   Turn on 4-gas meter with H2S, O2, and combustible gas sensors at vehicle in fresh air

 •   Bump test and battery check 4-gas meter
 •   Note bump test time and results in ICS 214 (Individual Log)

 Stage 3: Site Contact

 •   Locate the person in Command (if any) on scene, identify yourself, and record the person’s name
     and time that contact was made in ICS 214

 Stage 4: Incident Evaluation
 •   Don minimum personal protective equipment (PPE), remove sources of ignition and take safety
     equipment:

     o   4-gas meter (O2, CO, H2S, LEL)

     o   Level D safety gear (hard hat, safety boots, glasses, FR coveralls)

     o   Respiratory protection



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     o   Caution tape

     o   Binoculars

     o   Note pad (ICS 214)

     o   Camera (intrinsically safe)

     o   Safety Data Sheet (SDS)

 •   Evaluate incident magnitude from a distance until additional responding personnel arrive. Look
     (binoculars) and listen for potential hazards (smoke, fire, escaping liquids or gases, sound of
     stressing metal)
 •   Assess staging area and ensure it remains safe. Metering levels must be below 10% LEL, 10
     ppm H2S and above 19.5% O2
 •   If gas concentrations exceed any of the parameters identified, workers must immediately return
     to a safe area below these limits. Modifying conditions to make the area safe must be
     implemented prior to re-entry (remote isolation, ventilation, natural stabilization).

 •   Note and record observations as applicable in ICS 214

 Stage 5: Site Securement

 •   Take gas measurements with 4-gas meter in appropriate staging areas and record results in ICS
     214

 •   Ensure all sources of ignition are removed from site

 •   Identify limits of public isolation zone (if applicable)

 •   Cordon off the area as required

 •   Ensure members of the public do not enter or disrupt the site

 •   Coordinate with authority having jurisdiction and public first responders (fire and police
     departments)
 •   Request that electrical power supplies in the vicinity of the release be deactivated, especially
     power to enclosed structures where vapors may accumulate

 Stage 6: Detailed Site Investigation

 •   Wait for arrival of additional pipeline operators and responders

 •   Continuously monitor for potential hazards as entry into Site is made. Concentrations must remain
     below 10% LEL, 10ppm H2S and O2 does not decrease below 19.5%

 •   If gas concentrations exceed any of the parameters identified, workers must:

     o   Immediately return to a safe area below these limits. Modifying conditions to make the area
         safe must be implemented prior to re-entry (remote isolation, ventilation, natural stabilization)

     o   Continuously scan and eliminate ignition sources as entry is made

 •   Once the source of leak is determined, workers must continuously monitor their workspace unless
     relieved by air monitoring contactor
 •   Support and/or facilitate public evacuation as applicable. Determine if any members of the public
     are within the public isolation distances outlined in the 2016 ERG (800 m) or provided by
     emergency response contractor through air dispersion modelling


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 •     Consult emergency response plan to activate any required additional resources to site
       (emergency response contractor, air monitoring, general contractor etc.)

 •     If the incident involves injuries or fatalities, collect detailed information as accessible. Obtain
       names of those involved, name of hospital to which the inj ured have been taken and the extent
       of the injuries

 •     Identify all receptors at risk. This includes life safety, environmental and social economic
       receptors. Record findings in an ICS 214 or 232 (Receptors at Risk)

 •     Complete Incident Report ICS 201 (Incident Briefing)

 The initial response checklist is presented in Table 4. 1

     Table 4.1           Initial Response Checklist
     Response Action                                                           Personnel
                                                                               Taking
                                                                               Action
     DOCUMENT ALL ACTIONS TAKEN

     First Person to Discover Spill
     Immediately notify Qualified Individual and Operations Control
     Center or posted emergency contacts. Take appropriate action to
     protect life and ensure safety of personnel.
     If applicable, remotely controlled motor operated valves w ill be
     closed by the Operations Center as soon as a leak is detected. It
     may not be best to immediately close valves due to line drain or line
     depressurization.
     Secure the scene. Isolate the area and assure the safety of people
     and the environment. Keep people away from the scene and outside
     the safety perimeter.
     Advise personnel in the area of any potential threat and/or initiate
     evacuation procedures.
     Qualified Individual

     Assume role of Incident Commander until relieved.

     Conduct preliminary assessment of health and safety hazards.

     Request medical assistance if an injury has occurred.

     Notify emergency response agencies to provide security, and
     evacuate surrounding area (if necessary).

     Make appropriate regulatory notifications.
         •    National Response Center
         •    Appropriate State Agency
     Call out spill response contractors
     Monitored atmospheric conditions in the release area using a 4 gas
     meter - ensuring oxygen, H2S, carbon dioxide and lower explosive
     limit (LEL) are all at safe levels. Atmospheric monitoring should
     continue throughout the response activities. These activities should
     be consistent with Sunoco Pipeline L.P. Health & Safety Policy.




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     Table 4.1         Initial Response Checklist
     Response Action                                                             Personnel
                                                                                 Taking
                                                                                 Action
     Be aw are of potential hazards associated with product and ensure
     that flammable vapor concentrations are within safe limits before
     sending personnel into the spill area.
     If safe to do so, shut down potential ignition sources in the vicinity of
     the spill, including motors, electrical pumps, electrical power, etc.
     If safe to do so, stabilize and contain the situation. This may include
     berming or deployment of containment and/or sorbent boom.
     For pooled low flash oil ( <100°F), consider applying foam over the
     oil, using water spray to reduce vapors, grounding all equipment
     handling the oil, and using non-sparking tools.
     If there is a potential to impact shorelines, consider lining shoreline
     w ith sorbent or diversion boom to reduce impact.
     Notify Local Emergency Responders. Obtain the information
     necessary to complete the Accident Report - Hazardous Liquid
     Pipeline Systems and phone this information to the Emergency
     Response Manager.
     On-Scene Coordinator
     Activate all, or a portion of local ERP (as necessary). Liaison Officer
     w ill maintain contact with notified regulatory agencies.
     Document all response actions taken, including notifications,
     agency/media meetings, equipment and personnel mobilization and
     deployment, and area impacted.
     Water Based Spills:
     Initiate spill tracking and surveillance operations utilizing information
     in SECTION 3.0. Determ ine extent of pollution via surveillance
     aircraft or vehicle. Estimate volume of spill utilizing information in
     SECTION 4.4. Send photographer /videographer if safe.
     Land Based Spills:
     Initiate spill tracking and surveillance if applicable.
     SECONDARY RESPONSE ACT IONS
     (Refer to ICS 204 Work Assignments in APPENDIX G)


 4.4          Spill Tracking and Surveillance

 The following guidelines should be utilized when tracking a spill and/or conducting spill surveillance:

 •     Begin surveillance of the oil spill as soon as possible follow ing discovery to enable response
       personnel to assess spill size, movement, and potential impact locations;

 •     Dispatch observers to crossings downstream or dow nhill to determ ine the spill extent Use surface
       vessels to confirm the presence of any suspected oil slicks (if safe to do so); consider directing
       the vessels and photographing the vessels from the air, the latter to show their position and size
       relative to the slick;

 •     Surveillance program should include the initiation of Shoreline Clean-up Assessment Techniques
       (SCAT) Operations. See Section 5.4;

 •      All observations should be documented in writing and w ith photographs and/or video;




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 •       If possible, use helicopters or small planes; helicopters are preferred due to their superior visibility
         and maneuverability;

 •       If fixed-w ing planes are to be used, high-wing types provide better visibility than low-w ing types;

 •       Record the approximate dimensions of the oil slick based on available reference points (i.e.
         vessel, shoreline features, facilities); use the aircraft or vessel to traverse the length and width of
         the slick while timing each pass; calculate the approximate size and area of the slick by
         multiplying speed and time;

 •       Record aerial observations on detailed maps, such as topographic maps;

 •       In the event of reduced visibility, such as dense fog or cloud cover, boats may have to be used
         to patrol the area and document the location and movements of the spill; however, this method
         may not be safe if the spill involves a highly flammable product; and

 •       Continue surveillance during spill response operations to gauge the effectiveness of response
         operations, to assist in locating skimmers, and to assess the spill's size, movement, and impact.

 An example of a spill surveillance checklist is presented on Table 4.2.

     Table 4.2         Spill Surveillance Checklist
     Spill Surveillance Checklist
     General Information
     Date:                                                   Tidal or river stage (flood, ebb, slack, low
                                                             w ater):
     Time:                                                   On-Scene Weather Conditions:
     Incident Name:                                          Platform (helicopter, fixed-w ing aircraft, boat,
                                                             shore):
     Observers Name:                                         Flight path/trackline:

     Observers' Affiliation:                                 Altitude where observation taken:
     Location of Source:                                     Areas not observed (i.e. foggy locations,
                                                             restricted air spaces, shallow water areas):
     Oil Observations
     Slick location(s):                                      Color and appearance (i.e. rainbow, dull or
                                                             silver sheen, black or brown in color or
                                                             mousse):
     Slick dimensions:                                       Percent coverage:
     Orientation of slick(s):                                Is oil recoverable (Y/N)?:
     Distribution of oil (i.e. w indrows, streamers,
     pancakes or patches):
     Considerations
     •     During surveillance, go beyond known impacted areas to check for additional oil spill sites
     •     Include the name and phone number of the person making the observations
     •     Clearly describe the locations where oil is observed and the areas w here no oil has been seen
     Other Observations
     Response Operations
     Equipment deployment locations:
     Boom deployment locations:
     Environmental Operations




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     Table 4.2        Spill Surveillance Checklist
     Spill Surveillance Checklist
     Locations of convergence lines, terrain, and sediment plumes:
     Locations of debris and other features that could be m istaken for oil:
     Wildlife present in area (locations and approximate numbers):
     Spill Sketch (Use Additional Pages if Needed)


 4.5         Sensitive Receptors

 4.5.1       Life Safety / Human Health

 A life safety receptor scan has been completed for the Lake Oahe area and areas downstream of the
 pipeline crossing. A number of drinking water and agricultural water intakes have been identified, in
 addition to various gathering places, public essential services, and potential immobile human
 exposures. Refer to Appendix D - Downstream W ater Intakes and Appendix E - Sensitive Receptors
 for detailed information.

 Of the evaluated receptors, any which were found to be within 0.50 m iles of Lake Oahe have been
 listed in Table 4.3.

  Table 4.3 Human Health Receptors within 0.5 Miles of Lake Oahe
     Receptor Description                                          Distance from Lake Oahe
     Cannon Ball Elementary School                                                     0.3
     Fort Yates Hospital                                                               0.1
     Kiddie College Daycare Center                                                     0.1
     Sitting Bull Clge Kampus Kids Daycare                                             0.1
     St Bernard Mission School                                                         0.1
     Standing Rock Community School                                                    0.1
     Sioux County Library                                                              0.1
     Standing Rock Sioux Emergency Operations Center                                   0.1
     Fort Yates Fire Protection District                                               0.1
     Sioux County Sheriffs Office                                                      0.1
     Standing Rock Ambulance                                                           0.1

 Based on information provided by the U.S. Army Corps of Engineers (USACE), Dakota Access
 Pipeline has identified a number of water intakes downstream form the pipeline river crossing. The
 three closest to the crossing downstream on the Missouri River/Lake Oahe are indicated below and
 w ithin Appendix - Lake Oahe Downstream Water Intakes

 •     Intake 1: This intake has been identified as an agricultural use intake and is located at 46.379973°
       I -100.555165°
 •     Intake 2: This intake has been identified as an agricultural use intake owned and operated by
       the SRST, and is located at 46.332473° / -1 00.555233°

 •     Intake 3: This intake has been identified as the first downstream drinking w ater intake owned
       and operated by the South Central Regional Water District, and is located at 46.287806° / -
       100.568508°

 A comprehensive list of all known drinking water and agricultural intakes downstream of the crossing
  are outlined in Table 4.4 and 4 .5



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  Table 4.4       Drinking Water Intakes
  Owner                          Easement No.           Location
  North Dakota
  South Central Regional Water   DACW45-2-10-8047       Sec 35, T133N, R79W, Emmons
  District                                              County
  Bureau of Reclamation          DACW45-4-91 -6074      East site of Fort Yates
  South Dakota
  Mid-Dakota Rural Water         DACW45-2-94-7041       Sec 25, T112N, R80W, Hughes
                                                        County
  Cheyenne River Housing         DACW45-2-77-6010       Sec 12, T16N, R30E, Dewey County
  Bureau of Reclamation          DACW45-4-91 -6074      South of Indian Memorial Recreation
                                                        area, Corson, County (MR&! Intake)
  Mobridge Municipal Intake                             Sec 12, T124N, R80W, Walworth
                                                        County


  Table 4.5       Agricultural Water Intakes
  Owner                          Easement No.           Location
  North Dakota
  Sea View Farm                  DACW45-2-13-8004       Sec 32, T131N, R79W , Emmons
                                                        County
  Larry Vander Vorste            DACW45-2-13-8005       Sec 20, T131N, R79W , Emmons
                                                        County
  Standing Rock Sioux Tribe      DACW45-2-68-5192       Sec 30, T130N, R79W , Sioux County
  Glen McCrory                   DACW45-2-75-6178       Secs 18 & 19, T133N, R78W, Emmons
                                                        County
  Kenneth Moser                  DACW45-2-77-6106       Sec 32, T129N, R80W , Emmons
                                                        County
  Ed Langliers                   DACW45-2-78-6078       Sec 19, T129N, R78W , Emmons
                                                        County
  Harvey Meyer                   DACW45-2-78-6115       Sec 32, T129N. R78W , Emmons
                                                        County
  Hettick-Silbernagel            DACW45-2-79-6017       Sec 6, T129N, R79W , Sioux County
  Kenneth Moser                  DACW45-2-80-6046       Sec 32, T129N, R78W , Emmons
                                                        County
  David Vander Wal               DACW45-2-81 -6118      Sec 30, T129N, R78W , Emmons
                                                        County
  David Vander Wal               DACW45-2-81 -6119      Sec 30, T129N, R78W , Emmons
                                                        County
  Henry Serr                     DACW45-2-81 -6159      Sec 8, T133N, R78W , Emmons
                                                        County
  Harvey Meyer                   DACW45-2-81 -6166      Sec 32, T129N, R78W , Emmons
                                                        County
  John Albrecht                  DACW45-2-87-6192       Sec 29, T129N, R78W , Emmons
                                                        County
  Standing Rock Farms            DACW45-2-93-6015       Sec 13, T133N, R79W , Sioux County
  Dennis Glas                    DACW45-2-96-8051       Sec 20, T131N, R79W , Emmons
                                                        County
  Sea View Farm                  DACW45-2-97-8054       Sec 20, T131N, R79W , Emmons
                                                        County
  Larry Umber                    DACW45-2-98-8001       Sec 17 & 21, T130N, R79W , Emmons
                                                        County




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   Table 4.5        Agricultural Water Intakes
   Owner                               Easement No.              Location
   South Dakota
   JES Farms                           DACW45-2-16-8005          Sec 20, T 113N, R80W , Sully County
   Roger Vandervorste                  DACW45-2-76-6035          Sec 12, T 119N, R29E, Corson County
   Everett Van Beek                    DACW45-2-76-6188          Sec 19, T 128N, R78W , Campbell
                                                                 County
   Al Hockhalter                       DACW45-2-76-6193          Sec 28, T 124N, R79W , Wallworth
                                                                 County
   Grey Goose Irrigation               DACW45-2-78-6086          Sec 26, T 112N, R80W , Hughes
                                                                 County
   H. Harrison                         DACW45-2-78-6156          Sec 32, T 18N, R30E, Corson County
   W illiam Hepper                     DACW45-2-79-6104          Sec 16, T 19N, R30E, Corson County
   McGee Landscaping                   DACW45-2-79-6129          Sec 25, T 112N, R80W , Hughes
                                                                 County
   AC Land & Cattle Co.                DACW45-2-88-6010          Sec 18, T 18N, R30E, Corson County
   Standing Rock Farms                 DACW45-2-88-6012          Sec 17, T 19N, R29E, Corson County
   Schwab Farms                                                  Sec 8, T128N, R79W , Campbell
                                                                 County
   Ed Van Beek                                                   Sec 26, T 128N, R79W , Campbell
                                                                 County

 4.5.2      Environmental Receptors

 An environmental receptor scan has been completed for the Lake Oahe area and areas downstream
 from the pipeline crossing . A number of designated wildlife refuges and waterfowl production zones
 were identified in the general area, but none of which are anticipated to have direct impacts from a
 release at the Lake Oahe crossing. A number of emerging wetlands have also been identified.
  Multiple requests for the identification and location of Tribal significant environmental receptors were
 made to the Standing Rock Sioux Tribe, and Cheyenne River Sioux Tribe, but no information was
 provided. As such, this scan did not identify any significant environmental receptors or specific flora
 and fauna sites on T ribal land. It is the intention of this plan to engage the appropriate Tribal officials
 at the time of an event to identify areas of concern . Refer to Appendix E - Sensitive Receptors for
 detailed information.

 4.5.3      Economic (Social) Receptors

 A social economic receptor scan has been completed for the Lake Oahe area and areas downstream
 from the pipeline crossing. The scan identified w ater and waste w ater treatment facilities, water wells,
 other pipelines, and various electric distribution and communication installations. Multiple requests
 for the identification and location of archaeological and significant Tribal receptors w ere made to the
  USACE, Standing Rock Sioux Tribe, and Cheyenne River Sioux Tribe, but no information was
 provided. As such, this scan did not identify any significant archaeological or significant Tribal sites.
 It is the intention of this plan to engage USACE, Tribal officials, and State HPO's at the time of an
 event identify areas of concern. Refer to Appendix E - Sensitive Receptors for detailed information.

 4.6        Response Equipment

 4.6.1      Internal Equipment
 In accordance w ith the US Army Corps of Engineers (USACE) easement conditions, the follow ing
 response equipment has been staged for responding to the Missouri River crossing at Lake Oahe.



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 Cannon Ball Ranch

 6554 HWY 1806 S., Mandan, ND 58554 (46.451667° / -100.630742°)

 •   1,000 feet of 10” skirt containment boom

 •   1,000 feet of 5” sorbent boom

 •   Boom accessories (rope, anchors & buoy’s)
 •   Enclosed 18’ response trailer

 •   18’ response boat with motor

 •   2 portable 4 gas monitors

 In addition to the response equipment listed above, the following company-owned response
 equipment is available and should be considered when responding to an incident:

 Watford City Station in North Dakota:

 •   4 totes of firefighting foam

 •   1 radio repeater and 12 radio’s

 •   1 response tent/command post

 •   20 portable 4 gas monitors

 Redfield Pump Station in South Dakota:

 •   1,000 feet of 10” skirt containment boom

 •   1,000 feet of 5” sorbent boom

 •   Enclosed 18’ response trailer

 •   Boom accessories (rope, anchors & buoy’s)

 •   18’ response boat with motor (slow water boom deployment)

 •   1 radio repeater and 12 radio’s

 •   1 response tent/command post

 •   14 portable 4 gas monitors

 In addition to the company-owned response equipment identified above, Dakota Access Pipeline has
 secured contracts with various Oil Spill Removal Organizations (OSROs). Each of these OSROs have
 their own response resources and the availability to secure additional response resources from
 across the country.




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 4.6.2     External Equipment

  External equipment held at contracted OSRO locations is presented in Table 4.4. A comprehensive
  list of the equipment held by these OSRO's can be found in Appendix I.

   Table 4.6         OSRO Locations
                                   CONTRACTOR INFORMATION
                         Organization                                  Phone Number
   USCG Classified OSRO's
   National Response Corporation                        (800) 899-4672
   (Umbrella Network; Numerous contractors
   throughout the response area.) 3500 Sunrise Hwy,
   Suite 200, Bldg 200, Great River, NY 11 739
   SWAT Consulting , Inc                                (866) 610- 7928      24-hour Hotline
   12 Sunrise Estates Rd , Watford City, ND 58854
   Garner Environmental                                 (701) 577-1200
   14047 County Ln, W illiston , ND 58801               (855) 774-1200
   Clean Harbors                                        (701) 586-3170
   2541 132°d C Ave NW, Arnegard, ND 58835              (800) OIL-TANK        24-hour Hotline
   Clean-Up Contractors
   Safety-Kleen                                         (701) 222-8262
   Bismarck, ND
   Hydro-Klean                                          (605) 988-0500
   Sioux Falls, SD
   Seneca Companies                                     (402) 494-7941
   South Sioux City, NE                                 (800) 369-5500
   Tetra Tech Inc. (SD Certified Petroleum Release      (605) 348-5850
   Remediator)
   Rapid City, SD
   ENV Engineering and Air Monitoring
   GHD Limited
                                                        (866) 812-9565
   Various sites, USA
   Excavation Services
   Jones Contractors, Inc.                              (731) 989-0545
   Epping, ND                                           (731) 426-2764

   B&B Contactors                                       (605) 725-1468
   Aberdeen, SD                                         (605) 228-3200
   Wildlife Rehabilitation
   Wildlife Response Services                                              (Mobile)
   Seabrook, TX                                                            (Pager)
   Rhonda Murgatroyd
   Wildlife Center of Texas                             (713) 861 -9453 (Office)
   Sharon Schmaltz                                                      (Mobile)
                                                                        (Pager)
   Tri-State Bird Rescue Research Center, Newark, DE    (302) 737-7241
                                                        (800) 710-0695




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      4.7         Response Management

      The Incident Command System (ICS) w ill be used to organize and manage all events associated with
      this plan. The ICS can be expanded or contracted as necessary.

      The Unified Command System (UCS) is the accepted
      method of organizing key spill management entities
      w ithin the ICS. The primary entities include:

      •      Federal On-Scene Coordinator (FOSC)

      •      State On-Scene Coordinator (SOSC)

      •      Company Incident Commander

      These three people share decision-making authority                               Preparing
                                                                                        for the
      w ithin the ICS and are each responsible for coordinating           Tactics
                                                                                       Planning         Planning
                                                                         Meeting                        Meeting
                                                                                       Meeting
      other federal, state, and company personnel to form an
      effective integrated emergency management team.                 Prep aring
                                                                        for the
                                                                                                        IAP Prep
                                                                                                           &
                                                                        Tactics
      Other stakeholders may be added to the UCS if the                M@etin
                                                                                                        Approval

      incident complexity warrants it.                               Command&
                                                                      eneral Staff
                                                                       Meeting /                        Operations
                                                                       Briefing                          Briefing
      A common planning cycle, using the planning "P" will
                                                                                                           Now
      guide the organized production of response plans and                             Execute Plan &      Ops
                                                                                          Assess          Period
      accountability during an incident.                                                 Progress


                                                                        Initial UC
      Common ICS documents will be used to ensure a                      Meeting        Q)
                                                                                        VJ
      common communication format and nomenclature for                                  C:
      individuals managing the incident.
                                                                      Incident Brief
                                                                         ICS•201        g_
                                                                                        VJ
                                                                          Initi al      Q)
                                                                        Response
                                                                                       a::
                                                                                       cij
5.     Spill Pre Plans                                                 Notification
                                                                                       ~
                                                                      Incident/Event
                                                                                       ·2
       5.1        Surface Water Sampling

      In the event of an incident at the Lake Oahe crossing, surface water sampling will be conducted. A
      w ater sampling pre-plan for Lake Oahe has been prepared and is included in Appendix F. The W ater
      Sampling Pre-plan includes a map of proposed sample transit locations throughout the lake Oahe
      area that cover three drinking water intakes and background blank sampling. The pre-plan will be
      adjusted based on site conditions and SCAT survey results as an incident develops.

       5.2        Community Air Monitoring

      In the event of an incident, community air monitoring w ill be conducted to evaluate the health and
      safety of members of the surrounding community and the env ironment from compounds of interest
      (COi) that may be emitted. An air monitoring pre plan has been prepared and is included in Appendix
      F. The air monitoring pre plan outlines how to conduct the follow ing air monitoring operations:

      •      Real-time air monitoring for COi at the perimeter of the work site to characterize potential
             exposures to members of the community;

      •      Compliance with the air monitoring requirements of the applicable regulations;




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      •   Establish and implement procedures with Fire to ensure appropriate responses to elevated levels
          of COI; and
      •   Communicate the hazards associated with exposures to affected and potentially affected
          members of the neighboring community and other potential receptors.

      5.3       Wildlife Management

      In the event of an incident, wildlife management will be conducted by a wildlife response organization.
      A wildlife pre plan has been prepared and is included in Appendix F. The wildlife pre plan outlines the
      protocols and guidelines for initiating and sustaining a wildlife response.

      5.4       SCAT Planning

      In the event of an incident, Shoreline Clean-up Assessment Techniques (SCAT) Teams will be
      activated to collect data on shoreline oiling conditions. Data collected will be used to support decision
      making for shoreline clean-up. Further information on SCAT Teams including composition, and team
      member roles and responsibilities is found in Appendix F.


6.    Containment and Recovery Methods
      The following containment and recover methods are supported by pre planned Control Points, Winter
      (ice) Control Points, and Boat Launch locations which can be found in Appendix A, B, and C
      respectively.

      6.1       Spill on Land (Soil Surfaces)

      Containment Methods

      Product can be contained in ditches and gullies by earthen berm structures (EBS). Where excavating
      machinery is available, EBS can be used to prevent the spread of oil. EBS, small and large, should
      be effectively utilized to protect priority areas such as inlets to drains, sewers, ducts, and
      watercourses. These can be constructed of earth, sandbags, absorbents, planks, or any other
      effective material. If time does not permit construction of a large EBS, a series of small EBS can be
      used, each one holding a portion of the oil as it advances. The terrain will ultimately dictate the
      placement of EBS. If the spill is minor, natural berms or earth absorption will usually stop the oil before
      it advances a significant distance.

      In situations where vapors from a spill present a clear and present danger to property or life, spraying
      the surface of the spill with an appropriate vapor suppressor will greatly reduce the release of
      additional vapors.

      Recovery Methods

      The recovery and removal of free oil from soil surfaces is a difficult job. Some effective approaches
      seem to be:
      •   Removal with suction equipment to tank truck, if concentrated in volumes large enough to be
          picked up. Channels can be formed to drain pools of product into storage pits and facilitate the
          use of suction equipment;

      •   Small pockets may have to be recovered with sorbent material; and



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 •   Once free oil has been recovered to the extent practical, mechanical removal of impacted soils
     can commence until impacts have been adequately removed. Contaminated soils should be
     handled in accordance with all federal and state requirements.

 6.2       Spill on Large Streams and Rivers

 Containment Methods

 The containment techniques differ considerably on large streams and rivers. First, the smooth calm
 area of water necessary for oil-water separation must be found along the stream or river rather than
 creating one, as with small streams. Floating booms (rather than fixed booms or EBS) must be used
 to contain the oil.

 Local conditions of current and wind must be considered when selecting the site for the deployment
 of boom. A point with a low water velocity near the bank, sufficient depth to operate the oil recovery
 equipment, and good access is required. The fact that wind may tend to concentrate the oil against
 one bank must be considered. A smooth, undisturbed area of water is required immediately upstream
 of the boom to ensure that the oil has opportunity to separate out onto the surface. The boom should
 be positioned where the current is at a minimum. It is more effective to boom at a wide, slow position
 than on a narrow, fast stretch of water.

 If the booms are positioned straight across a river or stream, or at right angles to the flow, surface
 water tends to drive oil beneath the boom when current velocities exceed about ½ knot (0.8 ft/sec.).
 However, if the current of the entire river is ½ knot or less, then a boom can be positioned straight
 across the river or large stream, but angled slightly in relation to the banks. By placing the boom at
 an angle to the banks, oil on the surface is diverted along the boom to the side of the river.

 The current velocity is usually much slower near the river bank than in the center and the oil will move
 along the boom toward the bank for removal. A water-tight seal between the bank and the boom is
 essential. A secondary boom should be setup immediately downstream of the first one to capture any
 oil that escapes the upstream boom. A boom can be deployed parallel to the river flow at the bank to
 form the seal with the booms used to trap the product.

 Where the current velocity of the chosen site exceeds ½ knot, the boom may be positioned in two
 smooth curves from the point of maximum velocity (usually the center of the river) to both banks.
 However, this double-boom requires oil to be recovered from both sides of the river. To determine
 the appropriate angle of boom placement and support (mooring) needed to hold the booms in
 position, the current velocity should be measured by timing a floating object which is 80% submerged
 over a distance of 100 feet. A time of 60 seconds over this distance indicates a water current of
 approximately 1 knot.

 For currents from 1 to 2.5 knots (1.7 to 4.2 ft/sec.), the more the boom will have to be angled acute
 to the bank. The length of the boom will have to be such to reach the center of the river. For currents
 between ½ and 1 knot (0.8 and 1.7 ft./sec.), the angle of deployment can be enlarged.

 The major load on the boom is taken by the terminal moorings, particularly the one in the center of
 the river. However, intermediate moorings are also required both to maintain the smooth curve of the
 boom to prevent breaking of the boom and to assist with preventing skirt deflection. The intermediate
 moorings are preferably positioned every 25 feet and must be adjusted to avoid the formation of
 indentations in the boom profile. These trap oil in pockets, prevent its deflection to the bank, and also
 encourage diving currents.




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 In certain situations, it might be advantageous to position booms to deflect the approaching oil to a
 slower moving area. Naturally, additional booms would have to be positioned around this slower
 moving area prior to deflect the product to the area. This approach may be used along rivers which
 have lagoons, etc., with a very low current action. The recovery would take place in the lagoons and
 not along the river bank.

 Recovery Methods

 Any oil contained upstream of the floating booms in a large stream or river should be removed from
 the water surface as it accumulates. Regular suction equipment, a floating skimmer, and/or
 absorbents (including absorbent booms) should be used to remove the oil as appropriate. If the
 amount of oil moving downstream is of sufficient quantity, the primary floating boom will likely contain
 enough oil for the floating skimmer to work efficiently. The skimmer will pump the product and some
 water to a tank truck or other holding tank.

 The absorbents would then be used upstream of the secondary boom to absorb any potential
 underflow from the primary boom. An absorbent boom can also be placed between the primary and
 secondary booms to help the other absorbents control any underflow from the primary boom. It is
 best to hand skim the saturated absorbents and place them in plastic bags for disposal.

 6.3       Spill on Ice

 When managing an oil spill on ice special consideration must be given to several safety factors.
 Thickness of the ice and general accessibility of equipment must be considered when planning for
 on-ice recovery. Ice that is too thin to safely traverse or broken ice may prevent active recovery.

 Containment Methods

 For ice-covered on-land or on-water spills, snow or earthen berms may be constructed to contain oil
 around the leak, if terrain permits. Dikes filled with sorbent materials may be used on spills in smaller
 streams to create a containment structure to prevent further migration of the oil.

 Recovery Methods

 Generally, on-ice recovery consists of the manual recovery of the oil from the spill site. If conditions
 permit, vacuum trucks or suction pumps may be used to recover pools of oil that may have collected.
 Often, oil recovery will be completed by hand using brooms, shovels and rakes. Manually moving the
 oil/snow mixture into piles for collection, where it is either vacuum or manually collected into storage
 containers, may expedite the recovery process.

 6.4       Spill Under Ice

 An assessment of ice safety must be completed before recover or containment work may begin. Use
 the following table as a guideline. See xxx for further ice assessment information.




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  General Ice Safety Guidelines 1

   Thickness                      Acceptable On Ice Work
   4" to 6 "                      One person with auger
   6" to 8"                       One person with snowmobile
   8" to 12"                      Two people w ith slotting equipment
   12" +                          Truck

  Containment Methods

  The traditional strategy for dealing w ith oil under the ice in a river or lake is to cut a slot to facilitate oil
  recovery. Ice slots can be cut using chain saws, handsaws, ice augers or some form of trencher.
  Another effective variation of this technique is the diversionary plywood barrier method, which is also
  discussed below.

  Recovery Methods

  Ice slotting is a very basic technique used to gain access to oil trapped beneath the ice. In ice slotting,
  a "J" shaped outline is sketched into the ice at an angle to the current determined by the maximum
  current speed (see table below).

   Maximum Current, Knots          Maximum Angle, Degrees, Relative to the
                                   Direction of Flow
   0.8                                     75
   0.9                                     60
   1.1                                     45
   1.5                                     30
   2.9                                     15

  The slight "J" hook or curve is necessary at the upstream side to provide flow towards the recovery
  area. In general, the slot w idth should be 1.5 times the thickness of the ice. Remember, a block of ice
  is heavy (56 pounds/cubic foot) and the width of the slot must be taken into consideration so it can
  be safely removed or pushed under if the water beneath the ice is sufficiently deep. Blocks cut at a
  15 to 20 degree angle may be easier to remove than those cut vertically.

  The length of the slot w ill be determined by the w idth of the river and strategy. The length should be
  sufficient to perm it the maximum amount of oil to surface and provide surface storage capacity that
  the skimmer recovery rate can handle, bearing in m ind that the water flow w ill carry the oil to the
  downstream (skimmer) slot end. The w idth should be that of the skimmer, which is usually 24 to 36".
  Marking the lines w ith a chalk line before cutting and then over-spraying w ith spray-paint is
  recommended.

  Ice slotting is a successful strategy to implement. However, there are a few pit falls to be aw are off.
  First, responders may experience fatigue rapidly if required to cut the slot(s) by hand using a chain
  saw or hand held saw . Secondly, when cutting with chain saws , large volumes of w ater are kicked
  up, by the moving chain, onto the responder. This is a safety issue when the responders get wet in
  extreme cold weather conditions. However, wearing rain gear w ill provide some protection and can
  greatly reduce this problem. A second technique is to slot the ice and use plywood to help divert oil
  beneath the ice to a recovery area. This technique is referred to as the diversionary plywood barrier
  method. In this technique, a narrow slot is made through the ice and 4' x 8' sheets of plywood, or

North Dakota Game and Fish



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 equivalent material, are dropped into the slot to create a barrier and force the oil to follow the barrier
 to the collection area. This is the same principal employed when using floating boom. The slot can
 be cut or drilled depending on the equipment available at the time of the response. If drilling is
 required, a gas powered ice auger can be used. In this scenario a series of 8" or 10" holes are drilled
 next to each other. A chain saw can be used to connect the holes if an ice bridge exists between two
 auger holes. After the ice auguring is complete, plywood can be dropped into the augured slot. A
 slotting guide should be used as manually sawed lines are unlikely to be straight and vertical. Wedges
 may be used to secure plywood into the slot.

 River ice is dirty and chipper blades on the augers may only last long enough to complete a single
 auger hole. This technique requires a large inventory of chipper blades. Extra auger flights can be
 used, which reduces down time to change blades. A real plus to slotting the ice with an ice auger is
 the limited exposure of responders to water. The water is generally restricted to the area around the
 responder's feet.

 6.5       Spill on Lake or Pond (Calm or Slow-Moving Water)

 Containment Methods

 A lake or pond offers the best conditions for removal of product from water. Although the removal is
 no easy task, the lake or pond presents the favorable conditions of low or no current and low or no
 waves.

 The movement of product on a lake or pond is influenced mainly by wind. The product will tend to
 concentrate on one shore, bank or inlet. Booms should be set up immediately to hold the product in
 the confined area in the event of a change in wind direction.

 If the spill does not concentrate itself on or near a shore (no wind effect), then a sweeping action
 using boats and floating booms may be necessary. The essential requirement for this operation is
 that it be done very slowly. The booms should be moved at not more than 40 feet per minute. Once
 the slick is moved to a more convenient location (near shore), the normal operations of removal
 should begin.

 If the slick is small and thin (rainbow effect) and not near the shoreline, an absorbent boom rather
 than a regular boom should be used to sweep the area very slowly to absorb the slick. The product
 may not have to be moved to the shoreline.

 Recovery Methods

 If the containment slick is thick enough, regular suction equipment may be used first; however, in
 most instances, a floating skimmer should be used.

 If the floating skimmer starts picking up excess water (slick becomes thin), drawing the boom closer
 to the bank as product is removed will also keep film of product thicker. However, when the slick
 becomes too thin, the skimmer should be stopped and an absorbent applied (with a boat if necessary)
 to remove the final amounts.

 Product-soaked absorbent can be drawn in as close to the shore as possible with the booms used to
 confine the product initially. The absorbent can then be hand skimmed from the water surface and
 placed in drums, on plastic sheets or in lined roll-off boxes. It should then be disposed of in
 accordance with federal and state requirements. The final think slick (rainbow) on the surface can be
 removed with additional absorbent.




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 6.6       Spill on Small to Medium Sized Streams (Fast-Flowing Creeks)

 Containment Methods

 The techniques used for product containment on fast-flowing shallow streams are quite different from
 the ones used on lakes, ponds, or other still bodies of water. The containment and removal processes
 require a calm stretch of water to allow the product to separate onto the surface of the water. If a calm
 stretch of water does not exist naturally, a deep slow-moving area should be created by berming. The
 berm can be constructed by using sandbags, planks or earth. If an EBS is required, it should be
 situated at an accessible point where the stream has high enough banks. The EBS should be
 constructed soundly and reinforced to support the product and water pressure.
 •   Underflow structure – An underflow structure, typically earthen berm is one method that can be
     used, especially on small creeks. The water is released at the bottom of the EBS using a pipe, or
     multiple pipes, which are installed during construction of the EBS. The flow rate through the
     pipe(s) must be sufficient to keep the EBS from overflowing. The pipe(s) should be installed at
     an angle through the EBS (during construction) so that the height of the discharge end of the
     pipe(s) will determine the height of the water on the upstream side of the EBS.
 •   Overflow structure – Another method of containment is an overflow structure, typically earthen
     berm. An overflow EBS is constructed so that water flows over the EBS, but a deep pool is created
     which reduces the surface velocity of the water, thereby creating a calm stretch of water to
     facilitate containment and recovery efforts. The overflow EBS may be used where large flow
     rates, such as medium sized creeks, are involved.

 With this type of EBS, a separate barrier, such as a floating or stationary boom, must be placed across
 the pool created by the EBS to contain the oil. This boom should be placed at an angle of 45 degrees
 across the pool to decrease the effective water velocity beneath it. Also, this angle helps to
 concentrate the oil at the bank and not along the boom. A second boom should be placed
 approximately 10 to 15 feet downstream of the first on as a secondary backup.

 A stationary boom type barrier can be made of wood planks or other suitable material. The stationary
 boom should be securely constructed and sealed against the bank. The ends of the planks can be
 buried in the banks of the stream and timber stakes driven into the stream bed for support as needed.
 The necessary length of boom will be approximately 1 to 1/2 times the width of the waterway. A
 stationary boom should extend six to eight inches deep into the water and about two inches or higher
 above the water level. If the increase in velocity under the stationary boom is causing the release of
 trapped oil, it should be moved upward slightly. At no time should the stationary boom be immersed
 more than 20% of the depth of the pool created by the overflow structure typical EBS. That is, if the
 pool is three feet deep, do not exceed an immersion depth of seven inches with the stationary boom.

 A floating boom can be used in place of a stationary boom if the created pool’s size (bank to bank)
 and depth will permit. The advantages of using floating boom are the speed of deployment and the
 fact that there is no need for additional support as with stationary boom.
 •   Multiple Impoundments – Since EBS (either underflow or overflow) are seldom perfect, a series
     of EBS may be required. The first one, or two, will contain the bulk of the oil and the ones
     downstream will contain the last traces of oil. Precautions should be taken to ensure that the
     foundations of EBS are not washed away by the released water. If earth is used to construct an
     overflow structure, a layer of earth-filled bags (or other suitable material) should be placed on top
     of the structure to reduce erosion.




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 Recovery Methods

 Once the containment structures are constructed, recovery of the oil from the water surface should
 be the primary consideration. The recovery must be continuous or else build-up of product behind the
 structures or booms might lead to product escaping.

 The type of recovery used depends largely on the amount of oil being contained in a given span of
 time, if the amount of oil moving down the stream is of sufficient quantity, the first structure - EBS or
 fixed boom should contain enough oil for the floating skimmer to work efficiently. The skimmer will
 pump the product and possibly some water to a tank truck or other holding tank. Separated water
 may be released from the bottom of the tank truck if it becomes necessary. Absorbents may be used
 at downstream EBS or booms. It is inadvisable to place an absorbent in the stream prior to or at the
 first EBS in anticipation of the arriving product. Let the product accumulate at the first EBS and use
 the floating skimmer to recover the product.

 The containment and removal of oil on small to medium fast-flowing streams might require a
 combination of underflow or overflow structures, fixed booms, floating booms, skimmers, and
 absorbents to ensure an effective cleanup.

 6.7       Spill on a Small Stream Which Flows into a Lake or Pond

 In certain locations where streams flow into lakes or ponds at relatively short distances, it is
 conceivable that a spill may reach the lake before containment and recovery operations are set up. If
 time permits containment operations to be set up on the stream in question, containment and recovery
 methods can be utilized as described above. However, if oil in the stream is near the lake or if oil is
 flowing into the lake with a significant amount yet to arrive, different containment methods may be
 required.

 Containment Methods

 Oil on a stream flowing into a lake should be boomed as close to the entrance as possible. The boom
 should be positioned on the lake at an angle to the residential stream current so as to direct the
 surface water to a slower moving area. The area where the product is being deflected should be
 enclosed by booms to contain the oil. An additional boom for sweeping the product to the bank may
 be required. This area of containment should not have a current velocity of more than 1/2 knot
 (0.8 ft./sec.), preferably less.

 Removal Methods

 The recovery of oil from the lake or pond’s surface should be handled as described above. For sizable
 releases, collected oil will usually be pumped into tank trucks and transported to a storage facility.

 6.8       Spill in Urban Areas

 Oil spills in urban areas can greatly impact recreational use, human health, wildlife habitat(s), and
 potential result in beach or park closures. Manmade structures along waterways require unique
 protection strategies. Manmade structures could include vertical shore protection structures such as
 seawalls, piers, and bulkheads, as well as riprap revetments and groins, breakwaters, and jetties.
 Vertical structures can be constructed of concrete, wood, and corrugated metal. They usually extend
 below the water surface, although seawalls can have beaches or riprap in front of them. These
 structures are very common along developed shores, particularly in harbors, marinas, and residential
 areas. Maintaining shipping or other kinds of vessel traffic through navigation channels or waterways



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 during a spill response is a difficult consideration because there is usually economic and political
 pressure to re-establish normal operations as soon as possible. This consideration extends to
 vehicular traffic through urban areas. Deploying booms and skimmers or constructing recovery sites
 can conflict with such traffic for several days. Also, passage of deep-draft vessels through the
 waterway can suddenly change water level and flow or create wakes, causing booms to fail. For these
 reasons, recovery efforts must be coordinated through the Unified Command to ensure the
 cooperation of all parties involved.

 Containment Methods

 Containment techniques in an urban area depend greatly on the ability to deploy equipment due to
 obstacles presented by the urban area. Most booming and containment techniques will work with
 slight modifications such as direct anchoring instead of the use of booming buoys.

 Recovery Methods

 Normal recovery techniques work when recovering oil in an urban area. However, recovery can be
 hampered by several situations. Floating debris clogging skimming equipment is the main cause for
 low recovery rates. Another problem for recovery in an urban area is lack of storage space. Often
 traffic problems or lack of access prevent storage equipment such as frac tanks and vacuum trucks
 from approaching the recovery zone. Consideration should be given to these situations and
 appropriate measures taken.

 6.9      Spill in Wetland Areas

 Wetlands, which may include upland and inland marshes, swamps and bogs, are highly sensitive to
 spills because they collect run-off from surrounding environments, and because they are home to
 many commercially and ecologically important species. Wetlands are very susceptible to damage
 and are a high priority to protect. Precautions should be taken so that the recovery effort does not
 cause more damage than that cause by the spill.

 Containment Methods

 Containment booms can be strategically deployed to contain or divert the oil into collection areas
 where skimmers and vacuums can be used to recover the oil. Berms can also be constructed to
 contain or divert the oil. Consideration must be given to the damage that can be caused by containing
 and recovering the oil in the wetland areas. Often, allowing the product to flow to natural collection
 areas and possibly assisting the flow by the use of high volume low pressure water pumps may be
 the best course of action.

 Recovery Methods

 Skimmers and vacuums can be deployed to recover contained oil. Other acceptable response
 techniques might include bioremediation, sorbents and in-situ burning. The use of heavy equipment
 is often not practical because of the damage it can cause to plant and animal life. During recovery,
 specially designed flat bottom shallow draft vessels and the use of plywood or boards may be used
 to reduce the damage caused by recovery personnel. If the water table is high and the oil will not
 permeate the soil, shallow trenches may be dug to collect oil for removal. The Unified Command must
 balance the need to recover the product with the damage caused by active recovery. Considerations
 should be given for long term, passive recovery techniques.




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      6.10        Spill On or Near Groundwater

      Containment Methods

      Product can be contained on, or near, the surface using the containment and recovery methods stated
      above. Where excavating machinery is available, trenches can be used to prevent the migration of
      oil under the surface to nearby groundw ater bearing units . Pathw ays to groundwater such as buried
      utilities, water wells and monitoring wells in the spill path should be a priority and addressed
      immediately to prevent potential infiltration.

       Recovery Methods

      The recovery and removal w ill vary depending on site conditions and hydrogeological characteristics.
      Recovery methods may require guidance and approval from applicable state agency(s). The follow ing
      should be considered:

      •      Passive recovery - Passive recovery can be an effective technique w hereby released product is
             recovered by hand bailing, passive skimming operations, and/or the insertion of absorbent socks
             in the recovery well(s).

      •      Active recovery - Active recovery may include the installation of groundw ater pump and treat
             systems, recovery trenches, vacuum enhanced groundwater recovery, soil vapor extraction, and
             low-temperature thermal desorption .



7.     Plan Administration
      7 .1        Plan Review
      An annual review w ill be completed by the Plan holder. Reviews and updates, if applicable, to this
      plan w ill be documented on this page. Plan review and modifications w ill be initiated and coordinated
      by the Plan Holder in conjunction w ith appropriate stakeholders.

      7 .2        Plan Revisions
       Documentation of plan review and revision will be tracked using table 7.1

          Table 7.1 Plan Review and Revision

          Date                   Reviewer                       Plan Update (if applicable)

          March 29,2018          Justin Minter                  Plan Finalized




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        Table 7.1 Plan Review and Revision

        Date                     Reviewer                           Plan Update (if applicable)




      7 .3       Plan Control and Distribution

      Document distribution list is shown in Table 7.2. The Plan will be provided to participants using cloud-
      based technology in a shared folder. Hard copies of the Plan will be considered uncontrolled.

        Table 7.2 Plan Distribution List

        Name                   Company                                                      Date Plan Sent

        Vernon Ryan            Dakota Access Pipeline                                       30/03/2018
        Brent Cossette         U.S. Army Corps of Engineers - Omaha District                30/03/2018

        Eric Stasch            U.S. Army Corps of Engineers - Oahe Project                  30/03/2018

        Elliot Ward   2        Standing Rock Sioux Tribe                                    30/03/2018

        David Nelson 3         Cheyenne River Sioux Tribe                                   30/03/2018




2   Has been identified as the tribal contacts for response planning, even though the SRST has not participated in
    the response planning process
3   Has been identified as the tribal contacts for response planning, even though the CRST has not participated in
    the response planning process



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                                                       Appendices




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                                                                                                                                                              Dakota Access Pipeline
                                                                                                                                                                  North Dakota
                                                                                                                                 Response Tactic MP 166.0 - Control Point: CP-1


                               Crossing Location:                         Dakota Access Pipeline (DAPL) Milepost (MP) 166.0                                                                    Recommended Equipment                                                   Recommended Personnel
                               Control Point:                             CP-1                                                                                                    Quantity   Description                                          Number        Description
                               GPS                Latitude:               N 46.431372°                                                                                            2          Vacuum Truck (70 barrel or 130 barrel)               1             Supervisor
                               Decimal/Degree:    Longitude:              W -100.596061°                                                                                          3800'      6"X6" Hard containment boom                          2             Vac Operator
                               Upstream Control Point:                    N/A                                                                                                     20         Land Anchor or shoreline pins or 3X T-post           12            Bank Crew
                               Downstream Control Point:                  CP-2, approximately 3.8 miles south along Lake Oahe                                                     2          Danforth or Sarca anchor                             6             Bank Captain
                               Upstream Distance to Crossing Location:    Approximately 0.5 miles north                                                                           20'        Chain                                                12            Boat Crew
                               Closest City:                              Cannon Ball, ND                                                                                         4          Buoys
                                                  Latitude:               N 46.505741°                                                                                            4000'      Rope                                                     Energy Transfer's Staged Equipment at Cannonball Ranch, ND
                                Closest Boat Ramp:
                                                  Longitude:              W -100.584237°                                                                                          2          Skimmers with hyd powerpacks and hoses               Quantity      Description
                               Distance from Ramp:                        5.2 miles upstream from CP-1                                                                            2          1000 gal portable tanks                              1000'         5'x5' Hard Containment Boom
                               Boat Type:                                 Medium to shallow draft work boats                                                                      1          Work boat with bow skimmer/1000gal tank              1,000'        5" Absorbent Boom
                               Dimensions of Dock:                        15 feet by 45 feet                                                                                      5          Work boats                                           18'           Enclosed Response Trailer
                               Water Depth:                               7 to 24 feet                                                                                            6          Towing bridle                                        18'           Response Boat with Motor
                               Closest Airport:                           Bismarck, ND                                                                                            1000'      Towing rope with hardware                            --            Boom Accessories (rope, anchors & buoys)
                               Closest Hospital :                         Linton Hospital (518 N Broadway St, Linton, ND 58552)                                                   1          1M Boom vane                                         2             Portable 4-gas Monitors
                                                                          Dry Conditions: Truck, 4 wheel drive truck, off road vehicle (4 wheeler, etc.)
                               Access Requirements:                       Wet Conditions: Truck, 4 wheel drive truck, off road vehicle, 2,000’ of matting or gravel for
                                                                          access
                                                                          Third party properties and nearby residences, Lake Oahe and tributaries of Lake Oahe, Fish, Wildlife and Waterfowl, the City of Cannon Ball, North Dakota.
                               Resources at Risk:
                                                                          Contact Sunoco's Environmental Department for further details.

                                                                          CP-1 is located on the west bank of Lake Oahe near a pipeline value station at the Lake Oahe crossing at DAPL MP 166.0 and accessible by an unpaved road from west. Based upon the topography of the area, anticipated drainage
                               Receptor Description:
                                                                          patterns from the pipeline are predominantly south within the confines of Lake Oahe toward the town of Cannon Ball, North Dakota.

                               Work Area Description:                     The release point is located within Lake Oahe in a rural residential area.

                                                                          In typical conditions, Lake Oahe has a relatively low velocity. Due to proximity to the pipeline, this location will only be utilized if an incident originates from land and migrates to Lake Oahe from either the river right or river left.
                                                                          Containment boom should be configured to provide containment along the shoreline on the river right bank or within the incoming river/ wetland at the confluence on the river left side of the river where skimming and recovery efforts
                                                                          would be concentrated. If the incident originates from the river right shore, approximately 800 feet of containment boom should be deployed and anchored at the confluence of Lake Oahe. If the incident originates from the river left
                                                                          shore, a series of two 600 foot containment booms with 100 feet of shore protection should be deployed at 45° angles east of the drainage outfall on the river right shore of the incoming river/ wetland. Anchors should be either pre-
                               Response Tactic Implementation:
                                                                          positioned anchors or screw anchors which would be installed at the time of the event. Use additional containment boom for any additional fluids migrating from the collection point due to entrainment. Vacuum recovery/ skimming can
                                                                          be conducted along either bank. Recovery would occur within the collection area utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank. Two sets of skimmers will be positioned
                                                                          with vessels and and approximatly 1,200 foot of containment boom in 600 foot sections for collection and recovery and repositioned as needed. If available, drum skimmer(s) with a portable pump and vacuum truck are preferred for
                                                                          removal.

                                                                          Spill on Land: Containment and recovery methods for releases to land surfaces are outlined in the Geographical Response P an (GRP) on page 10 in Section 4.1                                                                            Spill on
                                                                          Large Streams and Rivers: Containment and recovery methods for releases to large streams and rivers are outlined in the GRP on pages 10 through 12 in Section 4.2                                                            Spill on Ice:
                                                                          Containment and recovery methods for releases on ice are outlined in the GRP on page 12 in Section 4.3                                                                                                                   Spill under Ice:
                                                                          Containment and recovery methods for releases under ice are outlined in the GRP on page 13 in Section 4.4                                                                                                             Spill on Lake of Pond
                                                                          (Calm of Slow-Moving Water): Containment and recovery methods for releases to a Lake or Pond are outlined in the GRP on page 14 in Section 4.5                                                                 Spill on Small to Medium Sized
                               Containment and Recovery Methods:
                                                                          Streams (Fast-Flowing Creek): Containment and recovery methods for releases to small to medium sized streams are outlined in the GRP on pages 14 through 16 in Section 4.6                         Spill on a Small Stream which Flows into
                                                                          a Lake or Pond: Containment and recovery methods for releases to a small stream which flows into a lake or pond are outlined in the GRP on page 16 in Section 4.7
                                                                          Spill in Urban Areas: Containment and recovery methods for releases in urban areas are outlined in the GRP on page 17 in Section 4.8                                                                                                   Spill in
                                                                          Wetland Areas: Containment and recovery methods for releases in a wetlands are outlined in the GRP on pages 17 and 18 in Section 4.9
                                                                          Spill on or near Groundwater: Containment and recovery methods for releases in or near groundwater are outlined in the GRP on page 18 in Section 4 10
                               Staging Area Description:                  Staging can be found on site, north (approximately 1,200' x 1,200'). The access road and staging area may need to be matted in some areas.

                                                                          Security should be minimal but unauthorized personnel should be restricted form the area. Recreational vessel traffic in Lake Oahe should be restricted or shut down completely Recreational vessel traffic in the Missouri River should be
                                                                          restricted or shut down completely. Remedial Action Staff and Oil Spill Response Teams will be competent to conduct the work and current on their training requirements under 29 CFR 1910.120. Personnel working on or near flowing
                                                                          water should maintain personal floatation devices (PFD) at all times. Depending on release volume, air purifying respirators (APR) and/or self contained breathing apparatus (SCBA) may be required for cleanup in this area. Air quality
                               Safety Concerns and Considerations:
                                                                          monitoring could be required. Use appropriate calibrated instrumentation to screen for LEL, O2, H2S, Benzene and Toluene and wear the correct PPE. Underground utilities in this area are unknown. Overhead utilities border the
                                                                          northern edge of the facility from east to west. Additional overhead utilities are present around the site. Due to location, biological hazards may be present. Ensure a small decontamination area is created to prevent cross
                                                                          contamination.
                               Closest Equipment Stored to this Control
                                                                          See above cache of staged response equipment at Energy Transfer's Cannonball Ranch located a 6554 Highway 1806 S. Mandan, ND. N 46.451667 o, W -100.630742o
                               Point:

                               Comments:




Date Strategy Updated: October 3, 2017                                                                                                                                    DRAFT                                                                                                                                              11121237
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                                                                                                   Dakota Access Pipeline
                                                                                                       North Dakota
                                                                             Response Tactic MP 166.0 - Control Point: CP-1


                                                                                          Driving Directions from Bismarck, North Dakota
                                         1. Head west on E Rosser Ave toward N 5th St                              6. Continue onto Hwy 1806
                                         2. Continue straight onto I-94BL W/W Main Ave.                            7. Continue onto Pleasan Valley Rd
                                         3. Turn left onto 3rd St                                                  8. Continue onto 20th St
                                         4. Turn left onto 6th Ave                                                 9. Continue onto 46th St
                                         5. Continue onto ND-1806 S/Fort McKeen Rd                                 10. Continue onto ND-1806, destination will be farm road on left (24.4 miles)




Date Strategy Updated: October 3, 2017                                                                         DRAFT                                                                               11121237
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                                                                           CP-2




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                                                                                                                                                •    PortableTank
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                                                                                                                                                 Staging Areas
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                                                                                                                                                     Ramp)
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                                                                                                                                                   Dataset Flowlines




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                                                                                                                                                           Dakota Access Pipeline
                                                                                                                                                               North Dakota
                                                                                                                              Response Tactic MP 166.0 - Control Point: CP-2

                         Crossing Location:                        Dakota Access Pipeline (DAPL) Milepost (MP) 166.0                                                                        Recommended Equipment                                                         Recommended Personnel
                         Control Point:                            CP-2                                                                                                  Quantity      Description                                                  Number         Description
                         GPS                Latitude:              N 46.379363°                                                                                          2             Vacuum Truck (70 barrel or 130 barrel)                       1              Supervisor
                         Decimal/Degree:    Longitude:             W -100.555179°                                                                                        5800'         6"X6" Hard containment boom                                  2              Vac Operator
                         Upstream Control Point:                   CP-1, approximately 3.8 miles north along Lake Oahe                                                   20            Land Anchor or shoreline pins or 3X T-post                   12             Bank Crew
                         Downstream Control Point:                 CP-3, approximately 4.6 miles south along Lake Oahe                                                   2             Danforth or Sarca anchor                                     6              Bank Captain
                         Upstream Distance to Crossing Location:   Approximately 4.4 miles north                                                                         20'           Chain                                                        12             Boat Crew
                         Closest City:                             Cannon Ball, ND                                                                                       4             Buoys
                                            Latitude:              N 46.379363°                                                                                          8000'         Rope                                                             Energy Transfer's Staged Equipment at Cannonball Ranch, ND
                          Closest Boat Ramp:
                                            Longitude:             W -100.555179°                                                                                        2             Skimmers with hyd powerpacks and hoses                       Quantity      Description
                         Distance from Ramp:                       Small Vessel Boat Ramp Located at this CP                                                             2             1000 gal portable tanks                                      1000'         5'x5' Hard Containment Boom
                         Boat Type:                                Medium to shallow draft work boats                                                                    1             Work boat with bow skimmer/1000gal tank                      1,000'        5" Absorbent Boom
                         Dimensions of Dock:                       10 feet by 20 feet                                                                                    5             Work boats                                                   18'           Enclosed Response Trailer
                         Water Depth:                              7 to 24 feet                                                                                          6             Towing bridle                                                18'           Response Boat with Motor
                         Closest Airport:                          Bismarck, ND                                                                                          1000'         Towing rope with hardware                                    --            Boom Accessories (rope, anchors & buoys)
                         Closest Hospital :                        Linton Hospital (518 N Broadway St, Linton, ND 58552)                                                 1             1M Boom vane                                                 2             Portable 4-gas Monitors
                                                                   Dry Conditions: Truck, 4 wheel drive truck, off road vehicle (4 wheeler, etc.)
                         Access Requirements:                      Wet Conditions: Truck, 4 wheel drive truck, off road vehicle, 2,000’ of matting or gravel for
                                                                   access
                                                                   Third party properties and nearby residences, Lake Oahe and tributaries of Lake Oahe, Fish, Wildlife and Waterfowl, the City of Cannon Ball, North Dakota.
                         Resources at Risk:
                                                                   Contact Sunoco's Environmental Department for further details.

                                                                   CP-2 is located on the east bank of Lake Oahe at a small vessel boat ramp and accessible by 5th Avenue Southwest from the north. Based upon the topography of the area, anticipated drainage patterns from the pipeline are predominantly south
                         Receptor Description:
                                                                   within the confines of Lake Oahe toward the town of Cannon Ball, North Dakota.
                         Work Area Description:                    The release point is located within Lake Oahe in a rural residential area.


                                                                   In typical conditions, Lake Oahe has a relatively low velocity. If the release reaches Lake Oahe, an open deflection strategy to a containment and recovery point on the river right shore should be deployed to allow for continued boat traffic on the
                                                                   river. Approximately 2,600 feet of containment boom should be deployed at three confluences of Lake Oahe on the river left shoreline. In addition, 1,800 feet of containment boom should be installed at two confluences of Lake Oahe on the river
                                                                   right shoreline. Be sure to have the proper boom angle with the boom descending from the upstream point of the release point to a collection point. Use additional containment boom for any additional fluids migrating from the collection point
                         Response Tactic Implementation:
                                                                   due to entrainment. Deflection angles should be determined and established based upon wind and water velocity influence. Vacuum recovery/ skimming can be conducted along either bank. Recovery would occur within the collection area
                                                                   utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank. Two sets of skimmers will be positioned with vessels and approximately 1,200 foot of containment boom in 600 foot sections for
                                                                   collection and recovery and repositioned as needed. If available, drum skimmer(s) with a portable pump and vacuum truck are preferred for removal.

                                                                   Spill on Land: Containment and recovery methods for releases to land surfaces are outlined in the Geographical Response Plan (GRP) on page 10 in Section 4.1                                                                              Spill on Large
                                                                   Streams and Rivers: Containment and recovery methods for releases to large streams and rivers are outlined in the GRP on pages 10 through 12 in Section 4.2                                                               Spill on Ice: Containment and
                                                                   recovery methods for releases on ice are outlined in the GRP on page 12 in Section 4.3                                                                                                                 Spill under Ice: Containment and recovery
                                                                   methods for releases under ice are outlined in the GRP on page 13 in Section 4.4                                                                                                         Spill on Lake of Pond (Calm of Slow-Moving Water):
                                                                   Containment and recovery methods for releases to a Lake or Pond are outlined in the GRP on page 14 in Section 4.5                                                              Spill on Small to Medium Sized Streams (Fast-Flowing Creek):
                         Containment and Recovery Methods:
                                                                   Containment and recovery methods for releases to small to medium sized streams are outlined in the GRP on pages 14 through 16 in Section 4.6                        Spill on a Small Stream which Flows into a Lake or Pond: Containment and
                                                                   recovery methods for releases to a small stream which flows into a lake or pond are outlined in the GRP on page 16 in Section 4.7                                                                                  Spill in Urban Areas: Containment and
                                                                   recovery methods for releases in urban areas are outlined in the GRP on page 17 in Section 4.8                                                                                                 Spill in Wetland Areas: Containment and recovery
                                                                   methods for releases in a wetlands are outlined in the GRP on pages 17 and 18 in Section 4.9                                                                                                                Spill on or near Groundwater: Containment
                                                                   and recovery methods for releases in or near groundwater are outlined in the GRP on page 18 in Section 4.10
                         Staging Area Description:                 Staging can be found on site, north (approximately 750' x 1,500'). The access road and staging area may need to be matted in some areas.

                                                                   Security should be minimal but unauthorized personnel should be restricted form the area. Recreational vessel traffic in Lake Oahe should be restricted or shut down completely Recreational vessel traffic in the Missouri River should be restricted
                                                                   or shut down completely. Remedial Action Staff and Oil Spill Response Teams will be competent to conduct the work and current on their training requirements under 29 CFR 1910.120. Personnel working on or near flowing water should
                         Safety Concerns and Considerations:       maintain personal floatation devices (PFD) at all times. Depending on release volume, air purifying respirators (APR) and/or self contained breathing apparatus (SCBA) may be required for cleanup in this area. Air quality monitoring could be
                                                                   required. Use appropriate calibrated instrumentation to screen for LEL, O2, H2S, Benzene and Toluene and wear the correct PPE. Underground utilities in this area are unknown. Overhead utilities border the northern edge of the facility from east
                                                                   to west. Additional overhead utilities are present around the site. Due to location, biological hazards may be present. Ensure a small decontamination area is created to prevent cross contamination.

                         Closest Equipment Stored to this Control
                                                                  See above cache of staged response equipment at Energy Transfer's Cannonball Ranch located a 6554 Highway 1806 S. Mandan, ND. N 46.451667o, W -100.630742o
                         Point:


                         Comments:




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                                                                                                        Dakota Access Pipeline
                                                                                                            North Dakota
                                                                                Response Tactic MP 166.0 - Control Point: CP-2

                                                                                               Driving Directions from Bismarck, North Dakota
                                         1. Head east on E Rosser Ave toward N 6th St                                  6. Turn right at the 1st cross street onto ND-1804 S/S 9th St/University Dr
                                         2. Turn right at the 2nd cross street onto N 7th St                           7. Turn right onto 7th Ave SW
                                         3. Continue straight onto S 7th St                                            8. Turn right toward 5th Ave SW
                                         4. Continue straight to stay on S 7th St                                      9. Continue onto 5th Ave SW destination will be at the end (1.1 miles)
                                         5. Turn left onto E Bismarck Expy




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                                                Geographical Response Plan 111121237 (1)
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                                                                                                                                                            Legend
                                                                                                                                                             •   PortableTank
                                                                                                                                                             ®   Water Intakes
                                                                                                                                                             ~ Skimmers
                                                                                                                                                             0   Control Points


                                                                                                                                                             @ Staging
                                                                                                                                                            D Approximate Limits of
                                                                                                                                                              staging Areas
                                                                                                                                                             - -Vacuum Trucks




                                                                 Pape, SizeANSI B                                                                                       Project No.
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                                                                                                                                   DAKOTA ACCESS PIPELINE
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                                                            Hori21>ntal Oat1111: WGS 1984
                                                                 Grid: GCS WGS 1984                                      h d    Lake Oahe Crossing Control
                                                                                                                                       Point CP-3                            Sheet 3 of 4
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                                                                                                          Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 44 of 270
                                                                                                                                                           Dakota Access Pipeline
                                                                                                                                                               North Dakota
                                                                                                                              Response Tactic MP 166.0 - Control Point: CP-3

                      Crossing Location:                        Dakota Access Pipeline (DAPL) Milepost (MP) 166.0                                                                            Recommended Equipment                                                             Recommended Personnel
                      Control Point:                            CP-3, approximately 4.6 miles north along Lake Oahe                                                       Quantity      Description                                                      Number         Description
                      GPS                Latitude:              N 46.312721°                                                                                              2             Vacuum Truck (70 barrel or 130 barrel)                           1              Supervisor
                      Decimal/Degree:    Longitude:             W -100.540305°                                                                                            5800'         6"X6" Hard containment boom                                      2              Vac Operator
                      Upstream Control Point:                   CP-2, approximately 4.6 miles north along Lake Oahe                                                       20            Land Anchor or shoreline pins or 3X T-post                       12             Bank Crew
                      Downstream Control Point:                 CP-4, approximately 9.2 miles south along Lake Oahe                                                       2             Danforth or Sarca anchor                                         6              Bank Captain
                      Upstream Distance to Crossing Location:   Approximately 9 miles north                                                                               20'           Chain                                                            12             Boat Crew
                      Closest City:                             Emmons, ND                                                                                                4             Buoys
                                         Latitude:              N 46.267869°                                                                                              8000'         Rope                                                                 Energy Transfer's Staged Equipment at Cannonball Ranch, ND
                       Closest Boat Ramp:
                                         Longitude:             W -100.580345°                                                                                            2             Skimmers with hyd powerpacks and hoses                           Quantity      Description
                      Distance from Ramp:                       4.2 miles downstream from CP-3                                                                            2             1000 gal portable tanks                                          1000'         5'x5' Hard Containment Boom
                      Boat Type:                                Medium to shallow draft work boats                                                                        1             Work boat with bow skimmer/1000gal tank                          1,000'        5" Absorbent Boom
                      Dimensions of Dock:                       10 feet by 20 feet                                                                                        5             Work boats                                                       18'           Enclosed Response Trailer
                      Water Depth:                              40 to 75 feet                                                                                             6             Towing bridle                                                    18'           Response Boat with Motor
                      Closest Airport:                          Bismarck, ND                                                                                              1000'         Towing rope with hardware                                        --            Boom Accessories (rope, anchors & buoys)
                      Closest Hospital :                        Linton Hospital (518 N Broadway St, Linton, ND 58552)                                                     1             1M Boom vane                                                     2             Portable 4-gas Monitors
                                                                Dry Conditions: Truck, 4 wheel drive truck, off road vehicle (4 wheeler, etc.)
                      Access Requirements:                      Wet Conditions: Truck, 4 wheel drive truck, off road vehicle, 2,000’ of matting or gravel for
                                                                access
                                                                Third party properties and nearby residences, Lake Oahe and tributaries of Lake Oahe, Fish, Wildlife and Waterfowl, the City of Cannon Ball, North Dakota.
                      Resources at Risk:
                                                                Contact Sunoco's Environmental Department for further details.

                                                                CP-3 is located on the east bank of Lake Oahe and accessible by 76th St SW from the north. Based upon the topography of the area, anticipated drainage patterns from the pipeline are predominantly south within the confines of Lake Oahe toward the
                      Receptor Description:
                                                                town of Cannon Ball, North Dakota.

                      Work Area Description:                    The release point is located within Lake Oahe in a rural residential area.


                                                                In typical conditions, Lake Oahe has a relatively low velocity. If the release reaches Lake Oahe, an open deflection strategy to a containment and recovery point on the river right shore should be deployed to allow for continued boat traffic on the river.
                                                                Approximately 1,900 feet of containment boom should be deployed at two confluences of Lake Oahe on the river left shoreline. In addition, 1,600 feet of containment boom should be installed at two confluences of Lake Oahe on the river right
                                                                shoreline. Be sure to have the proper boom angle with the boom descending from the upstream point of the release point to a collection point. Use additional containment boom for any additional fluids migrating from the collection point due to
                      Response Tactic Implementation:
                                                                entrainment. Deflection angles should be determined and established based upon wind and water velocity influence. Vacuum recovery/ skimming can be conducted along either bank. Recovery would occur within the collection area utilizing shallow
                                                                water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank. Two sets of skimmers will be positioned with vessels and approximately 1,200 foot of containment boom in 600 foot sections for collection and recovery
                                                                and repositioned as needed. If available, drum skimmer(s) with a portable pump and vacuum truck are preferred for removal.

                                                                Spill on Land: Containment and recovery methods for releases to land surfaces are outlined in the Geographical Response Plan (GRP) on page 10 in Section 4.1                                                                       Spill on Large Streams
                                                                and Rivers: Containment and recovery methods for releases to large streams and rivers are outlined in the GRP on pages 10 through 12 in Section 4.2                                                        Spill on Ice: Containment and recovery methods
                                                                for releases on ice are outlined in the GRP on page 12 in Section 4.3                                                                                                             Spill under Ice: Containment and recovery methods for releases under ice
                                                                are outlined in the GRP on page 13 in Section 4.4                                                                                                        Spill on Lake of Pond (Calm of Slow-Moving Water): Containment and recovery methods for
                                                                releases to a Lake or Pond are outlined in the GRP on page 14 in Section 4.5                                                         Spill on Small to Medium Sized Streams (Fast-Flowing Creek): Containment and recovery methods for releases to
                      Containment and Recovery Methods:
                                                                small to medium sized streams are outlined in the GRP on pages 14 through 16 in Section 4.6                   Spill on a Small Stream which Flows into a Lake or Pond: Containment and recovery methods for releases to a small stream which flows
                                                                into a lake or pond are outlined in the GRP on page 16 in Section 4.7                                                                           Spill in Urban Areas: Containment and recovery methods for releases in urban areas are outlined in the
                                                                GRP on page 17 in Section 4.8                                                                                              Spill in Wetland Areas: Containment and recovery methods for releases in a wetlands are outlined in the GRP on pages 17 and
                                                                18 in Section 4.9                                                                                                         Spill on or near Groundwater: Containment and recovery methods for releases in or near groundwater are outlined in the GRP
                                                                on page 18 in Section 4.10
                      Staging Area Description:                 Staging can be found east of CP-4 (approximately 2,000' x 2,500'). The access road and staging area may need to be matted in some areas.


                                                                Security should be minimal but unauthorized personnel should be restricted form the area. Recreational vessel traffic in Lake Oahe should be restricted or shut down completely Recreational vessel traffic in the Missouri River should be restricted or
                                                                shut down completely. Remedial Action Staff and Oil Spill Response Teams will be competent to conduct the work and current on their training requirements under 29 CFR 1910.120. Personnel working on or near flowing water should maintain
                      Safety Concerns and Considerations:       personal floatation devices (PFD) at all times. Depending on release volume, air purifying respirators (APR) and/or self contained breathing apparatus (SCBA) may be required for cleanup in this area. Air quality monitoring could be required. Use
                                                                appropriate calibrated instrumentation to screen for LEL, O2, H2S, Benzene and Toluene and wear the correct PPE. Underground utilities in this area are unknown. Overhead utilities border the northern edge of the facility from east to west. Additional
                                                                overhead utilities are present around the site. Due to location, biological hazards may be present. Ensure a small decontamination area is created to prevent cross contamination.

                      Closest Equipment Stored to this Control
                                                               See above cache of staged response equiment at Energy Transfer's Cannonball Ranch located a 6554 Highway 1806 S. Mandan, ND. N 46.451667o, W -100.630742o
                      Point:


                      Comments:




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                                                                                                        Dakota Access Pipeline
                                                                                                            North Dakota
                                                                                Response Tactic MP 166.0 - Control Point: CP-3

                                                                                               Driving Directions from Bismarck, North Dakota
                                         1. Head east on E Rosser Ave toward N 6th St                                  6. Turn right at the 1st cross street onto ND-1804 S/S 9th St/University Dr
                                         2. Turn right at the 2nd cross street onto N 7th St                           7. Turn right onto 76th St SW
                                         3. Continue straight onto S 7th St                                            8. Slight right to stay on 76th St SW destination will be at the end (0.4 miles)
                                         4. Continue straight to stay on S 7th St
                                         5. Turn left onto E Bismarck Expy




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                                                                           CP-4




                                                Geographical Response Plan | 11121237 (1)
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                                                                                                                                                          Legend
                                                                                                                                                             • PortableTank
                                                                                                                                                           ~ Skimmers
                                                                                                                                                           0 Control Points
                                                                                                                                                          IIEa Containment Boom
                                                                                                                                                         ~       Underflow Structures
                                                                                                                                                          l ]Tribal Lands
                                                                                                                                                          __. National Hydraulic
                                                                                                                                                              Dataset Flowlines




                                                                 Pape, SizeANSI B                                                                                       Project No.
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                                                                 Grid: GCS WGS 1984                                     h d    Lake Oahe Crossing Control
                                                                                                                                      Point CP-4                             Sheet 4 of 4
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                                                                                                            Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 48 of 270
                                                                                                                                                              Dakota Access Pipeline
                                                                                                                                                                  North Dakota
                                                                                                                                 Response Tactic MP 166.0 - Control Point: CP-4


                            Crossing Location:                         Dakota Access Pipeline (DAPL) Milepost (MP) 166.0                                                                      Recommended Equipment                                                         Recommended Personnel
                            Control Point:                             CP-4                                                                                               Quantity      Description                                                   Number         Description
                            GPS                Latitude:               N 46.197489°                                                                                       2             Vacuum Truck (70 barrel or 130 barrel)                        1              Supervisor
                            Decimal/Degree:    Longitude:              W -100.582313°                                                                                     4900'         6"X6" Hard containment boom                                   2              Vac Operator
                            Upstream Control Point:                    CP-3, approximately 9.2 miles north along Lake Oahe                                                20            Land Anchor or shoreline pins or 3X T-post                    12             Bank Crew
                            Downstream Control Point:                  N/A                                                                                                16            Danforth or Sarca anchor                                      6              Bank Captain
                            Upstream Distance to Crossing Location:    Approximately 17 miles north                                                                       320'          Chain                                                         12             Boat Crew
                            Closest City:                              Emmons, ND                                                                                         32            Buoys
                                               Latitude:               N 46.250933°                                                                                       1200'         Rope                                                              Energy Transfer's Staged Equipment at Cannonball Ranch, ND
                             Closest Boat Ramp:
                                               Longitude:              W -100.580345°                                                                                     2             Skimmers with hyd powerpacks and hoses                        Quantity      Description
                            Distance from Ramp:                        4.25 miles uptream from CP-5                                                                       2             1000 gal portable tanks                                       1000'         5'x5' Hard Containment Boom
                            Boat Type:                                 Medium to shallow draft work boats                                                                 1             Work boat with bow skimmer/1000gal tank                       1,000'        5" Absorbent Boom
                            Dimensions of Dock:                        10 feet by 20 feet                                                                                 5             Work boats                                                    18'           Enclosed Response Trailer
                            Water Depth:                               20 to 50 feet                                                                                      6             Towing bridle                                                 18'           Response Boat with Motor
                            Closest Airport:                           Fort Yates, ND                                                                                     1000'         Towing rope with hardware                                     --            Boom Accessories (rope, anchors & buoys)
                            Closest Hospital :                         Linton Hospital (518 N Broadway St, Linton, ND 58552)                                              1             1M Boom vane                                                  2             Portable 4-gas Monitors
                                                                       Dry Conditions: Truck, 4 wheel drive truck, off road vehicle (4 wheeler, etc.)
                            Access Requirements:                       Wet Conditions: Truck, 4 wheel drive truck, off road vehicle, 2,000’ of matting or gravel for
                                                                       access
                            Resources at Risk:                         Third party properties and nearby residences, Lake Oahe and tributaries of Lake Oahe, Fish, Wildlife and Waterfowl, the City of Cannon Ball, North Dakota. Contact Sunoco's Environmental Department for further details.

                                                                       CP-4 is located on the east bank of Lake Oahe and accessible by 76th St SW from the north. Based upon the topography of the area, anticipated drainage patterns from the pipeline are predominantly south within the confines of Lake Oahe
                            Receptor Description:
                                                                       toward the town of Cannon Ball, North Dakota.

                            Work Area Description:                     The release point is located within Lake Oahe in a rural residential area.


                                                                       In typical conditions, Lake Oahe has a relatively low velocity. If the release reaches Lake Oahe, an open deflection strategy to a containment and recovery point on the river right shore should be deployed to allow for continued boat traffic on
                                                                       the river. Approximately 600 feet of containment boom should be deployed at one confluences of Lake Oahe on the river left shoreline. In addition, 2,900 feet of containment boom should be installed at two confluences of Lake Oahe on the
                                                                       river right shoreline. Be sure to have the proper boom angle with the boom descending from the upstream point of the release point to a collection point. Use additional containment boom for any additional fluids migrating from the
                            Response Tactic Implementation:
                                                                       collection point due to entrainment. Deflection angles should be determined and established based upon wind and water velocity influence. Vacuum recovery/ skimming can be conducted along either bank. Recovery would occur within the
                                                                       collection area utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank. Two sets of skimmers will be positioned with vessels and approximately 1,200 foot of containment boom in 600
                                                                       foot sections for collection and recovery and repositioned as needed. If available, drum skimmer(s) with a portable pump and vacuum truck are preferred for removal.


                                                                       Spill on Land: Containment and recovery methods for releases to land surfaces are outlined in the Geographical Response Plan (GRP) on page 10 in Section 4.1                                                                              Spill on Large
                                                                       Streams and Rivers: Containment and recovery methods for releases to large streams and rivers are outlined in the GRP on pages 10 through 12 in Section 4.2                                                              Spill on Ice: Containment and
                                                                       recovery methods for releases on ice are outlined in the GRP on page 12 in Section 4.3                                                                                                                  Spill under Ice: Containment and recovery
                                                                       methods for releases under ice are outlined in the GRP on page 13 in Section 4.4                                                                                                           Spill on Lake of Pond (Calm of Slow-Moving Water):
                                                                       Containment and recovery methods for releases to a Lake or Pond are outlined in the GRP on page 14 in Section 4.5                                                               Spill on Small to Medium Sized Streams (Fast-Flowing Creek):
                            Containment and Recovery Methods:
                                                                       Containment and recovery methods for releases to small to medium sized streams are outlined in the GRP on pages 14 through 16 in Section 4.6                         Spill on a Small Stream which Flows into a Lake or Pond: Containment and
                                                                       recovery methods for releases to a small stream which flows into a lake or pond are outlined in the GRP on page 16 in Section 4.7                                                                                  Spill in Urban Areas: Containment
                                                                       and recovery methods for releases in urban areas are outlined in the GRP on page 17 in Section 4.8                                                                                                    Spill in Wetland Areas: Containment and
                                                                       recovery methods for releases in a wetlands are outlined in the GRP on pages 17 and 18 in Section 4.9                                                                                                                 Spill on or near Groundwater:
                                                                       Containment and recovery methods for releases in or near groundwater are outlined in the GRP on page 18 in Section 4.10
                            Staging Area Description:                  Staging can be found east of CP-4 (approximately 2,000' x 2,500'). The access road and staging area may need to be matted in some areas.

                                                                       Security should be minimal but unauthorized personnel should be restricted form the area. Recreational vessel traffic in Lake Oahe should be restricted or shut down completely Recreational vessel traffic in the Missouri River should be
                                                                       restricted or shut down completely. Remedial Action Staff and Oil Spill Response Teams will be competent to conduct the work and current on their training requirements under 29 CFR 1910.120. Personnel working on or near flowing water
                            Safety Concerns and Considerations:        should maintain personal floatation devices (PFD) at all times. Depending on release volume, air purifying respirators (APR) and/or self contained breathing apparatus (SCBA) may be required for cleanup in this area. Air quality monitoring
                                                                       could be required. Use appropriate calibrated instrumentation to screen for LEL, O2, H2S, Benzene and Toluene and wear the correct PPE. Underground utilities in this area are unknown. Overhead utilities border the northern edge of the
                                                                       facility from east to west. Additional overhead utilities are present around the site. Due to location, biological hazards may be present. Ensure a small decontamination area is created to prevent cross contamination.

                            Closest Equipment Stored to this Control
                                                                       See above cache of staged response equiment at Energy Transfer's Cannonball Ranch located a 6554 Highway 1806 S. Mandan, ND. N 46.451667 o, W -100.630742o
                            Point:


                            Comments:




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                                                                                                        Dakota Access Pipeline
                                                                                                            North Dakota
                                                                                Response Tactic MP 166.0 - Control Point: CP-4


                                                                                               Driving Directions from Bismarck, North Dakota
                                         1. Head east on E Rosser Ave toward N 6th St                                   6. Turn right at the 1st cross street onto ND-1804 S/S 9th St/University Dr
                                         2. Turn right at the 2nd cross street onto N 7th St                            7. Turn right to stay on ND-1804 S
                                         3. Continue straight onto S 7th St                                             8. Turn right onto 87th St SW
                                         4. Continue straight to stay on S 7th St                                       9. Turn right onto 10th Ave SW destination will be at the end (1.1 miles)
                                         5. Turn left onto E Bismarck Expy




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                                                Geographical Response Plan 111121237 (1)
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                                                                                                                                                                 Legend
                                                                                                                                                             =-::i Dakota Access Pipeline
                                                                                                                                                                 ® Ice Slotting Locations




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                                                                                                                                   Lake Oahe Crossing
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                                                                             IS-1




                                                Geographical Response Plan | 11121237 (1)
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                                                                                                                                                           Legend
                                                                                                                                                               ® Ice Slotting Locations
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                                                                                                                                                           ·       J-Slot
                                                                                                                                                               ~   Skimmers




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                                                                                                                             Lake Oahe Crossing
                                                                                                                                 Ice Slotting
                                                                                                                                                                               Date Mar 29, 2018



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                                                                                                                Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 54 of 270
                                                                                                                                                              Dakota Access Pipeline
                                                                                                                                                                  North Dakota
                                                                                                                                 Response Tactic MP 166.0 - Control Point: IS-1


                                Crossing Location:                        Dakota Access Pipeline (DAPL) Milepost (MP) 166.0                                                                       Recommended Equipment                                                      Recommended Personnel
                                Control Point:                            IS-1                                                                                                    Quantity     Description                                            Number         Description
                                GPS                Latitude:              N 46.378991°                                                                                            1            Ditch Witch (or below)                                 1              Supervisor
                                Decimal/Degree:    Longitude:             W -100.555758°                                                                                          1            Rube Witch w chain saw                                 3              Vac Operator
                                Upstream Control Point:                   N/A                                                                                                     >50 ft       Visqueen                                               12             Slotting Crew
                                Downstream Control Point:                 IS-2, approximately 4.2 miles south along Lake Oahe                                                     >50 ft       Boom
                                Upstream Distance to Crossing Location:   Approximately 3.8 miles north                                                                           2            ATVs
                                Closest City:                             Cannon Ball, ND                                                                                         225 ft       Plywood
                                Water Depth:                              7 to 24 feet                                                                                            100+         Wooden wedges                                              Energy Transfer's Staged Equipment at Cannonball Ranch, ND
                                Closest Airport:                          Bismarck, ND                                                                                            3            drum skimmers                                          Quantity       Description
                                Closest Hospital :                        Linton Hospital (518 N Broadway St, Linton, ND 58552)                                                   1000+ ft     hose
                                                                                                                                                                                  3            Vac Truck
                                                                          Dry Conditions: Truck, 4 wheel drive truck, off road vehicle (4 wheeler, etc.)
                                Access Requirements:                      Wet Conditions: Truck, 4 wheel drive truck, off road vehicle, 2,000’ of matting or gravel for
                                                                          access




                                                                          Third party properties and nearby residences, Lake Oahe and tributaries of Lake Oahe, Fish, Wildlife and Waterfowl, the City of Cannon Ball, North Dakota.
                                Resources at Risk:
                                                                          Contact Sunoco's Environmental Department for further details.

                                                                          IS-1 is located on the east bank of Lake Oahe near a pipeline value station at the Lake Oahe crossing at DAPL MP 166.0 and accessible by an unpaved road from east. Based upon the topography of the area, anticipated drainage patterns
                                Receptor Description:
                                                                          from the pipeline are predominantly south within the confines of Lake Oahe toward the town of Cannon Ball, North Dakota.

                                Work Area Description:                    The release point is located within Lake Oahe in a rural residential area.


                                                                          In typical conditions, Lake Oahe has a relatively low velocity. Due to proximity to the pipeline, this location will only be utilized if an incident originates from land and migrates to Lake Oahe from either the river right or river left. Ice
                                                                          slotting operations should be configured to provide containment along the shoreline on the river right bank. Vacuum recovery/ skimming can be conducted at the ice slot near the right bank. Recovery would occur within the collection
                                Response Tactic Implementation:
                                                                          area utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank. Three sets of skimmers will be positioned on shore and 225 pieces of plywood for collection and recovery and
                                                                          repositioned as needed. If available, drum skimmer(s) with a portable pump and vacuum truck are preferred for removal.



                                                                          Spill on Land: Containment and recovery methods for releases to land surfaces are outlined in the Geographical Response Plan (GRP) on page 10 in Section 4.1                                                                              Spill on
                                                                          Large Streams and Rivers: Containment and recovery methods for releases to large streams and rivers are outlined in the GRP on pages 10 through 12 in Section 4.2
                                                                          Spill on Ice: Containment and recovery methods for releases on ice are outlined in the GRP on page 12 in Section 4.3                                                                                                                       Spill
                                                                          under Ice: Containment and recovery methods for releases under ice are outlined in the GRP on page 13 in Section 4.4                                                                                                                  Spill on Lake
                                                                          of Pond (Calm of Slow-Moving Water): Containment and recovery methods for releases to a Lake or Pond are outlined in the GRP on page 14 in Section 4.5                                                                      Spill on Small to
                                Containment and Recovery Methods:
                                                                          Medium Sized Streams (Fast-Flowing Creek): Containment and recovery methods for releases to small to medium sized streams are outlined in the GRP on pages 14 through 16 in Section 4.6
                                                                          Spill on a Small Stream which Flows into a Lake or Pond: Containment and recovery methods for releases to a small stream which flows into a lake or pond are outlined in the GRP on page 16 in Section 4.7
                                                                          Spill in Urban Areas: Containment and recovery methods for releases in urban areas are outlined in the GRP on page 17 in Section 4.8                                                                                                        Spill in
                                                                          Wetland Areas: Containment and recovery methods for releases in a wetlands are outlined in the GRP on pages 17 and 18 in Section 4.9
                                                                          Spill on or near Groundwater: Containment and recovery methods for releases in or near groundwater are outlined in the GRP on page 18 in Section 4.10


                                Staging Area Description:                 Staging can be found on site, east on beach (approximately 150' x 150'), minimal staging on the access road. The access road and staging area may need to be matted in some areas.


                                                                          Security should be minimal but unauthorized personnel should be restricted form the area. Recreational vessel traffic in Lake Oahe should be restricted or shut down completely Recreational vessel traffic in the Missouri River should be
                                                                          restricted or shut down completely. Remedial Action Staff and Oil Spill Response Teams will be competent to conduct the work and current on their training requirements under 29 CFR 1910.120. Personnel working on or near ice water
                                                                          should maintain personal floatation devices (PFD), harness and landyard at all times. Depending on release volume, air purifying respirators (APR) and/or self contained breathing apparatus (SCBA) may be required for cleanup in this
                                Safety Concerns and Considerations:
                                                                          area. Air quality monitoring could be required. Use appropriate calibrated instrumentation to screen for LEL, O2, H2S, Benzene and Toluene and wear the correct PPE. Underground utilities in this area are unknown. Overhead utilities
                                                                          border the northern edge of the facility from east to west. Additional overhead utilities are present around the site. Due to location, biological hazards may be present. Ensure a small decontamination area is created to prevent cross
                                                                          contamination. Check ice thickeness for safe bearing capacity before working on ice.

                                Closest Equipment Stored to this Control
                                                                         See above cache of staged response equipment at Energy Transfer's Cannonball Ranch located a 6554 Highway 1806 S. Mandan, ND. N 46.451667o, W -100.630742o
                                Point:


                                Comments:




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                                                                                                    Dakota Access Pipeline
                                                                                                        North Dakota
                                                                             Response Tactic MP 166.0 - Control Point: IS-1


                                                                                           Driving Directions from Bismarck, North Dakota
                                          1. Head east on E Rosser Ave toward N 6th St
                                          2. Follow ND-1804 to 7th Ave SW in West Emmons
                                          3. Continue on 7th Ave SW. Drive to 5th Ave SW




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                                                                             IS-2




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                                                                                                                                                           Legend
                                                                                                                                                               ® Ice Slotting Locations
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                                                                                                                             Lake Oahe Crossing
                                                                                                                                 Ice Slotting
                                                                                                                                                                               Date Mar 29, 2018



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                                                                                                                                                               Dakota Access Pipeline
                                                                                                                                                                   North Dakota
                                                                                                                                  Response Tactic MP 166.0 - Control Point: IS-2


                                Crossing Location:                        Dakota Access Pipeline (DAPL) Milepost (MP) 166.0                                                                        Recommended Equipment                                                      Recommended Personnel
                                Control Point:                            IS-2                                                                                                    Quantity      Description                                            Number         Description
                                GPS                Latitude:              N 46.321783°                                                                                            1             Ditch Witch (or below)                                 1              Supervisor
                                Decimal/Degree:    Longitude:             W -100.559042°                                                                                          1             Rube Witch w chain saw                                 3              Vac Operator
                                Upstream Control Point:                   IS-1, approximately 4.2 miles north along Lake Oahe                                                     >50 ft        Visqueen                                               12             Slotting Crew
                                Downstream Control Point:                 IS-3, approximately 4.0 miles south along Lake Oahe                                                     >50 ft        Boom
                                Upstream Distance to Crossing Location:   Approximately 7.9 miles north                                                                           2             ATVs
                                Closest City:                             Cannon Ball, ND                                                                                         225 ft        Plywood
                                Water Depth:                              7 to 24 feet                                                                                            100+          Wooden wedges                                              Energy Transfer's Staged Equipment at Cannonball Ranch, ND
                                Closest Airport:                          Bismarck, ND                                                                                            3             drum skimmers                                          Quantity       Description
                                Closest Hospital :                        Linton Hospital (518 N Broadway St, Linton, ND 58552)                                                   1000+ ft      hose
                                                                                                                                                                                  3             Vac Truck
                                                                          Dry Conditions: Truck, 4 wheel drive truck, off road vehicle (4 wheeler, etc.)
                                Access Requirements:                      Wet Conditions: Truck, 4 wheel drive truck, off road vehicle, 2,000’ of matting or gravel for
                                                                          access




                                                                          Third party properties and nearby residences, Lake Oahe and tributaries of Lake Oahe, Fish, Wildlife and Waterfowl, the City of Cannon Ball, North Dakota.
                                Resources at Risk:
                                                                          Contact Sunoco's Environmental Department for further details.

                                                                          IS-2 is located on the west bank of Lake Oahe near a pipeline value station at the Lake Oahe crossing at DAPL MP 166.0 and accessible by an unpaved road from west. Based upon the topography of the area, anticipated drainage
                                Receptor Description:
                                                                          patterns from the pipeline are predominantly south within the confines of Lake Oahe toward the town of Cannon Ball, North Dakota.

                                Work Area Description:                    The release point is located within Lake Oahe in a rural residential area.


                                                                          In typical conditions, Lake Oahe has a relatively low velocity. Due to proximity to the pipeline, this location will only be utilized if an incident originates from land and migrates to Lake Oahe from either the river right or river left. Ice
                                                                          slotting operations should be configured to provide containment along the shoreline on the river left bank. Vacuum recovery/ skimming can be conducted at the ice slot near the right bank. Recovery would occur within the collection
                                Response Tactic Implementation:
                                                                          area utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank. Three sets of skimmers will be positioned on shore and 225 pieces of plywood for collection and recovery and
                                                                          repositioned as needed. If available, drum skimmer(s) with a portable pump and vacuum truck are preferred for removal.



                                                                          Spill on Land: Containment and recovery methods for releases to land surfaces are outlined in the Geographical Response Plan (GRP) on page 10 in Section 4.1                                                                                Spill on
                                                                          Large Streams and Rivers: Containment and recovery methods for releases to large streams and rivers are outlined in the GRP on pages 10 through 12 in Section 4.2
                                                                          Spill on Ice: Containment and recovery methods for releases on ice are outlined in the GRP on page 12 in Section 4.3                                                                                                                         Spill
                                                                          under Ice: Containment and recovery methods for releases under ice are outlined in the GRP on page 13 in Section 4.4                                                                                                                    Spill on Lake
                                                                          of Pond (Calm of Slow-Moving Water): Containment and recovery methods for releases to a Lake or Pond are outlined in the GRP on page 14 in Section 4.5                                                                        Spill on Small to
                                Containment and Recovery Methods:
                                                                          Medium Sized Streams (Fast-Flowing Creek): Containment and recovery methods for releases to small to medium sized streams are outlined in the GRP on pages 14 through 16 in Section 4.6
                                                                          Spill on a Small Stream which Flows into a Lake or Pond: Containment and recovery methods for releases to a small stream which flows into a lake or pond are outlined in the GRP on page 16 in Section 4.7
                                                                          Spill in Urban Areas: Containment and recovery methods for releases in urban areas are outlined in the GRP on page 17 in Section 4.8                                                                                                          Spill in
                                                                          Wetland Areas: Containment and recovery methods for releases in a wetlands are outlined in the GRP on pages 17 and 18 in Section 4.9
                                                                          Spill on or near Groundwater: Containment and recovery methods for releases in or near groundwater are outlined in the GRP on page 18 in Section 4.10


                                Staging Area Description:                 Staging can be found on site, east on beach (approximately 150' x 20'), minimal staging on the access road. The access road and staging area may need to be matted in some areas.


                                                                          Security should be minimal but unauthorized personnel should be restricted form the area. Recreational vessel traffic in Lake Oahe should be restricted or shut down completely Recreational vessel traffic in the Missouri River should be
                                                                          restricted or shut down completely. Remedial Action Staff and Oil Spill Response Teams will be competent to conduct the work and current on their training requirements under 29 CFR 1910.120. Personnel working on or near ice water
                                                                          should maintain personal floatation devices (PFD), harness and landyard at all times. Depending on release volume, air purifying respirators (APR) and/or self contained breathing apparatus (SCBA) may be required for cleanup in this
                                Safety Concerns and Considerations:
                                                                          area. Air quality monitoring could be required. Use appropriate calibrated instrumentation to screen for LEL, O2, H2S, Benzene and Toluene and wear the correct PPE. Underground utilities in this area are unknown. Overhead utilities
                                                                          border the northern edge of the facility from east to west. Additional overhead utilities are present around the site. Due to location, biological hazards may be present. Ensure a small decontamination area is created to prevent cross
                                                                          contamination. Check ice thickeness for safe bearing capacity before working on ice.

                                Closest Equipment Stored to this Control
                                                                         See above cache of staged response equipment at Energy Transfer's Cannonball Ranch located a 6554 Highway 1806 S. Mandan, ND. N 46.451667o, W -100.630742o
                                Point:


                                Comments:




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                                                                                                  Dakota Access Pipeline
                                                                                                      North Dakota
                                                                               Response Tactic MP 166.0 - Control Point: IS-2


                                                                                         Driving Directions from Bismarck, North Dakota
                                          1. Head east on E Rosser Ave toward N 6th St
                                          2. Drive from DN 1806 S in Cannon Ball
                                          3. Drive to S Big Lake Rd




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                                                                             IS-3




                                                Geographical Response Plan | 11121237 (1)
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                                                                                                                                                           Legend
                                                                                                                                                               ® Ice Slotting Locations
                                                                                                                                                           c::a:::11 Through   Ice Defl ection
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                                                                                                                                                               ~   Skimmers




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                                                                                                                               DAPL MP 166.0
                                                                                                                             Lake Oahe Crossing
                                                                                                                                 Ice Slotting
                                                                                                                                                                               Date Mar 29, 2018



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                                                                                                                                                               Dakota Access Pipeline
                                                                                                                                                                   North Dakota
                                                                                                                                  Response Tactic MP 166.0 - Control Point: IS-3


                                Crossing Location:                        Dakota Access Pipeline (DAPL) Milepost (MP) 166.0                                                                        Recommended Equipment                                                      Recommended Personnel
                                Control Point:                            IS-3                                                                                                    Quantity      Description                                            Number         Description
                                GPS                Latitude:              N 46.269239°                                                                                            1             Ditch Witch (or below)                                 1              Supervisor
                                Decimal/Degree:    Longitude:             W-100.580687°                                                                                           1             Rube Witch w chain saw                                 3              Vac Operator
                                Upstream Control Point:                   IS-2, approximately 4.0 miles north along Lake Oahe                                                     >50 ft        Visqueen                                               12             Slotting Crew
                                Downstream Control Point:                 n/a                                                                                                     >50 ft        Boom
                                Upstream Distance to Crossing Location:   Approximately 11.2 miles north                                                                          2             ATVs
                                Closest City:                             Cannon Ball, ND                                                                                         225 ft        Plywood
                                Water Depth:                              7 to 24 feet                                                                                            100+          Wooden wedges                                              Energy Transfer's Staged Equipment at Cannonball Ranch, ND
                                Closest Airport:                          Bismarck, ND                                                                                            3             drum skimmers                                          Quantity       Description
                                Closest Hospital :                        Linton Hospital (518 N Broadway St, Linton, ND 58552)                                                   1000+ ft      hose
                                                                                                                                                                                  3             Vac Truck
                                                                          Dry Conditions: Truck, 4 wheel drive truck, off road vehicle (4 wheeler, etc.)
                                Access Requirements:                      Wet Conditions: Truck, 4 wheel drive truck, off road vehicle, 2,000’ of matting or gravel for
                                                                          access




                                                                          Third party properties and nearby residences, Lake Oahe and tributaries of Lake Oahe, Fish, Wildlife and Waterfowl, the City of Cannon Ball, North Dakota.
                                Resources at Risk:
                                                                          Contact Sunoco's Environmental Department for further details.

                                                                          IS-2 is located on the west bank of Lake Oahe near a pipeline value station at the Lake Oahe crossing at DAPL MP 166.0 and accessible by an unpaved road from west. Based upon the topography of the area, anticipated drainage
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                                                                          area utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank. Three sets of skimmers will be positioned on shore and 225 pieces of plywood for collection and recovery and
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                                                                          Spill on Land: Containment and recovery methods for releases to land surfaces are outlined in the Geographical Response Plan (GRP) on page 10 in Section 4.1                                                                                Spill on
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                                                                          under Ice: Containment and recovery methods for releases under ice are outlined in the GRP on page 13 in Section 4.4                                                                                                                    Spill on Lake
                                                                          of Pond (Calm of Slow-Moving Water): Containment and recovery methods for releases to a Lake or Pond are outlined in the GRP on page 14 in Section 4.5                                                                        Spill on Small to
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                                                                          Spill in Urban Areas: Containment and recovery methods for releases in urban areas are outlined in the GRP on page 17 in Section 4.8                                                                                                          Spill in
                                                                          Wetland Areas: Containment and recovery methods for releases in a wetlands are outlined in the GRP on pages 17 and 18 in Section 4.9
                                                                          Spill on or near Groundwater: Containment and recovery methods for releases in or near groundwater are outlined in the GRP on page 18 in Section 4.10


                                Staging Area Description:                 Staging can be found on site, east on beach (approximately 150' x 20'), minimal staging on the access road. The access road and staging area may need to be matted in some areas.


                                                                          Security should be minimal but unauthorized personnel should be restricted form the area. Recreational vessel traffic in Lake Oahe should be restricted or shut down completely Recreational vessel traffic in the Missouri River should be
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                                                                          area. Air quality monitoring could be required. Use appropriate calibrated instrumentation to screen for LEL, O2, H2S, Benzene and Toluene and wear the correct PPE. Underground utilities in this area are unknown. Overhead utilities
                                                                          border the northern edge of the facility from east to west. Additional overhead utilities are present around the site. Due to location, biological hazards may be present. Ensure a small decontamination area is created to prevent cross
                                                                          contamination. Check ice thickeness for safe bearing capacity before working on ice.

                                Closest Equipment Stored to this Control
                                                                         See above cache of staged response equipment at Energy Transfer's Cannonball Ranch located a 6554 Highway 1806 S. Mandan, ND. N 46.451667o, W -100.630742o
                                Point:


                                Comments:




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                                                                                                  Dakota Access Pipeline
                                                                                                      North Dakota
                                                                               Response Tactic MP 166.0 - Control Point: IS-3


                                                                                         Driving Directions from Bismarck, North Dakota
                                          1. Head east on E Rosser Ave toward N 6th St
                                          2. Drive from DN 1806 S in Cannon Ball
                                          3. Continue on 80th St to your destination




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                                                                                                                                                            Legend
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                                                                                                                                                            D MapSheets_BoatAccess
                                                                                                                                                             !I   Water Access (Boat
                                                                                                                                                                  Ramp)
                                                                                                                                                            -+- Rail
                                                                                                                                                                Wildlife Management
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                                                                                                                                                            D     Incorporated Cities




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                                                                                                                                       Sheet Index

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                                        FNlt<1a:1e 29Ma' Z'18· (8"9
                                                                                                11121 2S7~000)PR· BR014 8o.l1
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                                           BL-001 LLBL-002




                                                Geographical Response Plan | 11121237 (1)
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                                                                                                                                                            Legend
                                                                                                                                                             !I   Water Access (Boat
                                                                                                                                                                  Ramp)
                                                                                                                                                            CJ Civil / Tow nships
                                                                                                                                                            - - Detailed Streams
                                                                                                                                                            _.. National Hydraulic
                                                                                                                                                                Dataset Flowlines




                                                                      P - SizeANSI B                                            SUNOCO LOGISTICS PARTNERS L.P.          Project No.
                                                         0        0.08      0.16   024      0.32                                   DAKOTA ACCESS PIPELINE              Revision No.

                                                                           Miles


                                                             Hoii2!Jrlal Dat11n: WGS 1984
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                                                                                                                                      DAPL MP 166.0
                                                                                                                                   Lake Oahe Crossing
                                                                                                                                                                               Date Mar 29, 2018



                                                                                                                                                                             Sheet 1 of 5
                                        -
                                                                                                                                      Boat Access
                                        J \GIS\G1~111200C0s\11121237\111212S7-00f)00}~   11121 2S7~000)PR· BR014 8o.l1

                                        FNlt<1a:1e 29Ma' Z'18· (8"9
                                                 Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 68 of 270
                                                                      Boatlaunch:B~OOl
~:h 11d
          Dakota Access Pipeline (DAPL) Milepost (MP) 166. 0
          BL-001- Fort Rice
               46.50   2 °
          w    -100.584939°
          1624'
          ApproximatelyS miles north of cross i ng
          Cannon Ball, ND
          Medium to shallow draft work boats
          40'X6'
          250' X100'
          1-3m
                       D
                             (5        d ay St, into ,   D5     5
           oncrete launch ramp with dock and trai ler parking



          Flat parking lot leading to concrete ramp .




          1.    Head west on E Rosser Ave toward N 5th St
          2.    Take NE 1806 5 to 53rd St in East Morton
          3.    Drive to 63rd St.




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~:11
h d                                                                                 Boat Launch: LLBL-002
                a ota Access Pipelin     D PL)     ilep st (   )   66.0
               LLBL-002 - Fort Rice
               N 46.499011 °
               W -100.586142°
               1616'
               Approximately4 miles north of crossing
               Linton, ND
               Medium to shallow draft work boats
               n/a
               5 ' X1    '


               Bismarck, ND
               Linton Hospital (518 N Broadway St, Linton, ND 58552)
               Low level launch, large sand/gravel slope into the river. No dock.



               Sandy parking lot and beach area.




       :   .   1.
               2.
                     Head west on E Rosser Ave toward N 5th St
                     Take ND-1806 5 to 63rd St in East Morton
               3.    Drive to 81h Ave




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                         LLBL-003 BL-004 LLBL-005




                                                Geographical Response Plan | 11121237 (1)
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                                                                                                                                                                   Legend
                                                                                                                                                                    !I   Water Access (Boat
                                                                                                                                                                         Ramp)
                                                                                                                                                                   CJ Civil / Tow nships
                                                                                                                                                                   - - Detailed Streams
                                                                                                                                                                   _.. National Hydraulic
                                                                                                                                                                       Dataset Flowlines




                                                                      P - SizeANSI B                                                   SUNOCO LOGISTICS PARTNERS L.P.          Project No.
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                                                                                                                                            DAPL MP 166.0
                                                                                                                                          Lake Oahe Crossing
                                                                                                                                                                                      Date Mar 29, 2018



                                                                                                                                                                                    Sheet 2 of 5
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                                                                                                                                               Boat Access
                                        J \GIS\G1~       111200C0s\11121237\111212S7-00f)00}~   11121 2S7~000)PR· BR014 8o.l1

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                                                        Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 72 of 270

~:11
h d                                                                                              Boat Launch: LLBL-003
                a ota Access Pipelin        D PL)    ilep st (       )   66.0
               LLBL-003
               N         46.292385°
               w -100.566377°
               1613'
               Approximatelyl0.5 miles south of cross i ng
               Linton, ND
               Medium to shallow draft work boats
               n/a
                    O'    14 '


               Bismarck, ND
               Linton Hospital (518 N Broadway St, Linton, ND 58552)
               Low level launch, large sand/gravel slope into the river. No dock.



               Large sandy parking lot and beach.




       .   .   1.
               2.
                         Head west on E Rosser Ave toward N 6th St
                         Take ND-1804 S to 79th St in West Emmons
               3.        Follow 79th St SW to your destination




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                                                       Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 73 of 270

~:11
h d                                                                                    Boat Launch: BL-004
                a ota Access Pipelin    D PL)     ilep st (      )   66.0
               BL-004
               N     46.267972°
               w    -100.580325°
               1617'
               Approximately12 miles south of crossing
               Linton, ND
               Medium to shallow draft work boats


                        O'




               Linton Hospital (518 N Broadway St, Linton, ND 58552)
               oncrete ramp w ith rocky shore on either side. One dock.



               Paved parking lot and adjacent grass.




       .   .   1.
               2.
                     Head west on E Rosser Ave toward N 6th St
                     Take ND-1804 S to 79th St in West Emmons
               3.    Follow 79th St SW to your destination



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                                                                   Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 74 of 270

d                                                                                              Boatlaunch:LLB~OOS
                                                                                                                                         ln1 DakotaAccess
                                                                                                                                         [Kil
' '
                                                                                                                                                PIPELINE

      Da         c    s       ip line (D                 L)   ilep st (          6.0
      LLBL-005
      N 46 .262236°
      W -100.575292°
      1613'
      Approximately 12.5 miles south of crossing
      Cannon Ball, ND
      Medium to shallow draft work boats
      n/a
      2SO' X130 '(beach)
      1-3
      Bi m rck,
      L. ton Hosp·t I (5 8                  Brea wa            St, Li to ,   D
      Low level lake access. Gentle sloping sandy beach



      Gentle sloping sandy beach extends on both sides of the launch.




      1.    Head west on E Rosser Ave toward N 5th Street
      2.    Take ND-1806 to SOth St in Cannon Ball




                                                --
      3.    Turn left onto SOth Street




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                                  BL-006 BL-007 BL-008




                                                Geographical Response Plan | 11121237 (1)
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                                                                                                                                                            Legend
                                                                                                                                                             !I   Water Access (Boat
                                                                                                                                                                  Ramp)
                                                                                                                                                            CJ Civil / Tow nships
                                                                                                                                                            __. National Hydraulic
                                                                                                                                                                Dataset Flowlines




                                                                      P - SizeANSI B                                            SUNOCO LOGISTICS PARTNERS L.P.          Project No.
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                                                                                                                                      DAPL MP 166.0
                                                                                                                                   Lake Oahe Crossing
                                                                                                                                                                               Date Mar 29, 2018



                                                                                                                                                                             Sheet 3 of 5
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                                                                                                                                      Boat Access
                                        J \GIS\G1~111200C0s\11121237\111212S7-00f)00}~   11121 2S7~000)PR· BR014 8o.l1

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                                                      Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 77 of 270

~:11
h d
                                                                                       Boat Launch: BL-006
               Da ot Access Pi e 'ne (OAP }        ile ost (   }    66 .0
                L-0
                    46.250960°
               w    -100.538658°
               1616'
               Approximately 14 m iles south of crossing
               Linton, ND
               Medium to shallow draft work boats

               35'   X   6'
               62 x           0'
               1-3m
               Bismarck, ND
               Linton Hospita l (518 N Broadway St, Linton, ND 58552)
               oncrete launch ramp w ith rocky beach on either side. Two docks.



               Parking lot with tra iler parking and roundabout.




       .   .   1.
               2.
                         Head east on E Rosser Ave toward North
                         Follow N0-1804 S to West Emmons
                                                                   5th   Street


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                                                      Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 78 of 270

~:11
h d
                                                                                        Boatlaunch:B~007
               Da ot Access Pi e 'ne (OAP }        ile ost (   }   66 .0
               BL-007
               N 46. 249312°
               w    -100.534619°
               1614'
               Approximately 14 miles south of crossing
               Linton, ND
               Medium to shallow draft work boats
               n/a
               225'x
               1-3m
               Bismarck, ND
               Linton Hospita l (518 N Broadway St, Linton, ND 58552)
               Low level launch. Moderate slope sandy beach launch w ith rocky shore on either side.



               Parking lot behind launch area. M inimal parking area, with roundabout to main
               road.



       .   .   1.
               2.
                     Head east on E Rosser Ave toward N 61h St
                     Follow ND 1804 5 to West Emmons




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                                                       Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 79 of 270

~:11
h d                                                                              Boatlaunch:B~OOS
               Dakota Access Pipeline (DAPL} Milepost (MP} 1 66 .0
                L-008
                    46.241442°
               W -100.520599°


                        i atel 15   iles sout   o     er ssing
                    , D
               Medium to shallow draft work boats
               4,
               100' X 55'
               1-3m
               Bismarck, ND
               Linton Hospita l (518 N Broadway St, Linton, ND 58552)
               oncrete launch ramp w ith rocky shore on each side. One dock.



               Sandy parking lot w ith round about.




       .   .   1.
               2.
                     Head east on E Rosser Ave tow ard N 61h Street
                     Follow ND-1804 S to West Emmons
               3.    Turn left on Beaver Bay Tra il



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                                                Geographical Response Plan 111121237 (1)
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                                                                                                                                                             Legend
                                                                                                                                                                0   Control Points
                                                                                                                                                              D
                                                                                                                                                            V     Underflow Structures
                                                                                                                                                              !I  Water Access (Boat
                                                                                                                                                                  Ramp)
                                                                                                                                                             j"-j Civil / Townships
                                                                                                                                                             ··-
                                                                                                                                                             __. National Hydraulic
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                                                                                                                                    Lake Oahe Crossing
                                                                                                                                       Boat Access
                                                                                                                                                                                  Date Mar 29, 2018



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                                                      Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 82 of 270

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h d
                                                                                       Boat Launch: LLBL-009
               Da ot Access Pi e 'ne (OAP }        ile ost (   }   66 .0
               LL L-0 9
                    46.203617°
               W -100.577583°
               1614'
               Approximately 19 miles south of crossing
               Linton, ND
               Medium to shallow draft work boats
               n/a
                              1
                00'   X   6

               1-3m
               Bismarck, ND
               Linton Hospita l (518 N Broadway St, Linton, ND 58552)
               Low level launch. Moderate slope w ith sandy beach that extends on either side of the boat



               Beach and grassy area around it. Limited parking area.




       .   .   1.
               2.
                      Head east on E Rosser Ave tow ard N 61h Street
                      Follow ND-1804 S to 851h St SW in West Emmons
               3.     Continue on 851h St SW. Drive to Little beaver Creek Trai l
                                           &




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Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 83 of 270




                                               BL-010 BL-011




                                                Geographical Response Plan | 11121237 (1)
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                                                                                                                                                            Legend
                                                                                                                                                             !I  Water Access (Boat
                                                                                                                                                                 Ramp)
                                                                                                                                                             [:] Hospitals
                                                                                                                                                            c:j   Civil / Tow nships
                                                                                                                                                            (   Incorporated Cities
                                                                                                                                                            _.. National Hydraulic
                                                                                                                                                                Dataset Flowlines




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                                                                                                                                   Lake Oahe Crossing
                                                                                                                                                                                Date Mar 29, 2018



                                                                                                                                                                              Sheet 5 of 5
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                                                                                                                                      Boat Access
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                                        FNlt<1a:1e 29Ma' Z'18· (8"9
                                                          Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 85 of 270

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h d
                                                                                                    Boatlaunch:B~OlO
               Da ot Access Pi e 'ne (OAP }            ile ost (   }   66 .0
                L-0
                    46.102344°
               W -100.628547°
               1616'
               Approximately25 miles south of crossing
               Fort Yates, ND
               Medium to shallow draft work boats
               6' x30'
               200'   X   70'
               1-3m
               Bismarck, ND
               Fort Yates Indian Health Service Hospita l (10 S River Rd, Fort Yates, ND 58538)
                oncrete ramp w ith rocky shore on either side. One dock.



               Large sandy gravel parking area.




       .   .   1.
               2.
                      Head west on E Rosser Ave towa rd N 5th Street
                      Take ND-1806 S to 92nd St in Fort Yates
               3.     Follow 22nd St and Proposal Ave to t he destination


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                                                      Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 86 of 270

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h d
                                                                                          Boatlaunch:B~Oll
               Da ot Access Pi e 'ne (OAP }       ile ost (   }   66 .0
                L-0
                    46.095627°
               W -100.590584°
               1620'
               Approximately25 miles south of crossing
               Fort Yates, ND
               Medium to shallow draft work boats
               5' x45'
               2 0' x 30'
               1-3m
               Bismarck, ND
               Fort Yates Indian Health Service Hospita l (10 5 River Rd, Fort Yates, ND 58538)
               Long concrete ramp lined with piled rocks and beach on either side. One dock.



               Large sandy gravel parking area.




       .   .   1.
               2.
                      Head east on E Rosser Ave toward N 61h Street
                      Follow ND-1804 S to 851h St SW in West Emmons
               3.     Follow 891h St SW, 9th Ave SW and gist St SW to t he destination




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                                                Geographical Response Plan 111121237 (1)
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                                                                                                                                                                Legend
                                                                                                                                                                 @ Agricultural Water Intake
                                                                                                                                                                 @ Water Intake
                                                                                                                                                                ___a_J   Dakota Access Pipeline
                                                                                                                                                                 + Milepost
                                                                                                                                                                 0       Control Points
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                                                                                                                                                                IJlil-1 Sunoco Pre-Staged
                                                                                                                                                                f""· Response Equipment
                                                                                                                                                                         First Nations
                                                                                                                                                                j'- } Civil / Tow nships
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                                                                                                                                                                - - Detailed Streams




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                                                                                                                                           Water Intakes
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                            Agricultural Water Intake




                                                Geographical Response Plan | 11121237 (1)
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                                                                                                                                                                                             @ Agricultura I Water Intake
                                                                                                                                                                                            Legend

                                                                                                                                                                                              0      Control Points
                                                                                                                                                                                             @ s taging
                                                                                                                                                                                             ~ Vacuum Trucks
                                                                                                                                                                                                   First Nations
                                                                                                                                                                                            •• - \ Civil / Tow nships
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                                                                                                                                                                                                       . 1 Hydraulic
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                                                                                                                                                       Water Intakes! take                                                     use,c.,,.... 11 """''°'Y , ..
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               Standing Rock Sioux Tribe Farm
                     Agricultural Water Intake




                                                Geographical Response Plan | 11121237 (1)
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                                                                                                                                                                  Legend
                                                                                                                                                                   @ Agricultural Water Intake
                                                                                                                                                                       First Nations
                                                                                                                                                                  C:) Civil / Townships
                                                                                                                                                                  - - Detailed Streams
                                                                                                                                                                  __. National Hydraulic
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                                                                                                                                    Standing Rock Sioux Tribal Farm
                                                                                                                                                                                     Date Mar 29, 2018



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South Central Regional Water District Intake




                                                   Geographical Response Plan | 11121237 (1)
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                                                                                                                                                                     ®   Water Intake
                                                                                                                                                                         First Nations
                                                                                                                                                                    C:) Civil / Tow nships
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                                                                                                                                    South Central Regional Water District
                                                                                                                                                                                       Date Mar 29, 2018



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                                     Other Water Intakes




                                                Geographical Response Plan | 11121237 (1)
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                                    Appendix E
                 Lake Oahe Sensitive Receptors




                                                Geographical Response Plan | 11121237 (1)
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                                                   Appendix F
                                                Spill Pre plans




                                                Geographical Response Plan | 11121237 (1)
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Surface Water Sampling Plan
Dakota Access Pipeline




GHD | 5551 Corporate Boulevard Suite 200 Baton Rouge, Louisiana 70808
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   Figure 3     Sensitive Receptors Map


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   Table 1          Proposed Laboratory Analyses




                                                                GHD | Report for DAPL –Surface Water Sampling Plan | 11121237 (1) | i
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1.     Introduction
       At the request of Dakota Access Pipeline (DAPL), GHD Services Inc. (GHD) has been designed to
       aid in the surface water sampling during and after the recovery of released product in the event of a
       pipeline crude oil release. A vicinity map of the Site is provided as Figure 1. This plan includes a
       map of proposed sample transit locations throughout the Lake Oahe area (see Figure 2). Transits
       have been identified to cover three drinking water intakes and a reasonable delineation between
       these points. In addition a background blank sampling transit above the pipeline has been included.


2.     Surface Water Quality Sampling Procedures
        Surface water quality sample locations have been identified in various locations along Lake Oahe.
        Each location identified on Figure 2 represents a sampling transit, where 4 samples will be collected
        across the Lake. This may be adjusted based on site conditions and SCAT surveys results. A
        detailed description of SCAT surveys will be addressed in the SCAT Plan.

        Instruments identified for use in this plan will be calibrated once each day or more frequently as
        may be required by sampling conditions and manufacturers recommendations. Suggested
        parameters targeted for measurement at each sampling station may include but are not limited to:

            •    Water depth (ft)
            •    Temperature (°C)
            •    Dissolved oxygen (mg/L)
            •    Conductivity (S/cm)
            •    pH (s.u.)
            •    turbidity (N.T.U)


        Due to the density of the Bakken Crude Oil, it might settle on the sediment of streambed of the
        waterbodies when released. During SCAT surveys and sampling activities, an oil/water interface
        probe will be used to determine (if any) Bakken Crude Oil is below the surface of the water.




3.     Surface Water Sampling Procedures
        Surface water sample locations have been identified in various locations along Lake Oahe. Each
        location identified on Figure 2 represents a sampling transit, where 4 samples will be collected
        across the Lake. This may be adjusted based on site conditions and SCAT surveys results. Surface
        water samples will be collected using one or more of the following approaches:

            •    A cross over bridge location or boat for the purpose of accessing the water body of interest
                 to sample
            •    Surface water flow/velocity monitoring meters
            •    Van Dorn, Kemmerer, Niskin or similar messenger-activated water sampler
            •    Peristaltic pump
            •    Silicone tubing
            •    Heavy-wall Teflon® tubing
            •    Point-source bailer
            •    Dipper



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            •    Ekman Dredge (if oil/water interface probe detects oil below the surface)

        Prior to the collection of surface water samples for commercial laboratory analyses, portable, real-
        time water quality monitoring meters will be used to measure the water quality parameters described
        below at each sample station. These instruments will be calibrated once each day or more
        frequently as may be required by sampling conditions and manufacturers recommendations.

        Suggested parameters targeted for measurement at each sampling station may include but are not
        limited to:

            •    Water depth (ft)
            •    Temperature (°C)
            •    Dissolved oxygen (mg/L)
            •    Conductivity (S/cm)
            •    pH (s.u.)
            •    turbidity (N.T.U)

        Surface water samples collected from or slightly below the water surface (such as those for Bakken
        Crude Oil and Synthetic Oil) will be collected by manually submerging the appropriate sample
        container into the water until the container is filled, unless the container contains a preservative.
        This method is advantageous when the sample might be significantly altered during transfer from a
        collection vessel into another container.

        For the collection of water samples at depth, personnel will use a Kemmerer or similar weighted
        sampling device. These samplers are constructed of a tube with stoppers at each end and a closing
        device that is tripped by the user. The device samples a predetermined amount of water at a
        designated depth.

        The following protocols are suggested for each surface water sampling location, where practicable:

            1. If practicable, access the surface waterbody via a boat and anchor the boat to avoid drifting.
               If boat access is not practicable, collect the sample from the bank of the surface water body
               by affixing the sampling device to a pole. If feasible, allow any disturbed sediment to settle
               prior to sample collection, especially at sample locations with shallow water depth.
            2. Affix a completed sample container label to an appropriate sample container.
            3. Before collecting the sample, measure the temperature, pH, and specific conductivity of the
               surface water, as listed above. Record this information on the field sheet or in the log book.
            4. Sample the upstream location first, the downstream location next, and the location in
               closest proximity to the derailment last.
            5. Use of new disposable sampling equipment, where practicable. Discard used disposable
               equipment in an investigation derived waste drum for subsequent profiling and offsite
               disposal at a commercial facility.

       The frequency and number of locations tested may be reduced throughout the remediation activities
       upon receiving approval from the applicable agencies.


4.     Laboratory Analyses
       The surface water samples collected from the incident site will be analyzed for the following:
            • Total petroleum hydrocarbons- GRO, DRO, and Fractions
            • Benzene, toluene, ethylbenzene and xylene (BTEX)
            • Volatile organic compounds

       The proposed analytical methods, sample containers, sample preservatives, and laboratory holding
       times are presented in Table 1.


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5.     Data and Records Management
       Information regarding the sampling protocol used to collect a given sample will be recorded in a field
       notebook maintained onsite. Information to be recorded includes the names of onsite personnel
       participating and observing the sampling event, the global positioning system (GPS) coordinates of
       the sample location, the sampling date, sampling time, the name of the sample collector, the weather
       conditions, the project number, any unusual or unexpected field conditions, the measurements
       obtained from field instrumentation, and the calibration results of field instrument used during the
       sampling event. The above information will be recorded in a bound document with sequentially
       numbered pages that are preferably water resistant.

       Each sample container submitted for laboratory analyses will be labeled with the minimum following
       information:

           •   Unique sample location identification
           •   Sample date
           •   Sample time
           •   Sampler’s initials or name
           •   Project number

       The sample containers will be placed on ice and shipped to an accredited laboratory following proper
       chain-of-custody protocols.


6.     Laboratory Data Evaluation and Corrective
       Actions, If Warranted
     Analytical data will be evaluated in accordance with the USEPA Regional Screening Levels (RSLs),
     and reported to the Incident Commander / Unified Command.




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Air Monitoring Plan
Dakota Access Pipeline




GHD | 5551 Corporate Boulevard Suite 200 Baton Rouge, Louisiana 70808
11121237-01 | Report No 1 (Version 1) | Revised March 29, 2018




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1.     Introduction and Objectives
       At the request of Dakota Access Pipeline (DAPL), GHD Services Inc. (GHD) has developed an air
       monitoring plan intended to provide air monitoring and industrial hygiene support in the event of a
       pipeline crude oil release. These services are provided to assist DAPL in evaluating the health and
       safety of personnel working at the Site, members of the surrounding community and the
       environment from Compounds Of Interest (COI) that may be emitted during the release and
       subsequent remediation efforts.

       The purpose of this plan is to address air monitoring/sampling during the response and remedial
       phases of the project. The specific objectives include the following:

       •   Perform real-time air monitoring for COI at the perimeter of the work site to characterize
           potential exposures to members of the community
       •   Perform real-time air monitoring for COI in the breathing zones of workers to evaluate potential
           exposures during on-site activities. Such activities may include, but are not limited to:

            o    Product recovery using vacuum trucks

            o    Product transfer into liquid storage tanks

            o    Investigation of impacted areas
            o    Repair of impacted pipeline

            o    Excavation activities related to impacted material removal and pipeline repair
       •   Collect personal air samples, e.g. worker breathing zone samples, for COI during on-site
           operations

       •   Comply with the air monitoring requirements of the applicable regulations

       •   Establish and implement procedures to ensure appropriate responses to elevated levels of COI.
           This may include identifying areas requiring respiratory protection, or arranging for a timely
           evacuation of the Site in the event that hazardous concentrations of airborne crude oil vapors
       •   Communicate the hazards associated with exposures to the affected workers, members of the
           neighboring community, and other potential receptors, if applicable. Employers will be required
           to comply with the applicable Occupational Safety and Health Administration (OSHA)
           recordkeeping requirements. For personal samples that GHD collects, GHD will prepare
           notification letters to GHD employees and contractor employees
       •   Provide recommendations for controlling site exposures, respiratory protection and other
           personal protective equipment (PPE) to incident command

       GHD will continue air monitoring services until the clean-up phase of the project is completed and
       worker/community exposures to gases/vapors associated with crude oil are eliminated or until
       directed by DAPL that this service may be demobilized. The air monitoring data will be collected
       and compiled in accordance with established industrial hygiene guidelines and practices. In




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       necessary to ensure the safety and health of potentially affected individuals.



2.     Exposure Standards and Guidelines
       OSHA provides established exposure limits for a worker's exposure to hazardous chemical
       substances. Additionally, Threshold Limit values (TLVs) established by the American Conference of
       Governmental Industrial Hygienists (ACGIH). Lastly, the National Institute of Occupational Safety
       and Health (NIOSH) has established Immediately Dangerous to Life and Health (IDLH) limits for
       various chemicals. Table 1 summarizes the OSHA Occupational Exposure Limits (OEL) and the
       NIOSH IDLH levels for the chemicals of interest. Particulate matter is not expected to be present as
       a result of the release; however, it is included to account for its presence during cleanup activities.

        Table 1       Occupational Exposure Limits and Guidelines




                           -                                                            •
                                      OSHA PEL                     ACGIH TLV
        Analyte                                                                                          Units
                                               STEL2
        Hydrogen
                                                20C               1              5            100
        Sulfide
        Benzene                  1                5             0.5           2.5             500        Parts Per
        Toluene                 200            300 C             20                           500        Million (ppm)
        Ethyl Benzene           100                              20                           800
        Xylene                  100                             100           150             900
        Notes:
        1.   Time W eighted A verage (TWA) = The TWA concentration for a conventional 8-hour w orkday and a 40-
             hour w orkweek, to w hich nearly all workers may be repeatedly exposed, day after day, w ithout adverse
             effect (ACGIH, 2017).
        2.   Short Term Exposure Limit (STEL) = A 15 minute TWA exposure that should not be exceeded at any
             time during a w orkday, even if the 8-hour TWA is w ithin the TWA. (ACGIH, 2017 )
        3.   Immediately Dangerous to Life and Health (IDLH) = Indicates an exposure to airborne contaminants
             that is likely to cause death or immediate or delayed permanent adverse health effects or prevent
             escape from such an environment.
        4.   Ceiling = An exposure to a substance listed in OSHA Table Z-2 shall not exceed at any time during an
             8-hour shift the acceptable ceiling concentration given for the substance in the table, except for a time
             period and up to a concentration not exceeding the maximum duration and concentration allowed in the
             column under "acceptable maximum peak" above the acceptable ceiling concentration for an 8-hour
             shift.



       Action levels have been established to facilitate a timely and appropriate response to the detection
       of airborne hazards associated w ith crude oil constituents. Action levels have been set at levels
       lower than the established exposure limits and guidelines. T he purpose is to ensure that if these
       levels are detected, they are effectively communicated to affected workers and off-site receptors so
       that appropriate action can be taken. The site-specific action levels for the Site are listed in Table 2.
       Most real-time monitoring w ill be conducted for Volatile Organic Compounds (VOCs); chemical-
       specific monitoring for benzene, toluene, ethyl benzene and xylene (collectively known as BTEX)
       constituents will be performed as VOC levels dictate.




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                                                 1
   Analyte                       Action Level        Description of Action
                                 < 1%                No action required.

   Lower Explosive Limit                             LEL levels will be communicated to designated Site
   (LEL)                                             officials and all personnel will be instructed to be
   (as Methane)                  .::: 1%             removed from the impacted areas. Indicates a
                                                     potentially flammable atmosphere. No personnel shall
                                                     be permitted in the impacted areas.
                                 < 5 ppm             No action required.
                                                     Confirm with a duplicate sample. Hydrogen sulfide
                                                     levels will be communicated to designated site officials
                                 ,:::5-20 ppm        and affected workers will don appropriate respiratory
   Hydrogen Sulfide                                  protection (Level C , with appropriate air purifying
                                                     respirator (APR) cartridges).
                                                     Confirm with a duplicate sample. Workers will be
                                                     notified and moved away from areas of elevated
                                 > 20 ppm
                                                     concentrations. If it is necessary to be in these areas,
                                                     supplied air will be used.
                                                     No action required. Determine benzene concentrations
                                 < 10 ppm
                                                     us ing chemical-s pecific detectio n metho d.
                                                     Confirm with a duplicate sample. Communicate voe
                                                     concentrations to designated Site officials and initiate stop
                                                     work authority (SWA). Notify workers of voe levels and
                                                     instruct them to don or continue wearing full-face, air
                                                     purifying respirators (APR) equipped with organic vapor
                                                     cartridges, if work is to continue.

                                                     Determine benzene concentratio ns us ing c hemical-
                                                     specific detection method.
                                 >10 - 250 ppm       If benzene levels are < 25 ppm, work can continue w it h
                                                     workers wearin g full-face, APRs equipped w ith organic
   Volatile Organic                                  vapo r cartridges.
   Compounds (VOCs as                                Perfo rm voe air m onito ring continuous ly until voe
   Toluene - correction factor                       concentratio ns are below 5.5 ppm.
   of 0.5 applied)                                   As lo ng as voe concentratio ns remain in this range,
                                                     periodically, collect a benzene specific air monitoring
                                                     reading to confirm benzene levels are < 0.5 ppm.

                                                     If benzene levels are? 25 ppm, supplied air should be
                                                     utilized.
                                                     Communicate voe (toluene) concentrations to designated Site
                                                     officials and initiate SWA.


                                 >250 ppm            Consult with Project Certified Industrial Hygienist, Project
                                                     Toxicologist, or other sufficiently qualified individuals to
                                                     recommend a course of action that maintains operational
                                                     effectiveness and reduces worker exposures to acceptable
                                                     levels.
                                                     No action required. Determine benzene
   Benzene (Correction
   Factors Applied 2 • 3• 4 )    <0. 5 ppm           concentrations using chemical-specific detection
                                                     method 4 •




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                                             1
   Analyte                 Action Level          Description of Action
                                                 Confirm with a duplicate sample. Communicate
                                                 benzene concentrations to designated site officials
                           ,:::0.25(4 l-25       and initiate SWA. Notify workers of benzene levels
                           ppm                   and instruct them to don or continue wearing full-face,
                                                 APR equipped with organic vapor cartridges, if work is
                                                 to continue.
                                                 This concentration exceeds the maximum use
                                                 concentration of a full face (APR) respirator. A
                           >25 ppm
                                                 supplied air respirator should be used at
                                                 concentrations this action level.
                            < 2.5 mg/m3          No action required.
                                                 Confirm with a duplicate sample. Particulate matter
   Particulate Matter      ,:::2.5-5 mg/m3
                                                 levels will be communicated to designated site officials.
   (Total)
                                                 Confirm with a duplicate sample. Workers will be notified
                           > 5 mg/m3
                                                 and moved away from areas of elevated concentrations.
                            < 1.5 mg/m3          No action required.
                                                 Confirm with a duplicate sample. Particulate matter
  Particulate Matter       ,:::1.5-3 mg/m3
                                                 levels will be communicated to designated site officials.
  (Respirable)
                                                 Confirm with a duplicate sample. Workers will be notified
                           > 3 mg/m3
                                                 and moved away from areas of elevated concentrations.
   Note:
       1)  Action Levels are based on sustained (over 1 minute) airborne concentrations.
       2)  Benzene MultiRAE/AreaRAE 10.6 Lamp Correction Factor- 0.47
       3)  Benzene UltraRAE 9.8 Lamp Correction Factor - 0.55
       4)  UltraRAE 3000 can used as a chemical-specific detection method with RAE Benzene
           Sep Tubes
        5) Action limit for benzene has been changed from 0.50 ppm (half of OSHA PEL) to reflect a
           more conservative action lim it of 0.25 ppm .


  2.1        Community Exposure Guidelines

  Monitoring of properties potentially impacted will be conducted using real-time air monitoring
  techniques described below, on an as-needed basis, as determined by site personnel. Many of the
  exposure standards and guidelines for COi shown in Table 3 are not of sufficient concentration to
  be measured instantaneously by a real-time air monitoring methods. Additionally, many of the
  standards or guidelines are intended to protect the general public and sensitive community
  members from lifetime exposures to each COi. Emergency exposures are generally much shorter
  and therefore different standards and guidelines are w arranted for action levels at community
  locations. Table 4 summarizes the Community Real-time Monitoring Action Levels for the project.

   Table 3      Community Real-Time Monitoring Action Levels

                           Averaging Period 1             Concentration             Limiting Effect/Basis2
   Hydrogen Sulfide      10 minute average                   0. 1 ppm
   Benzene               10 minute average                   130 ppm                   USEPA AEGL-1
   Toluene               10 minute average                    1.2 ppm



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                                     Averaging Period 1           Concentration              Limiting Effect/Basis2
           Ethyl benzene           10 minute average                 33 ppm
           Xylene                  10 minute average                 130 ppm
           Notes:
               1.   If the average concentration of COi is exceeded over the averaging period, site personnel should
                    be notified and mitigation measures should be implemented . Evacuation or shelter-in place
                    decisions should be discussed with the appropriate authorities including incident command
               2.   The United States Environmental Protection Agency Acute Exposure Guideline Level-1 (USEPA
                    AEGL-1 ) is the level above which it is predicted that the general population could experience,
                    including susceptible individuals, notable discomfort, irritation, or certain asymptomatic non-
                    sensory effects. However, the effects are not disabling, and are transient and reversible upon
                    cessation of exposure.




3.     Real-Time Air Monitoring
       3.1          Crude oil and By-Products
       Real-time air monitoring for COi may be performed during normal work operations using MultiRAE
       5-gas monitors, AreaRAEs, TSI Dusttrak monitors, and UltraRAE 3000 monitors with benzene-
       specific detection tubes.

       Instruments will be calibrated and operated in general accordance with the manufacturer's
       specifications or applicable test/method specifications. Real time air monitoring will be performed at
       the following locations:

       •     Impacted areas where workers are present

       •     Site perimeter - upwind and downwind

       •     Off-site receptors (as identified and appropriate)

       Air monitors will be placed at the perimeter of the work site to continuously monitor VOC, H2S, LEL,
       and 02 concentrations. Using radio telemetry, the instantaneous readings for each air monitor will
       be transmitted to a single host computer at the site, allowing GHD personnel to simultaneously
       monitor the airborne concentrations for all perimeter stations from a central location. The UltraRAE
       and colorimetric tubes will be used to screen for benzene within the work areas and at designated
       off-site locations. Additionally, TSI particulate monitors may be utilized to determine the
       concentrations of particulates within the work area and at perimeter locations.

       If airborne concentrations of the chemicals listed in Table 2 are detected above the action levels
       established for the Site, designated site safety personnel, operations officials, affected workers,
       and/or local regulatory representatives will be notified and appropriate actions will be taken to
       ensure the safety and health of the site w orkers.




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       If required, personal air samples will be collected from the breathing zones of on-site workers in
       order to evaluate potential exposures to COi of crude oil. These air samples will be analyzed for
       BT EX and total hydrocarbons.

       A similar exposure group (SEG) analysis will be conducted to determine the number of samples
       which should be collected to represent the various job tasks conducted during the response and
       remediation efforts. SEGs are groups of workers having the same general exposure profile because
       of the similarities and frequency of the tasks they perform, the materials/processes in which they
       work, and the similarity of the way they perform the tasks. DAPL will identify and continuously
       observe work activities with potential COi exposures to determine SEGs. The major processes and
       work operations will be defined and correlated with the potential exposure to crude oil based on
       proximity to impacted areas.

       Samples will be collected and analyzed in accordance with established methods. The analytical air
       sampling methods for the chemicals of interest are summarized in Table 5.

        Table 4       Summary of Analytical Air Sampling Methods

         Analytical                                                          Flow Rate          Typical Sample
                          List of Analytes        Sample Media
          Method                                                         (milliliter/minute)       Volume
                             Benzene,
          NIOSH           Ethylbenzene,        3M 3520 OVM
                                                                          Not Applicable        Not Applicable
         1500/1501       Toluene, Xylene,      Passive Dosimeter
                        Total Hydrocarbons
                                               2 and 3 Piece Pre-
                        Total or Repairable
        NIOSH 0500                             weighed PVC                      2000               960 Liters
                               Dust
                                               cassettes

       Samples will be shipped to Galson Laboratories, an AIHA accredited laboratory. Media will be
       provided to the laboratory for field blank sample comparison.


5.     Quality Assurance/Quality Control (QA/QC) and
       Reporting
       Real-time data collected will be stored in an on-Site electronic archive. Manually-collected real-time
       data and integrated sampling information will be reviewed to ensure accuracy and completeness.
       The manually-collected monitoring/sampling data will be entered into an electronic database
       (spreadsheet or equivalent), and will undergo a quality assurance and quality control (QA/QC)
       review. Data entry forms and field notes will be kept on-site and retained for reference upon
       completion of the project. If necessary, full laboratory analysis data packages will be provided, and
       associated data validation processes will be arranged.

       During the project, interim reporting of results may be required. This may include data summaries,
       maps, or other presentations of preliminary monitoring and sampling results. A data summary will



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  be provided to DAPL every 24 hours, once data have undergone an initial QA/QC. Such reporting
  will be considered preliminary, as a final QA/QC of the data will not be complete. At the completion
  of the project, a report will be prepared in which data collected through real-time monitoring and
  integrated sampling analyses will be compiled, summarized, and reported to DAPL. Data contained
  in the final report will have been through the QA/QC process, will be reviewed by a Certified
  Industrial Hygienist (CIH), and will be considered final.

  This plan was prepared by GHD based on information available on January 22, 2018. As additional
  information becomes available, the plan may be revised as necessary and appropriate to meet the
  objectives as previously stated.




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   Energy Transfer Partners, L.P



   Contingency Plan
   for Oiled Wildlife
   Dakota Access Pipeline – Lake Oahe Geographic Response Plan




  Developed by: Tri-State Bird Rescue & Research, Inc.
  Contributors: Ryan Wheeler & Danene Birtell
  1-3-2018
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Table of Changes
Changes and Updates to this plan may be trncked in the table below. The author (Tri-State)
recommends that this plan be reviewed and updated every five years by the owner of this plan in
order to maintain the highest level of response readiness at the refuge.

 Change                    Location        of Date           Name & Signature
                           Change (Section)
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1.0    Introduction
This Contingency Plan for Oiled Wildlife for the Dakota Access Pipeline (DAPL), Lake Oahe
Geographic Region was developed to provide information outlining the approach that DAPL and
the responding Oiled Wildlife Response Organization (OWRO) will take in the event of an oil
spill with the potential to impact wildlife in the vicinity of Lake Oahe.

This contingency plan covers the protocols and guidelines for initiating and sustaining a wildlife
response. This contingency plan may be used as a reference by the contracted OWRO.


2.0    Wildlife Context
Lake Oahe provides habitat to numerous species, particularly during migration seasons, and is a
critically important breeding habitat to the Great Plains population of piping plover (Charadrius
melodus). The piping plover is listed by the United States Fish and Wildlife Service (USFWS) as
a threatened species in this area.

Piping Plovers are a small (6.5 to 7inches long; 1.5 to 2 ounces) migratory shorebird with a short,
stout bill, pale underparts and orange legs. During the breeding season, it also has a black band
across the forehead and a single black neckband. Piping plovers breed on open beaches, alkaline
wetlands, and sandflats in North America. The birds feed on invertebrates found in wet and dry
sand along the shore. The nesting season in the Northern Great Plains extends from late April
through August with most nests initiated in May and June.


3.0    Safety Considerations - General Message
When initiating wildlife response activities, responder safety is of paramount importance.
Thorough site surveys and hazard assessments will be conducted prior to the commencement of
any deterrence, capture, or rehabilitation activities. Work will follow the Incident Specific Site
Safety Plan and workers will wear required personal protective equipment (PPE) as dictated in
this plan or in accordance with the Incident Safety Officer.

Minimum training requirements may be required for specific positions (i.e. HAZWOPER) and
will be developed in cooperation with the Safety Officer. All workers must be trained on the
proper use and limitations of all PPE prior to using the equipment. In addition to hazards from
oil, numerous physical hazards may be associated with wildlife rescue activities. To protect
against bites and scratches, appropriate clothing and equipment should be worn underneath the
oil protective equipment as necessary. Workers should be aware of temperature, weather, and
other environmental conditions and use personal protective equipment to guard against water
hazards, extreme temperatures, and biological hazards.
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4.0     Key Considerations for the Management of Wildlife
In the event of a release from the Dakota Access Pipeline amphibians, reptiles, birds; both
migratory and resident species, and mammals may come in contact with petroleum (oil) affected
water or vegetation or may be impacted by spill response activities (e.g., vegetation clearing,
construction of access routes, wetland excavation). Key wildlife considerations include the
following:

   •    Determining wildlife use of the site;
   •    Reducing surface impacts and removing contaminants through clean-up efforts;
   •    Reducing wildlife exposure to affected habitat;
   •    Appropriate coordination with regulatory and trustee agencies for capture, handling and
        treatment of impacted wildlife
   •    Capture and rehabilitation of oil-impacted wildlife

Containment and recovery operations will focus on removing the threat of oil impacts from the
environment, a crucial step in reducing all impacts associated with any release. This wildlife
contingency plan will focus on mitigating the potential harm, reducing the exposure of wildlife
to affected habitat, monitoring wildlife presence and capture, handling and treatment of oil
impacted wildlife. Additional specific plans and protocols will be developed as necessary during
an incident to support on-going wildlife response efforts.


5.0     Wildlife Response Objectives and Strategies
Wildlife response objectives align with many of the traditional spill response objectives;
particularly Protection Objectives which strive to contain the release and prevent it from
reaching critical areas, including vulnerable wildlife habitats. Once response objectives have
been defined response strategies will quickly be identified. Response strategies are incident
specific and may vary based on the response conditions (i.e. weather conditions, contaminant
type, location, time of year, and available resources, etc). The wildlife response strategies shall
be developed by the appropriate response contractors, the OWRO and in coordination with the
appropriate agencies and organizations.



6.0     Initial Response Actions
Response Priorities
Response activities are prioritized to ensure an effective wildlife response. The following
activities shall be initiated within the first 24–48 hours of an incident with known or suspected
impacts to wildlife:

   •    Conduct notifications;
   •    Notify and mobilize an OWRO;
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   •    Iinitiate a wildlife impact assessment;
   •    Mobilize and deploy wildlife equipment, supplies, and additional OWRO personnel (as
        needed);
   •    Develop and implement an incident and species-specific Wildlife Deterrents (Hazing)
        Plan;
   •    Develop an incident specific Wildlife Response Plan;
            o Ensure required federal and state permits are in place or that applications for
                 appropriate permits are submitted;
   •    Establish a 1-800 oiled wildlife reporting hotline and reporting structure for information
        coming in through other outlets (social media, etc.);
   •    Identify regional wildlife resources, if not pre-identified, and initiate establishment of
        required oiled wildlife care facilites; and
   •    Conduct reconnaissance and recover carcasess.

Oiled Widlife Reporting Hotline
An appropriate interface with the public shall be established. In most cases this will be in the
form of a Wildlife Observation Reporting Hotline which will collect information on impacted
wildlife sightings from the public and receive and record sightings from response personnel.

The Hotline shall be staffed with appropriate personnel representing DAPL In addition to
recieving wildlife reports, callers will be provided approved messaging developed by the
Wildlife Branch. Messaging will provide instruction not to attempt capture of the animal due to
health and safety concerns for both the individual and the animal. Observation data from callers
will be recorded and communicated to the Wildlife Branch for assessment and subsequent action.
Additionally, procedures shall be identified to handle wildlife reports and observations via
additional outlets (e-mail, social media, etc.)

The Wildlife Observation Reporting Hotline number and messaging shall be included in daily
work assignments (ICS-204) ensuring that observations made by response personnel are
reported, documented and communicated to the Wildlife Branch in a similar fashion.

Additionally, appropriate messaging may be developed and provided to the Joint Information
Center (JIC) or Public Information Officer (PIO) to release as media notices.


7.0     Incident Management – Wildlife Response
In the event of a spill from the DAPL impacting Lake Oahe, a Unified Command (UC) may be
activated. Wildlife response actions will comply with NIMS-ICS standards and follow a wildlife
branch organization.

Dependent on the magnitude of the wildlife response, additional command staff may be required
within the Wildlife Branch. Command staff may include:
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   •    Assistant Safety Officer for Wildlife
   •    Assistant Liaison Officer for Wildlife
   •    Tribal Liaison Officer for Wildlife
   •    Public Infonnation Officer for wildlife related issues

Wildlife Branch staff will coordinate with personnel from the Operations Section, Logistics
Section, Planning Section (Environmental Unit), and Finance Section as needed to advocate for
and represent the wildlife needs.



                                              Unified
                                             Command



                                   Liaison           Safety Officer



            Logistics           Operations              Planning         Finance



                               L       Wildlife
                                       Branch
                                                     L   Environmental
                                                              Unit
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Wildlife Branch Organization
The Wildlife Branch will fall under the Operations Section within the Incident Command System
(ICS). Below is the example organization chait for the Wildlife Branch. As with any incident,
the organization may be reduced or expanded based on incident complexity and specific needs.




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8.0      Response Scope
Oiled wildlife response is subject to a number of unpredictable factors. OWRO personnel will
provide informed recommendations based on experience and assessment of the particular
incident, however, variables exist that can quickly require the alteration of the response plan and
scope of work.

Response efforts will be adjusted according to a number of metrics, including, but not limited to,
the number of impacted wildlife reported and observed, captured and treated, and the number of
animals captured in relation to capture effort. Size of animal care and rehabilitation facilities will
be determined by the numbers and species of impacted wildlife. Triggers for scaling up or down
will be developed by the Wildlife Branch, with approval of Incident Command.

Wildlife Impact Assessment
Prior to any tactics to recover live, oiled wildlife for rehabilitation, collect dead oiled wildlife for
evidence, establish a stabilization facility, or prevent unoiled wildlife from becoming oiled a
determination must be made as to where wildlife is located. That determination is made through
the following assessments.

Initial Wildlife Assessment
An initial wildlife impact assessment is a critical response action. The assessment may be
conducted in cooperation with wildlife or regulatory agency personnel as available. Assessments
shall observe and document the following:

    •    taxonomic groups and species observed (oiled and unoiled);
    •    approximate numbers impacted; and
    •    geographic area observed

The assessment provides the basis for determining the appropriate level of wildlife response
needed for a specific incident.

Aerial Assessment
Aerial assessment may be utilized, where appropriate, as an efficient way to estimate numbers
and locations of oiled and unoiled wildlife across the incident area. .

Ground-based Wildlife Reconnaissance and Recovery
Daily wildlife reconnaissance and ongoing assessment shall be conducted during the response
efforts. Information gained from daily wildlife reconnaissance will provide current information
on wildlife movements and impacts throughout the incident and is vital to mounting effective
deterrence, search, and capture efforts. In addition to assessing populations, deployed teams may
capture live, oiled animals and collect carcasses.
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Reports of oiled animals received from the Wildlife Hotline may fall outside the area of
response. Wildlife Branch management shall assess the extent of wildlife response activities
based on data and reports.

Wildlife Impact Assessment and Reconnaissance Observations
The wildlife field teams shall record animal sightings (both impacted and non-impacted) and any
pertinent information on field activities as they relate to wildlife. All forms shall include the
following information:

   •    Field team members
   •    Contact information
   •    Location team worked (GPS coordinates, detailed landmarks)
   •    Time and date
   •    Incident name

Photographic documentation generated during field operations should be turned into the
Documentation Unit daily. When possible, written documentation should accompany
photographs (location, description of why photograph was taken, etc.).


9.0     Resources at Risk
Wildlife Resources
The Resources at Risk (RAR, ICS-232) provides an initial basis for understanding what may be
impacted by the spill. The identification of Resources at Risk is an ongoing priority of the
Environmental Unit (EU). Wildlife assessment, reconnaissance, and monitoring will provide
valuable information in maintaining the RAR statement.

Pre-examination of resources has identified the following species as natural resources at risk:

   •    Piping Plover
   •    Whooping Crane
   •    Red Knot
   •    Least Tern
   •    28 Migratory Bird Species
   •    Various Fish Species
   •    Amphibians, including various species of Frogs, Toads, Salamanders, and Newts
   •    Reptiles, including various species of Snakes, Lizards, and Turtles
   •    Semi-Aquatic Mammals, including Moose, Raccoon, Muskrat, Beaver, and River Otter
   •    Various Mammals, including Pronghorn, White-tailed Deer, Mule Deer, Coyote, Badger,
        Red Fox, Bobcat, Fisher, Mink, and Long-tailed Weasel

The United States Fish and Wildlife Servies’s IPaC (Information for Planning and Consultation)
is a resource that can be referenced to help determine species and habitat at risk. Currently, the
IPaC can be accessed by using the following link: https://ecos.fws.gov/ipac/
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Tribal Trust Resources
Emergency responders shall coordinate with Tribal governments who may have, or currently
engage, in traditional uses of the land. The following are fields of wildlife information that
should be considered for input from affected Tribes:

   •    Habitats of migratory birds;
   •    Congregation areas;
   •    Feeding areas;
   •    Nesting areas;
   •    Fishing or foraging areas;
   •    Spawning grounds and spawning routes; and
   •    Populations of species with traditional value.

Species with Traditional Value
Species with traditional value are those identified by native people or communities as having
cultural significance or that traditionally have been a source of nutrition or medicine. Species
with traditional value may be pre-identified as part of environmental assessments (Traditional
Ecological Knowledge) or may be identified at the time of the incident and detailed on the RAR
form. If not pre-identified it is important to engage tribal communities to identify species with
traditional value and, where applicable, incorporate them into the wildlife response.


10.0 Wildlife Deterence and Mitigation
In the event of an incident, the Wildlife Branch will commence the development and
implementation of a Wildlife Deterence Plan to mitigate the impact of oil on wildlife. The plan
will be reflective of pre-established species and population information augmented, based on
incident specific wildlife assessment data, and continually adjusted to ensure effective strategies
are maintained to keep wildlife away from oil-impacted areas and to decrease habituation.

The primary focus of deterence will be on birds species, however, seasonality and lake
conditions may require deterrence tactics for addional reptile, amphibian, and mammal species.

Birds
The following are deterrent measures for birds that may be present on Lake Oahe:

   •    Human disturbance from response activities in cleanup areas;
   •    Effigies, placed at areas where less activity is taking place.
   •    Passive deterrents along impact shorelines (Mylar tape, pennant flagging, etc.)
   •    Audio deterrents (Breko Boey, Propance Cannons, etc.) will be utilized in high
        impact/low human presence areas;
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   •    Pyrotechnics and firearms may be used, as required, to actively deter large groups of birds.
        Proper permits and individuals skilled at placing and operating pyrotechnics and firearms
        should be in place before deployment.

Pre-emptive Capture
Pre-emptive capture of healthy, unoiled wildlife to prevent them from possibly becoming oiled is
an aggressive, stressful disturbance that should only be utilized in special circumstances where
deterrence was not a viable option and the wildlife was unlikely to survive oiling or being
rehabilitated.
Lake Oahe is a critical habitat for the Piping Plover, a federally listed threatened species.
Depending on the presence and status of this species, pre-emptive capture tactics may be
considered. Development of any tactic to protect the piping plover shall be done in consultation
with the USFWS and any applicable stakeholders.
Threatened and Endangered Species
The Wildlife Branch will consider deterrence measures and mitigation of impacts to T/E species
to be the highest priority. Specific deterrence strategies will be developed as feasible. Hazing and
deterrence of T/E species is generally not pre-approved in existing regulatory agency permits
issued to the response. All recommendations for deterrence or mitigation will be fully
coordinated and approved by the appropriate wildlife regulatory agencies.


11.0 Resource Needs
An oiled wildlife response brings with it unique demands in supplies and logistics. These needs
can be focused specifically on facility, equipment, and personnel. These needs will vary
depending on the size, scale and scope of the incident as well as the species of wildlife impacted.

Facility
Facility needs focus on the majority of species affected by a petroleum discharge, which
historically are avian. Facility requirements can vary significantly, depending on the following:
   •    Overall size of the spill and potential
        wildlife impact
   •    Species and age of wildlife affected
   •    Geographic location
   •    Season/ weather
   •    Type of contaminant(s)
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The facility shall be approved and operated by an experienced OWRO throughout the
operational response period.

Wildlife response facilities shall not be located at the spill site but rather at a location
where the facility shall meet the requirements to safely provide medical and rehabilitative
care for the animals. For the purpose of the Lake Oahe Geographic Response Plan the
following centers will be considered as a location for the Wildlife Response Facility.

   •   Bismarck, North Dakota
   •   Pierre, South Dakota
   •   Sioux Falls, South Dakota
   •   Rapid City, South Dakota

If the facility is located 3-4 hours from the response area on-scene stabilization shall be
completed. An oiled wildlife stabilization site will be identified at the time of a spill in an
appropriate regional center.

Specific facility requirements shall be established by the OWRO upon activation and
mobilization.


Event-Based Volunteer Workforce
Upon approval, event based volunteers may be utilized in an oiled wildlife response.
Training workshops for potential volunteers that meet suitability criteria will be
coordinated at the time of an incident. Specific positions for trained volunteers will be
identified by the OWRO in coordination with the Incident Safety Officer.

Training workshops shall include, at a minimum, two hours of classroom training and two
hours of supervised hands-on training that addresses safety issues (both general workplace
and hazardous material awareness), ‘Right to Know’, wildlife specific special
considerations and any additional information particular to the response including those set
by any state and federal agencies.



12.0 Oiled Wildlife Response Equipment Needs
Equipment used in a wildlife response will be determined at the time of the incident and
may be procured as early as initial notifications are made, so long as there is a general
idea of species impacted, potential number of impacted wildlife, wildlife seen in the
immediate area of the spill, weather outlook, type of product spilled and amount, and
environmental characteristics of the spill (on-water, on-land). When organizing
equipment, safety of wildlife and responders will be of first priority. Coinciding with the
National Incident Management System (NIMS), all equipment will be logged and
accounted for, and once the equipment is in use, management shall begin planning for the
demobilization of that equipment as operations shift and change rapidly throughout the
oiled wildlife response operation.

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OWROs maintain a database and contact information for specific resource needs
regarding field capture supplies, medical supplies, trained personnel, and PPE.


13.0 Wildlife Response Elements
Data Collection and Chain of Custody Records
The wildlife data collected will be important for documenting ongoing response efforts
and meeting evidentiary requirements; this data may also be incorporated into Natural
Resource Damage Assessment (NRDA) activities. During the initial phase of a wildlife
response, the Unified Command, natural resource managers (including law enforcement)
and the OWRO shall agree on all the documentation procedures before commencing
wildlife recovery efforts. All responders shall adhere to the procedures throughout the
response. All team members shall be briefed on appropriate methods to record and store
the data they are required to collect.

Chain of Custody Forms
At the onset of any oiled wildlife response effort local natural resource law enforcement
personnel should be consulted for incident specific Chain of Custody procedures. In the
absence of immediate input from law enforcement personnel the following general
procedure should be practiced with due diligence.
Once a live or dead impacted animal is collected, the recovery team must begin a chain of
custody form. This form must include the following information:

   •   Field team members
   •   Contact information
   •   Location of collection (GPS coordinates preferred)
   •   Species (if known)
   •   Time and date animal was collected
   •   Incident name
   •   Indication of whether the animal is dead or alive?
   •   Indication of whether the animal is oiled or not?

This form must stay with the individual animal at all times. Forms should be placed in a
plastic Ziploc® bag and attached to the animal’s carrier. If possession changes hands,
then the form must be signed (signature, date and time) by the person who is
relinquishing custody. The person receiving custody must also sign the form (signature,
date and time) and his / her contact information must be added to the form. Both parties
shall retain a copy of the form. Carcasses should only be given to people with the
authority to have possession.

Custody forms for live animals should be filed systematically once the animal arrives at
the Wildlife Response Facility. All forms for carcasses should be attached to the carcass,
unless asked to do otherwise by the Law Enforcement agent in charge of evidence.

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Depending on the species, status (T&E), and retrieval location there may be multiple
agencies with law enforcement representation. Incident specific protocols may be
amended based on jurisdiction of agencies.

Individual Animal Logs
All live animals recovered by the field teams will be assigned a case number unique to
the incident and an individual animal case record will be started for each animal upon
arrival at the Wildlife Response Facility. A case number for each animal should be
generated from a running tally and recorded on the animal’s log. The case number will be
the animal’s identification while in the rehabilitation facility. The animal’s log will
follow the progress of the individual from the initial intake through release. Significant
information will be recorded about the animal’s health and rehabilitation status; anyone
writing on the form is required to sign and date his / her additions.

Collected carcasses will also receive a unique number generated from a morgue log and
will be recorded on the chain of custody form. Any additional information that might be
required can be added to the chain of custody form. All individuals adding information to
the chain of custody form must sign and date his / her additions.


14.0 Wildlife Response Tactics
Recovery of Oiled Carcass
Upon authorization by the appropriate natural resource management law enforcement
agent, dead wildlife shall be removed from the environment as quickly as possible to
prevent secondary contamination. A carcass collection plan shall be developed in
consultation with agency law enforcement personnel and approved through the incident
command system or included in the incident specific wildlife response plan.

All carcasses are considered evidence and must be handled and documented
appropriately as described. If law enforcement has granted permission for carcass
collection, but has not provided a specific field procedure for carcass collection, the
following shall be assumed and invoked:

   1. Photograph the carcass in-situ
   2. Obtain exact location (GPS coordinates ideal, road intersection or other land
      marks acceptable)
   3. Record data on field observation form
   4. Wear nitrile or other petroleum resistant gloves to pick up the carcass
   5. Place carcass in plastic bag (NOTE: special arrangements should be made for
      carcass removal if >50lbs, e.g., adult sea turtles, marine mammals)
   6. Fill out field retrieval form, put in a clear Ziploc® bag and place in bag with
      carcass
   7. Report carcass to Wildlife Response Facility personnel
   8. Report carcass to the law enforcement contact--agency depends on jurisdiction
   9. Put carcass on ice if cannot get carcass to wildlife facility quickly

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    10. Place carcass in a locked/ secure location until delivered to morgue for processing

If the field teams are not given permission to collect carcasses, the carcass location
should be marked with a flag or other easily seen marker to facilitate the carcass recovery
at a later time. Unless otherwise instructed the following shall be assumed and invoked:

    1. DO NOT touch or move the body
    2. Photograph the carcass in-situ
    3. Obtain exact location (GPS coordinates ideal, road intersection or other land
       marks acceptable)
    4. Record data on field observation form
    5. Mark the area (a flag tied onto a twig or post) to make it easier for authorities to
       spot
    Or
    6. Remain with the carcass if instructed


Capturing Oiled Wildlife
The techniques used and the success of capturing oiled wildlife will vary greatly with
each spill depending on factors such as weather, terrain, species, extent of oiling, and
overall condition of the animals. The trustees and/or the OWRO should be familiar with
all the techniques and equipment available to retrieve the animals effectively and to
minimize the risk of injury to both the animals and the workers.

Capture Team Safety
When capturing and/or handling captured wildlife the following personal protective
equipment (PPE) shall be worn and the following safety measure employed.

    1. Consider environmental conditions and wear the appropriate personal protective
       clothing (PPE), typically:
           a. Tyvek type coverall;
           b. Nitrile gloves;
           c. Eye protection; and
           d. Appropriate footware.
    2. Be trained in safe handling techniques of the animals;
    3. Work with one or more partners;
    4. Follow water safety guidelines; and
    5. Be informed of potential hazards such as rough terrain, harmful animals, insects,
       and plants, extreme weather conditions, and take appropriate precautions
       accordingly

Retrieving Wildlife On-Shore
The following tactics shall be considered for retrieving wildlife on-shore.

    1. Nets and/or snow fencing with baiting;
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   2. Cannon nets around nesting or resting grounds;
   3. Nets, throw nets, or sheets and towels; and
   4. Metal cage traps (mammal capture)

Retrieving Wildlife On-Water
The following tactics shall be considered for retrieving wildlife on-water.

   1.   Net retrieval (strung net or long-handled fishing nets) from corralling vessels;
   2.   Net retrieval with long-handled fishing nets from single vessel;
   3.   On-shore / near-shore net capture with corralling vessels; and
   4.   Floating turtle traps (turtles only).

General Considerations for Wildlife Capture Teams
   •    Animals should never be chased to the point of exhaustion, as they may easily go
        into shock or experience stress-induced capture myopathy.
   •    Oiled carcasses should also be collected during search and rescue efforts in order
        to decrease the possibility of secondary contamination to predatory species.
   •    Personal flotation devices (PFDs) or Mustang Survival suits should be worn at all
        times when working in the water. Field personnel should never stand up in boats
        and workers should avoid climbing over slippery, oiled rocks.




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15.0 Transportation of Oiled Wildlife
General Considerations

In the event that oiled wildlife requires transportation the following containers and
conditions will be followed:

Size
Wildlife shall be transported in containers which provide enough room for them to stand
and turn around. Two or three individuals of gregarious or communal species (such as
mallard ducks and turtles) may be placed in the same container, as long as adequate space
is still available for movement otherwise each animal will receive its own container/

Ventilation
Containers shall be of a type that allows air to freely pass through the container (cross
ventilation). Ventilation holes will be of an appropriate size and at an appropriate location
to ensure to ensure to ensure its safety.

Padding
Containers shall whenever possible include a sorbent pads, towel, or other padding,
placed in the bottom of the transport container. This is mandatory in the case of loons,
grebes or cormorants which are prone to developing keel sores.

Security
In the event larger mammals such as beaver require transportation an appropriate
container shall be utilized. Further, such species shall be carefully monitored as they may
destroy a plastic cage during transport.

Transport Vehicles
Once the animals are boxed, they should be transported to the stabilization and/or wildlife
response facility as quickly as possible. In the event wildlife require transportation a
vehicle will be utilized which meets the following requirements

   •   Adequate ventilation, heating or cooling can be applied;
   •   Adequate space to transport wildlife containers safety is available; and
   •   Minimal noise can be attained in the transportation space.




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16.0 Oiled Wildlife Care and Treatment
Wildlife Care Objectives
In the event that a release of petroleum product from the pipeline has occurred and
wildlife has been impacted, DAPL will ensure that the responding OWRO is tasked with
the following wildlife care objectives.

   •   Minimize stress on all animals that have been retrieved from the Environment.
   •   Provide appropriate temperature controlled and ventilated spaces.
   •   Stabilize and wash animals within 24-48 hours of retrieval.
   •   Provide humane care for all animals which shall include euthanasia for animals
       with a poor prognosis.
   •   Continually address health risks to humans and to animals throughout the
       response.
   •   Maintain complete and accurate records and ensure their security.


Wildlife Care and Medical Protocols
The OWRO will implement treatment protocols that alleviate the physical effects of oil
contamination while providing fluids for rehydration and reducing the on-going
absorption of toxic substances across epithelial surfaces. While protocols are similar for
all animals, specific handling techniques and the extent of treatment often varies
according to the species and type of oil involved, as well as the presence or absence of
complicating factors.

The OWRO shall implement accepted care protocols associated with the phases of the
wildlife decontamination and rehabilitation process for each species accepted into care.

   •   Animal Intake/Initial Treatment
   •   Treatment of Critical Animals
   •   Treatment of Emaciated Animals
   •   Sedation of Large and/or High Stress Animals for Decontamination
   •   Euthanasia
   •   Decontamination (Washing)
   •   Conditioning
   •   Pre-release evaluation
   •   Release

General Care Considerations
Injection of a commercial euthanasia solution is the recommended method for the
humane euthanasia of birds, mammals, and reptiles. Most euthanasia solutions are
restricted drugs and subject to control by the Drug Enforcement Administration;
professional supervision and inventory control is required, therefore all solutions must be
obtained through a state licensed veterinarian. Only individuals approved by the Wildlife

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Veterinarian can perform euthanasia.

Approval by state or federal agents is required before certain species can be euthanized.
These include threatened or endangered species and uncommon animals with small, local
populations.

All deceased wildlife must be retained and managed in accordance with the Chain of
Custody of evidence for the incident.


17.0 Wildlife Release
The OWRO shall establish a release plan and submit it to wildlife trustees and spill
managers for approval. Any release shall be carefully planned in advance. This is
especially true if large numbers of animals are involved. Timely release is important to
reduce risk of secondary problems such as foot/breast lesions, bacterial or fungal
infections, and feather damage. The OWRO shall conduct pre-release evaluations of
rehabilitated animals to identify candidates for release.

Prior to release the following shall be considered:

   •   Suitable release location appropriate for species and time of year;
   •   Banding with USFWS bands and / or other tagging devices;
   •   Media / Public messaging


18.0 Facility Closure and Demobilization
Prior to the commencement of the Wildlife Response Facility closure and demobilization
the Wildlife Branch shall consult with the recovery group supervisors, rehabilitation
group supervisors, and trustee agencies to determine at what point to begin
demobilization.

Once it has been determined to commence closure a demobilization plan will be
established. Remaining wildlife in care shall be released in coordination with the
appropriate agency or, if necessary, the Oiled Wildlife Response Organization shall
determine local licensed wildlife rehabilitators willing to accept long-term wildlife
patients if continued care is needed and facilitate the transfer.

Prior to demobilization the Wildlife Branch shall determine the preferred method for
transferring documentation and evidence collected (including animal carcasses). Ensure
all evidence is transferred before leaving the premises.




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APPENDIX A
Special Considerations for the Rehabilitation of Special Species
Ce1iain avian species require special handling techniques and have special housing,
dietaiy, or swimming needs. The following guidelines address some of these specific
needs and should be inco1porated into the general daily cai·e as needed while these birds
ai·e in captivity.

 Cormorants & Loons
 Safety                  These birds have shaip, pointed bills that can inflict serious
                         damage. Weai· goggles while handling.
 Diet and Housing        Diet is primarily fish and some cmstaceans. Provide large
                         numbers of fish (with heads) in water dishes. Will regurgitate
                         recently eaten food if disturbed. Need perches made of branches
                         or blocks of wood. Provide deep pools.
 Special                 Birds dive to catch food. Birds swim low in water; Co1morant
 Considerations          feathers do not repel water as well as other species.

 Grebes
 Safety                  Aggressive birds with shaip bills. For lai·ger species, weai· safety
                         goggles. Intraspecific conflict common - do not crowd these
                         birds.
 Diet and Housing        Diet includes lai·ge numbers of whole small fish, aquatic insects
                         and cmstaceans placed in water dishes. Provide deep pool and
                         keep water clean.
 Special                 Birds dive to catch food under water. Grebes cannot walk well
 Considerations          on land; keep in water or on foam padding to prevent breast
                         lesions and abrasions. Ingest feathers and sand during preening.
                         Need very thorough rinsing after washing.

 Herons & E2rets
 Safety                  Long pointed bills- will strike at eyes; weai· goggles. Concern for
                         safety of birds: handle neck and long legs gently.
 Diet and Housing        Diet includes fish, frogs, rodents, snakes. Offer food in shallow
                         pans or in deeper buckets of water. Will regurgitate force-fed
                         fish if disturbed. Do not swim in pools; provide shallow wading
                         pool or trough; spray with water to stimulate preening and
                         waterproofing.
 Special                 Easily frightened; need privacy screen, perches.
 Considerations




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Waterfowl: Swans, Geese, & Dabbine: Ducks
Safety              Generally, these species have blunt bills and do not present a
                   threat to humans, except larger, long-necked species require
                   proper head/neck restraints.
Diet and Housing   Diet includes aquatic plants, grasses, and insects, which is
                    adequately simulated using cracked com, commercial duck-
                   pellets, and mealwonns. Provide fresh water for drinking and
                   clean bathing pool. Can be housed together, but not crowded.
Special             Strong pair-bonding, keep mates together when possible.
Considerations

Shorebirds
Safety                These birds do not represent a treat to humans. Small and
                      fragile, the birds need to be handled as gently and as little as
                      possible.
Diet and Housing      Diet includes w01ms, marine and land insects, bits of fish, some
                      vegetable matter, presented in a variety of containers on sand,
                      water, or dirt. Provide privacy screens and "hides" for birds.
                      Colonial birds and should be housed together but not crowded.
                      Offer shallow bathing pools or troughs; can use water spray to
                      assist with waterproofing.
Special               Keep away from people; used vegetative screening if possible.
Considerations        Birds seldom swim in water; are coastal waders at shoreline,
                      marshes, or mudflats. Curlew and snipe- handle with same
                      caution as herons to avoid inimv to long legs and bills.

Terns
Safety                These birds have sharp bills and will bite but do not present a
                      danger to humans.
Diet and Housing      Diet includes small whole fish, wonns, insects, mice in water.
                      Mealwonns can be presented in dishes of sand and vegetation.
                      Provide hides. Provide shallow bathing pools, spray with water
                      to waterproof.
Special               Hunt by diving from air to water. May land on water but do not
Considerations        generally swim in the wild. Can be aggressive within species;
                      do not crowd.

Gulls
Safety                These birds have sharp bills and will bite. Thick gloves may be
                      needed to handle large gulls.
Diet and Housing      Diet includes mice, fish, canned dog food, a variety of food and
                      some vegetable matter. Present on plates and shallow water
                      dishes. Provide shallow pools for bathing and light swimming.
Special               Can be aggressive to own species and to smaller birds, do not
Considerations        crowd. Provide hiding places.


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SCAT Planning
Dakota Access Pipeline




GHD | 5551 Corporate Boulevard Suite 200 Baton Rouge, Louisiana 70808
11121237-01 | Report No 1 (Version 1) | Revised March 29, 2018




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1.           Introduction
             At the request of Dakota Access Pipeline (DAPL), GHD Services Inc. (GHD) has developed
             Shoreline Clean Up Assessment Techniques (SCAT) Planning support in the event of a pipeline
             crude oil release. These services are provided to assist DAPL in performing SCAT assessments in
             the event of a pipeline release.


2.           Purpose and Background
             Shoreline Clean-up Assessment Techniques (SCAT) or SCAT Assessment is an industry accepted
             systematic approach using standard terminology to collect data specific to shoreline oiling
             conditions. Data collected is used to support decision making for shoreline clean-up. SCAT teams
             work within the Environmental Unit under the Incident Command System (ICS) structure. SCAT
             Teams will coordinate with operations supervisors working on the event.

             Purpose

             After a release Shoreline Assessment must be completed in order to:

             •     Determine appropriate response methods at the beginning of response operations

             •     Establish cleanup end points

             •     Assess response effectiveness and to determine:

                   o    Need for additional treatment

                   o    Changes in methodology

                   o    Constraints and limitations in response

             Information from assessments is used to develop a shoreline clean-up plan that maximizes net
             environmental benefit, while minimizing the risk of injury from clean-up efforts.

             The clean-up plan will consider:

             •     Potential for human exposure

             •     Extent and duration of environmental impacts with no clean up

             •     Natural removal rates

             •     Potential for remobilized oil

             •     Potential harm from clean-up efforts

             Net Environmental Benefit Analysis

             When initiating response tactics and deploying response resources, consideration should be given
             to protection of natural resources, environmentally sensitive area, and historical/archaeological
             resources. A process known as Net Environmental Benefit Analysis (NEBA) considers the
             advantages and disadvantages of oil spill response tactics in terms of their respective impacts to

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             the environment. NEBA recognizes that cleanup operations have the potential to cause negative
             environmental impacts by may be justifiable because of overriding benefits and/or the avoidance of
             further impacts. An effective NEBA is a three-step process as outlined in Table 4.3.

             Net Environmental Benefit Analysis Step Activities

             1     Identify and prioritize an area’s ecological, socioeconomic, and cultural resources according to
                   environmental sensitivity.
             2     Evaluate feasible response tactics and compare them not only to each other but also to the
                   option of natural recovery in order to define environmental benefits and drawbacks for all
                   options.
             3     Select the response tactic or combination of tactics that result in the greatest environmental
                   benefit and/or least adverse effects on key resources.

             The NEBA process should be completed in consultation with Federal and State On-Scene
             Commanders, Natural Resource Damage Trustees, and State and Tribal Historical Preservation
             Officers (HPOs).


3.           SCAT Team Members
             The following roles will be filled by members of the SCAT Team. Depending on the size of the
             SCAT team, one individual may hold several roles.

             •     SCAT Coordinator

             •     SCAT Team Leader

             •     SCAT-Ops Liaison

             •     SCAT Logistics Coordinator

             •     Stakeholder representatives

             The stakeholder representatives of a SCAT team will be from multiple agencies and ideally will
             include trained representatives from all stakeholders, who have authority to make decisions and
             give approvals on behalf of their agency.

             The exact membership of the SCAT team is flexible, though is usually comprised of individuals from
             the following companies and agencies

             •     US Army Corp

             •     Environmental Regulatory Representative

             •     Municipal representative

             •     Tribal representative

             •     DAPL representative

             •     State historical representative


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              each SCAT Team member 1.


4.            Methodology
              The SCAT team should be activated when the threat of oiled shoreline is suspected.

              Initial SCAT team responsibilities include:

              •    Confirmation of appropriate team composition

              •    Complete shoreline oiling survey

              •    Segmenting the shoreline

              •    Reviewing clean-up guidelines and end points

              •    Assist with development of Initial Treatment Guidelines

              Throughout clean-up operations the SCAT team is responsible for:

              •    Setting cleanup endpoints for approval by Incident Command

              •    Creation of final shoreline treatment recommendations

              •    Inspection of treated areas

              •    Completion of shoreline inspection report

              At the completion of SCAT operations, the SCAT team is responsible for:

              •    Final sign-off of clean-up activities


5.            Record Keeping
              Use the following forms to record observations:

              •    Open Water Oil Identification Job Aid

              •    River Bank SOS Form

              •    Stream Bank SOS Form




     1   https://response.restoration.noaa.gov/sites/default/files/manual_shore_assess_aug2013.pdf

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                                       Appendix G
                         ICS 204 Work Assignments




                                                Geographical Response Plan | 11121237 (1)
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                                              A SSIGNMENT LIST (ICS 204)
1. Incident Name:                              2. Operational Period:                                                     3.
                                               Date From:                               Date To:
                                               Time From:                               Time To:                          Branch:

4. Operations Personnel: Name                                                                Contact Number(s)            Division:
 Operations Section Chief:
                                                                                                                          Group:
             Branch Director:
                                                                                                                          Staging Area:
Division/Group Supervisor:
5. Resources Assigned:                                                                                                    Reporting Location,




                                                                 Persons
                                                                                                                          Special Equipment and
                                                                           Contact (e.g., phone, pager, radio             Supplies, Remarks, Notes,



                                                                 # of
Resource Identifier            Leader                                      frequency, etc.)                               Information
CP1 - Containment Crew         TBD                           18                                                          See CP1 Equipment attached

CP1 - Recovery Crew            TBD                           12                                                          See CP1 Equipment attached

CP1 - Vacuum Truck Crew        TBD                           2                                                           2 x 70-130 barrel liquid Vacuum




6. Work Assignments:               &RQWURO 3RLQW &3  6XPPHU
In typical conditions, Lake Oahe has a relatively low velocity. Due to proximity to the pipeline, this location will only be utilized if an incident originates
from land and migrates to Lake Oahe from either the river right or river left. Containment boom should be configured to provide containment along the
shoreline on the river right bank or within the incoming river/ wetland at the confluence on the river left side of the river where skimming and recovery
efforts would be concentrated. If the incident originates from the river right shore, approximately 800 feet of containment boom should be deployed and
anchored at the confluence of Lake Oahe. If the incident originates from the river left shore, a series of two 600 foot containment booms with 100 feet
of shore protection should be deployed at 45° angles east of the drainage outfall on the river right shore of the incoming river/ wetland. Anchors should
be either prepositioned anchors or screw anchors which would be installed at the time of the event. Use additional containment boom for any
additional fluids migrating from the collection point due to entrainment. Vacuum recovery/ skimming can be conducted along either bank. Recovery
would occur within the collection area utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank.
Two sets of skimmers will be positioned with vessels and and approximately 1,200 foot of containment boom in 600 foot sections for collection and
recovery and repositioned as needed. If available, drum skimmer(s) with a portable pump and vacuum truck are preferred for
removal.

7. Special Instructions:
See attached Response Tactic MP 166.0 - Control Point:CP1




8. Communications (radio and/or phone contact numbers needed for this assignment):
Name/Function                         Primary Contact: indicate cell, pager, or radio (frequency/system/channel)
                           /
                           /
                           /
                           /
9. Prepared by: Name:                                             Position/Title:                                Signature:
ICS 204                         IAP Page _____                     Date/Time:
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ICS 204
Assignment List

Purpose. The Assignment List(s) (ICS 204) informs Division and Group supervisors of incident assignments. Once the
Command and General Staffs agree to the assignments, the assignment information is given to the appropriate Divisions
and Groups.

Preparation. The ICS 204 is normally prepared by the Resources Unit, using guidance from the Incident Objectives (ICS
202), Operational Planning Worksheet (ICS 215), and the Operations Section Chief. It must be approved by the Incident
Commander, but may be reviewed and initialed by the Planning Section Chief and Operations Section Chief as well.

Distribution. The ICS 204 is duplicated and attached to the ICS 202 and given to all recipients as part of the Incident
Action Plan (IAP). In some cases, assignments may be communicated via radio/telephone/fax. A ll completed original
forms must be given to the Documentation Unit.

Notes:
•    The ICS 204 details assignments at Division and Group levels and is part of the IAP.
•    Multiple pages/copies can be used if needed.
•    If additional pages are needed, use a blank ICS 204 and repaginate as needed.

     Block
                  Block Title                        Instructions
    Number
        1         Incident Name                      Enter the name assigned to the incident.
        2         Operational Period                 Enter the start date (month/day/year) and time (using the 24-hour
                  •   Date and Time From             clock) and end date and time for the operational period to which the
                  •   Date and Time To               form applies.

        3         Branch                             This block is for use in a large IAP for reference only.
                  Division
                                                     Write the alphanumeric abbreviation for the Branch, Division, Group,
                  Group                              and Staging Area (e.g. , "Branch 1," "Division D," "Group 1A") in large
                  Staging Area                       letters for easy referencing.
        4         Operations Personnel               Enter the name and contact numbers of the Operations Section Chief,
                  •   Name, Contact Number(s)        applicable Branch Director(s), and Division/Group Supervisor(s).
                      - Operations Section Chief
                      - Branch Director
                      - Division/Group Supervisor
        5         Resources Assigned                 Enter the follow ing information about the resources assigned to the
                                                     Division or Group for this period:
                  •   Resource Identifier            The identifier is a unique way to identify a resource (e.g. , ENG-13,
                                                     IA-SCC-413). If the resource has been ordered but no identification
                                                     has been received, use TBD (to be determined).
                  •   Leader                         Enter resource leader's name .
                  •   # of Persons                   Enter total number of persons for the resource assigned, including the
                                                     leader.
                  •   Contact (e.g., phone, pager,   Enter primary means of contacting the leader or contact person (e.g.,
                      radio frequency, etc.)         radio, phone, pager, etc.). Be sure to include the area code when
                                                     listing a phone number.
        5         •   Reporting Location, Special    Provide special notes or directions specific to this resource. If
    (continued)       Equipment and Supplies,        required, add notes to indicate: (1) specific location/time where the
                      Remarks, Notes, Information    resource should report or be dropped off/picked up; (2) special
                                                     equipment and supplies that will be used or needed; (3) w hether or not
                                                     the resource received briefings; (4 ) transportation needs; or (5) other
                                                     information .
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 Block
         Block Title                      Instructions
Number
  6      Work Assignments                 Provide a statement of the tactical objectives to be achieved within the
                                          operational period by personnel assigned to this Division or Group.
  7      Special Instructions             Enter a statement noting any safety problems, specific precautions to
                                          be exercised, dropoff or pickup points, or other important information.
  8      Communications (radio and/or     Enter specific communications information (including emergency
         phone contact numbers needed     numbers) for this Branch/Division/Group.
         for this assignment)
                                          If radios are being used , enter function (command, tactical, support,
         • Name/Function                  etc. ), frequency, system, and channel from the Incident Radio
         • Primary Contact: indicate      Communications Plan (ICS 205).
             cell, pager, or radio
             (frequency/system/channel)   Phone and pager numbers should include the area code and any
                                          satellite phone specifics.
                                          In light of potential IAP distribution, use sensitivity when including cell
                                          phone number.

                                          Add a secondary contact (phone number or radio) if needed.
  9      Prepared by                      Enter the name, ICS position, and signature of the person preparing
         • Name                           the form. Enter date (month/day/year) and time prepared (24-hour
                                          clock).
         • Position/Title
         • Signature
         • Date/Time
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                                           A SSIGNMENT LIST (ICS 204)
1. Incident Name:                           2. Operational Period:                                                 3.
                                            Date From:                             Date To:
                                            Time From:                             Time To:                        Branch:

4. Operations Personnel: Name                                                           Contact Number(s)          Division:
 Operations Section Chief:
                                                                                                                   Group:
            Branch Director:
                                                                                                                   Staging Area:
Division/Group Supervisor:
5. Resources Assigned:                                                                                             Reporting Location,




                                                             Persons
                                                                                                                   Special Equipment and
                                                                       Contact (e.g., phone, pager, radio          Supplies, Remarks, Notes,



                                                             # of
Resource Identifier          Leader                                    frequency, etc.)                            Information
CP2 - Containment Crew       TBD                         18                                                       See CP2 Equipment attached

CP2 - Recovery Crew          TBD                         12                                                       See CP2 Equipment attached

CP2 - Vacuum Truck Crew      TBD                         2                                                        2 x 70-130 barrel liquid Vacuum




6. Work Assignments:             &RQWURO 3RLQW &3  6XPPHU
In typical conditions, Lake Oahe has a relatively low velocity. If the release reaches Lake Oahe, an open deflection strategy to a containment and
recovery point on the river right shore should be deployed to allow for continued boat traffic on the river. Approximately 2,600 feet of containment
boom should be deployed at three confluences of Lake Oahe on the river left shoreline. In addition, 1,800 feet of containment boom should be installed
at two confluences of Lake Oahe on the river right shoreline. Be sure to have the proper boom angle with the boom descending from the upstream
point of the release point to a collection point. Use additional containment boom for any additional fluids migrating from the collection point due to
entrainment. Deflection angles should be determined and established based upon wind and water velocity influence. Vacuum recovery/ skimming can
be conducted along either bank. Recovery would occur within the collection area utilizing shallow water skimmer(s) with a 20-34 barrel storage and
transferred to a vacuum truck or storage tank. Two sets of skimmers will be positioned with vessels and approximately 1,200 foot of containment boom
in 600 foot sections for collection and recovery and repositioned as needed. If available, drum skimmer(s) with a portable pump and vacuum truck are
preferred for removal.



7. Special Instructions:
See attached Response Tactic MP 166.0 - Control Point:CP2




8. Communications (radio and/or phone contact numbers needed for this assignment):
Name/Function                         Primary Contact: indicate cell, pager, or radio (frequency/system/channel)
                         /
                         /
                         /
                         /
9. Prepared by: Name:                                         Position/Title:                             Signature:
ICS 204                       IAP Page _____                   Date/Time:
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ICS 204
Assignment List

Purpose. The Assignment List(s) (ICS 204) informs Division and Group supervisors of incident assignments. Once the
Command and General Staffs agree to the assignments, the assignment information is given to the appropriate Divisions
and Groups.

Preparation. The ICS 204 is normally prepared by the Resources Unit, using guidance from the Incident Objectives (ICS
202), Operational Planning Worksheet (ICS 215), and the Operations Section Chief. It must be approved by the Incident
Commander, but may be reviewed and initialed by the Planning Section Chief and Operations Section Chief as well.

Distribution. The ICS 204 is duplicated and attached to the ICS 202 and given to all recipients as part of the Incident
Action Plan (IAP). In some cases, assignments may be communicated via radio/telephone/fax. A ll completed original
forms must be given to the Documentation Unit.

Notes:
•    The ICS 204 details assignments at Division and Group levels and is part of the IAP.
•    Multiple pages/copies can be used if needed.
•    If additional pages are needed, use a blank ICS 204 and repaginate as needed.

     Block
                  Block Title                        Instructions
    Number
        1         Incident Name                      Enter the name assigned to the incident.
        2         Operational Period                 Enter the start date (month/day/year) and time (using the 24-hour
                  •   Date and Time From             clock) and end date and time for the operational period to which the
                  •   Date and Time To               form applies.

        3         Branch                             This block is for use in a large IAP for reference only.
                  Division
                                                     Write the alphanumeric abbreviation for the Branch, Division, Group,
                  Group                              and Staging Area (e.g. , "Branch 1," "Division D," "Group 1A") in large
                  Staging Area                       letters for easy referencing.
        4         Operations Personnel               Enter the name and contact numbers of the Operations Section Chief,
                  •   Name, Contact Number(s)        applicable Branch Director(s), and Division/Group Supervisor(s).
                      - Operations Section Chief
                      - Branch Director
                      - Division/Group Supervisor
        5         Resources Assigned                 Enter the follow ing information about the resources assigned to the
                                                     Division or Group for this period:
                  •   Resource Identifier            The identifier is a unique way to identify a resource (e.g. , ENG-13,
                                                     IA-SCC-413). If the resource has been ordered but no identification
                                                     has been received, use TBD (to be determined).
                  •   Leader                         Enter resource leader's name .
                  •   # of Persons                   Enter total number of persons for the resource assigned, including the
                                                     leader.
                  •   Contact (e.g., phone, pager,   Enter primary means of contacting the leader or contact person (e.g.,
                      radio frequency, etc.)         radio, phone, pager, etc.). Be sure to include the area code when
                                                     listing a phone number.
        5         •   Reporting Location, Special    Provide special notes or directions specific to this resource. If
    (continued)       Equipment and Supplies,        required, add notes to indicate: (1) specific location/time where the
                      Remarks, Notes, Information    resource should report or be dropped off/picked up; (2) special
                                                     equipment and supplies that will be used or needed; (3) w hether or not
                                                     the resource received briefings; (4 ) transportation needs; or (5) other
                                                     information .
         Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 163 of 270
 Block
         Block Title                      Instructions
Number
  6      Work Assignments                 Provide a statement of the tactical objectives to be achieved within the
                                          operational period by personnel assigned to this Division or Group.
  7      Special Instructions             Enter a statement noting any safety problems, specific precautions to
                                          be exercised, dropoff or pickup points, or other important information.
  8      Communications (radio and/or     Enter specific communications information (including emergency
         phone contact numbers needed     numbers) for this Branch/Division/Group.
         for this assignment)
                                          If radios are being used , enter function (command, tactical, support,
         • Name/Function                  etc. ), frequency, system, and channel from the Incident Radio
         • Primary Contact: indicate      Communications Plan (ICS 205).
             cell, pager, or radio
             (frequency/system/channel)   Phone and pager numbers should include the area code and any
                                          satellite phone specifics.
                                          In light of potential IAP distribution, use sensitivity when including cell
                                          phone number.

                                          Add a secondary contact (phone number or radio) if needed.
  9      Prepared by                      Enter the name, ICS position, and signature of the person preparing
         • Name                           the form. Enter date (month/day/year) and time prepared (24-hour
                                          clock).
         • Position/Title
         • Signature
         • Date/Time
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                                           A SSIGNMENT LIST (ICS 204)
1. Incident Name:                           2. Operational Period:                                               3.
                                            Date From:                            Date To:
                                            Time From:                            Time To:                       Branch:

4. Operations Personnel: Name                                                         Contact Number(s)          Division:
 Operations Section Chief:
                                                                                                                 Group:
            Branch Director:
                                                                                                                 Staging Area:
Division/Group Supervisor:
5. Resources Assigned:                                                                                           Reporting Location,




                                                            Persons
                                                                                                                 Special Equipment and
                                                                      Contact (e.g., phone, pager, radio         Supplies, Remarks, Notes,



                                                            # of
Resource Identifier          Leader                                   frequency, etc.)                           Information
CP3 - Containment Crew       TBD                        18                                                       See CP3 Equipment attached

CP3 - Recovery Crew          TBD                        12                                                       See CP3 Equipment attached

CP3 - Vacuum Truck Crew      TBD                        2                                                        2 x 70-130 barrel liquid Vacuum




6. Work Assignments:            &RQWURO 3RLQW &3  6XPPHU
In typical conditions, Lake Oahe has a relatively low velocity. If the release reaches Lake Oahe, an open deflection strategy to a containment and
recovery point on the river right shore should be deployed to allow for continued boat traffic on the river. Approximately 1,900 feet of containment
boom should be deployed at two confluences of Lake Oahe on the river left shoreline. In addition, 1,600 feet of containment boom should be installed
at two confluences of Lake Oahe on the river right shoreline. Be sure to have the proper boom angle with the boom descending from the upstream
point of the release point to a collection point. Use additional containment boom for any additional fluids migrating from the collection point
due to entrainment. Deflection angles should be determined and established based upon wind and water velocity influence. Vacuum recovery/
skimming can be conducted along either bank. Recovery would occur within the collection area utilizing shallow water skimmer(s) with a 20-34 barrel
storage and transferred to a vacuum truck or storage tank. Two sets of skimmers will be positioned with vessels and approximately 1,200 foot of
containment boom in 600 foot sections for collection and recovery and repositioned as needed. If available, drum skimmer(s) with a portable pump and
vacuum truck are preferred for removal.



7. Special Instructions:
See attached Response Tactic MP 166.0 - Control Point:CP3




8. Communications (radio and/or phone contact numbers needed for this assignment):
Name/Function                         Primary Contact: indicate cell, pager, or radio (frequency/system/channel)
                         /
                         /
                         /
                         /
9. Prepared by: Name:                                        Position/Title:                             Signature:
ICS 204                       IAP Page _____                  Date/Time:
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ICS 204
Assignment List

Purpose. The Assignment List(s) (ICS 204) informs Division and Group supervisors of incident assignments. Once the
Command and General Staffs agree to the assignments, the assignment information is given to the appropriate Divisions
and Groups.

Preparation. The ICS 204 is normally prepared by the Resources Unit, using guidance from the Incident Objectives (ICS
202), Operational Planning Worksheet (ICS 215), and the Operations Section Chief. It must be approved by the Incident
Commander, but may be reviewed and initialed by the Planning Section Chief and Operations Section Chief as well.

Distribution. The ICS 204 is duplicated and attached to the ICS 202 and given to all recipients as part of the Incident
Action Plan (IAP). In some cases, assignments may be communicated via radio/telephone/fax. A ll completed original
forms must be given to the Documentation Unit.

Notes:
•    The ICS 204 details assignments at Division and Group levels and is part of the IAP.
•    Multiple pages/copies can be used if needed.
•    If additional pages are needed, use a blank ICS 204 and repaginate as needed.

     Block
                  Block Title                        Instructions
    Number
        1         Incident Name                      Enter the name assigned to the incident.
        2         Operational Period                 Enter the start date (month/day/year) and time (using the 24-hour
                  •   Date and Time From             clock) and end date and time for the operational period to which the
                  •   Date and Time To               form applies.

        3         Branch                             This block is for use in a large IAP for reference only.
                  Division
                                                     Write the alphanumeric abbreviation for the Branch, Division, Group,
                  Group                              and Staging Area (e.g. , "Branch 1," "Division D," "Group 1A") in large
                  Staging Area                       letters for easy referencing.
        4         Operations Personnel               Enter the name and contact numbers of the Operations Section Chief,
                  •   Name, Contact Number(s)        applicable Branch Director(s), and Division/Group Supervisor(s).
                      - Operations Section Chief
                      - Branch Director
                      - Division/Group Supervisor
        5         Resources Assigned                 Enter the follow ing information about the resources assigned to the
                                                     Division or Group for this period:
                  •   Resource Identifier            The identifier is a unique way to identify a resource (e.g. , ENG-13,
                                                     IA-SCC-413). If the resource has been ordered but no identification
                                                     has been received, use TBD (to be determined).
                  •   Leader                         Enter resource leader's name .
                  •   # of Persons                   Enter total number of persons for the resource assigned, including the
                                                     leader.
                  •   Contact (e.g., phone, pager,   Enter primary means of contacting the leader or contact person (e.g.,
                      radio frequency, etc.)         radio, phone, pager, etc.). Be sure to include the area code when
                                                     listing a phone number.
        5         •   Reporting Location, Special    Provide special notes or directions specific to this resource. If
    (continued)       Equipment and Supplies,        required, add notes to indicate: (1) specific location/time where the
                      Remarks, Notes, Information    resource should report or be dropped off/picked up; (2) special
                                                     equipment and supplies that will be used or needed; (3) w hether or not
                                                     the resource received briefings; (4 ) transportation needs; or (5) other
                                                     information .
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 Block
         Block Title                      Instructions
Number
  6      Work Assignments                 Provide a statement of the tactical objectives to be achieved within the
                                          operational period by personnel assigned to this Division or Group.
  7      Special Instructions             Enter a statement noting any safety problems, specific precautions to
                                          be exercised, dropoff or pickup points, or other important information.
  8      Communications (radio and/or     Enter specific communications information (including emergency
         phone contact numbers needed     numbers) for this Branch/Division/Group.
         for this assignment)
                                          If radios are being used , enter function (command, tactical, support,
         • Name/Function                  etc. ), frequency, system, and channel from the Incident Radio
         • Primary Contact: indicate      Communications Plan (ICS 205).
             cell, pager, or radio
             (frequency/system/channel)   Phone and pager numbers should include the area code and any
                                          satellite phone specifics.
                                          In light of potential IAP distribution, use sensitivity when including cell
                                          phone number.

                                          Add a secondary contact (phone number or radio) if needed.
  9      Prepared by                      Enter the name, ICS position, and signature of the person preparing
         • Name                           the form. Enter date (month/day/year) and time prepared (24-hour
                                          clock).
         • Position/Title
         • Signature
         • Date/Time
                Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 167 of 270

                                             A SSIGNMENT LIST (ICS 204)
1. Incident Name:                            2. Operational Period:                                                   3.
                                             Date From:                               Date To:
                                             Time From:                               Time To:                        Branch:

4. Operations Personnel: Name                                                             Contact Number(s)           Division:
 Operations Section Chief:
                                                                                                                      Group:
             Branch Director:
                                                                                                                      Staging Area:
Division/Group Supervisor:
5. Resources Assigned:                                                                                                Reporting Location,




                                                               Persons
                                                                                                                      Special Equipment and
                                                                         Contact (e.g., phone, pager, radio           Supplies, Remarks, Notes,



                                                               # of
Resource Identifier           Leader                                     frequency, etc.)                             Information
CP4 - Containment Crew        TBD                          18                                                        See CP4 Equipment attached

CP4 - Recovery Crew           TBD                          12                                                        See CP4 Equipment attached

CP4 - Vacuum Truck Crew       TBD                          2                                                         2 x 70-130 barrel liquid Vacuum




6. Work Assignments:              &RQWURO 3RLQW &3  6XPPHU
In typical conditions, Lake Oahe has a relatively low velocity. If the release reaches Lake Oahe, an open deflection strategy to a containment and
recovery point on the river right shore should be deployed to allow for continued boat traffic on the river. Approximately 600 feet of containment boom
should be deployed at one confluences of Lake Oahe on the river left shoreline. In addition, 2,900 feet of containment boom should be installed at two
confluences of Lake Oahe on the river right shoreline. Be sure to have the proper boom angle with the boom descending from the upstream point of
the release point to a collection point. Use additional containment boom for any additional fluids migrating from the collection point due to entrainment.
Deflection angles should be determined and established based upon wind and water velocity influence. Vacuum recovery/ skimming can be conducted
along either bank. Recovery would occur within the collection area utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a
vacuum truck or storage tank. Two sets of skimmers will be positioned with vessels and approximately 1,200 foot of containment boom in 600 foot
sections for collection and recovery and repositioned as needed. If available, drum skimmer(s) with a portable pump and vacuum truck are preferred
for removal.



7. Special Instructions:
See attached Response Tactic MP 166.0 - Control Point:CP4




8. Communications (radio and/or phone contact numbers needed for this assignment):
Name/Function                         Primary Contact: indicate cell, pager, or radio (frequency/system/channel)
                          /
                          /
                          /
                          /
9. Prepared by: Name:                                           Position/Title:                              Signature:
ICS 204                        IAP Page _____                    Date/Time:
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ICS 204
Assignment List

Purpose. The Assignment List(s) (ICS 204) informs Division and Group supervisors of incident assignments. Once the
Command and General Staffs agree to the assignments, the assignment information is given to the appropriate Divisions
and Groups.

Preparation. The ICS 204 is normally prepared by the Resources Unit, using guidance from the Incident Objectives (ICS
202), Operational Planning Worksheet (ICS 215), and the Operations Section Chief. It must be approved by the Incident
Commander, but may be reviewed and initialed by the Planning Section Chief and Operations Section Chief as well.

Distribution. The ICS 204 is duplicated and attached to the ICS 202 and given to all recipients as part of the Incident
Action Plan (IAP). In some cases, assignments may be communicated via radio/telephone/fax. A ll completed original
forms must be given to the Documentation Unit.

Notes:
•    The ICS 204 details assignments at Division and Group levels and is part of the IAP.
•    Multiple pages/copies can be used if needed.
•    If additional pages are needed, use a blank ICS 204 and repaginate as needed.

     Block
                  Block Title                        Instructions
    Number
        1         Incident Name                      Enter the name assigned to the incident.
        2         Operational Period                 Enter the start date (month/day/year) and time (using the 24-hour
                  •   Date and Time From             clock) and end date and time for the operational period to which the
                  •   Date and Time To               form applies.

        3         Branch                             This block is for use in a large IAP for reference only.
                  Division
                                                     Write the alphanumeric abbreviation for the Branch, Division, Group,
                  Group                              and Staging Area (e.g. , "Branch 1," "Division D," "Group 1A") in large
                  Staging Area                       letters for easy referencing.
        4         Operations Personnel               Enter the name and contact numbers of the Operations Section Chief,
                  •   Name, Contact Number(s)        applicable Branch Director(s), and Division/Group Supervisor(s).
                      - Operations Section Chief
                      - Branch Director
                      - Division/Group Supervisor
        5         Resources Assigned                 Enter the follow ing information about the resources assigned to the
                                                     Division or Group for this period:
                  •   Resource Identifier            The identifier is a unique way to identify a resource (e.g. , ENG-13,
                                                     IA-SCC-413). If the resource has been ordered but no identification
                                                     has been received, use TBD (to be determined).
                  •   Leader                         Enter resource leader's name .
                  •   # of Persons                   Enter total number of persons for the resource assigned, including the
                                                     leader.
                  •   Contact (e.g., phone, pager,   Enter primary means of contacting the leader or contact person (e.g.,
                      radio frequency, etc.)         radio, phone, pager, etc.). Be sure to include the area code when
                                                     listing a phone number.
        5         •   Reporting Location, Special    Provide special notes or directions specific to this resource. If
    (continued)       Equipment and Supplies,        required, add notes to indicate: (1) specific location/time where the
                      Remarks, Notes, Information    resource should report or be dropped off/picked up; (2) special
                                                     equipment and supplies that will be used or needed; (3) w hether or not
                                                     the resource received briefings; (4 ) transportation needs; or (5) other
                                                     information .
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 Block
         Block Title                      Instructions
Number
  6      Work Assignments                 Provide a statement of the tactical objectives to be achieved within the
                                          operational period by personnel assigned to this Division or Group.
  7      Special Instructions             Enter a statement noting any safety problems, specific precautions to
                                          be exercised, dropoff or pickup points, or other important information.
  8      Communications (radio and/or     Enter specific communications information (including emergency
         phone contact numbers needed     numbers) for this Branch/Division/Group.
         for this assignment)
                                          If radios are being used , enter function (command, tactical, support,
         • Name/Function                  etc. ), frequency, system, and channel from the Incident Radio
         • Primary Contact: indicate      Communications Plan (ICS 205).
             cell, pager, or radio
             (frequency/system/channel)   Phone and pager numbers should include the area code and any
                                          satellite phone specifics.
                                          In light of potential IAP distribution, use sensitivity when including cell
                                          phone number.

                                          Add a secondary contact (phone number or radio) if needed.
  9      Prepared by                      Enter the name, ICS position, and signature of the person preparing
         • Name                           the form. Enter date (month/day/year) and time prepared (24-hour
                                          clock).
         • Position/Title
         • Signature
         • Date/Time
                 Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 170 of 270

                                              A SSIGNMENT LIST (ICS 204)
1. Incident Name:                              2. Operational Period:                                                     3.
                                               Date From:                                Date To:
                                               Time From:                                Time To:                         Branch:

4. Operations Personnel: Name                                                                Contact Number(s)            Division:
 Operations Section Chief:
                                                                                                                          Group:
             Branch Director:
                                                                                                                          Staging Area:
Division/Group Supervisor:
5. Resources Assigned:                                                                                                    Reporting Location,




                                                                 Persons
                                                                                                                          Special Equipment and
                                                                           Contact (e.g., phone, pager, radio             Supplies, Remarks, Notes,



                                                                 # of
Resource Identifier            Leader                                      frequency, etc.)                               Information
IS-1 - Ice Slotting Crew       TBD                           6                                                           See IS-1 Equipment attached

IS-1 - Recovery Crew           TBD                           6                                                           See IS-1 Equipment attached

IS-1 - Vacuum Truck Crew       TBD                           3                                                           2 x 70-130 barrel liquid Vacuum




6. Work Assignments:               &RQWURO 3RLQW ,6  
In typical conditions, Lake Oahe has a relatively low velocity. Due to proximity to the pipeline, this location will only be utilized if an incident originates
from land and migrates to Lake Oahe from either the river right or river left. Ice slotting operations should be configured to provide containment along
the shoreline on the river left bank. Vacuum recovery/ skimming can be conducted at the ice slot near the right bank. Recovery would occur within the
collection area utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank. Three sets of
skimmers will be positioned on shore and 225 pieces of plywood for collection and recovery and repositioned as needed. If available, drum skimmer(s)
with a portable pump and vacuum truck are preferred for removal.




7. Special Instructions:
See attached Response Tactic MP 166.0 - Control Point: IS-1




8. Communications (radio and/or phone contact numbers needed for this assignment):
Name/Function                         Primary Contact: indicate cell, pager, or radio (frequency/system/channel)
                           /
                           /
                           /
                           /
9. Prepared by: Name:                                             Position/Title:                                Signature:
ICS 204                         IAP Page _____                     Date/Time:
                  Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 171 of 270
ICS 204
Assignment List

Purpose. The Assignment List(s) (ICS 204) informs Division and Group supervisors of incident assignments. Once the
Command and General Staffs agree to the assignments, the assignment information is given to the appropriate Divisions
and Groups.

Preparation. The ICS 204 is normally prepared by the Resources Unit, using guidance from the Incident Objectives (ICS
202), Operational Planning Worksheet (ICS 215), and the Operations Section Chief. It must be approved by the Incident
Commander, but may be reviewed and initialed by the Planning Section Chief and Operations Section Chief as well.

Distribution. The ICS 204 is duplicated and attached to the ICS 202 and given to all recipients as part of the Incident
Action Plan (IAP). In some cases, assignments may be communicated via radio/telephone/fax. A ll completed original
forms must be given to the Documentation Unit.

Notes:
•    The ICS 204 details assignments at Division and Group levels and is part of the IAP.
•    Multiple pages/copies can be used if needed.
•    If additional pages are needed, use a blank ICS 204 and repaginate as needed.

     Block
                  Block Title                        Instructions
    Number
        1         Incident Name                      Enter the name assigned to the incident.
        2         Operational Period                 Enter the start date (month/day/year) and time (using the 24-hour
                  •   Date and Time From             clock) and end date and time for the operational period to which the
                  •   Date and Time To               form applies.

        3         Branch                             This block is for use in a large IAP for reference only.
                  Division
                                                     Write the alphanumeric abbreviation for the Branch, Division, Group,
                  Group                              and Staging Area (e.g. , "Branch 1," "Division D," "Group 1A") in large
                  Staging Area                       letters for easy referencing.
        4         Operations Personnel               Enter the name and contact numbers of the Operations Section Chief,
                  •   Name, Contact Number(s)        applicable Branch Director(s), and Division/Group Supervisor(s).
                      - Operations Section Chief
                      - Branch Director
                      - Division/Group Supervisor
        5         Resources Assigned                 Enter the follow ing information about the resources assigned to the
                                                     Division or Group for this period:
                  •   Resource Identifier            The identifier is a unique way to identify a resource (e.g. , ENG-13,
                                                     IA-SCC-413). If the resource has been ordered but no identification
                                                     has been received, use TBD (to be determined).
                  •   Leader                         Enter resource leader's name .
                  •   # of Persons                   Enter total number of persons for the resource assigned, including the
                                                     leader.
                  •   Contact (e.g., phone, pager,   Enter primary means of contacting the leader or contact person (e.g.,
                      radio frequency, etc.)         radio, phone, pager, etc.). Be sure to include the area code when
                                                     listing a phone number.
        5         •   Reporting Location, Special    Provide special notes or directions specific to this resource. If
    (continued)       Equipment and Supplies,        required, add notes to indicate: (1) specific location/time where the
                      Remarks, Notes, Information    resource should report or be dropped off/picked up; (2) special
                                                     equipment and supplies that will be used or needed; (3) w hether or not
                                                     the resource received briefings; (4 ) transportation needs; or (5) other
                                                     information .
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 Block
         Block Title                      Instructions
Number
  6      Work Assignments                 Provide a statement of the tactical objectives to be achieved within the
                                          operational period by personnel assigned to this Division or Group.
  7      Special Instructions             Enter a statement noting any safety problems, specific precautions to
                                          be exercised, dropoff or pickup points, or other important information.
  8      Communications (radio and/or     Enter specific communications information (including emergency
         phone contact numbers needed     numbers) for this Branch/Division/Group.
         for this assignment)
                                          If radios are being used , enter function (command, tactical, support,
         • Name/Function                  etc. ), frequency, system, and channel from the Incident Radio
         • Primary Contact: indicate      Communications Plan (ICS 205).
             cell, pager, or radio
             (frequency/system/channel)   Phone and pager numbers should include the area code and any
                                          satellite phone specifics.
                                          In light of potential IAP distribution, use sensitivity when including cell
                                          phone number.

                                          Add a secondary contact (phone number or radio) if needed.
  9      Prepared by                      Enter the name, ICS position, and signature of the person preparing
         • Name                           the form. Enter date (month/day/year) and time prepared (24-hour
                                          clock).
         • Position/Title
         • Signature
         • Date/Time
                 Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 173 of 270

                                              A SSIGNMENT LIST (ICS 204)
1. Incident Name:                              2. Operational Period:                                                     3.
                                               Date From:                                Date To:
                                               Time From:                                Time To:                         Branch:

4. Operations Personnel: Name                                                                Contact Number(s)            Division:
 Operations Section Chief:
                                                                                                                          Group:
             Branch Director:
                                                                                                                          Staging Area:
Division/Group Supervisor:
5. Resources Assigned:                                                                                                    Reporting Location,




                                                                 Persons
                                                                                                                          Special Equipment and
                                                                           Contact (e.g., phone, pager, radio             Supplies, Remarks, Notes,



                                                                 # of
Resource Identifier            Leader                                      frequency, etc.)                               Information
IS-2 - Ice Slotting Crew       TBD                           6                                                           See IS-2 Equipment attached

IS-2 - Recovery Crew           TBD                           6                                                           See IS-2 Equipment attached

IS-2 - Vacuum Truck Crew       TBD                           3                                                           2 x 70-130 barrel liquid Vacuum




6. Work Assignments:               &RQWURO 3RLQW ,6  
In typical conditions, Lake Oahe has a relatively low velocity. Due to proximity to the pipeline, this location will only be utilized if an incident originates
from land and migrates to Lake Oahe from either the river right or river left. Ice slotting operations should be configured to provide containment along
the shoreline on the river left bank. Vacuum recovery/ skimming can be conducted at the ice slot near the right bank. Recovery would occur within the
collection area utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank. Three sets of
skimmers will be positioned on shore and 225 pieces of plywood for collection and recovery and repositioned as needed. If available, drum skimmer(s)
with a portable pump and vacuum truck are preferred for removal.




7. Special Instructions:
See attached Response Tactic MP 166.0 - Control Point: IS-1




8. Communications (radio and/or phone contact numbers needed for this assignment):
Name/Function                         Primary Contact: indicate cell, pager, or radio (frequency/system/channel)
                           /
                           /
                           /
                           /
9. Prepared by: Name:                                             Position/Title:                                Signature:
ICS 204                         IAP Page _____                     Date/Time:
                  Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 174 of 270
ICS 204
Assignment List

Purpose. The Assignment List(s) (ICS 204) informs Division and Group supervisors of incident assignments. Once the
Command and General Staffs agree to the assignments, the assignment information is given to the appropriate Divisions
and Groups.

Preparation. The ICS 204 is normally prepared by the Resources Unit, using guidance from the Incident Objectives (ICS
202), Operational Planning Worksheet (ICS 215), and the Operations Section Chief. It must be approved by the Incident
Commander, but may be reviewed and initialed by the Planning Section Chief and Operations Section Chief as well.

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Action Plan (IAP). In some cases, assignments may be communicated via radio/telephone/fax. A ll completed original
forms must be given to the Documentation Unit.

Notes:
•    The ICS 204 details assignments at Division and Group levels and is part of the IAP.
•    Multiple pages/copies can be used if needed.
•    If additional pages are needed, use a blank ICS 204 and repaginate as needed.

     Block
                  Block Title                        Instructions
    Number
        1         Incident Name                      Enter the name assigned to the incident.
        2         Operational Period                 Enter the start date (month/day/year) and time (using the 24-hour
                  •   Date and Time From             clock) and end date and time for the operational period to which the
                  •   Date and Time To               form applies.

        3         Branch                             This block is for use in a large IAP for reference only.
                  Division
                                                     Write the alphanumeric abbreviation for the Branch, Division, Group,
                  Group                              and Staging Area (e.g. , "Branch 1," "Division D," "Group 1A") in large
                  Staging Area                       letters for easy referencing.
        4         Operations Personnel               Enter the name and contact numbers of the Operations Section Chief,
                  •   Name, Contact Number(s)        applicable Branch Director(s), and Division/Group Supervisor(s).
                      - Operations Section Chief
                      - Branch Director
                      - Division/Group Supervisor
        5         Resources Assigned                 Enter the follow ing information about the resources assigned to the
                                                     Division or Group for this period:
                  •   Resource Identifier            The identifier is a unique way to identify a resource (e.g. , ENG-13,
                                                     IA-SCC-413). If the resource has been ordered but no identification
                                                     has been received, use TBD (to be determined).
                  •   Leader                         Enter resource leader's name .
                  •   # of Persons                   Enter total number of persons for the resource assigned, including the
                                                     leader.
                  •   Contact (e.g., phone, pager,   Enter primary means of contacting the leader or contact person (e.g.,
                      radio frequency, etc.)         radio, phone, pager, etc.). Be sure to include the area code when
                                                     listing a phone number.
        5         •   Reporting Location, Special    Provide special notes or directions specific to this resource. If
    (continued)       Equipment and Supplies,        required, add notes to indicate: (1) specific location/time where the
                      Remarks, Notes, Information    resource should report or be dropped off/picked up; (2) special
                                                     equipment and supplies that will be used or needed; (3) w hether or not
                                                     the resource received briefings; (4 ) transportation needs; or (5) other
                                                     information .
         Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 175 of 270
 Block
         Block Title                      Instructions
Number
  6      Work Assignments                 Provide a statement of the tactical objectives to be achieved within the
                                          operational period by personnel assigned to this Division or Group.
  7      Special Instructions             Enter a statement noting any safety problems, specific precautions to
                                          be exercised, dropoff or pickup points, or other important information.
  8      Communications (radio and/or     Enter specific communications information (including emergency
         phone contact numbers needed     numbers) for this Branch/Division/Group.
         for this assignment)
                                          If radios are being used , enter function (command, tactical, support,
         • Name/Function                  etc. ), frequency, system, and channel from the Incident Radio
         • Primary Contact: indicate      Communications Plan (ICS 205).
             cell, pager, or radio
             (frequency/system/channel)   Phone and pager numbers should include the area code and any
                                          satellite phone specifics.
                                          In light of potential IAP distribution, use sensitivity when including cell
                                          phone number.

                                          Add a secondary contact (phone number or radio) if needed.
  9      Prepared by                      Enter the name, ICS position, and signature of the person preparing
         • Name                           the form. Enter date (month/day/year) and time prepared (24-hour
                                          clock).
         • Position/Title
         • Signature
         • Date/Time
                 Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 176 of 270

                                              A SSIGNMENT LIST (ICS 204)
1. Incident Name:                              2. Operational Period:                                                     3.
                                               Date From:                                Date To:
                                               Time From:                                Time To:                         Branch:

4. Operations Personnel: Name                                                                Contact Number(s)            Division:
 Operations Section Chief:
                                                                                                                          Group:
             Branch Director:
                                                                                                                          Staging Area:
Division/Group Supervisor:
5. Resources Assigned:                                                                                                    Reporting Location,




                                                                 Persons
                                                                                                                          Special Equipment and
                                                                           Contact (e.g., phone, pager, radio             Supplies, Remarks, Notes,



                                                                 # of
Resource Identifier            Leader                                      frequency, etc.)                               Information
IS-3 - Ice Slotting Crew       TBD                           6                                                           See IS-3 Equipment attached

IS-3 - Recovery Crew           TBD                           6                                                           See IS-3 Equipment attached

IS-3 - Vacuum Truck Crew       TBD                           3                                                           2 x 70-130 barrel liquid Vacuum




6. Work Assignments:               &RQWURO 3RLQW ,6  
In typical conditions, Lake Oahe has a relatively low velocity. Due to proximity to the pipeline, this location will only be utilized if an incident originates
from land and migrates to Lake Oahe from either the river right or river left. Ice slotting operations should be configured to provide containment along
the shoreline on the river left bank. Vacuum recovery/ skimming can be conducted at the ice slot near the right bank. Recovery would occur within the
collection area utilizing shallow water skimmer(s) with a 20-34 barrel storage and transferred to a vacuum truck or storage tank. Three sets of
skimmers will be positioned on shore and 225 pieces of plywood for collection and recovery and repositioned as needed. If available, drum skimmer(s)
with a portable pump and vacuum truck are preferred for removal.




7. Special Instructions:
See attached Response Tactic MP 166.0 - Control Point: IS-3




8. Communications (radio and/or phone contact numbers needed for this assignment):
Name/Function                         Primary Contact: indicate cell, pager, or radio (frequency/system/channel)
                           /
                           /
                           /
                           /
9. Prepared by: Name:                                             Position/Title:                                Signature:
ICS 204                         IAP Page _____                     Date/Time:
                  Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 177 of 270
ICS 204
Assignment List

Purpose. The Assignment List(s) (ICS 204) informs Division and Group supervisors of incident assignments. Once the
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                                                     Write the alphanumeric abbreviation for the Branch, Division, Group,
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                      - Branch Director
                      - Division/Group Supervisor
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                  •   # of Persons                   Enter total number of persons for the resource assigned, including the
                                                     leader.
                  •   Contact (e.g., phone, pager,   Enter primary means of contacting the leader or contact person (e.g.,
                      radio frequency, etc.)         radio, phone, pager, etc.). Be sure to include the area code when
                                                     listing a phone number.
        5         •   Reporting Location, Special    Provide special notes or directions specific to this resource. If
    (continued)       Equipment and Supplies,        required, add notes to indicate: (1) specific location/time where the
                      Remarks, Notes, Information    resource should report or be dropped off/picked up; (2) special
                                                     equipment and supplies that will be used or needed; (3) w hether or not
                                                     the resource received briefings; (4 ) transportation needs; or (5) other
                                                     information .
         Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 178 of 270
 Block
         Block Title                      Instructions
Number
  6      Work Assignments                 Provide a statement of the tactical objectives to be achieved within the
                                          operational period by personnel assigned to this Division or Group.
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                                          If radios are being used , enter function (command, tactical, support,
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                                          In light of potential IAP distribution, use sensitivity when including cell
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         • Name                           the form. Enter date (month/day/year) and time prepared (24-hour
                                          clock).
         • Position/Title
         • Signature
         • Date/Time
                Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 179 of 270

                                            A SSIGNMENT LIST (ICS 204)
1. Incident Name:                            2. Operational Period:                                                3.
                                             Date From:                             Date To:
                                             Time From:                             Time To:                       Branch:

4. Operations Personnel: Name                                                           Contact Number(s)          Division:
 Operations Section Chief:
                                                                                                                   Group:
            Branch Director:
                                                                                                                   Staging Area:
Division/Group Supervisor:
5. Resources Assigned:                                                                                             Reporting Location,




                                                              Persons
                                                                                                                   Special Equipment and
                                                                        Contact (e.g., phone, pager, radio         Supplies, Remarks, Notes,



                                                              # of
Resource Identifier          Leader                                     frequency, etc.)                           Information
S-Water Sampling ST          TBD                          6                                                        See Surface Water Sampling Plan




6. Work Assignments:             6XUIDFH :DWHU 6DPSOLQJ
Surface water sampling at various location along Lake Oahe. This sampling includes Water quality testing performed at the time of the sampling and
sample collection for analytical testing. Details of the sampling procedures and scope of testing criteria can be found in the Surface water sampling
plan attached.




7. Special Instructions:
See attached Surface Water Sampling Plan




8. Communications (radio and/or phone contact numbers needed for this assignment):
Name/Function                         Primary Contact: indicate cell, pager, or radio (frequency/system/channel)
                         /
                         /
                         /
                         /
9. Prepared by: Name:                                          Position/Title:                             Signature:
ICS 204                        IAP Page _____                   Date/Time:
                  Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 180 of 270
ICS 204
Assignment List

Purpose. The Assignment List(s) (ICS 204) informs Division and Group supervisors of incident assignments. Once the
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Preparation. The ICS 204 is normally prepared by the Resources Unit, using guidance from the Incident Objectives (ICS
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Notes:
•    The ICS 204 details assignments at Division and Group levels and is part of the IAP.
•    Multiple pages/copies can be used if needed.
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                  Block Title                        Instructions
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                                                     Write the alphanumeric abbreviation for the Branch, Division, Group,
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                  •   # of Persons                   Enter total number of persons for the resource assigned, including the
                                                     leader.
                  •   Contact (e.g., phone, pager,   Enter primary means of contacting the leader or contact person (e.g.,
                      radio frequency, etc.)         radio, phone, pager, etc.). Be sure to include the area code when
                                                     listing a phone number.
        5         •   Reporting Location, Special    Provide special notes or directions specific to this resource. If
    (continued)       Equipment and Supplies,        required, add notes to indicate: (1) specific location/time where the
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                                                     equipment and supplies that will be used or needed; (3) w hether or not
                                                     the resource received briefings; (4 ) transportation needs; or (5) other
                                                     information .
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         Block Title                      Instructions
Number
  6      Work Assignments                 Provide a statement of the tactical objectives to be achieved within the
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                                          phone number.

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         • Name                           the form. Enter date (month/day/year) and time prepared (24-hour
                                          clock).
         • Position/Title
         • Signature
         • Date/Time
                Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 182 of 270

                                             A SSIGNMENT LIST (ICS 204)
1. Incident Name:                            2. Operational Period:                                           3.
                                             Date From:                               Date To:
                                             Time From:                               Time To:                Branch:

4. Operations Personnel: Name                                                             Contact Number(s)   Division:
 Operations Section Chief:
                                                                                                              Group:
             Branch Director:
                                                                                                              Staging Area:
Division/Group Supervisor:
5. Resources Assigned:                                                                                        Reporting Location,




                                                            Persons
                                                                                                              Special Equipment and
                                                                      Contact (e.g., phone, pager, radio      Supplies, Remarks, Notes,



                                                            # of
Resource Identifier           Leader                                  frequency, etc.)                        Information
Air Monitoring Strike Team    TBD                          6                                                  See Air Monitoring plan for details




6. Work Assignments:               $LU PRQLWRULQJ
The purpose of this plan is to address air monitoring/sampling during the response and remedial
phases of the project. The specific objectives include the following:
- Perform real-time air monitoring for COI at the perimeter of the work site to characterize
- Potential exposures to members of the community
 - Perform real-time air monitoring for COI in the breathing zones of workers to evaluate potential
   exposures during on-site activities.




7. Special Instructions:
See attached Air Monitoring Plan




8. Communications (radio and/or phone contact numbers needed for this assignment):
Name/Function                         Primary Contact: indicate cell, pager, or radio (frequency/system/channel)
                          /
                          /
                          /
                          /
9. Prepared by: Name:                                          Position/Title:                         Signature:
ICS 204                        IAP Page _____                  Date/Time:
                  Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 183 of 270
ICS 204
Assignment List

Purpose. The Assignment List(s) (ICS 204) informs Division and Group supervisors of incident assignments. Once the
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Notes:
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     Block
                  Block Title                        Instructions
    Number
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                                                     Write the alphanumeric abbreviation for the Branch, Division, Group,
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                  •   # of Persons                   Enter total number of persons for the resource assigned, including the
                                                     leader.
                  •   Contact (e.g., phone, pager,   Enter primary means of contacting the leader or contact person (e.g.,
                      radio frequency, etc.)         radio, phone, pager, etc.). Be sure to include the area code when
                                                     listing a phone number.
        5         •   Reporting Location, Special    Provide special notes or directions specific to this resource. If
    (continued)       Equipment and Supplies,        required, add notes to indicate: (1) specific location/time where the
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         Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 184 of 270
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Number
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                Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 185 of 270

                                            A SSIGNMENT LIST (ICS 204)
1. Incident Name:                            2. Operational Period:                                                  3.
                                             Date From:                              Date To:
                                             Time From:                              Time To:                        Branch:

4. Operations Personnel: Name                                                            Contact Number(s)           Division:
 Operations Section Chief:
                                                                                                                     Group:
             Branch Director:
                                                                                                                     Staging Area:
Division/Group Supervisor:
5. Resources Assigned:                                                                                               Reporting Location,




                                                            Persons
                                                                                                                     Special Equipment and
                                                                      Contact (e.g., phone, pager, radio             Supplies, Remarks, Notes,



                                                            # of
Resource Identifier           Leader                                  frequency, etc.)                               Information
Wildlife Management TF        TBD                          2                                                        See Wildlife MGMT Plan

Wildlife Recovery TF          TBD                          6                                                         See Wildlife MGMT Plan




6. Work Assignments:             :LOGOLIH 0DQDJHPHQW 3ODQ
Complete wildlife management including identification, protection, recovery, rehabilitation. find details in the attached Wildlife Management Plan.




7. Special Instructions:
See attached Wildlife Management Plan




8. Communications (radio and/or phone contact numbers needed for this assignment):
Name/Function                         Primary Contact: indicate cell, pager, or radio (frequency/system/channel)
                          /
                          /
                          /
                          /
9. Prepared by: Name:                                          Position/Title:                              Signature:
ICS 204                        IAP Page _____                  Date/Time:
                  Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 186 of 270
ICS 204
Assignment List

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                  Group                              and Staging Area (e.g. , "Branch 1," "Division D," "Group 1A") in large
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                  •   Contact (e.g., phone, pager,   Enter primary means of contacting the leader or contact person (e.g.,
                      radio frequency, etc.)         radio, phone, pager, etc.). Be sure to include the area code when
                                                     listing a phone number.
        5         •   Reporting Location, Special    Provide special notes or directions specific to this resource. If
    (continued)       Equipment and Supplies,        required, add notes to indicate: (1) specific location/time where the
                      Remarks, Notes, Information    resource should report or be dropped off/picked up; (2) special
                                                     equipment and supplies that will be used or needed; (3) w hether or not
                                                     the resource received briefings; (4 ) transportation needs; or (5) other
                                                     information .
         Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 187 of 270
 Block
         Block Title                      Instructions
Number
  6      Work Assignments                 Provide a statement of the tactical objectives to be achieved within the
                                          operational period by personnel assigned to this Division or Group.
  7      Special Instructions             Enter a statement noting any safety problems, specific precautions to
                                          be exercised, dropoff or pickup points, or other important information.
  8      Communications (radio and/or     Enter specific communications information (including emergency
         phone contact numbers needed     numbers) for this Branch/Division/Group.
         for this assignment)
                                          If radios are being used , enter function (command, tactical, support,
         • Name/Function                  etc. ), frequency, system, and channel from the Incident Radio
         • Primary Contact: indicate      Communications Plan (ICS 205).
             cell, pager, or radio
             (frequency/system/channel)   Phone and pager numbers should include the area code and any
                                          satellite phone specifics.
                                          In light of potential IAP distribution, use sensitivity when including cell
                                          phone number.

                                          Add a secondary contact (phone number or radio) if needed.
  9      Prepared by                      Enter the name, ICS position, and signature of the person preparing
         • Name                           the form. Enter date (month/day/year) and time prepared (24-hour
                                          clock).
         • Position/Title
         • Signature
         • Date/Time
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                                                Geographical Response Plan 111121237 (1)
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                                                Geographical Response Plan 111121237 (1)
National Response CorporationCase 1:16-cv-01534-JEB     Document 346-1 Filed 04/02/18 Page 199 of 270
                                         Equipment Types: Boom/Portable Storage/Skimmer/Support Equipment/Vacuum System/Vessel

Resource Availability By Type
Zone: Williston, ND                                                                                                                                           Williston ND - Case# DM15-0085
                                                                                                                                                                                      April 20, 2015


00 to 06 hours       (* Does not include recall/mobilization time)                                         ContractorLocation
Boom
>=6 and <18 inch

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City                State   *Time Away (hr mm)

8" Boom                                     0                         10,000          0        0 ICN       Clean Harbors Environmental Services   Williston           ND                     00:04
6" Boom                                     0                            300          0        0 ICN       Environmental Restoration LLC          Sidney              MT                     01:05
10" Boom                                    BM10-001                   1,000          0        0 NRC       Basin Transload Beulah                 Beulah              ND                     02:51
                      Sub Total >=6 and <18 inch:                    11300        0            0
18"

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City                State   *Time Away (hr mm)

Containment Boom                            0                          8,500          0        0   ICN     Clean Harbors Environmental Services   Williston           ND                     00:04
18" Boom                                    0                          1,700          0        0   ICN     Garner Environmental Services, Inc.    Williston           ND                     00:06
18" Boom                                    0                          1,200          0        0   ICN     Environmental Restoration LLC          Sidney              MT                     01:05
18" Boom                                    0                          4,500          0        0   ICN     Strata Corporation (Earthmover)        Minot               ND                     03:04
                                     Sub Total 18":                  15900        0            0
                                       Total Boom:                   27200        0            0

Portable Storage
Portable Tank

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City                State   *Time Away (hr mm)

55 Gallon Drum                              0                             88          0        0   ICN     Clean Harbors Environmental Services   Williston           ND                     00:04
Tote Tank                                   0                             12          0       72   ICN     Clean Harbors Environmental Services   Williston           ND                     00:04
Pillow Tank                                 ELS-39                         1          0       24   NRC     Global Companies LLC (Columbus, ND)    Columbus            ND                     01:50
Pillow Tank                                 ELS-40                         1          0       24   NRC     Global Companies LLC (Columbus, ND)    Columbus            ND                     01:50
Pillow Tank                                 ELS-41                         1          0       24   NRC     Global Companies LLC (Columbus, ND)    Columbus            ND                     01:50
Pillow Tank                                 ELS-38                         1          0       24   NRC     Global Companies LLC (Columbus, ND)    Columbus            ND                     01:50
Pillow Tank                                 ELS-42                         1          0       24   NRC     Basin Transload Beulah                 Beulah              ND                     02:51
Pillow Tank                                 ELS-43                         1          0       24   NRC     Basin Transload Beulah                 Beulah              ND                     02:51
Pillow Tank                                 ELS-58                         1          0       24   NRC     Basin Transload Beulah                 Beulah              ND                     02:51
Pillow Tank                                 ELS-59                         1          0       24   NRC     Basin Transload Beulah                 Beulah              ND                     02:51
                          Sub Total Portable Tank:                      108       0          264
                            Total Portable Storage:                     108       0          264

Skimmer
Drum

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City                State   *Time Away (hr mm)

Small Drum Skimmer                          0                              2     342           0 ICN       Clean Harbors Environmental Services   Williston           ND                     00:04
23' Drum Skimmer                            0                              2     342           0 ICN       Garner Environmental Services, Inc.    Williston           ND                     00:06
36" Drum Skimmer                            0                              2     494           0 ICN       Garner Environmental Services, Inc.    Williston           ND                     00:06



 00 to 06 hours                                                                   RESOURCE AVAILABILITY BY TYPE                                                        Page 1 of 10
00 to 06 hours                                          Case 1:16-cv-01534-JEB Document 346-1
                     (* Does not include recall/mobilization time)                             Filed 04/02/18 Page 200 of 270
                                                                                          ContractorLocation
Elastec TDS118 Skimmer                       0                             2     480            0 ICN      Environmental Restoration LLC          Sidney      MT                     01:05
                                    Sub Total Drum:                       8     1658           0
Floating Suction

 Description                                 Stencil #               Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Floating Suction Skimmer                     0                             1     274            0 ICN      Strata Corporation (Earthmover)        Minot       ND                     03:04
                        Sub Total Floating Suction:                       1      274           0
Oleophilic Disk

 Description                                 Stencil #               Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Crucial ORD Disk Skimmer                     ORD-003                       1     342            0 NRC      Global Companies LLC (Columbus, ND)    Columbus    ND                     01:50
Crucial ORD Disk Skimmer                     ORD-005                       1     342            0 NRC      Basin Transload Beulah                 Beulah      ND                     02:51
                           Sub Total Oleophilic Disk:                     2      684           0
                                     Total Skimmer:                      11     2616           0

Support Equipment
Blower

 Description                                 Stencil #               Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Various Blower                               0                             7           0        0 ICN      Clean Harbors Environmental Services   Williston   ND                     00:04
                                   Sub Total Blower:                      7       0            0
Communications

 Description                                 Stencil #               Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Mobile Command Unit                          0                             1           0        0 ICN      Clean Harbors Environmental Services   Williston   ND                     00:04
Mobile Command Center                        0                             1           0        0 ICN      Strata Corporation (Earthmover)        Minot       ND                     03:04
Office Trailer                               0                             1           0        0 ICN      Clean Harbors Environmental Services   Regina      Canada                 04:43
                       Sub Total Communications:                          3       0            0
Compressor

 Description                                 Stencil #               Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Compressor                                   0                             4           0        0 ICN      Franz Construction, Inc.               Sidney      MT                     01:06
Compressor                                   0                             1           0        0 ICN      Strata Corporation (Earthmover)        Minot       ND                     03:04
                             Sub Total Compressor:                        5       0            0
Crane Truck

 Description                                 Stencil #               Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Crane Truck                                  0                             1           0        0 ICN      Strata Corporation (Earthmover)        Minot       ND                     03:04
                             Sub Total Crane Truck:                       1       0            0
Dump Truck/Trailer

 Description                                 Stencil #               Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Tractor                                      0                             5           0        0   ICN    Clean Harbors Environmental Services   Williston   ND                     00:04
Dump Truck                                   0                             1           0        0   ICN    Clean Harbors Environmental Services   Williston   ND                     00:04
Dump Truck                                   0                            12           0        0   ICN    Strata Corporation (Earthmover)        Williston   ND                     00:06
End Dumps                                    0                            13           0        0   ICN    Strata Corporation (Earthmover)        Minot       ND                     03:04
Dump Truck                                   0                             3           0        0   ICN    Strata Corporation (Earthmover)        Minot       ND                     03:04
                     Sub Total Dump Truck/Trailer:                       34       0            0
Earth Moving Equipment

 Description                                 Stencil #               Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)




 00 to 06 hours                                                                   RESOURCE AVAILABILITY BY TYPE                                                Page 2 of 10
00 to 06 hours                                           Case 1:16-cv-01534-JEB Document 346-1
                       (* Does not include recall/mobilization time)                            Filed 04/02/18 Page 201 of 270
                                                                                           ContractorLocation
Backhoe                                       0                              1          0        0   ICN     Clean Harbors Environmental Services   Williston   ND                     00:04
Dozer                                         0                              4          0        0   ICN     Strata Corporation (Earthmover)        Williston   ND                     00:06
Excavator                                     0                              6          0        0   ICN     Strata Corporation (Earthmover)        Williston   ND                     00:06
Rubber Tire Backhoe                           0                              1          0        0   ICN     Garner Environmental Services, Inc.    Williston   ND                     00:06
Rubber Track Front Loader                     0                              1          0        0   ICN     Garner Environmental Services, Inc.    Williston   ND                     00:06
Skidsteer                                     0                              1          0        0   ICN     Environmental Restoration LLC          Sidney      MT                     01:05
Scraper                                       0                             30          0        0   ICN     Franz Construction, Inc.               Sidney      MT                     01:06
Grader                                        0                             12          0        0   ICN     Franz Construction, Inc.               Sidney      MT                     01:06
Dozer                                         0                             20          0        0   ICN     Franz Construction, Inc.               Sidney      MT                     01:06
Track Hoe                                     0                              3          0        0   ICN     Franz Construction, Inc.               Sidney      MT                     01:06
Excavator                                     0                              6          0        0   ICN     Franz Construction, Inc.               Sidney      MT                     01:06
Back-Hoe                                      0                              2          0        0   ICN     Franz Construction, Inc.               Sidney      MT                     01:06
Extend-A Hoe                                  0                              2          0        0   ICN     Franz Construction, Inc.               Sidney      MT                     01:06
Loader                                        0                             31          0        0   ICN     Franz Construction, Inc.               Sidney      MT                     01:06
Skid-Steer                                    0                              8          0        0   ICN     Franz Construction, Inc.               Sidney      MT                     01:06
Roller                                        0                             10          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
Loader                                        0                             26          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
Excavator                                     0                             29          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
Skid Steer                                    0                             15          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
Grader                                        0                              2          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
Scraper                                       0                              5          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
Dozer                                         0                             10          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
                  Sub Total Earth Moving Equipment:                       225       0            0
Flatbed Trailer

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Equipment Trailer                             0                              1          0        0   ICN     Environmental Restoration LLC          Sidney      MT                     01:05
Stakebed                                      0                              2          0        0   ICN     Environmental Restoration LLC          Sidney      MT                     01:05
Flatbed Trailer                               0                              4          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
Tandem Trailer                                0                              1          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
Flat Deck Trailer                             0                              4          0        0   ICN     Clean Harbors Environmental Services   Regina      Canada                 04:43
                            Sub Total Flatbed Trailer:                     12       0            0
Generator

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Generator                                     0                             14          0        0 ICN       Franz Construction, Inc.               Sidney      MT                     01:06
Generator                                     0                              1          0        0 ICN       Strata Corporation (Earthmover)        Minot       ND                     03:04
Generator                                     0                              1          0        0 ICN       Clean Harbors Environmental Services   Regina      Canada                 04:43
                                Sub Total Generator:                       16       0            0
Pick-Up Truck

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Pick-Up Truck                                 0                              2          0        0   ICN     Clean Harbors Environmental Services   Williston   ND                     00:04
UTV                                           0                              2          0        0   ICN     Clean Harbors Environmental Services   Williston   ND                     00:04
Pick-Up Truck                                 0                              2          0        0   ICN     Strata Corporation (Earthmover)        Williston   ND                     00:06
Pick-Up Truck                                 0                              3          0        0   ICN     Environmental Restoration LLC          Sidney      MT                     01:05
Pick-Up Truck                                 0                             71          0        0   ICN     Franz Construction, Inc.               Sidney      MT                     01:06
Pick-Up Truck                                 0                             48          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
Pick-Up Truck                                 0                              7          0        0   ICN     Clean Harbors Environmental Services   Regina      Canada                 04:43
                            Sub Total Pick-Up Truck:                      135       0            0



 00 to 06 hours                                                                     RESOURCE AVAILABILITY BY TYPE                                                Page 3 of 10
00 to 06 hours                                              Case 1:16-cv-01534-JEB Document 346-1
                         (* Does not include recall/mobilization time)                             Filed 04/02/18 Page 202 of 270
                                                                                              ContractorLocation
Pressure Washer

 Description                                    Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Pressure Washer                                 0                              1          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
Pressure Washer                                 0                              1          0        0   ICN     Clean Harbors Environmental Services   Regina      Canada                 04:43
High Pressure Water Blaster                     0                              4          0        0   ICN     Clean Harbors Environmental Services   Regina      Canada                 04:43
Mobile Hotsy                                    0                              1          0        0   ICN     Clean Harbors Environmental Services   Regina      Canada                 04:43
                           Sub Total Pressure Washer:                         7       0            0
Roll-Off Container

 Description                                    Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Vacuum Box Containers                           0                             16          0        0 ICN       Clean Harbors Environmental Services   Williston   ND                     00:04
20 yd Roll Off Container                        0                              6          0        0 ICN       Garner Environmental Services, Inc.    Williston   ND                     00:06
                         Sub Total Roll-Off Container:                       22       0            0
SCBA

 Description                                    Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

SCBA                                            0                              6          0        0 ICN       Strata Corporation (Earthmover)        Minot       ND                     03:04
                                      Sub Total SCBA:                         6       0            0
Steam Cleaner

 Description                                    Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Steamer                                         0                              1          0        0 ICN       Clean Harbors Environmental Services   Regina      Canada                 04:43
                             Sub Total Steam Cleaner:                         1       0            0
Support Truck

 Description                                    Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Support Truck                                   0                              5          0        0 ICN       Strata Corporation (Earthmover)        Minot       ND                     03:04
                             Sub Total Support Truck:                         5       0            0
Truck - Semi

 Description                                    Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Roll Off Truck Bobtail                          0                              1          0        0 ICN       Garner Environmental Services, Inc.    Williston   ND                     00:06
Tractor                                         0                             14          0        0 ICN       Franz Construction, Inc.               Sidney      MT                     01:06
Tractor                                         0                              1          0        0 ICN       Clean Harbors Environmental Services   Regina      Canada                 04:43
                               Sub Total Truck - Semi:                       16       0            0
Utility Trailer

 Description                                    Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Vessel Transport Trailer                        0                              1          0        0   ICN     Clean Harbors Environmental Services   Williston   ND                     00:04
Boat Trailer                                    0                              2          0        0   ICN     Clean Harbors Environmental Services   Williston   ND                     00:04
Response Trailer                                0                              2          0        0   ICN     Garner Environmental Services, Inc.    Williston   ND                     00:06
Boom Trailer                                    0                              1          0        0   ICN     Environmental Restoration LLC          Sidney      MT                     01:05
Utility Trailer                                 0                              2          0        0   ICN     Environmental Restoration LLC          Sidney      MT                     01:05
Fast Response Trailer                           738                            1          0        0   NRC     Global Companies LLC (Columbus, ND)    Columbus    ND                     01:50
Fast Response Trailer                           739                            1          0        0   NRC     Basin Transload Beulah                 Beulah      ND                     02:51
Small Trailer                                   0                             18          0        0   ICN     Strata Corporation (Earthmover)        Minot       ND                     03:04
                               Sub Total Utility Trailer:                    28       0            0
Utility Truck

 Description                                    Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Utility Vehicle                                 0                              2          0        0 ICN       Environmental Restoration LLC          Sidney      MT                     01:05


 00 to 06 hours                                                                       RESOURCE AVAILABILITY BY TYPE                                                Page 4 of 10
00 to 06 hours                                            Case 1:16-cv-01534-JEB Document 346-1
                        (* Does not include recall/mobilization time)                            Filed 04/02/18 Page 203 of 270
                                                                                            ContractorLocation
                               Sub Total Utility Truck:                      2        0            0
Van Trailer

 Description                                   Stencil #                Quantity   EDRC        Storage Owner                                          City        State    *Time Away (hr mm)

Red Enclosed Trailer                           0                              2            0        0   ICN    Clean Harbors Environmental Services   Williston   ND                     00:04
Lab Trailer                                    0                              1            0        0   ICN    Strata Corporation (Earthmover)        Minot       ND                     03:04
Decon Trailer                                  0                              1            0        0   ICN    Strata Corporation (Earthmover)        Minot       ND                     03:04
Boom Trailer                                   0                              2            0        0   ICN    Strata Corporation (Earthmover)        Minot       ND                     03:04
Van Trailers                                   0                              1            0        0   ICN    Clean Harbors Environmental Services   Regina      Canada                 04:43
                                Sub Total Van Trailer:                       7        0            0
                            Total Support Equipment:                       532        0            0

Vacuum System
Vacuum Trailer

 Description                                   Stencil #                Quantity   EDRC        Storage Owner                                          City        State    *Time Away (hr mm)

Trailer Skid Vac                               0                              1      343           71 ICN      Clean Harbors Environmental Services   Williston   ND                     00:04
Vacuum Trailer                                 0                              1      542           71 ICN      Strata Corporation (Earthmover)        Williston   ND                     00:06
Vacuum Trailer                                 0                              1      343           20 ICN      Strata Corporation (Earthmover)        Minot       ND                     03:04
                           Sub Total Vacuum Trailer:                         3     1228          162
Vacuum Transfer Unit

 Description                                   Stencil #                Quantity   EDRC        Storage Owner                                          City        State    *Time Away (hr mm)

Cyclone Vactor Guzzler                         0                              2      686            0 ICN      Clean Harbors Environmental Services   Williston   ND                     00:04
Vacuum Transfer Unit                           0                              1      343            0 ICN      Clean Harbors Environmental Services   Williston   ND                     00:04
Cusco Portable Vacuum Tranfer Unit             0                              1      549           71 ICN      Garner Environmental Services, Inc.    Williston   ND                     00:06
                     Sub Total Vacuum Transfer Unit:                         4     1578           71
Vacuum Truck

 Description                                   Stencil #                Quantity   EDRC        Storage Owner                                          City        State    *Time Away (hr mm)

High Powered Vacuum Truck                      0                              5     1,715         355   ICN    Clean Harbors Environmental Services   Williston   ND                     00:04
Vacuum Tanker                                  0                              1       343         119   ICN    Clean Harbors Environmental Services   Williston   ND                     00:04
Vacuum Truck                                   0                              1       528          71   ICN    Strata Corporation (Earthmover)        Williston   ND                     00:06
Vacuum Truck                                   0                              1     4,032          71   ICN    Environmental Restoration LLC          Sidney      MT                     01:05
Vacuum Truck                                   0                              1       343          71   ICN    Strata Corporation (Earthmover)        Minot       ND                     03:04
Vacuum Truck                                   0                              1       343          71   ICN    Clean Harbors Environmental Services   Regina      Canada                 04:43
Presvac                                        0                              3     1,029         213   ICN    Clean Harbors Environmental Services   Regina      Canada                 04:43
                            Sub Total Vacuum Truck:                         13     8333          971
                               Total Vacuum System:                         20     11139        1204

Vessel
Deployment Craft (< 25 foot)

 Description                                   Stencil #                Quantity   EDRC        Storage Owner                                          City        State    *Time Away (hr mm)

18' Deployment Craft                           0                              2            0        0   ICN    Clean Harbors Environmental Services   Williston   ND                     00:04
28' Deployment Craft                           0                              1            0        0   ICN    Clean Harbors Environmental Services   Williston   ND                     00:04
Response Boat Custom Flat                      0                              2            0        0   ICN    Garner Environmental Services, Inc.    Williston   ND                     00:06
17' Deployment Craft                           0                              1            0        0   ICN    Environmental Restoration LLC          Sidney      MT                     01:05
28' Deployment Craft                           0                              1            0        0   ICN    Environmental Restoration LLC          Sidney      MT                     01:05
17' Deployment Craft                           0                              1            0        0   ICN    Environmental Restoration LLC          Sidney      MT                     01:05
               Sub Total Deployment Craft (< 25 foot):                       8        0            0


 00 to 06 hours                                                                       RESOURCE AVAILABILITY BY TYPE                                                Page 5 of 10
00 to 06 hours                                            Case 1:16-cv-01534-JEB Document 346-1
                        (* Does not include recall/mobilization time)                            Filed 04/02/18 Page 204 of 270
                                                                                            ContractorLocation
Deployment Craft (> 25 foot)

 Description                                   Stencil #                Quantity   EDRC        Storage Owner                                          City        State   *Time Away (hr mm)

30' Deployment Craft                           0                              1            0         0 ICN     Clean Harbors Environmental Services   Williston   ND                    00:04
               Sub Total Deployment Craft (> 25 foot):                       1        0              0
                                          Total Vessel:                      9        0              0
                                 Total 00 to 06 hours:                             13755       1,468.00
                   Running Total from 0 to unknown:                                13755         1468




 00 to 06 hours                                                                       RESOURCE AVAILABILITY BY TYPE                                                Page 6 of 10
06 to 12 hours                                          Case 1:16-cv-01534-JEB Document 346-1
                       (* Does not include recall/mobilization time)                           Filed 04/02/18 Page 205 of 270
                                                                                          ContractorLocation
Boom
18"

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

18" Boom                                      0                            200           0        0 ICN      Euroway Industrial Services            Winnipeg    Canada                 09:18
18" Boom                                      0                          1,400           0        0 ICN      Beltrami Industrial Services           Solway      MN                     11:24
18" Boom                                      0                          1,000           0        0 ICN      OSI Environmental, Inc.                Bemidji     MN                     11:37
                                       Sub Total 18":                   2600        0            0
                                         Total Boom:                    2600        0            0

Portable Storage
Frac Tank

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Frac Tank                                     0                              2           0      952 ICN      Beltrami Industrial Services           Solway      MN                     11:24
                                Sub Total Frac Tank:                        2       0          952
Portable Tank

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Poly Tank                                     0                              1           0       12 ICN      Clean Harbors Environmental Services   Winnipeg    Canada                 09:10
                            Sub Total Portable Tank:                        1       0           12
                              Total Portable Storage:                       3       0          964

Skimmer
Drum

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Medium Drum Skimmer                           0                              1     240            0 ICN      Euroway Industrial Services            Winnipeg    Canada                 09:18
                                     Sub Total Drum:                        1      240           0
                                      Total Skimmer:                        1      240           0

Support Equipment
Communications

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Command Post Trailer                          0                              1           0        0 ICN      Beltrami Industrial Services           Solway      MN                     11:24
                        Sub Total Communications:                           1       0            0
Compressor

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Compressor                                    0                              1           0        0 ICN      Clean Harbors Environmental Services   Winnipeg    Canada                 09:10
Air Compressor                                0                              1           0        0 ICN      Prairie Consulting Group               Watertown   SD                     10:54
Compressor                                    0                              1           0        0 ICN      Beltrami Industrial Services           Solway      MN                     11:24
                              Sub Total Compressor:                         3       0            0
Crane Truck

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City        State    *Time Away (hr mm)

Sideboom/Padded                               0                              1           0        0 ICN      Hulcher Services, INC.                 Laurel      MT                     08:24
Sideboom/Steel                                0                              1           0        0 ICN      Hulcher Services, INC.                 Laurel      MT                     08:24
                              Sub Total Crane Truck:                        2       0            0




 06 to 12 hours                                                                     RESOURCE AVAILABILITY BY TYPE                                                Page 7 of 10
06 to 12 hours                                           Case 1:16-cv-01534-JEB Document 346-1
                       (* Does not include recall/mobilization time)                            Filed 04/02/18 Page 206 of 270
                                                                                           ContractorLocation
Dump Truck/Trailer

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Dump Truck                                    0                              1          0        0 ICN       Beltrami Industrial Services           Solway      MN                     11:24
Dump Truck                                    0                              1          0        0 ICN       Olympus Technical Services, Inc.       Helena      MT                     11:32
                       Sub Total Dump Truck/Trailer:                        2       0            0
Earth Moving Equipment

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

977 Track Loader                              0                              1          0        0   ICN     Hulcher Services, INC.                 Laurel      MT                     08:24
Crawler Loader                                0                              1          0        0   ICN     Beltrami Industrial Services           Solway      MN                     11:24
Backhoe                                       0                              1          0        0   ICN     Beltrami Industrial Services           Solway      MN                     11:24
Skidsteer Loader                              0                              1          0        0   ICN     Beltrami Industrial Services           Solway      MN                     11:24
Caterpillar                                   0                              1          0        0   ICN     Beltrami Industrial Services           Solway      MN                     11:24
Excavator                                     0                              1          0        0   ICN     Beltrami Industrial Services           Solway      MN                     11:24
Backhoe                                       0                              1          0        0   ICN     Olympus Technical Services, Inc.       Helena      MT                     11:32
Skidsteer                                     0                              1          0        0   ICN     Olympus Technical Services, Inc.       Helena      MT                     11:32
Excavator                                     0                              1          0        0   ICN     Olympus Technical Services, Inc.       Helena      MT                     11:32
Skidsteer                                     0                              1          0        0   ICN     Olympus Technical Services, Inc.       Helena      MT                     11:32
                  Sub Total Earth Moving Equipment:                        10       0            0
Flatbed Trailer

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Flatbed Trailer                               0                              1          0        0 ICN       Euroway Industrial Services            Winnipeg    Canada                 09:18
Flatbed Trailer                               0                              1          0        0 ICN       Euroway Industrial Services            Winnipeg    Canada                 09:18
Lowboy Trailer                                0                              1          0        0 ICN       Beltrami Industrial Services           Solway      MN                     11:24
                           Sub Total Flatbed Trailer:                       3       0            0
Fork Lift

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Forklift                                      0                              1          0        0 ICN       OSI Environmental, Inc.                Moorhead    MN                     09:31
Forklift                                      0                              1          0        0 ICN       Beltrami Industrial Services           Solway      MN                     11:24
Forklifts                                     0                              1          0        0 ICN       OSI Environmental, Inc.                Bemidji     MN                     11:37
                                  Sub Total Fork Lift:                      3       0            0
Generator

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Generator                                     0                              2          0        0 ICN       Euroway Industrial Services            Winnipeg    Canada                 09:18
Generator                                     0                              1          0        0 ICN       Beltrami Industrial Services           Solway      MN                     11:24
Generator                                     0                              1          0        0 ICN       OSI Environmental, Inc.                Bemidji     MN                     11:37
                                Sub Total Generator:                        4       0            0
Pick-Up Truck

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Pick-Up Truck                                 0                              3          0        0   ICN     Clean Harbors Environmental Services   Winnipeg    Canada                 09:10
Pick-Up Truck                                 0                              2          0        0   ICN     Prairie Consulting Group               Watertown   SD                     10:54
Pick-Up Truck                                 0                              4          0        0   ICN     Beltrami Industrial Services           Solway      MN                     11:24
Pick-Up Truck                                 0                              2          0        0   ICN     OSI Environmental, Inc.                Bemidji     MN                     11:37
                            Sub Total Pick-Up Truck:                       11       0            0
Pressure Washer




 06 to 12 hours                                                                     RESOURCE AVAILABILITY BY TYPE                                                Page 8 of 10
06 to 12 hours                                           Case 1:16-cv-01534-JEB Document 346-1
                      (* Does not include recall/mobilization time)                             Filed 04/02/18 Page 207 of 270
                                                                                           ContractorLocation
 Description                                  Stencil #               Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Pressure Washer-Hot                          0                              1          0        0   ICN     Clean Harbors Environmental Services   Winnipeg    Canada                 09:10
Waterblast Unit                              0                              1          0        0   ICN     Clean Harbors Environmental Services   Winnipeg    Canada                 09:10
Pressure Washer                              0                              1          0        0   ICN     Prairie Consulting Group               Watertown   SD                     10:54
Pressure Washer                              0                              1          0        0   ICN     Beltrami Industrial Services           Solway      MN                     11:24
Pressure Washer                              0                              1          0        0   ICN     OSI Environmental, Inc.                Bemidji     MN                     11:37
                       Sub Total Pressure Washer:                          5       0            0
Roll-off Truck

 Description                                  Stencil #               Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Roll-off Truck                               0                              1          0        0 ICN       Beltrami Industrial Services           Solway      MN                     11:24
                             Sub Total Roll-off Truck:                     1       0            0
SCBA

 Description                                  Stencil #               Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

SCBA                                         0                              2          0        0 ICN       Beltrami Industrial Services           Solway      MN                     11:24
SCBA                                         0                              1          0        0 ICN       OSI Environmental, Inc.                Bemidji     MN                     11:37
                                    Sub Total SCBA:                        3       0            0
Steam Cleaner

 Description                                  Stencil #               Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Steamer Truck                                0                              1          0        0 ICN       Clean Harbors Environmental Services   Winnipeg    Canada                 09:10
                          Sub Total Steam Cleaner:                         1       0            0
Truck - Semi

 Description                                  Stencil #               Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Tractor                                      0                              1          0        0 ICN       Beltrami Industrial Services           Solway      MN                     11:24
                              Sub Total Truck - Semi:                      1       0            0
Utility Truck

 Description                                  Stencil #               Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Box Truck                                    0                              1          0        0 ICN       OSI Environmental, Inc.                Moorhead    MN                     09:31
Response Truck                               0                              1          0        0 ICN       OSI Environmental, Inc.                Bemidji     MN                     11:37
Box Truck                                    0                              1          0        0 ICN       OSI Environmental, Inc.                Bemidji     MN                     11:37
                              Sub Total Utility Truck:                     3       0            0
Van Trailer

 Description                                  Stencil #               Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Response Trailer with Semi                   0                              1          0        0 ICN       Prairie Consulting Group               Watertown   SD                     10:54
Recovery Spill Trailer                       0                              1          0        0 ICN       Beltrami Industrial Services           Solway      MN                     11:24
Response Trailer                             0                              1          0        0 ICN       OSI Environmental, Inc.                Bemidji     MN                     11:37
                               Sub Total Van Trailer:                      3       0            0
Workboat Trailer

 Description                                  Stencil #               Quantity   EDRC      Storage Owner                                           City        State    *Time Away (hr mm)

Workboat Trailer                             0                              1          0        0 ICN       Euroway Industrial Services            Winnipeg    Canada                 09:18
                        Sub Total Workboat Trailer:                        1       0            0
                          Total Support Equipment:                        57       0            0

Vacuum System
Vacuum Trailer


 06 to 12 hours                                                                    RESOURCE AVAILABILITY BY TYPE                                                Page 9 of 10
06 to 12 hours                                            Case 1:16-cv-01534-JEB Document 346-1
                        (* Does not include recall/mobilization time)                            Filed 04/02/18 Page 208 of 270
                                                                                            ContractorLocation
 Description                                   Stencil #                Quantity   EDRC        Storage Owner                                           City        State    *Time Away (hr mm)

Vacuum Trailer                                 0                              1            0         0 ICN      Olympus Technical Services, Inc.       Helena      MT                     11:32
Vacuum Trailer                                 0                              1            0        24 ICN      Olympus Technical Services, Inc.       Helena      MT                     11:32
                           Sub Total Vacuum Trailer:                         2        0             24
Vacuum Truck

 Description                                   Stencil #                Quantity   EDRC        Storage Owner                                           City        State    *Time Away (hr mm)

Vacuum Straight Truck                          0                              1      343            71    ICN   Clean Harbors Environmental Services   Winnipeg    Canada                 09:10
Pump Truck                                     0                              1      651            71    ICN   OSI Environmental, Inc.                Moorhead    MN                     09:31
Vacuum Truck                                   0                              1      343            71    ICN   Beltrami Industrial Services           Solway      MN                     11:24
Vacuum Truck                                   0                              1      343            71    ICN   OSI Environmental, Inc.                Bemidji     MN                     11:37
Pump Truck                                     0                              1      651            71    ICN   OSI Environmental, Inc.                Bemidji     MN                     11:37
                            Sub Total Vacuum Truck:                          5     2331           355
                               Total Vacuum System:                          7     2331           379

Vessel
Deployment Craft (< 25 foot)

 Description                                   Stencil #                Quantity   EDRC        Storage Owner                                           City        State    *Time Away (hr mm)

16' Deployment Craft                           0                              1            0         0 ICN      Euroway Industrial Services            Winnipeg    Canada                 09:18
18' Deployment Craft                           0                              1            0         0 ICN      Prairie Consulting Group               Watertown   SD                     10:54
               Sub Total Deployment Craft (< 25 foot):                       2        0              0
                                          Total Vessel:                      2        0              0
                                 Total 06 to 12 hours:                             2571        1,343.00
                   Running Total from 0 to unknown:                                16326         2811




 06 to 12 hours                                                                       RESOURCE AVAILABILITY BY TYPE                                                 Page 10 of 10
              CaseCorporation
National Response  1:16-cv-01534-JEBEquipment
                                      Document    346-1
                                              Types: SupportFiled 04/02/18 Page 209 of 270
                                                             Equipment

Resource Availability By Type
Zone: Bismarck, ND                                                                                                           dEMO - Case# DM15-0099
                                                                                                                                                     May 04, 2015

00 to 06 hours          (* Does not include recall/mobilization time)



Support Equipment
Earth Moving Equipment

Description                                                                                                                       State     •nme Away {hr:mml

Roller                                         0                             10      0        0    ICN    Minot                   ND                         02:51
Loader                                         0                             26      0        0    ICN    Minot                   ND                         02:51
Excavator                                      0                             29      0        0    ICN    Minot                   ND                         02:51

Skid Steer                                     0                             15      0        0    IC N   Minot                   ND                         02:51
Grader                                         0                              2      0        0    IC N   Minot                   ND                         02:51

Scraper                                        0                              5      0        0    ICN    Minot                   ND                         02:51
Dozer                                          0                             10      0        0    ICN    Minot                   ND                         02:51
                                                                                                                      - -- - --
Backhoe                                        0                              1      0        0    ICN    Williston               ND                         04:38
Dozer                                          0                              4      0         0   ICN    Williston               ND                         04 39

Excavator                                      0                              6      0         0   ICN    Williston               ND                         04:39
Rubber Tire Backhoe                            0                              1      0         0   ICN    Williston               ND                         04:4 1
Rubber Track Front Loader                      0                              1      0         0   ICN    Williston               ND                          0441

Scraper                                         0                            30      0         0   ICN    Sidney                  MT                         04 51
Track Hoe                                       0                             3      0         0   ICN    Sidney                  MT                          04:51
Excavator                                       0                             6      0         0   ICN    Sidney                  MT                          04 :51

Back-Hoe                                        0                             2      0         0   ICN    Sidney                  MT                          04:51
E xtend-A Hoe                                   0                             2      0         0   ICN    Sidney                  MT                          04:51

Loader                                          0                            31      0         0   ICN    Sidney                  MT                          04:51
Skid-Steer                                      0                             8      0         0   ICN    Sidney                  MT                          04:51

Grader                                          0                            12      0         0   ICN    Sidney                  MT                          04:51
Dozer                                           0                            20      0         0   ICN    Sidney                  MT                          04:51

Skidsteer                                       0                             1      0         0   ICN    Sidney                  MT                          04:52
                                                                                                          -- ---
                   Sub Total Earth Moving Equipment:                        225      0         0
Roll-Off Container

Descripti on                                   Stencil#                 Quantity   EDRC   Storage Owner   9!Y                     Stal!!    .. nme .Awa't. {hr:mml

Vacuum Box Containers                           0                            16      0         0   ICN    Williston               ND                          04:38

20 yd Roll Off Container                        0                             6      0         0   ICN    Williston               ND                          04:4 1

                         Sub Total Ro ll-Off Container:                      22      0         0
                            Total Support Equipment:                        247      0         0
                                  Total 00 to 06 hours:                              0         0
                    Running Tota_! from Oto unknown:                                 0         0




----------------------------------------------------------------------...----..~~~~-----MW~---.. . . . --.-----~-------
 00 to 06 h ours                               RESOURCE AVAILABILITY BY TYPE                                                               Page 1 o f 5
06 to 12 hours         (* Does not include recall/mobilization time)
                            Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 210 of 270

Support Equipment
Earth Moving Equipment

Description                                                                                                State     'Time Away (hr:mm)

Crawler Loader                                0                        1      0   0   ICN   Solway         MN                      07:48

Backhoe                                       0                        1      0   0   ICN   Solway         MN                      07:48

Skidsteer Loader                              0                        1      0   0   ICN   Solway         MN                      07:48
                                                                                                      .
Caterpillar                                   0                        1      0   0   ICN   Solway         MN                      07:48

Excavator                                     0                        1      0   0   ICN   Solway         MN                      07:48
Track Loader                                  0                        1      0   0   ICN   Roseville      MN                      10:59

977 Track L oader                             0                        1      0   0   ICN   Laurel         MT                      11:03
Backhoe-Loader                                0                        1      0   0   ICN   Eveleth        MN                      11:07

Skid Steer-Loader                             0                        1      0   0   ICN   Eveleth        MN                       11 :07

Backhoe                                       0                        1      0   0   ICN   North Platte   NE                       11 :09

Wheel Loader                                  0                        1      0   0   ICN   North Platte   NE                       11 :09

Uni loader                                     0                       1      0   0   ICN   North Platte   NE                       11:09

Tr ackhoe-Mini                                 0                       1      0   0   ICN   North Platte   NE                       11 :09

Toolcat                                        0                       1      0   0   ICN   North Platte   NE                       11:09

325 Excavator                                  0                       1      0   0   ICN   North Platte   NE                       11:10

966 Wheel Loader                               0                        1     0   0   ICN   North Platte   NE                       11:10

Backhoe                                        0                        1     0   0   ICN   Duluth         MN                       11:39
Skid Steer                                     0                        1     0   0   ICN   Duluth         MN                       11:39

Mini Excavator                                 0                        1     0   0   ICN   Duluth         MN                       11:39

Mini Excavator                                 0                        1     0   0   ICN   Duluth         MN                       11 :39

Skid Steer with Tracks                         0                        1     0   0   ICN   Duluth         MN                       11:39

track Loader                                   0                        1     0   0   ICN   Hudson         1/1/1                    11 :40

Excavator                                      0                       2      0   0   ICN   Hudson         1/1/1                    11:40

Skid Steer                                     0                        1     0   0   ICN   Hudson         1/1/1                    11:40

                  Sub Total Earth Moving Equipment:                    25     0   0
Roll-Off Container
Description                                                                                                 State    'Time Awav (hr:mm)

Roll-Off Box                                   0                        2     0   0   ICN   Anoka          MN                       10:34

Roll-O ff C ontainer                           0                       20     0   0   ICN   Eveleth        MN                       11:07

Haz Roll-Off                                   0                        4     0   0   ICN   North Platte   NE                       11 :09

 Non-Haz Roll-Off                              0                        1     0   0   ICN   North Platte   NE                       11:09

                         Sub Total Roll-Off Container:                 27     0   0
                            Total Support Equipment:                   52     0   0
                                 Total 06 to 12 hours:                        0   0
                    Running Total from O to unknown:                          0   0




 06 to 12 hours                               RESOURCE AVAILABILITY BY TYPE                                         Page 2 of 5
National Response   Corporation Equipment
             Case 1:16-cv-01534-JEB Document  346-1
                                          Types:      Filed
                                                 Vacuum     04/02/18 Page 211 of 270
                                                        System
Resource Availability By Type
Zone: Bismarck, ND                                                                                    dEMO - Case# DM15-0099
                                                                                                                     May 04, 2015

00 to 06 hours    (* Does not include recalVmobilization time)


Vacuum System
Vacuum Truck
Description                           stencil#          Quantity                                          st2N *Time Away (hr·mml
Vacuum Truck                          0                           1    343    71   ICN   Minot            ND                 02:51
High Powered Vacuum Truck             0                          5    1715   355   ICN   W illiston       ND                 04:38
Vacuum Tanker                         0                           1   343    119   ICN   W illiston       ND                 04:38
Vacuum Truck                          0                           1   528     71   ICN   Williston        ND                 04:39
Vacuum Truck                          0                           1   4032    71   ICN   Sidney           MT                 04:52
Pump T ruck                       0                               1   651     71   ICN   Moorhead         MN                 05:27
                  Sub Total Vacuum Truck:                        10   7612   758
                     Total Vacuum System:                        10   7612   758
                       Total 00 to 06 hours:                          7612   758
          Running Total from Oto unknown:                             7612   758




 00 to 06 hours                       RESOURCE AVAILABILITY BY TYPE                                            Page 1 of 2
06 to 12 hours    (* Does not include recalVmobilization time)
                        Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 212 of 270

Vacuum System
Vacuum Truck
Description                            Stencil#         Quantity                                          fili!N *Time Away (hr·mm}
Vacuum Straight Truck                  0                         1     343      71   ICN   Winnipeg       Canad;              07:46
Vacuum Truck                           0                         1     343      71   ICN   Solway         MN                  07:48
Vacuum Truck                           0                         1     343      71   ICN   Bemidji        MN                  08:00
Pump Truck                             0                         1     651      71   ICN   Bemidji        MN                  08:00
Vacuum Truck                           0                         1     343      71   ICN   Regina         Canad;              08:42
Presvac                                0                         3    1029     213   ICN   Regina         Canad;              08:42
Vacuum Truck                           0                         3    1029     213   ICN   Anoka          MN                  10:34
Pump Truck                             0                         4    2604     284   ICN   Anoka          MN                  10:34
Vacuum Truck                           0                         4    1372     572   ICN   Eveleth        MN                  11:07
Pump Truck                             0                         2    1302     142   ICN   Eveleth        MN                  11:07
Vacu um Truck                          0                         2      686    142   ICN   Eveleth        MN                  11 :07
Vacuum Truck                           0                          3    1029    210   ICN   North Platte   NE                  11:09
Vacuum Truck                           0                         1     343      70   ICN   North Platte   NE                  11 :10
Vacuum Truck                           0                         2     686     240   ICN   Hudson         WI                  11:40
Vacuum Truck                           0                         1     343     120   ICN   Hudson         WI                  11 :40
Vacuum Truck                           0                         2     686     142   ICN   Cannon Falls   MN                  11 :43
                   Sub Total Vacuum Truck:                       32   13132   2703
                     Total Vacuum System:                        32   13132   2703
                         Total 06 to 12 hours :                       13132   2703
          Running Total from Oto unknown:                             20744   3461




 06 to 12 hours                        RESOURCE AVAILABILITY BY TYPE                                            Page 2 of 2
National Response   Corporation Equipment
             Case 1:16-cv-01534-JEB Document  346-1
                                          Types:      Filed 04/02/18 Page 213 of 270
                                                 Skimmer/Vessel

Resource Availability By Type
Zone: Bismarck, ND                                                                                                 dEMO - Case# DM15-0099
                                                                                                                                    May 04, 2015

00 to 06 hours      (* Does not include recalVmobilization time)


Skimmer
Drum
Description                               Stencil#        Quantity                                                     ~     *Time Away {hr·mml
Small Drum Skimmer                        0                        2     342            0    ICN     Williston         ND                   04:38
23' Drum Skimmer                          0                        2     342            0    ICN     Williston         ND                    04:41
36" Drum Skimmer                          0                        2     494            0    ICN     Williston         ND                    04:41
Elastec TDS 118 Skimmer                   0                        2     480            0    ICN      Sidney           MT                   04:52
                                 Sub Total Drum:                   8    1658            0
Floating Suction
Qescription                               stencil    tt   Quantit~      ~            ~ Q.wner        ~                 ~     *Time A'fi.aY. f!Jr:mm)
I Floating Suction Skimmer            10                                 274     I      0 I ICN      I Minot          IND                    02:51 1
                   Sub Total Floating Suction:                           274            0
Oleophilic Disk
Desc[i121ion                              stencil    tt   Quantity      ~            ~ Q.wner        ~                 ~     *Time A'fi.aY. {bc;mm1
Crucial ORD Disk Skimmer                  ORD-005                        342          0 NRC          Beulah            ND                    01:45
Crucial ORD Disk Skimmer                  ORD-003                        342            0    NRC      Columbus         ND                    04:52
                    Sub Total Oleophilic Disk:                      2    684            0
                              Total Skimmer:                       11   2616            0


Vessel
Deployment Craft(< 25 foot)
Desc[iption                               Stencil#        Qyantity      ~            ~ Q.wner        ~                 ~     *Time Away {br:mml
18' Deployment Craft                      0                         2       0           0    ICN      Williston        ND                    04:38
28' Deployment Craft                      0                        1        0           0    ICN      Williston        ND                    04:38
Response Boat Custom Flat                 0                        2        0           0    ICN      Williston        ND                    04:41
17' Deployment Craft                      0                        1        0           0    ICN      Sidney           MT                    04:52
28' Deployment Craft                      0                         1       0           0    ICN      Sidney           MT                    04:52
17' Deployment Craft                      0                         1       0           0    ICN      Sidney           MT                    04:52
       Sub Total Deployment Craft(< 25 foot):                      8        0           0
Deployment Craft(> 25 foot)
Desc[i12tion                              stencil#        Quantity      fIIB.Q       ~      Q.wner   ~                 ~     *Time A'fi.aY. {bcanrn)
130' Deployment Craft                     lo                                0 I         0   i lCN    ! Williston      IND                  ~
       Sub Total Deployment Craft(> 25 foot):                      1        0           0
                               Total Vessel:                       9        0           0
                             Total 00 to 06 hours:                      2616            0
           Running Total from O to unknown:                             2616            0




 00 to 06 hours                           RESOURCE AVAILABILITY BY TYPE                                                     Page 1 of 2
06 to 12 hours      (* Does not include recalVmobilization time)
                        Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 214 of 270
Skimmer
Drum
Description                             Stencil#          Quantity                                             film *lime Away lhr·mml
Medium Drum Skimmer                     0                          1      240     0   ICN     Winnipeg         Canad,                  07:53
Medium Drum Skimmer                     0                          1      240     0   ICN      Eveleth         MN                      11:07
Elastec Mini Max Skimmer                0                          1      137     0   ICN      North Platte    NE                      11 :09
Elastec TDS118 Skimmer                  0                          1      480     0   ICN      North Platte    NE                      11 :09
Crucial 1D18P48 Skimmer                0                           2      686     0   ICN      Cannon Falls    MN                      11 :43
                              Sub Total Drum:                       6    1783     0
Floating Suction
Descrigtion                             Stencil#          Quantity       EDRC   ~ Owner       Q!y              ~         *Time Away lhr:mm}
IDouglas SkimPac                        Jo                                240     0 j lCN     I North Platte   INE                     11 :09    J

                   Sub Total Floating Suction :                    1      240     0
Multi Skimmer
Descrigtion                             Stencil#          Quantity       EDRC   ~ Owner       Q!y              ~         *lime Away (br;rnm)
Action 24 Skimmer                       0                           1     823     0   ICN      Du luth         MN                      11 :39
Action 24 Skimmer                       AP-24-110                   1     823     0   NRC      Superior        WI                      11 :42
Action 24 Skimmer                       AP-24-120                   1     823     0   NRC      Superior        WI                      11 :42
                     Sub Total Multi Skimmer:                      3     2469     0
                               Total Skimmer:                      10    4492     0


Vessel
Deployment Craft(< 25 foot)
Descrigtion                             Stencil#           Quantit:i'.   EDRC   ~     Owner   Q!y              State     *Ti!Jl!l Aw~y lhr:mm}
18' Deployment Craft                     0                          1       0     0   ICN      Watertown       SD                      06:18
16' Deployment Craft                     0                          1       0     0   ICN      Winnipeg        Canad;                  07:53
17' Deployment Craft                     0                          1       0     0   ICN      Roseville       MN                      10:59
14' Deployment Craft                     0                          2       0     0   ICN      Eveleth         MN                      11 :07
18' Dep loyment Craft                    0                          1       0     0   ICN      North Platte    NE                      11 :09
18' Deployment Craft                     0                          1       0     0   ICN      Duluth          MN                      11 :39
15' Deployment Craft                     0                          1       0     0   ICN      Duluth          MN                      11 :39
18' Dep loyment Craft                    WB-208                     1       0     0   NRC      Superior        WI                      11 :42
17' Deployment Craft                     0                          1       0     0   ICN      Cannon Falls    MN                      11 :43
12' Deployment Craft                     0                          1       0     0   ICN      Cannon Falls    MN                      11 :43
21' Deployment Craft                 0                              1       0     0   ICN      Cannon Falls    MN                      11 :43
       Sub Total Deployment Craft(< 25 foot):                      12       0     0
                               Total Vessel:                       12       0     0
                          Total 06 to 12 hours:                          4492     0
           Running Total from Oto unknown:                               7108     0




 06 to 12 hours                         RESOURCE AVAILABILITY BY TYPE                                                   Page 2 of 2
National Response   Corporation Equipment
             Case 1:16-cv-01534-JEB Document  346-1
                                          Types:       Filed
                                                 Portable     04/02/18 Page 215 of 270
                                                          Storage

Resource Availability By Type
Zone: Bismarck, ND                                                                                     dEMO - Case# DM15-0099
                                                                                                                         May 04, 2015

06 to 12 hours      (* Does not include recalVmob ilization time)


Portable Storage
Frac Tank
Description                              Stencil#          Quantity     EDRC   filo.rage ~   ~             .filatl1. *Time Away lhr:mml
Frac Tank                                0                          2     0      952   ICN   Solway        MN                    07:48
Mobile Storage Trailer                   0                          2     0     1000   ICN   Eveleth       MN                    11 :07
                           Sub Total Frac Tan k:                    4     0     1952
                         Total Portable Storage:                    4     0     1952
                           Total 06 to 12 hours:                          0     1952
            Running Total from Oto unknown:                               0     1952




 06 to 12 ho urs                         RES OURCE AVAILABILITY BY TYPE                                           Page 1 of 2
National Response CorporationCase 1:16-cv-01534-JEB     Document 346-1 Filed 04/02/18 Page 216 of 270
                                         Equipment Types: Boom/Portable Storage/Skimmer/Support Equipment/Vacuum System/Vessel

Resource Availability By Type
Zone: Sioux Falls, SD                                                                                                                                        Williston ND - Case# DM15-0085
                                                                                                                                                                                     April 20, 2015


00 to 06 hours       (* Does not include recall/mobilization time)                                         ContractorLocation
Boom
>=6 and <18 inch

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City               State   *Time Away (hr mm)

Absorbent Boom 8"x40' Bundle                0                             25          0        0   ICN     Haz-Mat Response, Inc.                 Omaha              NE                     04:52
10" Containment Boom                        0                          1,300          0        0   ICN     Haz-Mat Response, Inc.                 Omaha              NE                     04:52
10" Fast Water Boom                         0                            200          0        0   ICN     Haz-Mat Response, Inc.                 Omaha              NE                     04:52
12" Boom                                    0                            200          0        0   ICN     OSI Environmental, Inc.                Anoka              MN                     05:44
                      Sub Total >=6 and <18 inch:                     1725        0            0
18"

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City               State   *Time Away (hr mm)

18" Boom                                    0                          8,000          0        0 ICN       Environmental Restoration LLC          Omaha              NE                     04:33
18" Boom                                    0                          1,900          0        0 ICN       Clean Harbors Environmental Services   Cannon Falls       MN                     05:45
                                     Sub Total 18":                   9900        0            0
                                       Total Boom:                   11625        0            0

Portable Storage
Dracone/Bladder

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City               State   *Time Away (hr mm)

55 Gallon Drum DOT                          0                             25          0       25 ICN       Haz-Mat Response, Inc.                 Omaha              NE                     04:52
55 Gallon Poly                              0                             10          0        0 ICN       Haz-Mat Response, Inc.                 Omaha              NE                     04:52
                       Sub Total Dracone/Bladder:                        35       0           25
Frac Tank

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City               State   *Time Away (hr mm)

Mini Frac Tank                              0                              1          0      240 ICN       Haz-Mat Response, Inc.                 Omaha              NE                     04:52
                               Sub Total Frac Tank:                       1       0          240
Portable Tank

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City               State   *Time Away (hr mm)

3000 Gallon Poly Tank                       0                              4          0      284   ICN     Haz-Mat Response, Inc.                 Omaha              NE                     04:52
95 Gallon Poly Overpack                     0                             10          0       20   ICN     Haz-Mat Response, Inc.                 Omaha              NE                     04:52
85 Gallon Steel Overpack                    0                             10          0        0   ICN     Haz-Mat Response, Inc.                 Omaha              NE                     04:52
Portable Tank                               0                              1          0        0   ICN     OSI Environmental, Inc.                Anoka              MN                     05:44
                           Sub Total Portable Tank:                      25       0          304
                            Total Portable Storage:                      61       0          569

Skimmer
Drum

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City               State   *Time Away (hr mm)



 00 to 06 hours                                                                   RESOURCE AVAILABILITY BY TYPE                                                       Page 1 of 16
00 to 06 hours                                         Case 1:16-cv-01534-JEB Document 346-1
                       (* Does not include recall/mobilization time)                          Filed 04/02/18 Page 217 of 270
                                                                                         ContractorLocation
Elastec TDS118 Skimmer                        0                              1     240            0 ICN      Haz-Mat Response, Inc.                 Omaha          NE                    04:52
Crucial 1D18P48 Skimmer                       0                              2     686            0 ICN      Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
                                     Sub Total Drum:                        3      926           0
                                      Total Skimmer:                        3      926           0

Support Equipment
Ancillary Gear

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

3" Hydrocarbon Hose                           0                             70           0        0 ICN      Haz-Mat Response, Inc.                 Omaha          NE                    04:52
2" Hydrocarbon Hose                           0                            160           0        0 ICN      Haz-Mat Response, Inc.                 Omaha          NE                    04:52
                           Sub Total Ancillary Gear:                      230       0            0
Blower

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Leaf Blower                                   0                              1           0        0 ICN      Haz-Mat Response, Inc.                 Omaha          NE                    04:52
                                   Sub Total Blower:                        1       0            0
Compressor

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Air Compressor                                0                              1           0        0 ICN      Prairie Consulting Group               Watertown      SD                    02:43
Compressor                                    0                              1           0        0 ICN      OSI Environmental, Inc.                Anoka          MN                    05:44
Compressor                                    0                              1           0        0 ICN      Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
                              Sub Total Compressor:                         3       0            0
Crane Truck

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Sidebooms/Padded                              0                              2           0        0 ICN      Hulcher Services, INC.                 Bondurant      IA                    05:58
                              Sub Total Crane Truck:                        2       0            0
Dump Truck/Trailer

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Dump Truck                                    0                              1           0        0 ICN      OSI Environmental, Inc.                Anoka          MN                    05:44
                       Sub Total Dump Truck/Trailer:                        1       0            0
Earth Moving Equipment

 Description                                  Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Skid Steer                                    0                              1           0        0   ICN    Environmental Restoration LLC          Omaha          NE                    04:33
Mini-Excavator                                0                              1           0        0   ICN    Environmental Restoration LLC          Omaha          NE                    04:33
Uniloader                                     0                              1           0        0   ICN    Haz-Mat Response, Inc.                 Omaha          NE                    04:52
Drum Grabber                                  0                              1           0        0   ICN    Haz-Mat Response, Inc.                 Omaha          NE                    04:52
Trackhoe Mini                                 0                              1           0        0   ICN    Haz-Mat Response, Inc.                 Omaha          NE                    04:52
Backhoe                                       0                              1           0        0   ICN    Haz-Mat Response, Inc.                 Omaha          NE                    04:52
Track Loader                                  0                              1           0        0   ICN    Environmental Restoration LLC          Roseville      MN                    05:46
325 Excavator                                 0                              1           0        0   ICN    Hulcher Services, INC.                 Bondurant      IA                    05:58
977 Track Loader                              0                              1           0        0   ICN    Hulcher Services, INC.                 Bondurant      IA                    05:58
D6T Dozer                                     0                              1           0        0   ICN    Hulcher Services, INC.                 Bondurant      IA                    05:58
966 Wheel Loader                              0                              1           0        0   ICN    Hulcher Services, INC.                 Bondurant      IA                    05:58
                  Sub Total Earth Moving Equipment:                        11       0            0
Flatbed Trailer




 00 to 06 hours                                                                     RESOURCE AVAILABILITY BY TYPE                                                   Page 2 of 16
00 to 06 hours                                          Case 1:16-cv-01534-JEB Document 346-1
                     (* Does not include recall/mobilization time)                             Filed 04/02/18 Page 218 of 270
                                                                                          ContractorLocation
 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Flatbed Trailer                             0                              1          0        0 ICN       Environmental Restoration LLC          Roseville      MN                    05:46
                           Sub Total Flatbed Trailer:                     1       0            0
Fork Lift

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Forklift                                    0                              1          0        0 ICN       OSI Environmental, Inc.                Anoka          MN                    05:44
                                 Sub Total Fork Lift:                     1       0            0
Generator

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Generator                                   0                              2          0        0 ICN       OSI Environmental, Inc.                Anoka          MN                    05:44
Generator                                   0                              2          0        0 ICN       Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
Generator                                   0                              1          0        0 ICN       Environmental Restoration LLC          Roseville      MN                    05:46
                                Sub Total Generator:                      5       0            0
Pick-Up Truck

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Pick-Up Truck                               0                              2          0        0   ICN     Prairie Consulting Group               Watertown      SD                    02:43
3/4 Ton or Smaller                          0                              3          0        0   ICN     Haz-Mat Response, Inc.                 Omaha          NE                    04:52
Pick-Up Truck                               0                              4          0        0   ICN     OSI Environmental, Inc.                Anoka          MN                    05:44
Pick-Up Truck                               0                              4          0        0   ICN     Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
Pick-Up Truck                               0                              4          0        0   ICN     Environmental Restoration LLC          Roseville      MN                    05:46
                           Sub Total Pick-Up Truck:                      17       0            0
Pressure Washer

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Pressure Washer                             0                              1          0        0   ICN     Prairie Consulting Group               Watertown      SD                    02:43
Pressure Washer                             0                              2          0        0   ICN     OSI Environmental, Inc.                Anoka          MN                    05:44
Hydro Jetter                                0                              1          0        0   ICN     OSI Environmental, Inc.                Anoka          MN                    05:44
Pressure Washer- Cold                       0                              2          0        0   ICN     Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
Pressure Washer- Hot                        0                              3          0        0   ICN     Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
Pressure Washer                             0                              1          0        0   ICN     Environmental Restoration LLC          Roseville      MN                    05:46
                        Sub Total Pressure Washer:                       10       0            0
Roll Off Container

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Haz-Roll Off                                0                              6          0        0 ICN       Haz-Mat Response, Inc.                 Omaha          NE                    04:52
                        Sub Total Roll Off Container:                     6       0            0
Roll-Off Container

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Roll-Off Box                                0                              2          0        0 ICN       OSI Environmental, Inc.                Anoka          MN                    05:44
                        Sub Total Roll-Off Container:                     2       0            0
SCBA

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

SCBA                                        0                              6          0        0   ICN     Haz-Mat Response, Inc.                 Omaha          NE                    04:52
SCBA                                        0                              2          0        0   ICN     OSI Environmental, Inc.                Anoka          MN                    05:44
SCBA                                        0                              4          0        0   ICN     Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
SCBA                                        0                              3          0        0   ICN     Environmental Restoration LLC          Roseville      MN                    05:46


 00 to 06 hours                                                                   RESOURCE AVAILABILITY BY TYPE                                                   Page 3 of 16
00 to 06 hours                                              Case 1:16-cv-01534-JEB Document 346-1
                         (* Does not include recall/mobilization time)                             Filed 04/02/18 Page 219 of 270
                                                                                              ContractorLocation
                                      Sub Total SCBA:                        15       0            0
Truck - Semi

 Description                                    Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Tractor Trailer Trucks                          0                              1           0        0 ICN      OSI Environmental, Inc.                Anoka          MN                    05:44
Roll-Off Truck                                  0                              1           0        0 ICN      Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
                               Sub Total Truck - Semi:                        2       0            0
Utility Trailer

 Description                                    Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Response Trailer                                0                              1           0        0   ICN    Haz-Mat Response, Inc.                 Omaha          NE                    04:52
Response Trailer                                0                              1           0        0   ICN    OSI Environmental, Inc.                Anoka          MN                    05:44
Cargo Trailer                                   0                              1           0        0   ICN    Environmental Restoration LLC          Roseville      MN                    05:46
Boom Trailer                                    0                              1           0        0   ICN    Environmental Restoration LLC          Roseville      MN                    05:46
                               Sub Total Utility Trailer:                     4       0            0
Utility Truck

 Description                                    Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Box Truck                                       0                              2           0        0 ICN      OSI Environmental, Inc.                Anoka          MN                    05:44
Response Truck                                  0                              2           0        0 ICN      OSI Environmental, Inc.                Anoka          MN                    05:44
Rack Truck                                      0                              1           0        0 ICN      Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
                                Sub Total Utility Truck:                      5       0            0
Van Trailer

 Description                                    Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Response Trailer with Semi                      0                              1           0        0   ICN    Prairie Consulting Group               Watertown      SD                    02:43
Van Trailer                                     0                              2           0        0   ICN    OSI Environmental, Inc.                Anoka          MN                    05:44
Response Trailer                                0                              3           0        0   ICN    Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
Boom Trailer                                    0                              1           0        0   ICN    Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
                                 Sub Total Van Trailer:                       7       0            0
                             Total Support Equipment:                       323       0            0

 Vacuum System
Loader

 Description                                    Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Guzzler- Air Mover                              0                              1     343           71 ICN      Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
                                     Sub Total Loader:                        1      343          71
Vacuum Transfer Unit

 Description                                    Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Vacuum Transfer Unit                            0                              1     343           12 ICN      Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
                     Sub Total Vacuum Transfer Unit:                          1      343          12
Vacuum Truck

 Description                                    Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Vac Truck                                       0                              1      343          70   ICN    Haz-Mat Response, Inc.                 Omaha          NE                    04:52
Vacuum Truck                                    0                              3    1,029         213   ICN    OSI Environmental, Inc.                Anoka          MN                    05:44
Pump Truck                                      0                              4    2,604         284   ICN    OSI Environmental, Inc.                Anoka          MN                    05:44
Vacuum Truck                                    0                              2      686         142   ICN    Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
                             Sub Total Vacuum Truck:                         10     4662         709



 00 to 06 hours                                                                       RESOURCE AVAILABILITY BY TYPE                                                   Page 4 of 16
00 to 06 hours                                            Case 1:16-cv-01534-JEB Document 346-1
                        (* Does not include recall/mobilization time)                            Filed 04/02/18 Page 220 of 270
                                                                                            ContractorLocation
                               Total Vacuum System:                         12     5348          792

Vessel
Deployment Craft (< 25 foot)

 Description                                   Stencil #                Quantity   EDRC       Storage Owner                                           City           State   *Time Away (hr mm)

18' Deployment Craft                           0                              1           0         0    ICN   Prairie Consulting Group               Watertown      SD                    02:43
15' Deployment Craft                           0                              1           0         0    ICN   Environmental Restoration LLC          Omaha          NE                    04:33
20' Deployment Craft                           0                              1           0         0    ICN   Environmental Restoration LLC          Omaha          NE                    04:33
18' Deployment Craft                           0                              1           0         0    ICN   Haz-Mat Response, Inc.                 Omaha          NE                    04:52
17' Deployment Craft                           0                              1           0         0    ICN   Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
12' Deployment Craft                           0                              1           0         0    ICN   Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
21' Deployment Craft                           0                              1           0         0    ICN   Clean Harbors Environmental Services   Cannon Falls   MN                    05:45
17' Deployment Craft                           0                              1           0         0    ICN   Environmental Restoration LLC          Roseville      MN                    05:46
               Sub Total Deployment Craft (< 25 foot):                       8       0              0
                                          Total Vessel:                      8       0              0
                                 Total 00 to 06 hours:                             6274       1,361.00
                   Running Total from 0 to unknown:                                6274         1361




 00 to 06 hours                                                                      RESOURCE AVAILABILITY BY TYPE                                                    Page 5 of 16
06 to 12 hours                                         Case 1:16-cv-01534-JEB Document 346-1
                      (* Does not include recall/mobilization time)                           Filed 04/02/18 Page 221 of 270
                                                                                         ContractorLocation
Boom
>=6 and <18 inch

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

10" Boom                                     0                            800          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
6" Boom                                      0                            400          0        0   ICN     Environmental Troubleshooters          Duluth         MN                    08:59
6" Absorbent Boom                            0                              1          0        0   ICN     Environmental Troubleshooters          Duluth         MN                    08:59
10" Boom                                     0                          1,200          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
10" Fast Water Boom                          0                            850          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
12" Boom                                     0                          2,000          0        0   ICN     OSI Environmental, Inc.                Eveleth        MN                    09:40
10" Boom                                     BM10-001                   1,000          0        0   NRC     Basin Transload Beulah                 Beulah         ND                    10:16
10" Boom                                     0                          1,500          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
10" Boom                                     0                            850          0        0   ICN     Eagle Environmental Services           Wichita        KS                    11:36
Super Mini Boom                              0                            150          0        0   ICN     Eagle Environmental Services           Wichita        KS                    11:36
                       Sub Total >=6 and <18 inch:                     8751        0            0
>18 and <42 inch

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

21" Boom                                     0                          3,400          0        0 ICN       Environmental Troubleshooters          Duluth         MN                    08:59
21" Boom                                     0                             50          0        0 ICN       Environmental Troubleshooters          Duluth         MN                    08:59
                        Sub Total >18 and <42 inch:                    3450        0            0
18"

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

18" Boom                                     0                          1,400          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
18" Boom                                     0                          1,000          0        0   ICN     OSI Environmental, Inc.                Bemidji        MN                    08:13
18" Boom                                     BM21-714                   1,500          0        0   NRC     Environmental Troubleshooters          Superior       WI                    09:00
18" Boom                                     BM21-715                   1,500          0        0   NRC     Environmental Troubleshooters          Superior       WI                    09:00
18" Boom                                     0                          1,000          0        0   ICN     Heritage Environmental Services Inc.   Kansas City    MO                    09:14
18" Boom                                     0                            500          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
18" Boom                                     0                          4,500          0        0   ICN     Strata Corporation (Earthmover)        Minot          ND                    11:09
18" Boom                                     0                            400          0        0   ICN     Eagle Environmental Services           Wichita        KS                    11:36
18" Boom                                     0                          1,000          0        0   ICN     Future Environmental, Inc.             Peoria         IL                    11:49
                                      Sub Total 18":                  12800        0            0
                                        Total Boom:                   25001        0            0

Portable Storage
Dracone/Bladder

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Bladder                                      0                              1          0      100 ICN       Environmental Troubleshooters          Duluth         MN                    08:59
Canflex FCB-43E Bladder                      BC-60                          1          0      100 NRC       Environmental Troubleshooters          Superior       WI                    09:00
Canflex FCB-43E Bladder                      BC-80                          1          0      100 NRC       Environmental Troubleshooters          Superior       WI                    09:00
                        Sub Total Dracone/Bladder:                         3       0          300
Frac Tank

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Frac Tank                                    0                              2          0      952 ICN       Beltrami Industrial Services           Solway         MN                    08:10
Mini Frac Tank                               0                              2          0      476 ICN       Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Frac Tank                                    0                              1          0      500 ICN       Haz-Mat Response, Inc.                 Olathe         KS                    09:37



 06 to 12 hours                                                                    RESOURCE AVAILABILITY BY TYPE                                                   Page 6 of 16
06 to 12 hours                                            Case 1:16-cv-01534-JEB Document 346-1
                         (* Does not include recall/mobilization time)                           Filed 04/02/18 Page 222 of 270
                                                                                            ContractorLocation
Mobile Storage Trailer                          0                              2           0    1,000   ICN    OSI Environmental, Inc.                Eveleth        MN                    09:40
Mini Frac Tank                                  0                              1           0      240   ICN    Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Frac Tank                                       0                              1           0      238   ICN    Eagle Environmental Services           Wichita        KS                    11:36
Frac Tank                                       0                              1           0      476   ICN    Eagle Environmental Services           Wichita        KS                    11:36
                                  Sub Total Frac Tank:                       10       0         3882
Portable Tank

 Description                                    Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

55 Gallon Poly                                  0                              5           0        0   ICN    Haz-Mat Response, Inc.                 North Platte   NE                    07:34
3000 Poly Tank                                  0                              3           0      213   ICN    Haz-Mat Response, Inc.                 North Platte   NE                    07:34
1500 Poly Tank                                  0                              5           0      180   ICN    Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Poly Tank                                       0                              1           0       12   ICN    Environmental Troubleshooters          Duluth         MN                    08:59
Poly Tank                                       0                              4           0       84   ICN    Environmental Troubleshooters          Duluth         MN                    08:59
Poly Tank                                       0                              1           0        7   ICN    Environmental Troubleshooters          Duluth         MN                    08:59
55 Gallon Steel Drums                           0                             10           0        0   ICN    Environmental Troubleshooters          Duluth         MN                    08:59
55 Gallon Steel Drums                           0                             10           0        0   ICN    Environmental Troubleshooters          Duluth         MN                    08:59
Poly Tank                                       0                              3           0      213   ICN    Haz-Mat Response, Inc.                 Olathe         KS                    09:37
55 Gallon Drum DOT                              0                            100           0        0   ICN    Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Poly Tank                                       0                              3           0      108   ICN    Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Storage Trailer                                 0                              1           0       95   ICN    OSI Environmental, Inc.                Eveleth        MN                    09:40
Portable Tanks                                  0                              2           0        0   ICN    OSI Environmental, Inc.                Eveleth        MN                    09:40
Pillow Tank                                     ELS-42                         1           0       24   NRC    Basin Transload Beulah                 Beulah         ND                    10:16
Pillow Tank                                     ELS-43                         1           0       24   NRC    Basin Transload Beulah                 Beulah         ND                    10:16
Pillow Tank                                     ELS-58                         1           0       24   NRC    Basin Transload Beulah                 Beulah         ND                    10:16
Pillow Tank                                     ELS-59                         1           0       24   NRC    Basin Transload Beulah                 Beulah         ND                    10:16
Poly Tank                                       0                              2           0    6,000   ICN    Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
55 Gallon Drum DOT                              0                             25           0        0   ICN    Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
95 Gallon Poly Overpack                         0                             15           0        0   ICN    Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
85 Gallon Steel Overpack                        0                             10           0        0   ICN    Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Oil Water Seperator Unit                        0                              4           0        0   ICN    Eagle Environmental Services           Wichita        KS                    11:36
Poly Tank                                       0                              1           0       71   ICN    Eagle Environmental Services           Wichita        KS                    11:36
Portable Tank                                   0                              3           0      285   ICN    Future Environmental, Inc.             Peoria         IL                    11:49
Portable Tank                                   0                              4           0      572   ICN    Future Environmental, Inc.             Peoria         IL                    11:49
                              Sub Total Portable Tank:                      216       0         7936
                                Total Portable Storage:                     229       0        12118

Skimmer
Drum

 Description                                    Stencil #                Quantity   EDRC       Storage Owner                                          City           State   *Time Away (hr mm)

Elastec Mini Max Skimmer                        0                              1     137            0   ICN    Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Elastec TDS118 Skimmer                          0                              1     480            0   ICN    Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Small Drum Skimmer                              0                              1     171            0   ICN    Heritage Environmental Services Inc.   Kansas City    MO                    09:14
Elastec TDS118 Skimmer                          0                              1     240            0   ICN    Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Elastec Mini Max Skimmer                        0                              1     137            0   ICN    Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Elastec TDS118G Skimmer                         0                              1     480            0   ICN    Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Medium Drum Skimmer                             0                              1     240            0   ICN    OSI Environmental, Inc.                Eveleth        MN                    09:40
Elastec TDS118 Skimmer                          0                              1     240            0   ICN    Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Elastec TDS118 Skimmer                          0                              1     240            0   ICN    Eagle Environmental Services           Wichita        KS                    11:36
                                       Sub Total Drum:                        9     2365           0



 06 to 12 hours                                                                       RESOURCE AVAILABILITY BY TYPE                                                   Page 7 of 16
06 to 12 hours                                          Case 1:16-cv-01534-JEB Document 346-1
                        (* Does not include recall/mobilization time)                          Filed 04/02/18 Page 223 of 270
                                                                                          ContractorLocation
Floating Suction

 Description                                   Stencil #                Quantity   EDRC       Storage Owner                                     City           State   *Time Away (hr mm)

Douglas SkimPac                                0                              1     240            0   ICN    Haz-Mat Response, Inc.            North Platte   NE                    07:34
Douglas SkimPac                                0                              1     240            0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
Floating Suction Skimmer                       0                              1     274            0   ICN    Strata Corporation (Earthmover)   Minot          ND                    11:09
Douglas 4300 SkimPac                           0                              2     960            0   ICN    Veolia Environmental Services     Neenah         WI                    11:46
                          Sub Total Floating Suction:                        5     1714           0
Multi Skimmer

 Description                                   Stencil #                Quantity   EDRC       Storage Owner                                     City           State   *Time Away (hr mm)

Action 24 Skimmer                              0                              1     823            0 ICN      Environmental Troubleshooters     Duluth         MN                    08:59
Action 24 Skimmer                              AP-24-110                      1     823            0 NRC      Environmental Troubleshooters     Superior       WI                    09:00
Action 24 Skimmer                              AP-24-120                      1     823            0 NRC      Environmental Troubleshooters     Superior       WI                    09:00
                            Sub Total Multi Skimmer:                         3     2469           0
Oleophilic Disk

 Description                                   Stencil #                Quantity   EDRC       Storage Owner                                     City           State   *Time Away (hr mm)

Crucial ORD Disk Skimmer                       ORD-005                        1     342            0 NRC      Basin Transload Beulah            Beulah         ND                    10:16
                           Sub Total Oleophilic Disk:                        1      342           0
                                       Total Skimmer:                       18     6890           0

Support Equipment
Air Monitoring and Detection Equipment

 Description                                   Stencil #                Quantity   EDRC       Storage Owner                                     City           State   *Time Away (hr mm)

Negative Air Machines                          0                              2           0        0 ICN      Environmental Troubleshooters     Duluth         MN                    08:59
Sub Total Air Monitoring and Detection Equipment:                            2       0            0
Ancillary Gear

 Description                                   Stencil #                Quantity   EDRC       Storage Owner                                     City           State   *Time Away (hr mm)

SCBA                                           0                              6           0        0   ICN    Haz-Mat Response, Inc.            North Platte   NE                    07:34
Full Face Respirator                           0                             17           0        0   ICN    Haz-Mat Response, Inc.            North Platte   NE                    07:34
Manifold Breathing System                      0                              1           0        0   ICN    Haz-Mat Response, Inc.            North Platte   NE                    07:34
95 Gallon Poly Overpack                        0                             10           0        0   ICN    Haz-Mat Response, Inc.            North Platte   NE                    07:34
85 Gallon Steel Overpack                       0                             10           0        0   ICN    Haz-Mat Response, Inc.            North Platte   NE                    07:34
Hose Variety                                   0                            470           0        0   ICN    Haz-Mat Response, Inc.            North Platte   NE                    07:34
Drum Grabber                                   0                              3           0        0   ICN    Haz-Mat Response, Inc.            North Platte   NE                    07:34
Cutting Torches                                0                              1           0        0   ICN    Environmental Troubleshooters     Duluth         MN                    08:59
Water Sampling Multi Meter                     0                              1           0        0   ICN    Environmental Troubleshooters     Duluth         MN                    08:59
Anchors                                        0                             12           0        0   ICN    Environmental Troubleshooters     Duluth         MN                    08:59
Drum Grabber                                   0                             10           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
High Intensity Light Plant                     0                              3           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
Manifold Breathing System                      0                              2           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
110 Gallon Poly Overpack                       0                              6           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
85 Gallon Steel Overpack                       0                             20           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
95 Gallon Poly Overpack                        0                             20           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
55 Gallon Stainless Steel Drum                 0                              6           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
55 Gallon Poly                                 0                             20           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
2" Chemical Hose                               0                            250           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
Hydrocarbon Hose Variety                       0                          2,000           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37



 06 to 12 hours                                                                      RESOURCE AVAILABILITY BY TYPE                                              Page 8 of 16
06 to 12 hours                                          Case 1:16-cv-01534-JEB Document 346-1
                      (* Does not include recall/mobilization time)                            Filed 04/02/18 Page 224 of 270
                                                                                          ContractorLocation
Power Pack                                   0                              1          0        0 ICN       Veolia Environmental Services     Wausau         WI                    10:24
Hydrocarbon Hose                             0                            170          0        0 ICN       Haz-Mat Response, Inc.            Great Bend     KS                    10:39
                            Sub Total Ancillary Gear:                  3039        0            0
ATV

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)

ATV- Gator                                   0                              2          0        0 ICN       Haz-Mat Response, Inc.            Olathe         KS                    09:37
                                     Sub Total ATV:                        2       0            0
Blower

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)

Boom Inflator/Leaf Blower                    0                              3          0        0   ICN     Haz-Mat Response, Inc.            North Platte   NE                    07:34
Blower                                       0                              2          0        0   ICN     Haz-Mat Response, Inc.            North Platte   NE                    07:34
Blower                                       0                              2          0        0   ICN     Environmental Troubleshooters     Duluth         MN                    08:59
Blower                                       0                              1          0        0   ICN     Environmental Troubleshooters     Duluth         MN                    08:59
Ventilation Unit                             0                              2          0        0   ICN     Environmental Troubleshooters     Duluth         MN                    08:59
Boom Inflator                                0                              3          0        0   ICN     Haz-Mat Response, Inc.            Olathe         KS                    09:37
Boom Inflator                                0                              1          0        0   ICN     Haz-Mat Response, Inc.            Great Bend     KS                    10:39
                                   Sub Total Blower:                      14       0            0
Communications

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)

Command Post Trailer                         0                              1          0        0 ICN       Beltrami Industrial Services      Solway         MN                    08:10
Office River Trailer                         0                              1          0        0 ICN       Haz-Mat Response, Inc.            Olathe         KS                    09:37
Mobile Command Center                        0                              1          0        0 ICN       Strata Corporation (Earthmover)   Minot          ND                    11:09
                       Sub Total Communications:                           3       0            0
Compressor

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)

Air Compressor                               0                              2          0        0   ICN     Haz-Mat Response, Inc.            North Platte   NE                    07:34
Compressor                                   0                              1          0        0   ICN     Beltrami Industrial Services      Solway         MN                    08:10
Air Compressor                               0                              1          0        0   ICN     Environmental Troubleshooters     Duluth         MN                    08:59
Air Compressor                               0                              1          0        0   ICN     Haz-Mat Response, Inc.            Olathe         KS                    09:37
Compressor                                   0                              2          0        0   ICN     OSI Environmental, Inc.           Eveleth        MN                    09:40
Air Compressor                               0                              1          0        0   ICN     Haz-Mat Response, Inc.            Great Bend     KS                    10:39
Compressor                                   0                              1          0        0   ICN     Strata Corporation (Earthmover)   Minot          ND                    11:09
                             Sub Total Compressor:                         9       0            0
Crane

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)

Crane                                        0                              1          0        0 ICN       Hulcher Services, INC.            Hudson         WI                    06:19
                                    Sub Total Crane:                       1       0            0
Crane Truck

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)

Grapple Truck                                0                              1          0        0 ICN       Hulcher Services, INC.            Hudson         WI                    06:19
Crane Truck                                  0                              1          0        0 ICN       Strata Corporation (Earthmover)   Minot          ND                    11:09
                             Sub Total Crane Truck:                        2       0            0
Dump Truck/Trailer

 Description                                 Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)




 06 to 12 hours                                                                    RESOURCE AVAILABILITY BY TYPE                                              Page 9 of 16
06 to 12 hours                                       Case 1:16-cv-01534-JEB Document 346-1
                     (* Does not include recall/mobilization time)                          Filed 04/02/18 Page 225 of 270
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Dump Truck                                  0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
End Dump                                    0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Dump Truck                                  0                              1          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
Dump Truck                                  0                              1          0        0   ICN     Environmental Troubleshooters          Duluth         MN                    08:59
Dump Truck                                  0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Dump Truck                                  0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
End Dump                                    0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
End Dumps                                   0                             13          0        0   ICN     Strata Corporation (Earthmover)        Minot          ND                    11:09
Dump Truck                                  0                              3          0        0   ICN     Strata Corporation (Earthmover)        Minot          ND                    11:09
                     Sub Total Dump Truck/Trailer:                       23       0            0
Earth Moving Equipment

 Description                                Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

track Loader                                0                              1          0        0   ICN     Hulcher Services, INC.                 Hudson         WI                    06:19
Excavator                                   0                              2          0        0   ICN     Hulcher Services, INC.                 Hudson         WI                    06:19
Skid Steer                                  0                              1          0        0   ICN     Hulcher Services, INC.                 Hudson         WI                    06:19
325 Excavator                               0                              1          0        0   ICN     Hulcher Services, INC.                 North Platte   NE                    07:33
966 Wheel Loader                            0                              1          0        0   ICN     Hulcher Services, INC.                 North Platte   NE                    07:33
Backhoe                                     0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Wheel Loader                                0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Uniloader                                   0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Trackhoe-Mini                               0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Toolcat                                     0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Crawler Loader                              0                              1          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
Backhoe                                     0                              1          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
Skidsteer Loader                            0                              1          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
Caterpillar                                 0                              1          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
Excavator                                   0                              1          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
Backhoe                                     0                              1          0        0   ICN     Environmental Troubleshooters          Duluth         MN                    08:59
Skid Steer                                  0                              1          0        0   ICN     Environmental Troubleshooters          Duluth         MN                    08:59
Mini Excavator                              0                              1          0        0   ICN     Environmental Troubleshooters          Duluth         MN                    08:59
Mini Excavator                              0                              1          0        0   ICN     Environmental Troubleshooters          Duluth         MN                    08:59
Skid Steer with Tracks                      0                              1          0        0   ICN     Environmental Troubleshooters          Duluth         MN                    08:59
Backhoe                                     0                              1          0        0   ICN     Heritage Environmental Services Inc.   Kansas City    MO                    09:14
Excavator                                   0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Uniloader                                   0                              2          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Trackhoe - mini                             0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Wheel Loader                                0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Backhoe-Loader                              0                              1          0        0   ICN     OSI Environmental, Inc.                Eveleth        MN                    09:40
Skid Steer-Loader                           0                              1          0        0   ICN     OSI Environmental, Inc.                Eveleth        MN                    09:40
Track Loader                                0                              1          0        0   ICN     Hulcher Services, INC.                 Galesburg      IL                    10:33
Excavator                                   0                              1          0        0   ICN     Hulcher Services, INC.                 Galesburg      IL                    10:33
Uni Loader                                  0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Trackhoe                                    0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Trencher (Uniloader Mount)                  0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Excavator (JD 200)                          0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
D 6 Dozer with winch                        0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Kubota Tractor                              0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Loader                                      0                             26          0        0   ICN     Strata Corporation (Earthmover)        Minot          ND                    11:09
Excavator                                   0                             29          0        0   ICN     Strata Corporation (Earthmover)        Minot          ND                    11:09



 06 to 12 hours                                                                   RESOURCE AVAILABILITY BY TYPE                                                   Page 10 of 16
06 to 12 hours                                           Case 1:16-cv-01534-JEB Document 346-1
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Skid Steer                                    0                             15          0        0   ICN     Strata Corporation (Earthmover)   Minot          ND                    11:09
Grader                                        0                              2          0        0   ICN     Strata Corporation (Earthmover)   Minot          ND                    11:09
Scraper                                       0                              5          0        0   ICN     Strata Corporation (Earthmover)   Minot          ND                    11:09
Roller                                        0                             10          0        0   ICN     Strata Corporation (Earthmover)   Minot          ND                    11:09
Dozer                                         0                             10          0        0   ICN     Strata Corporation (Earthmover)   Minot          ND                    11:09
                  Sub Total Earth Moving Equipment:                       134       0            0
Flatbed Trailer

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)

Skid Steer                                    0                              1          0        0   ICN     Hulcher Services, INC.            North Platte   NE                    07:33
Lowboy Trailer                                0                              1          0        0   ICN     Haz-Mat Response, Inc.            North Platte   NE                    07:34
Response Trailer                              0                              1          0        0   ICN     Haz-Mat Response, Inc.            North Platte   NE                    07:34
Lowboy Trailer                                0                              1          0        0   ICN     Beltrami Industrial Services      Solway         MN                    08:10
LowBoy Trailer                                0                              1          0        0   ICN     Haz-Mat Response, Inc.            Olathe         KS                    09:37
Response Trailer                              0                              1          0        0   ICN     Haz-Mat Response, Inc.            Olathe         KS                    09:37
Lowboy Trailer                                0                              1          0        0   ICN     OSI Environmental, Inc.           Eveleth        MN                    09:40
Deck Trailer                                  0                              2          0        0   ICN     OSI Environmental, Inc.           Eveleth        MN                    09:40
Lowboy Trailer                                0                              1          0        0   ICN     Haz-Mat Response, Inc.            Great Bend     KS                    10:39
Response Trailer                              0                              1          0        0   ICN     Haz-Mat Response, Inc.            Great Bend     KS                    10:39
Flatbed Trailer                               0                              4          0        0   ICN     Strata Corporation (Earthmover)   Minot          ND                    11:09
Tandem Trailer                                0                              1          0        0   ICN     Strata Corporation (Earthmover)   Minot          ND                    11:09
                           Sub Total Flatbed Trailer:                      16       0            0
Fork Lift

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)

Forklift                                      0                              1          0        0   ICN     OSI Environmental, Inc.           Moorhead       MN                    06:33
Forklift                                      0                              1          0        0   ICN     Beltrami Industrial Services      Solway         MN                    08:10
Forklifts                                     0                              1          0        0   ICN     OSI Environmental, Inc.           Bemidji        MN                    08:13
Forklift                                      0                              2          0        0   ICN     Haz-Mat Response, Inc.            Olathe         KS                    09:37
Forklifts                                     0                              2          0        0   ICN     OSI Environmental, Inc.           Eveleth        MN                    09:40
                                  Sub Total Fork Lift:                      7       0            0
Generator

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)

Generator                                     0                              1          0        0   ICN     Beltrami Industrial Services      Solway         MN                    08:10
Generator                                     0                              1          0        0   ICN     OSI Environmental, Inc.           Bemidji        MN                    08:13
Generator                                     0                              1          0        0   ICN     Environmental Troubleshooters     Duluth         MN                    08:59
Generator                                     0                              5          0        0   ICN     Haz-Mat Response, Inc.            Olathe         KS                    09:37
Generator                                     0                              4          0        0   ICN     OSI Environmental, Inc.           Eveleth        MN                    09:40
Generator                                     0                              1          0        0   ICN     Strata Corporation (Earthmover)   Minot          ND                    11:09
                                Sub Total Generator:                       13       0            0
Light Plant

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)

Light Plant                                   0                              5          0        0 ICN       Haz-Mat Response, Inc.            North Platte   NE                    07:34
Portable Light Set                            0                              5          0        0 ICN       Haz-Mat Response, Inc.            Olathe         KS                    09:37
Light Tower                                   0                              2          0        0 ICN       Haz-Mat Response, Inc.            Great Bend     KS                    10:39
                               Sub Total Light Plant:                      12       0            0
Pick-Up Truck

 Description                                  Stencil #                Quantity   EDRC      Storage Owner                                      City           State   *Time Away (hr mm)



 06 to 12 hours                                                                     RESOURCE AVAILABILITY BY TYPE                                              Page 11 of 16
06 to 12 hours                                          Case 1:16-cv-01534-JEB Document 346-1
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Pick-Up Truck                               0                              4          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
Pick-Up Truck                               0                              2          0        0   ICN     OSI Environmental, Inc.                Bemidji        MN                    08:13
Pick-Up Truck                               0                              1          0        0   ICN     Heritage Environmental Services Inc.   Kansas City    MO                    09:14
Pick-Up Truck                               0                             11          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Pick-Up Truck                               0                              9          0        0   ICN     OSI Environmental, Inc.                Eveleth        MN                    09:40
Pick-up truck                               0                              2          0        0   ICN     Veolia Environmental Services          Wausau         WI                    10:24
Pick-Up Truck                               0                             48          0        0   ICN     Strata Corporation (Earthmover)        Minot          ND                    11:09
Pick-Up Truck                               0                              2          0        0   ICN     Veolia Environmental Services          Neenah         WI                    11:46
                           Sub Total Pick-Up Truck:                      79       0            0
Power Pack

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Power Pack                                  DPP-AP-24-11                   1          0        0 NRC       Environmental Troubleshooters          Superior       WI                    09:00
Diesel Power Pack                           DPP-10-120                     1          0        0 NRC       Environmental Troubleshooters          Superior       WI                    09:00
Power Pack                                  0                              2          0        0 ICN       Veolia Environmental Services          Neenah         WI                    11:46
                              Sub Total Power Pack:                       4       0            0
Pressure Washer

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Pressure Washer- Hot                        0                              3          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Pressure Washer- Cold                       0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Pressure Washer                             0                              1          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
Pressure Washer                             0                              1          0        0   ICN     OSI Environmental, Inc.                Bemidji        MN                    08:13
Pressure Washer                             0                              1          0        0   ICN     Heritage Environmental Services Inc.   Kansas City    MO                    09:14
Pressure Washer - Hot                       0                              3          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Pressure Washer                             0                              4          0        0   ICN     OSI Environmental, Inc.                Eveleth        MN                    09:40
Pressure Washer-Hot                         0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Pressure Washer- Cold                       0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Pressure Washer                             0                              1          0        0   ICN     Strata Corporation (Earthmover)        Minot          ND                    11:09
                        Sub Total Pressure Washer:                       17       0            0
Roll-Off Container

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Haz Roll-Off                                0                              4          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Non-Haz Roll-Off                            0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Haz Roll-Off                                0                             16          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Non-Haz Roll-Off                            0                              2          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Roll-Off Container                          0                             20          0        0   ICN     OSI Environmental, Inc.                Eveleth        MN                    09:40
Haz Roll-Off                                0                             12          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Non-Haz Roll-Off                            0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
                        Sub Total Roll-Off Container:                    56       0            0
Roll-off Truck

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Roll-off Truck                              0                              1          0        0 ICN       Beltrami Industrial Services           Solway         MN                    08:10
Roll-Off Truck                              0                              1          0        0 ICN       Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
                            Sub Total Roll-off Truck:                     2       0            0
Sand Blaster

 Description                                 Stencil #               Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Sand Blaster                                0                              1          0        0 ICN       Haz-Mat Response, Inc.                 Olathe         KS                    09:37


 06 to 12 hours                                                                   RESOURCE AVAILABILITY BY TYPE                                                   Page 12 of 16
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                              Sub Total Sand Blaster:                        1       0            0
SCBA

 Description                                   Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

SCBA                                           0                              2          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
SCBA                                           0                              1          0        0   ICN     OSI Environmental, Inc.                Bemidji        MN                    08:13
SCBA                                           0                             22          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Full Face Respirator                           0                             22          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
SCBA                                           0                              8          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Manifold Breathing System                      0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
Full Face Respirator                           0                             10          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
SCBA                                           0                              6          0        0   ICN     Strata Corporation (Earthmover)        Minot          ND                    11:09
                                     Sub Total SCBA:                        72       0            0
Side Boom

 Description                                   Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Sideboom                                       0                              2          0        0   ICN     Hulcher Services, INC.                 Hudson         WI                    06:19
Sideboom-Padded                                0                              3          0        0   ICN     Hulcher Services, INC.                 Hudson         WI                    06:19
Sideboom-Padded                                0                              2          0        0   ICN     Hulcher Services, INC.                 North Platte   NE                    07:33
Sideboom-Padded                                0                              2          0        0   ICN     Hulcher Services, INC.                 Galesburg      IL                    10:33
                                Sub Total Side Boom:                         9       0            0
Spares Van Trailer

 Description                                   Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Semi Trailer                                   0                              1          0        0 ICN       Future Environmental, Inc.             Peoria         IL                    11:49
                        Sub Total Spares Van Trailer:                        1       0            0
Support Truck

 Description                                   Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Support Truck                                  0                              5          0        0 ICN       Strata Corporation (Earthmover)        Minot          ND                    11:09
                            Sub Total Support Truck:                         5       0            0
Truck - Semi

 Description                                   Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Tractor                                        0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
16' Response Truck                             0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Tractor                                        0                              1          0        0   ICN     Beltrami Industrial Services           Solway         MN                    08:10
Tractor                                        0                              3          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Roll-Off Truck                                 0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
21-2 Ton Stakebed Truck                        0                              1          0        0   ICN     Haz-Mat Response, Inc.                 Olathe         KS                    09:37
Tractor Trailer Trucks                         0                              6          0        0   ICN     OSI Environmental, Inc.                Eveleth        MN                    09:40
Semi Tractor                                   0                              2          0        0   ICN     Haz-Mat Response, Inc.                 Great Bend     KS                    10:39
                              Sub Total Truck - Semi:                       16       0            0
Utility Trailer

 Description                                   Stencil #                Quantity   EDRC      Storage Owner                                           City           State   *Time Away (hr mm)

Guzzler Trailer                                0                              2          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
River Trailer                                  0                              1          0        0   ICN     Haz-Mat Response, Inc.                 North Platte   NE                    07:34
Fast Response Trailer                          714                            1          0        0   NRC     Environmental Troubleshooters          Superior       WI                    09:00
Fast Response Trailer                          715                            1          0        0   NRC     Environmental Troubleshooters          Superior       WI                    09:00
Response Trailer                               0                              1          0        0   ICN     Heritage Environmental Services Inc.   Kansas City    MO                    09:14


 06 to 12 hours                                                                      RESOURCE AVAILABILITY BY TYPE                                                   Page 13 of 16
06 to 12 hours                                             Case 1:16-cv-01534-JEB Document 346-1
                      (* Does not include recall/mobilization time)                               Filed 04/02/18 Page 229 of 270
                                                                                             ContractorLocation
Guzzler Trailer                                0                            1           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
Low Pressure Transfer Trailer                  0                            1           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
IDLH Trailer                                   0                            1           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
River Trailer                                  0                            1           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
Fast Response Trailer                          739                          1           0        0   NRC    Basin Transload Beulah            Beulah         ND                    10:16
Small Trailer                                  0                           18           0        0   ICN    Strata Corporation (Earthmover)   Minot          ND                    11:09
                            Sub Total Utility Trailer:                    29       0            0
Utility Truck

 Description                                    Stencil #             Quantity   EDRC       Storage Owner                                     City           State   *Time Away (hr mm)

Box Truck                                      0                            1           0        0   ICN    OSI Environmental, Inc.           Moorhead       MN                    06:33
Response Truck                                 0                            1           0        0   ICN    OSI Environmental, Inc.           Bemidji        MN                    08:13
Box Truck                                      0                            1           0        0   ICN    OSI Environmental, Inc.           Bemidji        MN                    08:13
Box Truck                                      0                            2           0        0   ICN    OSI Environmental, Inc.           Eveleth        MN                    09:40
Stake Truck                                    0                            3           0        0   ICN    Veolia Environmental Services     Neenah         WI                    11:46
Service Trucks                                 0                            3           0        0   ICN    Future Environmental, Inc.        Peoria         IL                    11:49
                                Sub Total Utility Truck:                  11       0            0
Van Trailer

 Description                                    Stencil #             Quantity   EDRC       Storage Owner                                     City           State   *Time Away (hr mm)

Roll-Off Trailer                               0                            1           0        0   ICN    Haz-Mat Response, Inc.            North Platte   NE                    07:34
Recovery Spill Trailer                         0                            1           0        0   ICN    Beltrami Industrial Services      Solway         MN                    08:10
Response Trailer                               0                            1           0        0   ICN    OSI Environmental, Inc.           Bemidji        MN                    08:13
ER Trailers                                    0                            3           0        0   ICN    Environmental Troubleshooters     Duluth         MN                    08:59
Roll-Off Trailer                               0                            1           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
Equipment Trailer                              0                            5           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
Response Truck                                 0                            2           0        0   ICN    Haz-Mat Response, Inc.            Olathe         KS                    09:37
Response Trailer                               0                            3           0        0   ICN    OSI Environmental, Inc.           Eveleth        MN                    09:40
Van Trailer                                    0                            3           0        0   ICN    OSI Environmental, Inc.           Eveleth        MN                    09:40
Roll-Off Trailer                               0                            3           0        0   ICN    OSI Environmental, Inc.           Eveleth        MN                    09:40
Emergency Response Traile                      0                            1           0        0   ICN    Veolia Environmental Services     Wausau         WI                    10:24
Lab Trailer                                    0                            1           0        0   ICN    Strata Corporation (Earthmover)   Minot          ND                    11:09
Boom Trailer                                   0                            2           0        0   ICN    Strata Corporation (Earthmover)   Minot          ND                    11:09
Decon Trailer                                  0                            1           0        0   ICN    Strata Corporation (Earthmover)   Minot          ND                    11:09
Response Trailer                               0                            1           0        0   ICN    Veolia Environmental Services     Neenah         WI                    11:46
Spill Response Trailer                         0                            1           0        0   ICN    Future Environmental, Inc.        Peoria         IL                    11:49
                                 Sub Total Van Trailer:                   30       0            0
Workboat Trailer

 Description                                    Stencil #             Quantity   EDRC       Storage Owner                                     City           State   *Time Away (hr mm)

Workboat Trailer                               WBT-208                      1           0        0 NRC      Environmental Troubleshooters     Superior       WI                    09:00
                        Sub Total Workboat Trailer:                        1       0            0
                          Total Support Equipment:                     3610        0            0

Vacuum System
Loader

 Description                                    Stencil #             Quantity   EDRC       Storage Owner                                     City           State   *Time Away (hr mm)

Guzzler Dry Vac                                0                            3    1,029          36 ICN      Haz-Mat Response, Inc.            North Platte   NE                    07:34
Vacuum Box                                     0                            1      343          71 ICN      Haz-Mat Response, Inc.            North Platte   NE                    07:34
                                     Sub Total Loader:                     4     1372         107


 06 to 12 hours                                                                    RESOURCE AVAILABILITY BY TYPE                                              Page 14 of 16
06 to 12 hours                                          Case 1:16-cv-01534-JEB Document 346-1
                       (* Does not include recall/mobilization time)                           Filed 04/02/18 Page 230 of 270
                                                                                          ContractorLocation
Mini-Vac

 Description                                  Stencil #                Quantity   EDRC        Storage Owner                                          City            State   *Time Away (hr mm)

Guzzler Dry Vac                               0                              1       343          12 ICN      Haz-Mat Response, Inc.                 Olathe          KS                    09:37
Vacuum Box                                    0                              1       343          71 ICN      Haz-Mat Response, Inc.                 Olathe          KS                    09:37
HEPA Vac                                      0                              3     1,029           0 ICN      Haz-Mat Response, Inc.                 Olathe          KS                    09:37
                                  Sub Total Mini-Vac:                       5     1715           83
Vacuum Trailer

 Description                                  Stencil #                Quantity   EDRC        Storage Owner                                          City            State   *Time Away (hr mm)

Vacuum Trailer                                0                              1      343           20 ICN      Strata Corporation (Earthmover)        Minot           ND                    11:09
                          Sub Total Vacuum Trailer:                         1      343           20
Vacuum Transfer Unit

 Description                                  Stencil #                Quantity   EDRC        Storage Owner                                          City            State   *Time Away (hr mm)

Guzzler Dry Vac                               0                              1      343            0 ICN      Haz-Mat Response, Inc.                 Great Bend      KS                    10:39
                   Sub Total Vacuum Transfer Unit:                          1      343            0
Vacuum Truck

 Description                                  Stencil #                Quantity   EDRC        Storage Owner                                          City            State   *Time Away (hr mm)

Vacuum Truck                                  0                              2       686         240   ICN    Hulcher Services, INC.                 Hudson          WI                    06:19
Vacuum Truck                                  0                              1       343         120   ICN    Hulcher Services, INC.                 Hudson          WI                    06:19
Pump Truck                                    0                              1       651          71   ICN    OSI Environmental, Inc.                Moorhead        MN                    06:33
Vacuum Truck                                  0                              1       343          70   ICN    Hulcher Services, INC.                 North Platte    NE                    07:33
Vacuum Truck                                  0                              3     1,029         210   ICN    Haz-Mat Response, Inc.                 North Platte    NE                    07:34
Vacuum Truck                                  0                              1       343          71   ICN    Beltrami Industrial Services           Solway          MN                    08:10
Vacuum Truck                                  0                              1       343          71   ICN    OSI Environmental, Inc.                Bemidji         MN                    08:13
Pump Truck                                    0                              1       651          71   ICN    OSI Environmental, Inc.                Bemidji         MN                    08:13
Vacuum Truck                                  0                              5     1,715         120   ICN    Heritage Environmental Services Inc.   Kansas City     MO                    09:14
Vacuum Tanker                                 0                              1       343         119   ICN    Haz-Mat Response, Inc.                 Olathe          KS                    09:37
Vacuum Truck                                  0                              4     1,372         280   ICN    Haz-Mat Response, Inc.                 Olathe          KS                    09:37
Vacuum Truck                                  0                              4     1,372         572   ICN    OSI Environmental, Inc.                Eveleth         MN                    09:40
Pump Truck                                    0                              2     1,302         142   ICN    OSI Environmental, Inc.                Eveleth         MN                    09:40
Vacuum Truck                                  0                              2       686         142   ICN    OSI Environmental, Inc.                Eveleth         MN                    09:40
Vacuum Truck                                  0                              2       686          96   ICN    Veolia Environmental Services          Wausau          WI                    10:24
Vacuum Truck                                  0                              1       343          71   ICN    Haz-Mat Response, Inc.                 Great Bend      KS                    10:39
Vacuum Truck                                  0                              1       343          71   ICN    Strata Corporation (Earthmover)        Minot           ND                    11:09
Vacuum Truck                                  0                              5     1,715         655   ICN    Veolia Environmental Services          Fort Atkinson   WI                    11:22
Vacuum Truck                                  0                              1       343          80   ICN    Eagle Environmental Services           Wichita         KS                    11:36
Liquid Vac Truck                              0                              1     3,086          71   ICN    Future Environmental, Inc.             Peoria          IL                    11:49
                           Sub Total Vacuum Truck:                         40     17695        3343
                               Total Vacuum System:                        51     21468        3553

Vessel
Deployment Craft (< 25 foot)

 Description                                  Stencil #                Quantity   EDRC        Storage Owner                                          City            State   *Time Away (hr mm)

18' Deployment Craft                          0                              1            0        0   ICN    Haz-Mat Response, Inc.                 North Platte    NE                    07:34
18' Deployment Craft                          0                              1            0        0   ICN    Environmental Troubleshooters          Duluth          MN                    08:59
15' Deployment Craft                          0                              1            0        0   ICN    Environmental Troubleshooters          Duluth          MN                    08:59
18' Deployment Craft                          WB-208                         1            0        0   NRC    Environmental Troubleshooters          Superior        WI                    09:00



 06 to 12 hours                                                                      RESOURCE AVAILABILITY BY TYPE                                                    Page 15 of 16
06 to 12 hours                                           Case 1:16-cv-01534-JEB Document 346-1
                       (* Does not include recall/mobilization time)                            Filed 04/02/18 Page 231 of 270
                                                                                           ContractorLocation
16' Deployment Craft                          0                         1           0           0   ICN   Heritage Environmental Services Inc.   Kansas City   MO              09:14
18' Deployment Craft                          0                         2           0           0   ICN   Haz-Mat Response, Inc.                 Olathe        KS              09:37
14' Deployment Craft                          0                         2           0           0   ICN   OSI Environmental, Inc.                Eveleth       MN              09:40
14' Deployment Craft                          0                         1           0           0   ICN   Veolia Environmental Services          Wausau        WI              10:24
18' Deployment Craft                          0                         1           0           0   ICN   Haz-Mat Response, Inc.                 Great Bend    KS              10:39
21' Deployment Craft                          0                         2           0           0   ICN   Veolia Environmental Services          Neenah        WI              11:46
            Sub Total Deployment Craft (< 25 foot):                    13      0               0
                                         Total Vessel:                 13      0               0
                                Total 06 to 12 hours:                       28358       15,670.90
                  Running Total from 0 to unknown:                          34632         17032




 06 to 12 hours                                                                RESOURCE AVAILABILITY BY TYPE                                                   Page 16 of 16
National Response   Corporation Equipment
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                                          Types: Boom Filed 04/02/18 Page 232 of 270

Resource Availability By Type
Zone: Sioux Falls, SD                                                                   Demo - Sioux Falls - Case# DM15-0101
                                                                                                                    May 04, 2015

00 to 06 hours      (* Does not include reca lVmobilization time)


Boom
>=6 and <18 inch
Description                             Stencil#           Quantity                                     stfile *Time Away lhr·mm)
Absorbent Boom 8"x40' Bundle             0                          25    0   0   ICN    Omaha          NE                  04:52
1 O" Containment Boom                    0                     1300       0   0   ICN    Omaha          NE                  04:52
10" Fast Water Boom                      0                      200       0   0   ICN    Omaha          NE                  04:52
12" Boom                                 0                      200       0   0   ICN    Anoka          MN                  05:44
                  Sub Total >=6 and <18 inch:                  1725       0   0
                                   Total Boom:                 1725       0   0
                         Total 00 to 06 hours:                            0   0
           Running Total from Oto unknown:                                0   0




 00 to 06 hours                          RESO URCE AVAILABILITY BY TYPE                                       Page 1 of 2
06 to 12 hours      (* Does not include recalVmobilization time)
                        Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 233 of 270

Boom
>=6 and <18 inch
Description                             Stencil#          Quantity                                   .$!ate    *Time Away !hr:mml
10" Boom                                0                      800      0   0   ICN   North Platte   NE                     07:34
6" Boom                                 0                      400      0   0   ICN   Duluth         MN                     08:59
6" Absorbent Boom                       0                        1      0   0   ICN   Duluth         MN                     08:59
10" Boom                                0                     1200      0   0   ICN   Olathe         KS                     09:37
1O" Fast Water Boom                     0                      850      0   0   ICN   Olathe         KS                     09:37
12" Boom                                0                     2000      0   0   ICN   Eveleth        MN                     09:40
10" Boom                                BM10-001              1000      0   0   NRC   Beulah         ND                     10:16
10" Boom                                0                     1500      0   0   ICN   Great Bend     KS                     10:39
10" Boom                                0                      850      0   0   ICN   W ichita       KS                     11 :36
Super Mini Boom                         0                      150      0   0   ICN   Wichita        KS                     11 :36
                  Sub Total >=6 and <18 inch:                 8751      0   0
                                 Total Boom:                  8751      0   0
                       Total 06 to 12 hours:                            0   0
           Running Total from Oto unknown:                              0   0




 06 to 12 hours                         RESOURCE AVAILABILITY BY TYPE                                         Page 2 of 2
National Response    Corporation Equipment
             Case 1:16-cv-01534-JEB Document   346-1
                                           Types:      Filed
                                                  Vacuum     04/02/18 Page 234 of 270
                                                         System

Resource Avai lability By Type
Zone: Sioux Falls, SD                                                                 Demo - Sioux Falls - Case# DM15-0101
                                                                                                                    May 04, 2015

00 to 06 hours (* Does not include recalVmobilization time)


Vacuum System
Vacuum Truck
Description                          Stencil#         Quantity                                        .s.ta.te *Time Away lhr:mml
Vac Truck                             0                       1     343    70   ICN    Omaha          NE                   04:52
Vacuum Truck                          0                       3    1029   213   ICN    Anoka          MN                   05:44
Pump Truck                            0                       4    2604   284   ICN    Anoka          MN                   05:44
Vacuum T ruck                         0                        2    686   142   ICN    Cannon Falls   MN                   05:45
                    Sub Total Vacuum Truck:                   10   4662   709
                      Total Vacuum System:                    10   4662   709
                        Total 00 to 06 hours:                      4662   709
           Running Total from Oto unknown:                         4662   709




 00 to 06 hours                       RESOURCE AVAILABI LITY BY T YPE                                       Page 1 of 2
06 to 12 hours     (* Does not include recalVmobilization time)
                      Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 235 of 270

Vacuum System
Vacuum Truck
Description                            Stencil#          Quantity                                           ~     *Time Away (hr·mm}
Vacuum Truck                           0                          2     686    240    ICN   Hudson          WI                 06:19
Vacuum T ruck                          0                           1    343    120    ICN   Hudson          WI                 06:19
Pump Truck                             0                           1    651     71    ICN   Moorhead        MN                 06:33
Vacuum Truck                           0                          1     343     70    ICN   North Platte    NE                 07:33
Vacuum Truck                           0                          3    1029    210    ICN   North Platte    NE                 07:34
Vacuum Truck                           0                           1    343     71    ICN   Solway          MN                 08:10
Vacuum Truck                           0                           1    343     71    ICN   Bemidji         MN                 08:13
Pump Truck                             0                           1    651     71    ICN   Bemidji         MN                 08:13
Vacuum Truck                           0                          5    1715    120    ICN   Kansas City     MO                 09:14
Vacuum Tanker                          0                          1     343    119    ICN   Olathe          KS                 09:37
Vacuum Truck                           0                          4    1372    280    ICN   Olathe          KS                 09:37
Vacuum Truck                           0                          4    1372    572    ICN   Eveleth         MN                 09:40
Pump Truck                             0                          2    1302    142    ICN   Eveleth         MN                 09:40
Vacuum Truck                           0                          2     686    142    ICN   Eveleth         MN                 09:40
Vacuum Truck                           0                           2    686     96    ICN   Wausau          WI                 10:24
Vacuum Truck                           0                           1    343     71    ICN   Great Bend      KS                 10:39
Vacuum Truck                            0                          1    343     71    ICN   Minot           ND                 11 :09
Vacuum Truck                            0                          5    1715   655    ICN   Fort Atkinson   WI                 11 :22
Vacuum Truck                            0                          1    343     80    ICN   Wichita         KS                 11 :36
Liquid Vac Truck                        0                          1    3086     71   ICN   Peoria          IL                 11 :49
                   Sub Total Vacuum Truck:                        40   17695   3343
                     Total Vacuum System:                         40   17695   3343
                        Total 06 to 12 hours:                          17695   3343
           Running Total from O to unknown:                            22357   4052




 06 to 12 hours                        RESOURCE AVAILABI LITY BY TYPE                                            Page 2 of 2
             Case 1:16-cv-01534-JEB
National Response                   Document
                    Corporation Equipment     346-1
                                          Types:      Filed 04/02/18 Page 236 of 270
                                                 SkimmerNessel

Resource Availability By Type
Zone: Sioux Falls, SD                                                                            Demo - Sioux Falls - Case# DM15-0101
                                                                                                                              May 04, 2015

00 to 06 hours     (* Does not include recalVmobilization time)


Skimmer
Drum
Description                            Stencil#          Quantity     f.!IBQ   $lo.rage Q.wner   Qty             S1file *Time Away lhr:mm}
Elastec TDS118 Skimmer                 O                               240          0    ICN      Omaha          NE                  04:52
Crucial 1018P48 Skimmer                O                          2    686          0    ICN      Cannon Falls   MN                  05:45
                              Sub Total Drum:                     3    926          0
                               Total Skimmer:                     3    926          0


Vessel
Deployment Craft(< 25 foot)
Description                            stencil#          Quantity                                                S1file *Time Away lhr:mm)
18' Deployment Craft                   0                          1       0         0    ICN      Watertown      SD                  02:43
15' Deployment Craft                   0                          1       0         0    ICN      Omaha          NE                  04:33
20' Deployment Craft                   0                          1       0         0    ICN      Omaha          NE                  04:33
18' Deployment Craft                   0                          1       0         0    ICN      Omaha          NE                  04:52
17' Deployment Craft                   0                          1       0          0   ICN      Cannon Falls   MN                  05:45
12' Deployment Craft                   0                          1       0          0   ICN      Cannon Falls   MN                  05:45
21' Deployment Craft                   0                          1       0          0   ICN      Cannon Falls   MN                  05:45
17' Deployment Craft                   0                          1       0          0   ICN      Roseville      MN                  05:46
       Sub Total Deployment Craft{< 25 foot):                     8       0          0
                               Total Vessel:                      8       0          0
                         Total 00 to 06 hours:                          926          0
           Running Total from Oto unknown:                              926          0




 00 to 06 hours                        RESOURCE AVAILABILITY BY TYPE                                                   Page 1 of 2
06 to 12 hours          Case
                    (* Does      1:16-cv-01534-JEB
                            not include recalVmobilization time)   Document 346-1 Filed 04/02/18 Page 237 of 270

Skimmer
Drum
Description                             Stencil#          Quantity                                              fila.te *Time Away Chr:mml
Elastec Mini Max Skimmer                 0                         1      137       0    ICN    North Platte    NE                    07:34
Elastec TDS118 Skimmer                   0                         1      480       0    ICN    North Platte    NE                    07:34
Small Drum Skimmer                       0                         1      171       0    ICN    Kansas City     MO                    09:14
Elastec Mini Max Skimmer                 0                         1      137        0   ICN    Olathe          KS                    09:37
Elastec TDS118 Skimmer                   0                         1      240        0   ICN    Olathe          KS                    09:37
Elastec TDS118G Skimmer                  0                         1      480        0   ICN    Olathe          KS                    09:37
Medium Drum Skimmer                      0                         1      240        0   ICN    Eveleth         MN                    09:40
Elastec TDS 118 Skimmer                  0                         1      240        0   ICN    Great Bend      KS                    10:39
Elastec TDS 118 Skimmer                  0                         1      240        0   ICN    Wichita         KS                    11 :36
                              Sub Total Drum:                      9      2365       0
Floating Suction
Description                             Stencil#           Quantity                                             ~        *Time Away Chr:mml
Douglas SkimPac                          0                         1      240        0   ICN    North Platte    NE                    07:34
Douglas SkimPac                          0                         1      240        0   ICN    Olathe          KS                    09:37
Floating Suction Skimmer                 0                         1      274        0   ICN    Minot           ND                    11 :09
Douglas 4300 SkimPac                     0                         2      960        0   ICN    Neenah          WI                    11 :46
                   Sub Total Floating Suction:                     5      1714       0
Multi Skimmer
Description                             Stencil#           Quantity                                             State    *Time Away Chr:mml
Action 24 Skimmer                        0                          1      823       0   ICN     Du luth        MN                    08:59
Action 24 Skimmer                        AP-24-110                  1      823       0   NRG     Superior       WI                    09:00
Action 24 Skimmer                        AP-24- 120                 1      823       0   NRG     Superior       WI                    09:00
                     Sub Total Multi Skimmer:                      3      2469       0
Oleophilic Disk
Description                             Sten!;il #         Qusintity     EDRC    ~ Qym.er       Qty             State    *Time Away Chr·mml
ICrucial ORD Disk Skimmer               IORD-005                           342       0   INRG   I Beulah        IND                   10:16 1
                    Sub Total Oleophilic Disk:                             342       0
                                Total Skimmer:                     18     6890       0


Vessel
Deployment Craft(< 25 foot)
Des!;riptjon                            Stencil#           01,rn ntity   f.QRQ   ~ Q}wer        Qty             fila.te *Time Away Chr:rornl
18' Deployment Craft                     0                          1        0       0   ICN     North Platte   NE                    07:34
18' Deployment Craft                     0                          1        0       0   ICN     Duluth         MN                    08:59
15' Deployment Craft                     0                          1        0       0   ICN     Duluth         MN                    08:59
18' Deployment Craft                     WB-208                     1        0       0   NRG     Superior       WI                    09:00
16' Deployment Craft                     0                          1        0       0   ICN     Kansas City    MO                    09:14
18' Deployment Craft                     0                          2        0       0   ICN     Olathe         KS                    09:37
14' Deployme nt Craft                    0                          2        0       0   ICN     Eveleth        MN                    09:40
14' Deployment Craft                     0                          1        0       0   ICN     Wausau         WI                    10:24
18' Deployment Craft                     0                          1        0       0   ICN     Great Bend     KS                    10:39
21' Deployment Craft                     0                          2        0       0   ICN     Nee nah        WI                    11 :46
       Sub Total Deployment Craft(< 25 foot) :                     13        0       0
                                  Total Vessel:                    13        0       0
                           Total 06 to 12 hours:                          6890       0
           Running Total from Oto unknown:                                7816       0




 06 to 12 hours                         RESOURCE AVAILAB ILITY BY TYPE                                                  Page 2 of 2
National Response   Corporation Equipment
             Case 1:16-cv-01534-JEB Document  346-1
                                          Types:       Filed
                                                 Portable     04/02/18 Page 238 of 270
                                                          Storage
Resource Availability By Type
Zone: Sioux Falls, SD                                                                           Demo - Sioux Falls - Case# DM15-0101
                                                                                                                            May 04 , 201 5

00 to 06 hours     (* Does not include recalVmobilization time)



Portable Storage
Frac Tank
Description                            Stencil#          Quantity     fQBQ       ~ Q.wner       .Qili           ~      *Time Away lhr·mm}
I Mini Frac Tank                      10                                o    I    240   i lCN   !Omaha          INE                 04:52   I
                        Sub Total Frac Tank:                      1     0         240
                      Total Portable Storage:                     1     0         240
                        Total 00 to 06 hours:                           0         240
            Running Total from Oto unknown:                             0         240




 00 to 0 6 hours                       RESOURCE AVAILABILITY BY TYPE                                                  Page 1 of 2
06 to 12 hours      (* Does
                        Casenot include recalVmobilization time)
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Portable Storage
Frac Tank
Description                             Stencil#          Quantity                                          $1a.te    *Time Away lhr·mml
Frac Tank                                0                         2        0      952   ICN   Solway       MN                     08:10
Mini Frac Tank                           0                         2        0      476   ICN   Olathe       KS                     09:37
Frac Tank                                0                         1        0      500   ICN   Olathe       KS                     09:37
Mobile Storage Trailer                   0                         2        0     1000   ICN   Eveleth      MN                     09:40
Mini Frac Tank                           0                         1        0      240   ICN   Great Bend   KS                     10:39
Frac Tank                                0                          1       0      238   ICN   Wichita      KS                     11 :36
Frac Tank                                0                          1       0      476   ICN   Wichita      KS                     11 :36
                           Sub Total Frac Tank:                    10       0     3882
                         Total Portable Storage:                   10       0     3882
                           Total 06 to 12 hours:                            0     3882
            Running Total from Oto unknown:                                 0     4122




 06 to 12 hours                          RESOURCE AVAILABILITY BY TYPE                                               Page 2 of 2
             Case 1:16-cv-01534-JEB
National Response                   Document
                    Corporation Equipment     346-1
                                          Types:      Filed
                                                 Support     04/02/18 Page 240 of 270
                                                         Equipment

Resource Availability By Type
Zone: Sioux Falls, SD                                                                              Demo - Sioux Falls - Case# DM15-0101
                                                                                                                                  May 04 , 2015

00 to 06 hours          (* Does not include recalVmobilization time)


Support Equipment
Earth Moving Equipment

Description                                 stencil#          Quantity                                             .s.ts!.te *Time Away {hr-mm)
Skid Steer                                  0                          1      0        0    ICN     Omaha          NE                     04:33
Mini-Excavator                              0                          1      0        0    ICN     Omaha          NE                     04:33
L.;.1iloader                                0                          1      0        0    ICN     Omaha          NE                     04:52
Drum Grabber                                0                          1      0        0    ICN     Omaha          NE                     04:52
Trackhoe Mini                                0                         1      0        0    ICN     Omaha          NE                     04:52
Backhoe                                      0                         1      0        0    ICN     Omaha          NE                     04:52
Track Loader                                 0                         1      0        0    ICN     Roseville      MN                     05:46
325 Excavator                                0                         1      0        0    ICN     Bondurant      IA                     05:58
977 Track Loader                             0                         1      0        0    ICN     Bondurant      IA                     05:58
D6T Dozer                                    0                         1      0        0    ICN     Bondurant      IA                     05:58
966 Wheel Loader                             0                         1      0         0   ICN     Bondurant      IA                     05:58
               Sub Total Earth Moving Equipment:                       11     0         0
Roll-Off Container
Desi;;ription                               Stencil#           Quantity     EDRC   Storage Owner    91v             State    *Time Away {hr:m m)

[ Roll-Off Box                              [o                          2     0         0 [ ICN    [ Anoka                                05:44 [
                     Sub Total Roll-Off Container:                      2     0         0
                        Total Support Equipment:                       13     0         0
                              Total 00 to 06 hours:                           0         0
                Running Total from Oto unknown:                               0         0




  00 to 06 hours                             RESOURCE AVAILABILITY BY TYPE                                                  Page 1 of 3
06 to 12 hours (* Does
                   Casenot include recalVmobilization time)
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Support Equipment
Earth Moving Equipment
Description                             Stencil#      Quantity                                            filate *Time Away Chr:mm)
track Loader                            0                      1        0        0   ICN   Hudson         WI                  06:19
Excavator                               0                      2        0        0   ICN   Hudson         WI                  06:19
Skid Steer                              0                      1        0        0   ICN   Hudson         WI                  06:19
325 Excavator                           0                      1        0        0   ICN   North Platte   NE                  07:33
966 Wheel Loader                        0                      1        0        0   ICN   North Platte   NE                  07:33
Wheel Loader                            0                      1        0        0   ICN   North Platte   NE                  07:34
Backhoe                                 0                      1        0        0   ICN   North Platte   NE                  07:34
Uni loader                              0                      1        0        0   ICN   North Platte   NE                  07:34
Trackhoe-Mini                           0                      1        0        0   ICN   North Platte   NE                  07:34
Toolcat                                 0                      1        0        0   ICN   North Platte   NE                  07:34
Excavator                               0                      1        0        0   ICN   Solway         MN                  08: 10
Backhoe                                 0                      1        0        0   ICN   Solway         MN                  08:10
Skidsteer Loader                        0                      1        0        0   ICN   Solway         MN                  08:10
Caterpillar                             0                      1        0        0   ICN   Solway         MN                  08:10
Crawler Loader                          0                      1        0        0   ICN   Solway         MN                  08:10
Backhoe                                 0                      1        0        0   ICN   Duluth         MN                  08:59
Skid Steer                              0                      1        0        0   ICN   Duluth         MN                  08:59
Mini Excavator                          0                      1        0        0   ICN   Duluth         MN                  08:59
Mini Excavator                          0                      1        0        0   ICN   Duluth         MN                  08:59
Skid Steer with Tracks                  0                      1        0        0   ICN   Duluth         MN                  08:59
Backhoe                                 0                      1        0        0   ICN   Kansas City    MO                  09:14
Uniloader                               0                      2        0        0   ICN   Olathe         KS                  09:37
Trackhoe - mini                         0                      1        0        0   ICN   Olathe         KS                  09:37
Excavator                               0                      1        0        0   ICN   Olathe         KS                  09:37
Wheel Loader                            0                      1        0        0   ICN   Olathe         KS                  09:37
Backhoe-Loader                          0                      1        0        0   ICN   Eveleth        MN                  09:40
Skid Steer-Loader                       0                      1        0        0   ICN   Eveleth        MN                  09:40
Track Loader                            0                      1        0        0   ICN   Galesburg      IL                  10:33
Excavator                                0                     1        0        0   ICN   Galesburg      IL                  10:33
Uni Loader                               0                     1        0        0   ICN   Great Bend     KS                  10:39
Trackhoe                                 0                     1        0        0   ICN   Great Bend     KS                  10:39
Excavator (JD 200)                       0                     1        0        0   ICN   Great Bend     KS                  10:39
D 6 Dozer with winch                     0                     1        0        0   ICN   Great Bend     KS                  10:39
Kubota Tractor                           0                     1        0        0   ICN   Great Bend     KS                  10:39
Trencher (Uniloader Mount)               0                     1        0        0   ICN   Great Bend     KS                  10:39
Loader                                   0                    26        0        0   ICN   Minot          ND                  11 :09
Excavator                                0                    29        0        0   ICN   Minot          ND                  11 :09
Sk id Steer                              0                    15        0        0   ICN   Minot          ND                  11 :09
Grader                                   0                     2        0        0   ICN   Minot          ND                  11 :09
Roller                                   0                    10        0        0   ICN   Minot          ND                  11 :09
Scraper                                  0                     5        0        0   ICN   Minot          ND                  11 :09
Dozer                                    0                    10        0        0   ICN   Minot          ND                  11 :09
             Sub Total Earth Moving Equipment:            134           0        0
Roll-Off Container
Description                             Stencil#      Quantity                                            S1fil *Time Away lhr:mm)
Haz Roll-Off                             0                     4        0        0   ICN   North Platte   NE                  07:34
Non-Haz Roll-Off                         0                      1       0        0   ICN   North Platte   NE                  07:34
Haz Roll-Off                             0                     16       0        0   ICN   Olathe         KS                  09:37
Non-Haz Roll-Off                         0                     2        0        0   ICN   Olathe         KS                  09:37
Roll-Off Container                       0                    20        0        0   ICN   Eveleth        MN                  09:40
Haz Roll-Off                             0                    12        0        0   ICN   Great Bend     KS                  10:39
Non-Haz Roll-Off                         0                      1       0        0   ICN   Great Bend     KS                  10:39
                   Sub Total Roll-Off Container:               56       0        0
                     Total Support Equipment:                 190       0        0
                           Total 06 to 12 hours:                        0        0



 06 to 12 hours                         RESOURCE AVAILABILITY BY TYPE                                           Page 2 of 3
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                                         EXHIBITE
                                       RATESCHEDULE


                                                                                                                Phone: (269) 986-5499
                                                                                                             Email: dsahaJ1l@swat-«b.ca
                                                                                                           All rates are in US funds
                                                                    PERSONNEL
,, ____ Foreman/Vessel -                                                                                             $65.00/br
lv---Tecbnician                                                                                                      $55.00/br
I R - • - Administrator                                                                                              $50.00/br
I D - - - - Coordinator                                                                                             $130.00/hr
Ill-ca- -                                                                                                           $105.00/hr
I v - - - Suervisor                                                                                                  $95.00/br
I V - • - CoordinatorNessel Ooerator                                                                                $130.00/hr
I D - - - SuriervisorNessel Onerator                                                                                 $95.00/br
Senior Project Manuer (8PM) - Professional Deaumation                                                               $130.00/hr
Environmental Proiect Manaller (PM)                                                                                 $120.00/hr
Environmental Field S             .
                                (FS)                                                                                 $95.00/br
Environmental Field Technician (F1j                                                                                  $65.00/hr
Environmental Field Assistant (FA)                                                                                   $55.00/hr
Administration Sunnort                                                                                               $50.00/br
,_ -·                                                                                                                $60.00/hr
Senior Drafter/GIS                                                                                                   $70.00/hr
Subsistence••                                                                                                      $160.00/ni2ht
Subsistence lMeals Onlv)                                                                                           $60.00/niimt
I The fol1owing holiclays will be billed at clolLble the rate: New Yeu'a Day, Oood Friday, Memorial Day, Independence Day, Labor Day, 11wlbglvlns Day and
Chrisma Dav. All ralel an, :llatatm, DO overtime cbaMea will annlv.

                                                         ROLLING E UIPMENT
4x4 Crew Truck (1/2 to 3/4 Ton. c/w safety equipment)

4x4 Deck Track (Gooseneck Hitch, Stake Bed)
Skid Steer Cat 287C c/w Totcks
ESO Mini Excavator
4x4ATV
4x4ATV
                                                            RESPONSE VESSELS
                                                                        •
              Case 1:16-cv-01534-JEB Document 346-1 Filed 04/02/18 Page 243 of 270




                                                                TRAILERS
16-18' Taudem Axle Trailer
16-20' Tandem Axle        Trailer
26' Tandem Axle Gooseneck Trailer
                       se Trailer full
12'C
                                                      ROTATINGE UIPMENT
3" Water
3" Water
3" Water
2" Water




Tiller Attachment for Skid Steer




                                                         MISCELLANEOUS

Portable Office (PO) (Printer, Scanner, Copier, Laptop, Mobile
Phones
Underwater Camera




• Vessel only, does not iDclllde operator or truck.  Doe, not include fuel, fuel will be billed at cost+ 7%.
• • Applie& when fw1hm' than 100 mile1 from llllllnllt bue and n,quind to spend the night away from SWAT bue of opllrll1iom. Includes
accommodations and all meals (UllleM accomodations exceed the Subeistence rate, cost + 7% will then apply)
A 7% 8Cl'Vice fee will be added to all ttlird party purdwe8
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:NVIRONMENTAL SERVICESe

                               Clean Harbors Emergency Response Pricing Schedule



    Labor, Equipment and Materials                              ER National Rates (non gulf)



    FIELD PERSONNEL
    Field Technician                                      HR                                         $58.00
    Field Technician Overtime                             HR                                         $87.00
    Field Technician Doubletime                           HR                                        $116.00
    Equipment Operator                                    HR                                         $69.00
    Equipment Operator. Overtime                          HR                                        $103.50
    Equipment Operator. Double nme                        HR                                        $138.00
    Foreman                                               HR                                         $76.00
    Foreman Overtime                                      HR                                        $114.00
    Foreman Doubletime                                    HR                                        $152.00
    Field Inspector Overtime                              HR                                        $123.00
    Field Inspector Doubletime                            HR                                        $164.00
    Chemist                                               HR                                         $90.00
    Chemist Overtime                                      HR                                        $135.00
    Chemist Doubletime                                    HR                                        $180.00
    Mechanic                                              HR                                         $96.00
    Mechanic, Overtime                                    HR                                        $144.00
    Mechanic, Double Time                                 HR                                        $192.00
    Supervisor                                            HR                                         $98.00
    Supervisor, Overtime                                  HR                                        $147.00
    Supervisor, Double Time                               HR                                        $196.00
    Lead Chemist                                          HR                                        $116.00
    Lead Chemist Overtime                                 HR                                        $174,00
    Lead Chemist Doubletime                               HR                                        $232.00
    Coordinator I Job Consultant. Overtime                HR                                        $189.00
    Coordinator I Job Consultant, Double nme              HR                                        $252.00
    Project Manager                                       HR                                        $126.00
    Site Safety Officer                                   HR                                        $134.00
    Site Safety Officer. Overtime                         HR                                        $201.00
    Site Safety Officer, Double lime                      HR                                        $268.00
    TECHNICAL PERSONNEL
    Field Inspector                                       HR                                         $82.00
    Senior Mechanical Technician                          HR                                         $87.00
    Senior Mechanical Technician Overtime                 HR                                        $130.50
    Senior Mechanical Technician Doubletime               HR                                        $174.00
    Associate Engineer                                    HR                                         $95.00
    Associate Engineer, Overtime                          HR                                        S142.50
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ENVIRONMENTAL SERVICES'

                         Clean Harbors Emergency Response Pricing Schedule


Labor, Equipment and Materials                               ER National Rates (non gulf)



Associate En~neer. Doubletime                       HR                                      $190.00
Welder                                              HR                                       $96.00
Welder Overtime                                     HR                                      $144.00
Welder Ooubletime                                   HR                                      $192.00
Designer                                            HR                                      $100.00
Designer Overtime                                   HR                                      $150.00
Designer Double time                                HR                                      $200.00
Wastewater Treatment Operator                       HR                                      $102.00
Wastewater Treatment Operator, Overtime             HR                                      $153.00
Wastewater Treatment Operator, Doublelime           HR                                      $204.00
Field Engineer/Scientist/Geologist                  HR                                      $107.00
Field Engineer/Scientist/Geologist Overtime         HR                                      $160.50
Field Engineer/Scientist/Geologist Doubletime       HR                                      $214.00
Senior Engineer/Scientist/Geologist                 HR                                      $120.00
Senior Engineer/ScientisVGeologist Overtime         HR                                      $180.00
Senior Engineer/Scientist/Geologist Doubletlme      HR                                      $240.00
Professional Engineer/LSP                           HR                                      $151.00
Professional Engineer/LSP Overtime                  HR                                      $226.50
Professional Engineer Doublelime                    HR                                      $302.00
ADMINISTRATIVE/MANAGERIAL PERSONNEL

On Site Administration                              HR                                       $65.00
On Site Administration, Overtime                    HR                                       $97.50
On Site Administration, Double lime                 HR                                      $130.00
Coordinator I Job Consultant                        HR                                      $126.00
Emergency Response Coordinator                      HR                                      $126.00
Emergency Respon se Coordinator. Overtime           HR                                      S189.00
Emergency Response Coordinator. Double Time         HR                                      $252.00
Project Manager Overtime                            HR                                      S189.00
Project Manager Doubletime                          HR                                      $252.00
General Manager                                     HR                                      $161.00
General Manager, Overtime                           HR                                      $241 .50
General Manager, Doubletime                         HR                                      $322.00
PER DIEM / SUBSISTENCE
Per Diem I Subsistence                              DAY                                     $184.00
SUPPORT EQUIPMENT
15 Gal HEPA Vacuum                                  DAY                                     $172.00
150,000 BTU Portable Heater                         DAY                                     $272.00

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ENVlRONMENTAL SERVICES•
                              Clean Harbors Emergency Response Pricing Schedule




labor, Equipment and Materials                                  ER National Rates (non gulf)



Tractor Only, No Trailer                               HR                                      $60.00
Tractor w/Box Van                                      HR                                      $80.00
Tractor w/Dump Trailer                                 HR                                      $85.00
Tractor w/Flatbed/Lowbed Trailer                       HR                                      $82.00
Tractor w/Liquid Transporter                           HR                                       $87.00
Tractor w/Rolloff Trailer                              HR                                       $82.00
Traffic Cone/Barricade Unit                            DAY                                       $1.50
Utility I Support Trailer                              DAY                                     S195.00
Utility/Cross Terrain Vehicle (Mule/Gator)             DAY                                     $366.00
Vacuum Box. Watertight                                 DAY                                     $109.00
SAFETY EQUIPMENT

14in Neoprene Gloves                                   PAIR                                     $13.00
14in Nitrile Gloves                                    PAIR                                     $13.00
16oz Eyewash                                           EA                                       $22.00
2 Man Breathing System                                 DAY                                     $288.00
4 Man Breathing System                                 DAY                                     $366.00
Acid Cartridges                                        PAIR                                     $29.00
Asbestos Cartridges                                    PAIR                                     $30.00
Breathing Air Bottle Refill                             EA                                      $30.00
Breathing Air Hose, 100ft                              DAY                                     $105.00
Chemrel Suit. Level C                                   EA                                      $80.00
Chlorine Cartridges                                    PAIR                                     $29.00
Cotton Winter Glove Liners                              PAIR                                     $6.00
Cut Resistant Gloves                                    PAIR                                    $29.00
Disposable Boot Covers (Chicken Boots)                  PAIR                                    $12.50
Earplugs                                                PAIR                                     $1.92
Eyewash Station                                         DAY                                     $53.00
Face/Splash Shield                                      EA                                      $22.00

First Aid Kit. 25 Person                                EA                                      $83.00
Gloves - 12 in PVC                                      PAIR                                    $11.00
Gloves - 18 in PVC                                      PAIR                                    $12.10
Gloves - Leather                                        PAIR                                     $8.00
Kappler CPF1 Suit (Blue)                                EA                                      $34.00
Kappler CPF2 Suit (Grey)                                EA                                      $56.00
 Kappler CPF2 Suit w/Strapped Seams {Grey)              EA                                      $94.00
 Kappler CPF3 Suit w/Hoocl & Boots (fan}                EA                                     $160.00
 Kappler CPF3 Suit w/Hood & Strapped Seams (Tan)        EA                                     $127 00

 Kappler CPF4 Suit w/Hood & Boots (Green)               EA                                     $132.00
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ENVIRONMENTAL SERVICES9
                            Clean Harbors Emergency Response Pricing Schedule



                                                                    ER National Rates (non gulf)
Labor, Equipment and Materials


Latex Gloves                                              PAIR                                       $6.30
Level A w/ResponderPlus SuiUChangeout                     EA                                       $950.00
Level B w/CPF2 or Polytyvec/Changeout                     EA                                       $200.00
Level 8 w/CPF3 or Saranex Suit/Changeout                  EA                                       $250.00

Level B w/CPF4 or Barricade Suit/Changeout                EA                                       $300.00
Level C w/CPF1 .2 or Polytyvec/Changeout                  EA                                        $60.00

Level C w/CPF3 or Saranex Suit/Changeoul                  EA                                        $75.00
Level C w/CPF4 or Barricade Suit/Changeout                EA                                       $120.00

Mercury Cartridges                                         PAIR                                     $54.00
Modified Level O (fyvec, Gloves and Boots)                 EA                                       $30.00

MSA Chemical Cartridge                                     EA                                       $30.00

Nega1ive Air Machine (Blower wt HEPA filter)               DAY                                     $262.00
Nomex Suit and Hood                                        EA                                       $55.00
Non Steel Toe Chest Waders. Purchased                      PAIR                                    $225.00
Organic Vapor Cartridges (No Oust)                         PAIR                                     $29.00
Organic Vapor/Dust Combination Cartridges                  PAIR                                     $51 .00

Polycoa1ed Rain Gear, 22mil                                EA                                       $18.00

Puncture Resistant Gloves                                  PAIR                                     $34.00

Respirator, Full   Face                                    DAY                                      $32.00

Self Contained Breathing Apparatus (SCBA)                  DAY                                     $262.00

Silver Shield Gloves                                       PAIR                                     $34.00

Tyvec. Polyooat HO/BT                                      EA                                       $18.00
Tyvec, Saranex                                             EA                                       $57.00

Tyvec, White                                               EA                                       $22.00
HIGH PRESSURE WATER BLASTING EQUIPMENT

High Pressure Blaster - 10,000 PSI 150 HP (30 GPM)         HR                                        $71.00
 High Pressure Blaster - 20,000 PSI 300 HP (10-20 GPM)     HR                                       $136.00
                                                HR
 High Pressure Blaster - 40,000 PSI 200 HP (6GPM)                                                   $165.00

 HIGH PRESSURE WATER BLASTING -AUXILIARY EQUIPMENT
 Nozzle - 30 Automated                           HR                                                  $85.00

 PRESSURE WASHING EQUIPMENT
 1000psi Pressure Washer                                   DAY                                      $100.00

 2000psi Pressure Washer                                   DAY                                      $109.00

 2500psi Hot Water Pressure Washer                         DAY                                      $341.00
 2500psi Pressure Washer                                   DAY                                      $118.00
 3000psi Hot Water Pressure Washer                         DAY                                      $376.00
 Nozzle - 20 Automated                                      HR                                       $65.00


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ENVIRONMENTAL SERVICES•
                               Clean Harbors Emergency Response Pricing Schedule


                                                                        ER National Rates (non gulf)
Labor, Equipment and Materials
Descriphon     ·           ·       '          ·        ·uoM    ..        .               Price (USO}

VACUUM EQUIPMENT
High Powered Vacuum Truck/Cusco                         HR                                    $135.00

Skid Mounted Vacuum System                              HR                                     $63.00
Tractor wNacuum Trailer                                 HR                                      $93.00
Vacuum Truck, Straight                                  HR                                      $75.00
Wet/Ory High Powered Vacuum Truck/Guzzler               HR                                    $135.00

PUMPINGfTRANSFERRING PUMPS

Drum Loader                                             DAY                                    $172.00
Drum Vacuum, Pneumatic                                  HR                                      $32.00
Pump • Centrifugal, 2 in                                DAY                                    $110.00
Pump • Centrifugal, 4 in                                DAY                                    $149.00

Pump - Diesel Lister. 3 in                              DAY                                    $154.00
Pump - Double Diaphragm, 1 in                           DAY                                     $97.00
Pump • Double Diaphragm. 2 in                           DAY                                    $137.00

Pump· Double Diaphragm. 2 in, Chemical                  DAY                                    $182.00

Pump - Double Diaphragm, 3 in                           DAY                                    $154.00
Pump - Double Diaphragm. 3 in, Chemical                 DAY                                    $201.00
Pump • Double Diaphragm, 4 in                           DAY                                    $212.00
Pump. Electric Drum                                     DAY                                    $109.00
Pump. Electric Submersible, 2 in                        DAY                                     $86.00
Pump • Electric Submersible, 3 in                       DAY                                    $109.00
Pump • Clectric Submersible, 4 in                       DAY                                    $159.00
Pump· Hale, 2 in                                        DAY                                    $109.00
Pump. Hand                                              DAY                                     $35.00
Pump. Hydraulic Transfer, 4 in                          HR                                      $35.00
Pump. Hydraulic Transfer. 6 in                          HR                                     $262.00
Pump • Mudhen / Single Diaphragm, 2 in                  DAY                                      $65.00
Pump - Trash, 4 in                                      DAY                                    $285.00
CHEMICAL CLEANING EQUIPMENT

 Chemical Cleaning Unit                                 HR                                      $110.00
 FILTRATION SERVICES

 Filter Bags - 25 Micron Nominal                        EA                                        $9.00
 AUXILIARY EQUIPMENT· CHEMICAL CLEANING ANO FILTRATIONS

 Replacement Gasket - 3 in.                              EA                                       $7.00
 Replacement Gasket - 8 in.                              EA                                      $16.00
 CHEMICAL PRICING . INDUSTRIAL CLEANING

 142 Solvent                                             GAL                                     $11.00

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ENVIRONMENTAL SERVICES•
                            Clean Harbors Emergency Response Pricing Schedule



Labor, Equipment and Materials                                           ER National Rates (non gulf)

Description           · •                               · UOM     ·            ·.   ::    Price (USO)

Antifreeze, Concentrate                                  GAL                                     $5.80
Capsur                                                   GAL                                   $170.00
Cirtic Acid Solution, 15%                                GAL                                     $7.00
Citrus Cleaner Degreaser                                 GAL                                    $61.00
Hydrated   lime. 50 lb / 23 kg                           BAG                                     $8.00
Hydrochloric Acid                                        LBS                                     $3.60
Penetone Degreaser                                       GAL                                    $33.00
Pink Stuff Degreaser                                     GAL                                    $22.00
Sanimate Degreaser                                       GAL                                    $22.00
Simple Green Degreaser                                   GAL                                    $34.00
Soda Ash, 100 lb/ 45 kg                                  BAG                                    $52.00
Sodium bisulfate 50 lb/ 23 kg                            BAG                                   $121.00
Sodium Hypochlorite, 15% (Bleach)                        GAL                                     $9.00
MARINE RESPONSE EQUIPMENT
Airboat, Single Engine                                   DAY                                 $1200.00
Airboat, Twin Engine                                     DAY                                 $3500.00
BoatNVorkskiff without Motor                             DAY                                   $142.00
Brush Skimmer                                            DAY                                   $800.00
Containment Boom • 1O" Per Foot Per Day                  FT                                      $1.78
Containment Boom • 18" Per Foot Par Day                  FT                                      $1 .99
Containment Boom • 24" Per Foot Per Day                  FT                                      $2.57
Containment Boom - 36" Per Foot Per Day                  FT                                      $2.88
Drum Skimmer (24in-36in)                                 DAY                                   $627.00
Hvdraulic Power Pack. for Skimmer                        DAY                                   $220.00
Landing Craft (LCM), 26ft-29ft                           DAY                                   $950.00
Landing Craft (LCM), 30ft-34f1                           DAY                                  $1200.00
Landing Craft (LCM), 35ft-45ft                           DAY                                  $1800.00
Landing Craft (LCM), 46ft-75ft                           DAY                                  $4800.00
PFD Deck Suit                                            EA                                    $676.00
PFO Life Vest                                            DAY                                    $26.00
PFD Safety Light                                         EA                                     $29.00
PFD Survival Suit I Cold Weather Survival Work Suits     DAY                                    $79.00
Power Barge Boat, 26ft-30ft                              DAY                                  $1100.00
Power Barge Boat, 30ft-42ft                              DAY                                  $2000.00
Power Workboat, Fast Response, 12-14ft                   DAY                                   $298.00
Power Workboat, Fast Response. 15-17ft                   DAY                                   $356.00
Power Workboat. Fast Response. 18·22ft                   DAY                                   $596.00
Power Workboat. Fast Response. 23-26ft                    DAY                                  $750.00
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ENVIRONMENTAL SERVICEse

                            Clean Harbors Emergency Response Pricing Schedule




Power Wor1c:boal, Fast Response, 27-36ft                   DAY                      $950.00
Rigid Hull Inflatable (RIB) (18ft-22ft)                    DAY                      $785.00
Rotating Disc Skimmer Unit                                 DAY                      $816.00
Skim Pack Skimmer                                          DAY                      $162.00
Skimmer - C24H Hydraulically Powered Rope Mop Wringer      DAY                      $650.00
Skimmer - C29H Hydraulically Powered Rope Mop Wringer      DAY                      $875.00
Skimmer, Duck Bill                                         DAY                       $28.00
Skimming Vessel (Marco/JBF or Equivalent) 28-30ft          DAY                     $5475.00
Skimming Vessel Belt Drive Replacement                     EA                      $1302.00
Underwater ROV                                             DAY                     $1255.00
Weir Skimmer Unit                                          DAY                      $173.00
FIELD ANALYTICAL
4 Gas/5 Gas Meter                                          DAY                      $178.00
Bailer & Sampling Equipment                                DAY                       $60.00
Draeger Air Monitoring Pump                                DAY                       $79.00
Explosion/Oxygen Meter                                     DAY                      $ 126.00
Geiger Counter Meter                                       DAY                      $157.00
Geoprobe                                                   DAY                      $220.00
Hydrogen Cyanide Meter                                     DAY                      $130.00
Hydrostatic Tester                                         DAY                      $110.00
Interface Probe                                            DAY                      $126.00
Lumex RA915+ Mercury Vapor Analyzer                        DAY                      $513.00
Mercury Vapor Analyzer                                     DAY                      $262.00
Particulate Meler, Mini Ram or equivalent                  DAY                      $126.00
Personal Air Pump Meter                                    DAY                       $60.00
pH Meter                                                   DAY                       $60.00
PIO Meter                                                  DAY                      $126.00
Well Purging/Sampling Pump                                 DAY                       $60.00
HOSES/PIPE
Hose - Chemical, 2 in X 20 ft                              DAY                       $37.00
Hose. Chemical. 3 in X 20 ft                               DAY                       $51.00
Hose - Chemical. 4 in X 20 ft                              DAY                       $67.00
Hose. Flex, 4 in. per ft                                   FT                            $2.75
Hose - Flex, 6 in, per ft                                  FT                            $3.50
Hose - Lay Flat. 4 in X 25 ft                              DAY                       $60.00
Hose - Lay Flat, 6 in X 25 ft                              DAY                       $79.00
Hose - Suction, 2 in X 25 ft                               DAY                       $31 00


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                               Clean Harbors Emergency Response Pricing Schedule



Labor, Equipment and Materials                                       ER National !{ales (non gulf}



Hose - Suction. 3 in X 25 ft                             DAY                                     $42.00
Hose - Suction. 4 in X 25 ft                             DAY                                     $60.00

Hose - Suction, 6 in X 25 fl                             DAY                                     $87.00
Wash Hose, 1/2in x 50ft.                                 DAY                                     $17.00
EARTH MOVING EQUIPMENT
Backhoe Loader. 1 Yard Bucke1                            HR                                      $79.00
Bobcat Loader/Mini Excavator                              HR                                     $74.00

Dozer. <100 HP                                            DAY                                   $680.00
Excavator, 20-30 Ton                                      HR                                    $100.00

Fork Attachment for Bobcat Loader                         DAY                                        $58.00
Loader, 2-3 Yard Bucket                                   HR                                         $77.00
Sweeper Attachment for Bobcat Loader                      DAY                                   $142.00
PNEUMATIC POWER TOOLS

Jackhammer, 40Lb                                          DAY                                        $65.00
Jackhammer. 60Lb                                          DAY                                        $82.00

Jackhammer. 90Lb                                          DAY                                        $98.00
Pneumatic Chipping Gun                                    DAY                                    $105.00

Steel Nibbler. Pneumatic                                  DAY                                    $131.00
GAS POWERED TOOLS
Brush Cutter/Power Broom                                  DAY                                    $122.00

 SPECIALTY EQUIPMENT
 Antiviral Disinfectant Fogger                            DAY                                    $175.00

 Auger. Manual                                            DAY                                        $65.00
 Confined Space Entry Gear (Retrieval & Rescue Equip)     DAY                                    $364.00
 Cutting Torch/Acetylene Torch                            DAY                                    $120.00
 OBI/Rogliss Tripod                                       DAY                                        $65.00
 Digital Camera                                           DAY                                        $86.00
 Drum Crusher, Portable                                   DAY                                    $455.00

 Electric Blower                                          DAY                                        $87.00

 Explosion Proof Pneumatic Fan Blower                     DAY                                        $87.00
 Fiber Optic Camera                                       HR                                         $58.00
 Fiber Optic Camera Truck                                 HR                                     $149.00
 Forklift. 2 ,000Lb Capacity                              DAY                                        $418.00
 Forklift, 6,000Lb Capacity (High Reach/ Lull)             DAY                                       $275.00
 Plasma Cutting Toreh                                     DAY                                        $237.00
 Sand Blaster and Hose                                     HR                                         $29.00
 Transit Set                                               DAY                                       $125.00


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ENVIRONMENTAL SERVICES'
                               Clean Harbors Emergency Response Pricing Schedule


                                                                                  ER Nalional Rates (non gulf)
Labor, Equipment and Materials
Description                                           ·          UOM      _          c •·· ·•   :    Price (USD)

Walk Behind Concrete Saw                                         DAY                                     $228.00

DOT SHIPPING CONTAINERS

1 Cubic Yard Supersac 13H2/Y/06                                  EA                                       $82.00
1 OGal I 40 Litre Fiber Drum                                     EA                                       $40.00

110 Gal Steel Drum, Reconditioned 1A2/Y400$                      EA                                      $455.00

16 Gal I 70 L Closed Poly Drum                                   EA                                       $61.00

16 Gal / 70 L Poly Drum 1 H2JY56/S                               EA                                        $64.00
16 Gal Fiber Drum                                                EA                                        $29.00
18x18x24in Nonhazardous Pathological Waste Box                   EA                                        $10.00

20 Gal I 80 Litre Fiber Drum                                     EA                                        $34.00
20 Gal/ 80 Litre Poly Orum (1H2/Y56/S)                           EA                                       $100.00
30 Gal / 120 Litre Closed Poly Orum 1H1/Y1 .8/100                EA                                        $78.00

30 Gal/ 120 Litre Closed Steel Orum. New 1A1/Y1.6/200             EA                                       $94.00
30 Gal/ 120 Litre Closed Steel Drum, Reconed 1A1/Y1.4/100         EA                                       $89.00
30 Gal/ 120 Litre Fiber Orum 1GIX56/S                             EA                                       $51.00
30 Gal/ 120 Litre Poly Drum 1H2/Y142/S                            EA                                       $84.00
 30 Gal/ 120 Litre Steel Drum, New 1A2/Y1.4/100                   EA                                      $111.00

 30 Gal / 120 Litre Steel Drum. Reconditioned 1A2/Y1 .2/100       EA                                       $80.00

 4ft Fluorescent Tube Box 4G/Y275                                 EA                                       $25.00

 S Gal 120 Litre Closed Poly Drum 1H1/Y1 .8/170                   EA                                       $29.00

 5 Gal/ 20 Litre Closed Steel Drum 1A1/Y1 .8/300                  EA                                       $34.00

 5 Gal 120 Litre Poly Drum 1H2/Y1.5/60                            EA                                       $22.00

 5 Gal/ 20 Litre Steel Drum 1A2/Y1.8/100                          EA                                       $34.00

 5.5 Gal J 20 L Steel Drum 1A2/Y23/S                              EA                                       $22.00
 55 G / 205 L Closed Steel Orum, Recon 1A1/Y1 .4/100 (17-E)       EA                                       $44.00
 55 G / 205 L Steel Drum, Reconditioned 1A2/Y1 .2/100 (17 -H)     EA                                        $66.00
 55 Gal / 205 L Stainless Steel Drum, Reconditioned               EA                                      $252.00
 55 Gall 205 Litre Closed Poly Orum 1H1/Y1.8/150                  EA                                      $100.00

 55 Gal I 205 Litre Closed Steel Drum, New 1A11Y1.8/300           EA                                        $97.00

 55 Gal I 205 Litre Fiber Drum 1G/Y190/S                          EA                                        $56.00

 55 Gal/ 205 Litre Open Head Poly, Reconditioned Drum             EA                                        $95.00
 1H2/Y2
 55 Gal/ 205 Litre Steel Drum Heavy Gauge 1A2/1.5/100 (17-C)      EA                                       $137.00

 55 Gal/ 205 Litre Steel Drum, New 1A2/Y1 .5/100                  EA                                       $110.00

 55 Gal/205 litre Steel Drum Poly line 6HA1/X1 .5/280 (6D/37M) EA                                          S187.00
 85 G / 320 L Steel Drum, Reconded 1A2/X400/S (Overpack)          EA                                       $195.00
 85 Gal I 320 Litre Steel Drum. New 1A2/X400/S                    EA                                       $230.00
 8ft Fluorescent Tube Box 4G/Y275                                 EA                                        $27.00


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ENVIRONMENTAL SERVICE~
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Labor, Equipment and Materials                                                   ER National Rates (non gul0
Description ·: .     .-.> ·'.· .   ·   .. :    · -. - . . .    .. UOM ' :-· .   .-       1
                                                                                             ;' •   ' ---;~ '·   -'   '    Price (USO}

Asbestos Bag                                                     EA                                                              $1.60
Drum 15 Gal f 60 Litre Poly (1 H2/Y1 .8/100)                     EA                                                             $71.00
Drum Liners                                                      EA                                                             $22.00
Drum Rings/Bolts/Gaskets                                         EA                                                             $29.00
Dump Trailer Poly liner                                          EA                                                             $96.00
Filter/liner for Filter Box                                      EA                                                            $356.00
Flexbin. 1 Cubic Yard Flex.bin 11 G/Y/2022/1122                  EA                                                            $154.00
Flexbin, Cubic Yard Box for Non-Haz Waste                        EA                                                            $100.00
Flexbin/Cubic Yard Box Liner                                     EA                                                             $29.00
Fluorescent Bulb Tubes, 4ft 100 bulb capacity                    BOX2                                                           $61 .00
Fluorescent Bulb Tubes, 4ft 125 bulb capacity                    BOX3                                                           $61.00
Fluorescent Bulb Tubes, 4ft 150bulb capacity                     BOX4                                                           $61.00
Fluorescent Bulb Tubes. 8ft 100 bulb capacity                    BOX2                                                           $88.00
Fluorescent Bulb Tubes. 8ft 125 bulb capacity                    BOX3                                                           $88.00
Hazardous Waste Labels                                           EA                                                              $1.30
Labels- DOT                                                      EA                                                               $1.50
Pathological Waste Bag                                           EA                                                               $6.10
Poly Bags, &nil, per Roll                                         EA                                                           $170.00
Poly Sheet, 6mil 20ft x 100ft                                     EA                                                           $115.00
Vacbox liner!Bladder                                              EA                                                           $770.00
Waste Wrangler                                                    EA                                                           $187.00
ABSORBENT MATERIALS
Absorbent Boom, 3in x 4ft                                         EA                                                              $8.00
Absorbent Boom, 5in x 10ft x 4/Bale                               BALE                                                         $154.00
Absorbent Boom, Sin x 10ft x 4/Bale                               BALE                                                         $247.00
Absorbent Pad (101 Grade) 100fbale                                BALE                                                         $127.00
Absorbent Roll, 38in x 144ft                                      EA                                                            $181.00
Absorbent Rug. 36in x 300ft                                       EA                                                            $300.00
Absorbent Sweep, 17in x 100ft                                     BALE                                                          $159.00
Activated Carbon for Water treatment systems                      LBS                                                             $3.10
Corn Cob Absorbent 401b / 18 kg bag                               BAG                                                            $17.00
HGX Absorbent (Mercury absorbent)                                 LBS                                                            $20.00
Oil Snare, Loose in Bag                                           BOX                                                            S66.00
Oil Snare. on a Line, 50ft                                        EA                                                             $97.00
Poly Absorbent, 20 lb / 23 kg                                     BAG                                                           $105.00
Rags, 50 lb/ 23 kg                                                BOX                                                            $61 .00
Saw Dusi, 20 lb/ 9 kg                                             BAG                                                            $10.00
Speedi Dry                                                        BAG                                                            $12.00
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ENVIRONMENTAL SERVICES•
                                     Clean Harbors Emergency Response Pricing Schedule




SPI Solidification Particulate (Oil Bond)                     LBS                              $19.00
SPI Waterbond                                                 LBS                              $16.00
Vermiculite 4 cuft / 3 cubic meter                            BAG                              $32.00
SAMPLING AND LAB SUPPLIES
8oz Sample Jars                                               EA                               $14.00
CHLOR'N'OIL Test Kit 0-50ppm PCB                              EA                               $39.00
CHLOR-D-TECT 4000 Test Ki1 (Halogens)                         EA                               $29.00
Draeger Tube                                                  EA                               $29.00
pH Paper. 1-14/Roll                                           EA                               $17.00
Sample Tube                                                   EA                               $17.00
MARINE EQUIPMENT

112in Poly Rope                                               FT                                $0.50
1/Sin Poly Rope                                               FT                                $0.40
3/8in Unguarded Galvanized Chain                              FT                                $7.00
Anchor. 18Lb                                                  EA                              $137.00
HIGH HAZ
Drum Tilter, Mechanical                                       DAY                             $172.00
Nitrogen Cylinder                                             DAY                              $63.00
Remote Drum Opener, Pnuematic                                 DAY                            $1192.00
WASTE MATERIAL APPROVAL
Profile Approval Fee (No Sample)                              EA                               $75.00
Sample & Profile Approval Fee                                 EA                              $109.00
MISCELLANEOUS
Compactor                                                     DAY                              $63.00
1/2in Drill , Electric                                        DAY                              $43.00
1/2in Nylon Rope                                              FT                                $1.00
10in Flange/Ring Gasket                                       EA                                $19.00
12in Masonary Cutting Wheel Blade                             EA                                $16.00
12in Metal Cutting Wheel Blade                                EA                                $21.00
14in Flange/Ring Gasket                                       EA                                $22.00
16in Street Broom                                             EA                                $35.00
24 - 36in Manhole Gasket                                      EA                                $83.00
24in Floor Broom                                              EA                                $35.00
2in Flange/Ring Gasket                                        EA                                 S6.00
3 Gal Pump Spray Bonte                                        EA                                $54.00
3/4in Drill. Rotary Hammer                                    DAY                               $91.00
3/8in Manilla Rope                                            FT                                 SO.SO

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Labor, Equipment and Materials                               ER National Rates ( non gulf)


3/Bin Manilla Rope Coil, 600ft                       EA                                      $165.00
3in Long Handle Scraper                              EA                                       $23.00
3in Scraper                                           EA                                      $15.00
4in Flange/Ring Gasket                                EA                                        $9.30
Acetylene Bottle                                      EA                                      S45.00
Carbide Blade                                         EA                                       $14.30
Caution Tape/Roll                                     EA                                       $56.00
Chain Saw                                             DAY                                    $118.00
Chemical Tape/Roll                                    EA                                       $51 .00
Circular Saw, Electric                                DAY                                      $60.00
Collection Jar for Mercury Vacuum                     EA                                       $44.00
Cutoff Saw (Demo)                                     DAY                                     $131.00
Deck/Scrub Brush                                      EA                                       $18.00
Disposable Hand Pump/Syphon Pump                      EA                                       $34.00
Duct Tape/Roll                                        EA                                       $12.00
Dump Truck Tarp                                       EA                                      $363.00
Electric Auger                                        DAY                                      $74.00
Extension Cord, 50ft                                  EA                                       $56.00
Fence Stakes                                          EA                                        $9.1 0
Fence, Slit 100ft                                     EA                                      $143.00
Filtration Bag for Mercuiy Vacuum                     EA                                       $29.00
Flat Shovel                                           EA                                       $32.00
Garden Hoe                                            EA                                       $30.00
Garden Rake                                           EA                                       $30.00
Hanby Soil ReagenUSample                              EA                                       $56.00
Hand CleaMr                                           EA                                       $33.00
Mercury Vacuum                                        DAY                                     $206.00
Minimum Charge for ER or BioHaz Jobs                  EA                                     $2000.00
Misc. Handtools                                       DAY                                      $34.00
Pitch Fork                                            EA                                      $100.00
Plastic Shovel                                        EA                                       $55.00
Reciprocating Saw (Sawzall), Electric                 DAY                                      $79.00
Rolloff Bow                                           EA                                       $42.00
Rolloff Poly Liner                                    EA                                       $78.00
Rolloff Tarp                                          EA                                      $418.00
Sawzall Blade                                         EA                                       $34.00
Sea Clean Degreaser. 5 Gal / 20 Litre                 EA                                       $83.00
Shrinl<. Wrap                                         ROL                                      $48.00

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                     Clean Harbors Emergency Response Pricing Schedule




                                                            ER National Rates (non gulf)
Labor, Equipment and Materials


Small Sledge Hammer                             EA                                         $40.00
Snow Fence/Safety Fence, 50ft                   EA                                         $77.00
Spaded Shovel                                   EA                                         $35.00
Spray Gel                                       GAL                                        $31.00
Squeegee                                        EA                                         $37.00
Wet Vacuum (Shop Vac)                           DAY                                        $43.00




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Labor, Equipment and Materials                                       Gulf ER NON HAZ Rate Sheet
Description ·: .      . ;. . .   •   .   : ,.   . .•       ' . UOM       . ; .   r   -   ••   •   Price (USO)

FIELD PERSONNEL

Field Technician                                             HR                                        $42.00
Field Technician Overtime                                    HR                                        $63.00
Field Technician Doubletirne                                 HR                                        $84.00
Equipment Operator                                           HR                                        $48.00
Equipment Operator, Overtime                                 HR                                        $72.00
Equipment Operator, Double Time                              HR                                        $96.00
Foreman                                                      HR                                        $52.00
Foreman Overtime                                             HR                                        $78.00
Foreman Doubletime                                           HR                                       $104.00
Field Inspector Overtime                                     HR                                        $85.50
Field Inspector Doubletime                                   HR                                       $114.00
Supervisor                                                   HR                                        $62.00
SupeNisor, Overtime                                          HR                                        $93.00
SupeNisor. Double Time                                       HR                                       $124.00
Chemist                                                      HR                                        S75.00
Chemist Overtime                                             HR                                       $112.50
Chemist Ooubletime                                           HR                                       $150.00
Mechanic                                                      HR                                       $75.00
Mechanic, Overtime                                            HR                                      $112.50
Mechanic, Double Time                                         HR                                      $150.00
Project Manager                                               HR                                       $75.00
Site Safety Officer                                           HR                                       $85.00
Site Safety Officer, Overtime                                 HR                                      $127.50
Site Safety Officer, Double lime                             HR                                       $170.00
Lead Chemist                                                 HR                                         $88.00
Lead Chemist Overtime                                        HR                                       $132.00
Lead Chemist Doubletime                                      HR                                       $176.00
TECHNICAL PERSONNEL
Field Inspector                                               HR                                       $57.00
Senior Mechanical Technician                                  HR                                        $57.00
Senior Mechanical Technician Overtime                         HR                                        $85.50
Senior Mechanical Technician Ooubletime                       HR                                      $114.00
Associate Engineer                                            HR                                       S67.00
Associate Engineer, Overtime                                  HR                                      $100.50
Associate Engineer. Doubletime                                HR                                      $134.00
Designer                                                      HR                                        $67.00
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ENVIRONMENTAL SERVICES•

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Labor, Equipment and Materials                                            Gulf ER Rate Sheet
Oescription ~     -        '          .     . - ··   . ·    \ UOM    --         .          :   ' Price (USO)

FIELD PERSONNEL

Field Technician                                             HR                                      $51.00
Field Technician Overtime                                    HR                                      $76.50
Field Technician Doubletime                                  HR                                     $102.00
Equipment Operator                                           HR                                      $58.00
Equipment Operator, Overtime                                 HR                                      $87.00
Equipment Operator, Double Time                              HR                                     $116.00
Foreman                                                      HR                                      $63.00
Foreman Overtime                                             HR                                      $94.50
Foreman Doubletime                                           HR                                     $126.00
Field Inspector Overtime                                     HR                                     $103.50
Field Inspector Doubletime                                   HR                                     $138.00
Supervisor                                                   HR                                      $75.00
Supervisor, Overtime                                         HR                                     $112.50
Supervisor, Double Time                                      HR                                     S150.00
Chemist                                                      HR                                      $90.00
Chemist Overtime                                             HR                                     $135.00
Chemist Ooubletime                                           HR                                     $180.00
Mechanic                                                     HR                                      $90.00
Mechanic. Overtime                                           HR                                     $135.00
Mechanic. Double Time                                        HR                                     $180.00
Project Manager                                              HR                                      $90.00
Site Safety Officer                                          HR                                     $102.00
Site Safety Officer, Overtime                                 HR                                    $153.00
Site Safety Officer. Double lime                              HR                                    $204.00
Lead Chemist                                                  HR                                    $106.00
Lec1d Ctlemist Overtime                                       HR                                    $159.00
Lead Chemist Doubletime                                       HR                                    $212.00
TECHNICAL PERSONNEL
Field Inspector                                               HR                                      $69.00
Senior Mectlanical Technician                                 HR                                      $69.00
Senior Mechanical Technician Overtime                         HR                                    $103.50
Senior Mechanical Technician Doubletime                       HR                                    $138.00
Associate Engineer                                            HR                                      $81.00
Associate Engineer. Overtime                                  HR                                    $121.50
Associate Engineer, Doubletime                                HR                                    $162.00
Designer                                                      HR                                      $81.00
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Labor, Equipment and Materials                                        Gulf ER Rate Sheet


Designer Overtime                                     HR                                   $121.50
Designer Double time                                  HR                                   $162.00
Wastewater Treatment Operator                         HR                                    $81.00
Wastewater Treatment Operator. Overtime               HR                                   $121.50
Wastewater Treatment Operator, Ooubletime             HR                                   $162.00
Professional Engineer/LSP                             HR                                    $90.00
Professional EngineerlLSP Overtime                    HR                                   $135.00
Professional Engineer Doubletime                      HR                                   $180.00
Field Engineer/Scientist/Geologist                    HR                                   $100.00
Field Engineer/ScientisVGeologist Overtime            HR                                   $150.00
Field Engineer/Scientist/Geologist Ooubletime         HR                                   $200.00
Senior Engineer/ScientisVGeologist                    HR                                   $112.00
Senior Engineer/ScientisVGeologist Overtime           HR                                   $168.00
Senior Engineer/Scientist/Geologist Ooubletime        HR                                   S224.00
Welder                                                HR                                   $126.00
Welder Overtime                                       HR                                   $189.00
Welder Doubletime                                     HR                                   $252.00
ADMINISTRATIVEJMANAGERIAL PERSONNEL
On Site Administration                                 HR                                   $51.00
On Site Administration. Overtime                       HR                                   $76.50
On Site Administra1ion, Double Time                    HR                                  $102.00
 Emergency Response Coordinator                        HR                                   $78.00
 Emergency Response Coordinator. Overtime              HR                                  $117.00
 Emergency Response Coordinator, Double Time           HR                                  $156.00
 Project Manager Overtime                              HR                                  $135.00
 Project Manager Doubletime                            HR                                  $180.00
 General Manager                                       HR                                  $137.00
 General Manager, Overtime                             HR                                  $205.50

 General Manager, Doubletime                           HR                                  $274.00
 PER DIEM/ SUBSISTENCE
 Per Diem / Subsistence                                DAY                                 $162.00
 SUPPORT EQUIPMENT
 15 Gal HEPA Vacuum                                    DAY                                  $162.00
 150,000 BTU Portable Heater                           DAY                                 $216.00
 2 CU YD self dumping hopper                           DAY                                    $4.43
 2,000 - 2,900 Gal Poly Storage Tank                   DAY                                   $70.00
 20,000 Gal Frac Tank                                  DAY                                   $82.00


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                                    Clean Harbors Emergency Response Pricing Schedule




Labor, Equipment and Materials                                    Gu' f ER Rate Sheet



3,000 - 3,900 Gal Steel Storage Tank                     DAY                                 $18.00
4,000 - 6,000 Gal Poly Storage Tank                      DAY                                 $95.00
Air Compressor 175-185 CFM                               DAY                                $237.00
Air Compressor 8-10 CFM                                  OAY                                S119.00
ATV, 4X4 or 4X6                                          DAY                                $400.00
Box Truck                                                HR                                  $59.00
Carbon Filter System                                     DAY                                $631.00
Decon Pool. 10ft x 10ft                                  DAY                                $155.00
Decon Pool, 20ft x 100ft                                 DAY                                $464.00
Decon Pool, 25ft x 50ft                                  DAY                                $309.00
Decontamination Trailer                                  DAY                                $244.00
Dewatering Box                                           DAY                                $208.00
Dump Trailer (Trailer Only, Staged on Site)              DAY                                  $75.00
Dump Truck, 10 Wheel                                     HR                                   $59.00
Emergency Response Van                                   HR                                   $60.00
Frac Tank. Double Walled                                 DAY                                $195.00
Generator - 12K Watt                                     DAY                                $350.00
Generator - 4,000 Watt                                   DAY                                 $150.00
Generator - 5.000 Watt                                   DAY                                 $250.00
Generator - 8,000 Watt                                   DAY                                 $300.00
Halogen Spotlight                                        DAY                                  $86.00
Incident Command Unit                                    DAY                               $1077.00
lntermodal Container                                     DAY                                  $22.00
Intrinsically Safe Drop Light                            DAY                                  $82.00
Light Stand                                              DAY                                  $55.00
Light Tower w/Generator                                  DAY                                 $162.00
Office Trailer                                           DAY                                 $103.00
On-site Van Trailer (fractor not included)               DAY                                 $189.00
Personnel Staging Tent, 10x10 ft, Purchased              EA                                  $181.00
Personnel Staging Tent, 20' x 30'                        DAY                                 $155.00
Pickup/Van/Car/Crew Cab                                  HR                                   S21 .00
Portable Boiler                                          DAY                                 $916.00
Rolloff Container 'Nilh Tarp & Bows                      DAY                                  $17.00
Rolloff Straightjob                                      HR                                   $85.00
Sea Container I Conex I Tool Crib, 20 ft.                DAY                                  $31 .00
Secondary Containment Unit                               DAY                                  $65.00
Skid Mounted Liquid Phase Carbon System (10GPM)          DAY                                  $68.00
Spill Trailer                                            DAY                                 $200.00

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                                 Clean Harbors Emergency Response Pricing Schedule



                                                                             Gulf ER Rate Sheet
 Labor, Equipment and Materials


 Stake Body/Utility Truck                                    HR                                    $39.00
 Tank Trailer!Transporter, No Trac1or (For Stocage Only)     DAY                                  $431.00
 Tractor Only, No Trailer                                    HR                                    $65.00
 Tractor w/Box Van                                           HR                                    $85.00
 Tractor w/Dump Trailer                                      HR                                    $95.00
 Tractor w/Ratbed/Lowbed Trailer                             HR                                    $95.00
 Tractor w/Liquid Transporter                                HR                                   $125.00
 Tractor w/Rolloff Trailer                                   HR                                   $100.00
 Traffic Cone/Barricade Unit                                 DAY                                    $1 .55
 Utility/ Support Trailer                                    DAY                                   $82.00
 Utility/Cross Terrain Vehicle (Mule/Gator)                  DAY                                  $400.00
 Vacuum Box, Watertight                                      DAY                                  $131 .00
 SAFETY EQUIPMENT
 14in Neoprene Gloves                                        PAIR                                  $13.39
 14in Nitrile Gloves                                         PAIR                                  $13.39
 16oz Eyewash                                                EA                                    $23.00
 2 Man Breathing System                                      DAY                                  S259.00
 4 Man Breathing System                                      DAY                                  $324.00
 Acid Cartridges                                             PAIR                                  $30.00
 Asbestos Cartridges                                         PAIR                                  $31.00
 Breathing Air Bottle Refill                                 EA                                    $31.00
 Breathing Air Hose, 100ft                                   DAY                                   $55.00
 Chemrel Suit, Level C                                       EA                                    $83.00
 Chlorine Cartridges                                         PAIR                                  $30.00
 Cotton Winter Glove Liners                                  PAIR                                   $6.18
 Cut Resistant Gloves                                        PAIR                                  $30.00
 Disposable Boot Covers (Chicken Boots)                      PAIR                                  $12.88
 Earplugs                                                     PAIR                                   $1 .98
 Eyewash Station                                              DAY                                  $33.00
 Face/Splash Shield                                           EA                                   $23.00
  First Aid Kit. 25 Person                                    EA                                   $86.00
 Gloves - 12 in PVC                                           PAIR                                 $11 .33
  Gloves - 18 in PVC                                          PAIR                                  $12.47
  Gloves - Leather                                            PAIR                                   $8.24
  Kappler CPF1 Suit (Blue)                                    EA                                    $36.00
  Kappler CPF2 Suit (Grey)                                    EA                                    $58.00
  Kappler CPF2 Suit w/Strapped Seams (Grey)                   EA                                    $97.00
  Kappler CPF3 Suit w/Hood & Boots (Tan)                      EA                                  $131.00
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ENVIRONMENTAL SERVICES•

                                               Clean Harbors Emergency Response Pricing Schedule



Labor, Equipment and Materials                                                                                                           Gu ~ ER R~te Sheet
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Description'··,.·       ' .,.,.._ ~- ,. ·, , ·.,. •          · , ·,,I , - · \ · ···1•, '-~--.-·'' ·    · . UOM    ;-, ·•(~\\4'.-
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Kappler CPF3 Suit w/Hood & Strapped Seams (Tan)                                                           EA                                                                       $165.00
Kappler CPF4 Suit w/Hood & Boots {Green)                                                                  EA                                                                       $136.00
Latex Gloves                                                                                              PAIR                                                                        $6'19
Level A w/ResponderPlus Suit/Changeout                                                                    EA                                                                       $979.00
Level B w/CPF2 or Polytyvec/Changeout                                                                     EA                                                                       $206.00
Level B w/CPF3 or Saranex Suit/Char19eout                                                                 EA                                                                       $258.00
Level B w/CPF4 or Barricade Suit/Changeout                                                                EA                                                                       $309.00
Level C w/CPF1 ,2 or Polytyvec/Changeoul                                                                  EA                                                                         $62.00
Level C w/CPF3 or Saranex Suit/Changeout                                                                  EA                                                                         $78.00
Level C w/CPF4 or Barricade Suit/Changeout                                                                EA                                                                       $124.00
Mercury Cartridges                                                                                        PAIR                                                                       $56.00
Modified Level D (Tyvec, Gloves and Boots)                                                                EA                                                                         $31 .00
MSA Chemical Cartridge                                                                                    EA                                                                         $31.00
Negative Air Machine (Blower w/ HEPA filter)                                                              DAY                                                                      $216.00
Nomex Suit and Hood                                                                                       EA                                                                         $57.00
Non Steel Toe Chest Waders - Purchased                                                                   PAIR                                                                      $232.00
Organic Vapor Cartridges (No Dusi)                                                                       PAIR                                                                        $30.00
Organic Vapor/Dust Combination Cartridges                                                                PAIR                                                                        $53.00
Polycoated Rain Gear, 22mil                                                                               EA                                                                         $19.00
Puncture Resistant Gloves                                                                                PAIR                                                                        $36.00
Respirator, Full Face                                                                                     DAY                                                                        $39.00
Self Contained Breathing Apparatus (SCBA)                                                                 DAY                                                                      $244.00
Silver Shield Gloves                                                                                     PAIR                                                                        $36.00
Steel Toe Hip Boots - Purchase                                                                           PAIR                                                                      $165.00
Steel Toe Knee Boots                                                                                     PAIR                                                                        $83.00
Tyvec. Polycoat HD/BT                                                                                     EA                                                                         $19.00
Tyvec, Saranex                                                                                            EA                                                                         $59.00
Tyvec, While                                                                                             EA                                                                          $23.00
HIGH PRESSURE WATER BLASTING EQUIPMENT
High Pressure Blaster -10,000 PSI 150 HP                                                                 HR                                                                          $82.00
High Pressure Blaster - 20.000 PSI 300 HP (10 GPM)                                                       HR                                                                        $140.00
High Pressure Blaster - 40,000 PSI 200 HP (6 GPM)                                                        HR                                                                        $164.00
HIGH PRESSURE WATER BLASTING - AUXILIARY EQUIPMENT
Nozzle • 30 Automated                                                                                    HR                                                                          $81 .00
PRESSURE WASHING EQUIPMENT
1000psi Pressure Washer                                                                                  DAY                                                                         $92.00
2000psi Pressure Washer                                                                                  DAY                                                                       $103.00


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Labor, Equipment and Materials                                                    Gulf ER Rate Sheet
Description ·:    ,        '. ·   ·.     ,   •   ·     ,   .     U(?M   '.   ..     ;   .    .,        Price (USO)

2500psi Hot Water Pressure Washer                                DAY                                       $324.00
2500psi Pressure Washer                                           DAY                                      $109.00
3000psi Hot Water Pressure Washer                                 DAY                                      $356.00
Nozzle - 20 Automated                                             HR                                        $67.00
VACUUM EQUIPMENT
High Powered Vacuum Truck/Cusco                                   HR                                       $140.00
Skid Mounted Vacuum System                                        HR                                        $60.00
Tractor wNacuum Trailer                                           HR                                       $100.00
Vacuum Truck • Tandem Drive Wet                                   HR                                        $85.00
Vacuum Truck - Tractor Tandem Trailer Tri-Axle                    HR                                       $100.00
Vacuum Truck - Tri-Drive Wet                                      HR                                        $85.00
Vacuum Truck, Straight                                            HR                                        $85.00
WeVDry High Powered Vacuum Truck/Guzzler                          HR                                       S140.00
PUMPING/TRANSFERRING PUMPS

Drum Loader                                                       DAY                                      $162.00
Orum Vacuum , Pneumatic                                           HR                                        $33.00
Pump - Centrifugal, 2 in                                          DAY                                      $150.00
Pump - Diesel Lister, 3 in                                        DAY                                      $147.00
Pump - Double Diaphragm, 1 in                                     DAY                                       $92.00
Pump - Double Diaphragm, 2 in                                     DAY                                      $130.00
Pump - Double Diaphragm. 2 in. Chemical                           DAY                                      $189.00
Pump - Double Diaphragm, 3 in                                     DAY                                      $147.00
Pump - Double Diaphragm. 3 in. Chemical                           DAY                                      $189.00
Pump - Double Diaphragm, 4 in                                     DAY                                      $200.00
Pump - Eleclric Drum                                              DAY                                      $1 03.00
Pump - Electric Submersible, 2 in                                 DAY                                       $82.00
Pump. Electric Submersible. 3 in                                  DAY                                      $103.00
Pump - Electric Submersible, 4 in                                 DAY                                      $1 52.00
Pump . Hand                                                       DAY                                       $33.00
Pump - Hydraulic Transfer, 4 in                                   HR                                       $125.00
Pump - Hydraulic Transfer, 6 in                                   HR                                       $650.00
Pump - Trash, 2 in                                                DAY                                      $150.00
Pump . Trash, 4 in                                                DAY                                      $345.00
FILTRATION SERVICES
Filter Bags - 25 Micron Nominal                                   EA                                          $9.27
CHEMICAL PRICING - INDUSTRIAL CLEANING
142 Solvent                                                       GAL                                        $11 .33

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                                      Clean Harbors Emergency Response Pricing Schedule



Labor, Equipment and Materials                                              Gulf ER Rate Sheet
Description ·                     ·      ·   · ·             UOM   ,:   .     ·   · •   • ~   · Price (USO)

Antifreeze. Concentrate                                      GAL                                     $5.98
Antiviral Disinfectant Solution                              GAL                                    $47.00
Capsur                                                       GAi                                   $176.00
Cirtic Acid Solution, 15%                                    GAL                                     $7.21
Citrus Cleaner Degreaser                                     GAL                                    $63.00
Hydrated Lime, 50 lb / 23 kg                                 BAG                                     $8.24
Hydrodlloric Acid                                            LBS                                     $3.71
Penetone Degreaser                                           GAL                                    $34.00
Pink Stuff Degreaser                                         GAL                                    $23.00
Sanimate Degreaser                                           GAL                                    $23.00
Simple Green Degreaser                                       GAL                                    $36.00
Soda Ash. 100 lb/ 45 kg                                      BAG                                    $54.00
Sodium bisulfate 50 lb / 23 kg                               BAG                                   $125.00
Sodium Hypochlorite, 15% (Bleach)                            GAL                                     $9.27
MARINE RESPONSE EQUIPMENT

Airboat. Single Engine                                       DAY                                 $1200.00
Airboat, Twin Engine                                         DAY                                  $3500.00
BoatNVorkskiff without Motor                                 DAY                                   $150.00
Brush Skimmer                                                DAY                                   $850.00
Containment Boom - 10~ Per Foot Per Day                      FT                                      $1.78
Containment Boom • 18" Per Foot Per Day                      FT                                      $1.99
Containment Boom - 24" Per Foot Per Day                      FT                                      $2.57
Containment Boom - 36" Per Foot Per Day                      FT                                      $2.88
Drum Skimmer (24in-36in)                                     DAY                                   $750.00
Hydraulic Power Pack for Skimmer                             DAY                                   $227.00
Landing Craft (LCM). 26ft-29ft                               DAY                                   $950.00
Landing Craft (LCM), 30ft-34ft                               DAY                                  $1200.00
Landing Craft (LCM), 35ft-45ft                               DAY                                 $1800.00
Landing Craft (LCM), 46ft-75ft                               DAY                                 $4800.00
PFD Deck Suit                                                EA                                    $697.00
PFD Life Vest                                                DAY                                    $27.00
PFO Safety Light                                             EA                                     $30.00
PFD Survival Suit I Cold Weather Survival Work Suits         DAY                                    $82.00
Power Barge Boat. 26ft-30ft                                  DAY                                 $1100.00
Power Barge Boat. 30ft-42ft                                  DAY                                 $2000.00
PowerWorkboat. Fast Response, 12-14ft                        DAY                                   $300.00
Power Workboat. Fast Response. 15-17ft                       DAY                                   $350.00
Power Workboat. Fast Response. 18-22ft                       DAY                                   $650.00
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                                   Clean Harbors Emergency Response Pricing Schedule




 Labor, Equipment and Materials                                                              Gulf ER Rate Sheet
 Description       .. :. ' ;                 .. . • .   .   ".     . U_OM . :. '   :·· .•·     . ·.   • ·. ..   . . ' Price (USO)

 Power Workboat. Fast Response, 23-26ft                             DAY                                                 $850.00
 Power Worl<boat. Fast Response. 27-36ft                            DAY                                                $1200.00
 Rigid Hull Inflatable (RIB) (18ft·22ft)                            DAY                                                 $785.00
 Rope Mop . 4" (Per Foot)                                           FT                                                    $48.00
 Rope Mop - 9" (Per Foot)                                           FT                                                    $75.00
 Rotating Oise Skimmer Unit                                         DAY                                                 $841.00
 Skim Pack Skimmer                                                  DAY                                                 $167.00
 Skimmer - C24H Hydraulically Powered Rope Mop Wringer              DAY                                                 $800.00
 Skimmer • C29H Hydraulically Powered Rope Mop Wringef              DAY                                                $1200.00
 Skimmer - CV-46H Hydraulically powered Vertical Mop Wringer        DAY                                                $1000.00
 Skimmer. Duck Bill                                                 DAY                                                   $29.00
 Skimming Vessel (Marco/JBF or Equivalent) 28--30ft                 DAY                                                $6000.00
 Skimming Vessel Belt Drive Replacement                             EA                                                 $1450.00
 Underwater ROV                                                     DAY                                                $1255.00
 Weir Skimmer Unit                                                  DAY                                                 $179.00
 FIELD ANALYTICAL
 4 Gasf5 Gas Meter                                                  DAY                                                 $174.00
 Bailer & Sampling Equipment                                        DAY                                                   $55.00
 Draeger Air Monitoring Pump                                        DAY                                                   $55.00
 Explosion/Oxygen Meter                                             DAY                                                 $119.00
 Geiger Counter Meter                                               DAY                                                 $119.00
 Geoprobe                                                           DAY                                                 $227.00
 Hydrogen Cyanide Meter                                             DAY                                                 $119.00
 Hydrostatic Tester                                                 DAY                                                 $109.00
 Interface Probe                                                    DAY                                                 $119.00
 Lumex RA915+ Mercury Vapor Analyzer                                DAY                                                 $510.00
 Mercury Vapor Analyzer                                             DAY                                                  $195.00
 Particulate Meter, Mini Ram or equivalent                          DAY                                                  $126.00
 Personal Air Pump Meter                                            DAY                                                   $60.00
 pH Meter                                                           DAY                                                   $55.00
 PIO Meter                                                          DAY                                                 $119.00
 Well Purging/Sampling Pump                                         DAY                                                   $55.00
 HOSES/PIPE
 Hose· Chemical , 2 in X 20 ft                                      DAY                                                   $38.00
 Hose - Chemical, 3 in X 20 ft                                      DAY                                                   $48.00
 Hose - Chemical, 4 In X 20 ~                                       DAY                                                   $67.00
 Hose - Flex. 4 in. per ft                                          FT                                                     $2.84


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Labor, Equipment and Materials                                            Gulf ER Rate Sheet



Hose - Flex. 6 in, per ft                                 FT                                           $3.61
Hose - Lay Flat, 4 in X 25 ft                             DAY                                        $55.00
Hose - Lay Flat. 6 in X 25 ft                             DAY                                        $70.00
Hose - Suction, 2 in X 25 ft                              DAY                                        $28.00
Hose - Suction, 3 in X 25 ft                              DAY                                        $42.00
Hose - Suction, 4 in X 25 ft                              DAY                                        $55.00
Hose - Suction, 6 in X 25 ft                              DAY                                         $82.00
Wash Hose, 1/2in x 50ft                                   DAY                                         $13.39
EARTH MOVING EQUIPMENT

Backhoe Loader, 1 Yard Bucket                             HR                                          $61.00
Bobcat Loader/Mini Excavator                              HR                                          S55.00
Dozer, <100 HP                                            DAY                                       $646.00
Excavator. 20-30 Ton                                      HR                                         $103.00
Fork Attachment for Bobcat Loader                         DAY                                        $119.00
Loader, 2-3 Yard Bucket                                   HR                                         $128.00
Sweeper Attachment for Bobcat Loader                      DAY                                        $119.00
PNEUMATIC POWER TOOLS
Jackhammer, 40Lb                                          DAY                                         $60.00
Jackhammer, 60Lb                                           DAY                                        $77.00
Jackhammer, 90Lb                                          DAY                                         $92.00
Pneumatic Chipping Gun                                    DAY                                         $60.00
Steel Nibbler, Pneumatic                                  DAY                                        $114.00
GAS POWERED TOOLS

Brush Cutter/Power Broom                                   DAY                                       $114.00
SPECIALTY EQUIPMENT

Antiviral Disinfectant Fogger                              DAY                                       $181.00
Auger. Manual                                              DAY                                        $60.00
Confined Space Entry G ear (Retrieval & Rescue Equip)      DAY                                       $346.00
Cutting Torch/Acetylene Torch                              DAY                                       $109.00
DBI/Rogliss Tripod                                         DAY                                        $65.00
Digital Camera                                             DAY                                        $39.00
Drum Crusher, Portable                                     DAY                                       $431.00
Electric Blower                                            DAY                                        S82.00
Explosion Proof Pneumatic Fan Blower                       DAY                                        $82.00
Fiber Optic Camera                                         HR                                         $70.00
Fiber Optic Camera Truck                                   HR                                        $180.00
Forklift, 2,000Lb Capacity                                 DAY                                       $346.00


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                                 Clean Harbors Emergency Response Pricing Schedule




Labor, Equipment and Materials                                                 Gulf ER Rate Sheet


Forklift, 6,000Lb Capacity (High Reach/ lull)                   DAY                                       $464.00
Plasma Cutting Torch                                            DAY                                       $216.00
Sand Blaster and Hose                                           HR                                         $30.00
Transit Set                                                     DAY                                       $109.00
Walk Behind Concrete Saw                                        DAY                                       $274.00
DOT SHIPPING CONTAINERS
1 Cubic Yard Supersac 13H2/Y/06                                 EA                                         $85.00
10 Gal/ 40 Litre Fiber Drum                                     EA                                         $42.00
110 Gal Steel Orum. Reconditioned 1A2/Y400S                     EA                                        $469.00
16 Gal/ 70 L Closed Poly Drum                                   EA                                         $63.00
16 Gal/ 70 L Poly Drum 1H2/Y56/S                                EA                                         $66.00
16 Gal Fiber Drum                                               EA                                         $30.00
18x18x24in Nonhazardous Pathological Waste Box                  EA                                         $10.30
20 Gal I 80 litre Fiber Drum                                    EA                                         $36.00
20 Gal I 80 Litre Poly Drum (1 H2/Y56/S}                        EA                                        $103.00
30 Gal/ 120 li1re Closed Poly Drum 1H1/Y1 .8/100                EA                                         $81.00
30 Gal/ 120 Litre Closed Steel Drum, New 1A1/Y1.6/200           EA                                         $97.00
30 Gal/ 120 litre Closed Steel Drum, Reconed 1A1/Y1.4/100       EA                                         $92.00
30 Gal/ 120 Litre Fiber Drum 1G/X56/S                           EA                                         S53.00
30 Gal / 120 Litre Poly Drum 1H2/Y142IS                         EA                                         $87.00
30 Gal/ 120 litre Steel Drum, New 1A2/Y1.4/100                  EA                                        $115.00
30 Gal/ 120 Litre Steel Drum. Reconditioned 1A2/Y1 .21100       EA                                         $83.00
4ft Fluorescent Tube Box 4GN275                                 EA                                         $26.00
5 Gal/ 20 Litre Closed Poly Drum 1 H1/Y1.8/170                  EA                                         $30.00
5 Gal/ 20 Litre Closed Steel Orum 1A 1/Y1 .8/300                EA                                         $36.00
5 Gaf/20 Litre Poly Drum 1H2/Y1.5/60                            EA                                         $23.00
5 Gal/ 20 Litre Steel Drum 1A2/Y1.8/100                         EA                                         $36.00
5.5 Gal / 20 L Steel Drum 1A2N23/S                              EA                                         $23.00
55 G / 205 L Closed Steel Drum. Recon 1A1/Y1 .4/100 (17-E)      EA                                         $46.00
55 G / 205 L Steel Drum, Reconditioned 1A2/Y1.2/100 (17-H)      EA                                         $68.00
55 Gal / 205 L Stainless Steel Drum, Reconditioned              EA                                        $260.00
55 Gal/ 205 litre Closed Poly Drum 1H1/Y1 .8/150                EA                                       $103.00
55 Gal/ 205 Litre Closed Poly Drum 1H1/Y1.8/150, Recycled       EA                                       $101.00
55 Gal/ 205 Litre Closed Steel Drum, New 1A1/Y1 .8/300          EA                                       $100.00
55 Gal/ 205 Litre Fiber Drum 1G/Y190/S                          EA                                         $58.00
55 Gal/ 205 Litre Poly Drum 1H2N2371S                           EA                                       $149.00
55 Gal/ 205 Litre Steel Drum. New 1A2/Y1 .5/100                 EA                                       $114.00
85 Gal/ 320 litre Steel Drum. New 1A2/X400/S                    EA                                       $237.00
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ENVIRONMENTAL SERVICES"
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 Labor, Equipment and Materials                                    Gulf ER Rate Sheet



 85 Gal/ 320 Litre Steel Drum, Recycled 1A2/X400/S     EA                                    $201.00
 8ft Fluorescent Tube Box 4GIY275                      EA                                     $28.00
 95 Gal Poly Orum 1H2N318/S {Overpack)                 EA                                    $27000
 95 Gal Poly Drum, Recycled 1H2/Y318/S (Overpack)      EA                                    $268.00
 Asbestos Bag                                          EA                                      $1.65
 Drum 15 Gal/ 60 Litre Poly (1 H2/Y1 .8/100)           EA                                     $74.00
 Drum Liners                                            EA                                    $23.00
 Drum Rings/Bolts/Gaskets                               EA                                    $30.00
 Dump Trailer Poly Liner                                EA                                    $99.00
 Filter/Liner for Filter Box                            EA                                   $367.00
 Flexbio, 1 Cubic Yard Flexbin 11G/Y/2022/1122          EA                                   $159.00
 Flexbin, Cubic Yard Box for Non-Haz Waste              EA                                   $103.00
 FlexbinJCubic Yard Box Liner                           EA                                    $30.00
 Fluorescent Bulb Tubes, 4ft 100 bulb capacity          BOX2                                  $63.00
 Fluorescent Bulb Tubes. 8ft 100 bulb capacity          BOX2                                  $91.00
 Hazardous Waste Labels                                 EA                                     $1.34
 Labels - DOT                                           EA                                     $1.55
 Pathological Waste Bag                                 EA                                     $6.29
 Poly Bags. 6mil, per Roll                              EA                                   $176.00
 Poly Sheet. 6mil 20ft x 100ft                          EA                                   $119.00
 Vacbox Liner/Bladder                                   EA                                   $794.00
 Waste Wrangler                                         EA                                   $193.00
 ABSORBENT MATERIALS
 Absorbent Boom, 3in x 4ft                              EA                                     $8.24
 Absorbent Boom, 5in x 10ft x 4/Bale                    BALE                                 $159.00
 Absorbent Boom. 8in x 10ft x 4/Bale                    BALE                                 $255.00
 Absorbent Pad (101 Grade) 100/bale                     BALE                                 $131 .00
 Absorbent Roll. 38in x 144ft                           EA                                   $187.00

 Absorbent Rug, 36in x 300ft                            EA                                   $309.00
 Absorbent Sweep, 17in x 100ft                          BALE                                 $164.00
 Activated Carbon for Water treatment systems           LBS                                    $3.20
 Com Cob Absorbent 40lb / 18 kg bag                     BAG                                   $18.00
 HGX Absorbent (Mercury absorbent)                      LBS                                   $21 00
 Oil Snare, Loose in Bag                                BOX                                   $68.00
 Oil Snare. on a line, 50ft                             EA                                   $100.00
 Poly Absorbent, 20 lb/ 23 kg                           BAG                                  $109.00
 Rags. 50 lb/ 23 kg                                     BOX                                   S63.00
 Saw Dust. 20 lb J 9 l<g                                BAG                                   $10.30

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ENVIRONMENTAL SERVICES"

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Labo r, Equipment and Materials                                           Gulf ER Rate Sheet
Description                          · '                   UOM   .                         · Prico (USO)

Speedi Dry                                                BAG                                        $12.36
SPI Solidiflcation Particulate (Oil Bond)                 LBS                                        $20.00
SPI Waterbond                                             LBS                                        $17.00

Vermiculite 4 cuft I 3 cubic meter                         BAG                                       $47.00
SAMPLING AND LAB SUPPLIES
8oz Sample Jars                                            EA                                        $14.42
CHLOR'N'OIL Test Kit 0-50ppm PCB                           EA                                         $41 .00
CHLOR-D-TECT 4000 Test Kit (Halogens)                      EA                                        $30.00
Draeger Tube                                               EA                                        $30.00
pH Paper, 1-14/Roll                                        EA                                         $18.00
Sample Tube                                                EA                                         $18.00
MARINE EQUIPMENT
1/2in Poly Rope                                            FT                                          $0.52
1/81n Poly Rope                                            FT                                          $0.42
3/8in Unguarded Galvanized Chain                           FT                                          $7.21
Anchor, 18Lb                                               EA                                        $142.00
HIGH HAZ
Drum Titter, Mechanical                                    DAY                                       $171.00
Remote Drum Opener, Pnuematic                              DAY                                     $1077.00
WASTE MATERIAL APPROVAL
 Profile Approval Fee (No Sample)                          EA                                         $78.00
 Sample & Profile Approval Fee                             EA                                        $113.00
 MISCELLANEOUS
 Compactor                                                 DAY                                        $60.00
Gator Tail Boat                                            DAY                                       $950.00
 1/2in Drill, Electric                                     DAY                                        $42.00
 1/2in Nylon Rope                                          FT                                          $1.03
 12in Metal Cutting Wheel Blade                            EA                                         $22.00
 16in Street Broom                                         EA                                         $37.00
 24in Floor Broom                                          EA                                         $37.00
 3 Gal Pump Spray Bottle                                   EA                                         $56.00
 3/4in Drill, Rotary Hammer                                DAY                                        $87.00
 3/Sin Manilla Rope                                        FT                                          $0.52
 3/8in Manilla Rope Coil, 600ft                            EA                                        S170.00
 3in long Handle Scraper                                   EA                                         S24.00
 3in Scraper                                               EA                                         $15.45
 Acetylene Bottle                                          EA                                         $47.00
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ENVIRONMENTAL SERVICE~
                     Clean Harbors Emergency Response Pricing Schedule




Labor, Equipment and Materials                                 2014 Gulf ER Rate Sheet


Caution Tape/Roll                                 EA                                      $58.00
Chain Saw                                         DAY                                    $114.00

Chemical Tape/Roll                                EA                                      $53.00
Circular Saw, Electric                             DAY                                    $55.00
Collection Jar for Mercury Vacuum                  EA                                     $46.00
Cutoff Saw (Demo)                                  DAY                                   $114.00
Deck/Scrub Brush                                   EA                                     $19.00
Disposable Hand Pump/Syphon Pump                   EA                                     $36.00
Duct Tape/Roll                                     EA                                     $12.36
Dump Truck Tarp                                    EA                                    $374.00
Electric Auger                                     DAY                                    $75.00
 Extension Cord, 50ft                              EA                                     $58.00
 Fence Stakes                                      EA                                      $9.38
 Fence, Slit 100ft                                 EA                                    $148.00
 Filtration Bag for Mercury Vacuum                 EA                                     $30.00
 Fial Shovel                                       EA                                     $33.00
 Garden Hoe                                        EA                                     $31.00
 Garden Rake                                       EA                                     $31.00
 Hand Cleaner                                      EA                                     $34.00
 Mercury Vacuum                                    DAY                                   $195.00
 Misc. Handtools                                   DAY                                    $36.00
 Pitch Fork                                        EA                                    S103.00
 Plastic Shovel                                    EA                                     $57.00
 Reciprocating Saw (Sawzall). Bectric              DAY                                    $55.00
 Roltoff   Bow                                     EA                                     $44.00
 Roltoff Poly liner                                EA                                     $81.00
 Rolloff Tarp                                      EA                                    $431 .00
 Sawzall Blade                                     EA                                      $36.00

 Shrink Wrap                                       ROL                                     $50.00

 Small Sledge Hamme<                               EA                                      $42.00
 Snow Fence/Safety Fence. 50ft                     EA                                      $80.00
 Spaded Shovel                                     EA                                      $37.00
 Squeegee                                          EA                                      $39.00
 Wei Vacuum (Shop Vac)                             DAY                                     $39.00




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